(1 of 298), Page 1 of 298      Case: 24-165, 03/25/2024,
                                             03/26/2024, DktEntry: 24.3, Page 1 of 298



                                                   Docket No. 24-165

                                                          In the

                    United States Court of Appeals
                                                          for the

                                                  Ninth Circuit

                                                  KELLY CAHILL, et al.,
                                                                                       Plaintiffs-Appellees,
                                                            v.
                         NON-PARTY MEDIAL ORGANIZATIONS INSIDER INC.
                                  d/b/a BUSINESS INSIDER, et al.,
                                                                      Non-Party Media Orgs.-Appellees,
                                                       NIKE, INC.,
                                                                                      Defendant-Appellant.
                                        _______________________________________
                  Appeal from a Decision of the United States District Court for the District of Oregon,
                               No. 3:18-cv-01477-JR ∙ Honorable Marco A. Hernández

                                          EXCERPTS OF RECORD
                                       Volume II of IV – Pages 12 to 309
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(2 of 298), Page 2 of 298       Case: 24-165, 03/25/2024,
                                              03/26/2024, DktEntry: 24.3, Page 2 of 298




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                                                    District of Oregon

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     ORDER: The Court finds Defendant has not established a likelihood of success on the merits of its
     Objections to the October 11, 2023, Findings and Recommendation or that Defendant will be
     irreparably harmed in the absence of a stay. The Court, therefore, DENIES that portion of
     Defendant's Motion to Stay, ECF 397.

     The Court, however, GRANTS Defendant's alternative request for a temporary 7-day stay to allow
     time for Defendant to seek a stay from the Ninth Circuit directly. Accordingly, the Court's January 5,
     2024 Order, ECF 403 is STAYED for a period of 7 days from the date of this Order. This temporary
     stay will expire automatically, without further order of the Court, 7 days from the date of this Order.
     Ordered by District Judge Marco A Hernandez. (jp)


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(3 of 298), Page 3 of 298        Case: 24-165, 03/25/2024,
                                               03/26/2024, DktEntry: 24.3, Page 3 of 298

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                                                                                                ER-014
(4 of 298), Page 4 of 298     Case: 24-165, 03/25/2024,
                                            03/26/2024, DktEntry: 24.3, Page 4 of 298

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                                                                                            ER-015
(5 of 298), Page 5 of 298    Case: 24-165, 03/25/2024,
                                           03/26/2024, DktEntry: 24.3, Page 5 of 298



                    Case 3:18-cv-01477-JR         Document 397   Filed 12/21/23   Page 1 of 13




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                                          UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON

                                               PORTLAND DIVISION




               KELLY CAHILL SARA JOHNSTON,                 Case No. 3:18-cv-01477-JR
               LINDSAY ELIZABETH, and HEATHER
               HENDER, individually and on behalf of
               others similarly situated,
                                                           DEFENDANT NIKE, INC.’S MOTION FOR
                            Plaintiffs,                    A STAY PENDING APPEAL RE:
                                                           OBJECTIONS TO THE MAGISTRATE
                      vs.                                  JUDGE’S FINDINGS &
                                                           RECOMMENDATION DATED OCTOBER
               NIKE, INC., an Oregon Corporation,          11, 2023 (ECF NO. 363)

                            Defendant.
                                                           EXPEDITED HEARING REQUESTED

                                                           ORAL ARGUMENT REQUESTED


                                                                                            ER-016
(6 of 298), Page 6 of 298          Case: 24-165, 03/25/2024,
                                                 03/26/2024, DktEntry: 24.3, Page 6 of 298

                    Case 3:18-cv-01477-JR                    Document 397               Filed 12/21/23             Page 2 of 13




                                                             TABLE OF CONTENTS

                                                                                                                                           Page

            I.     BACKGROUND ............................................................................................................... 2
            II.    LEGAL STANDARD ........................................................................................................ 3
            III.   A STAY PENDING APPEAL IS NECESSARY HERE. ................................................. 4
                   A.        There Will be Irreparable Injury Without a Stay Pending Appeal. ....................... 4
                   B.        NIKE Has Raised Serious Legal Questions on the Merits. ................................... 6
                   C.        The Balance of Hardships Tips in Favor of NIKE and its Former Employees. .... 7
                   D.        The Public Interest Favors a Stay Pending Appeal. ............................................... 7
            IV.    CONCLUSION .................................................................................................................. 8




            Page i – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                                                        ER-017
(7 of 298), Page 7 of 298             Case: 24-165, 03/25/2024,
                                                    03/26/2024, DktEntry: 24.3, Page 7 of 298

                       Case 3:18-cv-01477-JR                    Document 397               Filed 12/21/23             Page 3 of 13




                                                           TABLE OF AUTHORITIES

                                                                                                                                          Page(s)

            Cases

            Al Otro Lado v. Wolf,
               952 F.3d 999 (9th Cir. 2020) .................................................................................................3, 4

            Align Tech., Inc. v. SmileDirectClub, LLC,
                No. 23-CV-00023-EMC, 2023 WL 2347431 (N.D. Cal. Mar. 3, 2023)................................4, 5

            Ball v. Skillz Inc.,
               No. 220CV00888JADBNW, 2020 WL 10180904 (D. Nev. Nov. 16, 2020) ........................5, 8

            Benson v. Double Down Interactive, LLC,
               Case No. 2:18-cv-00525-RBL, 2019 WL 972482 (W.D. Wash. Feb. 28, 2019).......................6

            Does I thru XXIII v. Advanced Textile Corp.,
               214 F.3d 1058, 1069 (9th Cir. 2000) .........................................................................................6

            Guthy-Renker Fitness, L.L.C. v. Icon Health & Fitness, Inc.,
               179 F.R.D. 264 (C.D. Cal. 1998) ...............................................................................................8

            Flores v. Barr,
               977 F.3d 742 (9th Cir. 2020) .....................................................................................................4

            Hernandez v. Cnty. of Monterey,
               No. 13-CV-02354-BLF, 2023 WL 4849877 (N.D. Cal. July 28, 2023) ....................................5

            Hooks v. Hood River Distillers, Inc.,
               No. 3:21-CV-268-SI, 2021 WL 2142609 (D. Or. May 26, 2021) .............................................4

            Hunton v. Am. Zurich Ins. Co.,
               No. CV-16-00539-PHX-DLR, 2019 WL 399708 (D. Ariz. Jan. 31, 2019).......................5, 7, 8

            Leiva-Perez v. Holder,
                640 F.3d 962 (9th Cir. 2011) .................................................................................................4, 6

            Nken v. Holder,
               556 U.S. 418 (2009) ...............................................................................................................3, 5

            WOF SW GGP 1, LLC v. Quasar Energy Group, LLC,
              No. 3:18-CV-01475-AC, 2020 WL 2758779 (D. Or. Jan. 7, 2020) ......................................6, 7




            Page ii – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                                                           ER-018
(8 of 298), Page 8 of 298               Case: 24-165, 03/25/2024,
                                                      03/26/2024, DktEntry: 24.3, Page 8 of 298

                        Case 3:18-cv-01477-JR                        Document 397                 Filed 12/21/23              Page 4 of 13




            Other Authorities

            Fed. R. App. P. 8(a)(1) .....................................................................................................................3

            Fed. R. App. P. 8(a)(2)(A)(ii) ......................................................................................................2, 8

            LR 7-1(a) ..........................................................................................................................................1

            LR 7-1(g) .........................................................................................................................................2




            Page iii – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                                                                     ER-019
(9 of 298), Page 9 of 298       Case: 24-165, 03/25/2024,
                                              03/26/2024, DktEntry: 24.3, Page 9 of 298

                   Case 3:18-cv-01477-JR         Document 397       Filed 12/21/23     Page 5 of 13




                                              LR 7-1(a) CERTIFICATION

                  Pursuant to Local Rule 7-1(a), counsel for Defendant NIKE, Inc. (“NIKE”) conferred in good

           faith with counsel for the Non-Party Media Organizations, Insider Inc. d/b/a BUSINESS INSIDER,

           Advance Local Media LLC d/b/a Oregonian Media Group, and American City Business Journals,

           Inc. d/b/a Portland Business Journal (collectively the “Intervenors”), and counsel for Plaintiffs

           Kelly Cahill, Heather Hender, Sara Johnston, and Lindsay Elizabeth (“Plaintiffs”), regarding this

           motion and the matters contained herein. NIKE understands that the motion is opposed.

                              EMERGENCY MOTION FOR STAY PENDING APPEAL

                  NIKE filed objections to the Magistrate Judge’s Findings and Recommendation (the

           “Findings”) granting the Intervenors’ Renewed Motion to unseal this Court’s records (collectively,

           the “Records”). 1 NIKE files this protective motion for an emergency stay in the event the District

           Court overrules NIKE’s objections. The purpose of this motion is to avoid publication—during the

           pendency of any appeal—of the identities of complainants, witnesses, and subjects of internal

           complaints listed in certain, limited documents. See ECF Nos. 343, 346. Publication of the

           identities of the above-referenced individuals is likely to cause immediate and irreparable harm, and

           the subject matter of the appeal would be destroyed without a stay. NIKE seeks an expedited

           hearing pursuant to LR 7-1(g). Assuming, arguendo, that the Court denies this motion, NIKE




           1
             Intervenors requested that unredacted versions of the following be publicly filed: Exhibit 46 to
           the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification, ECF No.
           284–6; Exhibit 47 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class
           Certification, ECF No. 284–7; Exhibit 48 to the Declaration of Mengfei Sun in Support of
           Plaintiffs’ Motion for Class Certification, ECF No. 284–8; Exhibit 51 to the Declaration of
           Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification, ECF No. 285–1; Exhibit 52
           to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification, ECF
           No. 285–2; Paragraph 16 of the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion
           for Class Certification, ECF No. 288; Exhibit 9 to the Declaration of Byron Goldstein in Support
           of Plaintiffs’ Motion for Class Certification, ECF No. 290–4. ECF No. 343 at 5.
           Page 1 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                        ER-020
(10 of 298), Page 10 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 10 of 298

                  Case 3:18-cv-01477-JR         Document 397        Filed 12/21/23     Page 6 of 13




          requests a brief stay be put in place for NIKE to request a stay directly from the Ninth Circuit.

          Fed. R. App. P. 8(a)(2)(A)(ii).

                                MEMORANDUM OF POINTS AND AUTHORITIES

          I.     BACKGROUND


                 On November 13, 2022, the Court granted, in part, NIKE’s motion to seal certain portions of

          documents filed in relation to Plaintiffs’ motion for class certification, adopting the Magistrate’s

          recommendations issued on September 30, 2022. ECF Nos. 275. The Court also granted the

          Intervenors’ motion to intervene “for the limited purpose of challenging the stipulated redactions

          related to the briefing surrounding [P]laintiffs’ Motion for Class Certification” and denied the

          Intervenors’ request to unseal documents produced under the Protective Order in the case. Id. The

          Court denied Plaintiffs’ motion for class certification on March 21, 2023 (ECF No. 335), and

          Intervenors filed their renewed motion on August 9, 2023, seeking to reveal the identities of

          complainants, witnesses, and subjects of internal complaints listed in certain, limited documents.

                 Many of the documents subject to the Intervenors’ renewed motion already have been

          publicly filed and their substantive contents have been laid bare. The only information that remains

          redacted are the names of individuals who: (1) submitted complaints internally to NIKE, with the

          expectation that the issues raised would be investigated as confidentially as possible; (2) were the

          subjects of the internal complaints, some of which were not substantiated; or (3) alleged witnesses to

          purported events, many of whom were interviewed with the understanding that the investigation

          would remain as confidential as possible. The Intervenors admitted that NIKE already unredacted

          extensive information pertaining to these purported complaints. ECF No. 343, at 7–8. The

          remaining redactions seek to avoid embarrassing the individuals named in the documents and to

          avoid discouraging confidential reporting of wrongdoing, an essential element in protecting workers

          Page 2 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                         ER-021
(11 of 298), Page 11 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 11 of 298

                  Case 3:18-cv-01477-JR         Document 397        Filed 12/21/23     Page 7 of 13




          going forward. The individual employees implicated here are not parties to the litigation, and have

          no expectation that their identities are subject to exposure for the Intervenors’ sole purpose of

          generating news content. Furthermore, these individuals’ identities have absolutely nothing to do

          with the claims or defenses raised in this case.

                 On October 11, 2023, Magistrate Judge Russo recommended that this Court grant the

          Intervenors’ renewed motion, ECF No. 364, and NIKE timely filed objections to the Magistrate

          Judge’s Findings on October 25, 2023, ECF No. 376. Both Plaintiffs and the Intervenors filed

          oppositions to NIKE’s objections. ECF Nos. 382–84. NIKE’s objections requested oral argument,

          and NIKE concurrently filed its renewed request for oral argument alongside this motion. Within

          that renewal, NIKE requested a stay of proceedings in the event the District Court overrules NIKE’s

          objections to avoid publication during the time this concurrently filed motion to stay remains under

          the Court’s consideration.

          II.    LEGAL STANDARD


                 A party seeking a stay pending appeal must ordinarily move for a stay from the District Court

          before requesting a stay from the Ninth Circuit. Fed. R. App. P. 8(a)(1). Either level of review

          requires the consideration of four factors:

                 “(1) whether the stay applicant has made a strong showing that he is likely to
                 succeed on the merits; (2) whether the applicant will be irreparably injured absent
                 a stay; (3) whether issuance of the stay will substantially injure the other parties
                 interested in the proceeding; and (4) where the public interest lies.”

          Al Otro Lado v. Wolf, 952 F.3d 999, 1006–07 (9th Cir. 2020) (quoting Nken v. Holder, 556 U.S.

          418, 434–435 (2009)). “The first two factors ... are the most critical,” while the last two are

          reached only “[o]nce an applicant satisfies the first two factors.” Id. At core, “[a]n applicant for

          a stay pending appeal must show that a stay is necessary to avoid likely irreparable injury to the

          applicant while the appeal is pending.” Id. However, the Ninth’s Circuit’s “sliding scale”
          Page 3 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                            ER-022
(12 of 298), Page 12 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 12 of 298

                  Case 3:18-cv-01477-JR         Document 397       Filed 12/21/23     Page 8 of 13




          approach—which balances the elements of the preliminary injunction test so that a stronger

          showing of one element may offset a weaker showing of another—applies equally to a district

          court’s assessment of whether to stay an order pending appeal. Al Otro Lado, 952 F.3d at 1007;

          Hooks v. Hood River Distillers, Inc., No. 3:21-CV-268-SI, 2021 WL 2142609, at *18 (D. Or.

          May 26, 2021). “If anything, a flexible approach is even more appropriate in the stay context.”

          Leiva-Perez v. Holder, 640 F.3d 962, 966 (9th Cir. 2011) (per curiam). Thus, a stay may be

          granted despite serious questions going to the merits of success on appeal if the balance of

          hardships tips in the moving party’s favor. See Flores v. Barr, 977 F.3d 742, 746 (9th Cir.

          2020); Align Tech., Inc. v. SmileDirectClub, LLC, No. 23-CV-00023-EMC, 2023 WL 2347431,

          at *1 (N.D. Cal. Mar. 3, 2023).

          III.   A STAY PENDING APPEAL IS NECESSARY HERE.


                 To the extent the District Court overrules NIKE’s objections on the redaction issue, if there is

          no immediate stay, Plaintiffs likely would file unredacted copies of the documents at issue publicly,

          thereby enabling the Intervenors to publish non-party individuals’ identities while NIKE’s motion

          for stay and appeal would be under review. Publication of the records at issue would gut any

          potential remedy available to NIKE or the impacted individuals. Thus, if the Court denies NIKE’s

          instant motion, NIKE respectfully requests an emergency stay of proceedings to allow time for

          NIKE to seek a stay directly from the Ninth Circuit pending appeal.

                 A.      There Will be Irreparable Injury Without a Stay Pending Appeal.


                 Adoption of the Magistrate Judge’s Findings presents a situation that could result in

          irreparable injury to those currently protected by the Court’s seal. The Intervenors seek to

          immediately publicize the documents at issue. Thus, the risk that publication brings is not

          merely that prying eyes will log into PACER and access documents behind the paywall; it is that
          Page 4 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                         ER-023
(13 of 298), Page 13 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 13 of 298

                    Case 3:18-cv-01477-JR          Document 397        Filed 12/21/23     Page 9 of 13




            Plaintiffs would provide unredacted copies of the key documents to Intervenors, and that the

            Intervenors would publish the names contained therein. This concern is not a mere possibility,

            but rather the fundamental reason why the Intervenors have joined this action seeking to unseal

            this information (and why Plaintiffs echoed the Intervenors’ response to NIKE’s objections).

            See ECF Nos. 343, 346. Publication of this information is likely to bring embarrassment,

            emotional harm and reputational harm to individuals named in the redacted records. And once

            the unredacted records are filed on the public docket, the information within them can never be

            fully clawed back. See Ball v. Skillz Inc., No. 220CV00888JADBNW, 2020 WL 10180904, at

            *2 (D. Nev. Nov. 16, 2020) (finding irreparable injury absent stay because of inability to claw

            back plaintiff’s anonymity from public record); see also Align Tech., Inc., LLC, 2023 WL

            2347431, at *1 (“‘[When] the information is publicly filed, what once may have been

            [confidential] no longer will be’”) (quoting Apple, Inc. v. Samsung Elecs. Co., No. 11-CV-

            01846-LHK, 2012 WL 3536800, at *1 (N.D. Cal. Aug. 15, 2012)).

                   If a stay is not put in place pending appeal of the Court’s Order, nothing prevents the

            Intervenors or anyone else from accessing the Court’s records and disclosing that information to

            the public during NIKE’s appeal. See Hunton v. Am. Zurich Ins. Co., No. CV-16-00539-PHX-

            DLR, 2019 WL 399708, at *3 (D. Ariz. Jan. 31, 2019) (opposing counsel disclosed unsealed

            information to third party in absence of a stay pending appeal); Understanding that reality, a stay

            prevents harm to the individuals named in the applicable records, see, e.g., Nken, 556 U.S. at

            434; c.f. Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1069 (9th Cir. 2000)

            (finding district court erred by failing to consider evidence of threatened retaliation to non-

            parties), while also preserving the merits of NIKE’s appeal. Hernandez v. Cnty. of Monterey,

            No. 13-CV-02354-BLF, 2023 WL 4849877, at *2 (N.D. Cal. July 28, 2023) (“Defendants


            Page 5 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                         ER-024
(14 of 298), Page 14 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 14 of 298

                   Case 3:18-cv-01477-JR          Document 397        Filed 12/21/23     Page 10 of 13




            correctly point out that once the material in the reports is made public, Defendants would have

            no effective recourse even if they were to prevail on their appeal of the Sealing Order.”).

                   B.      NIKE Has Raised Serious and Important Legal Questions on the Merits.


                   The likelihood of NIKE’s success on appeal also weighs in its favor. At this stage, NIKE

            need only establish that success is a “reasonable probability,” a “fair prospect,” or that “serious

            legal questions are raised.” Leiva–Perez, 640 F.3d at 967-968; WOF SW GGP 1, LLC v. Quasar

            Energy Group, LLC, No. 3:18-CV-01475-AC, 2020 WL 2758779, at *1 (D. Or. Jan. 7, 2020).

                   Although the Ninth Circuit has not defined “serious legal questions,” this Court and

            others within the Circuit have found that a question is serious “when it raises an issue of first

            impression within the Ninth Circuit or involves a split of legal authority.” WOF SW GGP 1,

            LLC, 2020 WL 2758779, at *1 (quoting Vesta Corp. v. Amdocs Mgmt. Ltd., No. 3:14-cv-1142-

            HZ, 2016 WL 10843668, at *2 (D. Or. Nov. 7, 2016)); Benson v. Double Down Interactive,

            LLC, Case No. 2:18-cv-00525-RBL, 2019 WL 972482, at *6 (W.D. Wash. Feb. 28, 2019)

            (holding that “[e]ven though this Court stands by its prior decision ... there is no clear precedent

            by the Ninth Circuit or the Supreme Court squarely addressing the issue ... [and thus movant]

            meets the serious legal question standard”).

                   There is a dearth of authority in the Ninth Circuit on motions to stay pending appeal

            when the underlying order concerns a motion to unseal the identities of non-party complainants,

            witnesses, and subjects of internal complaints. That said, NIKE has presented a serious legal

            question with respect to whether the “good cause” standard (instead of the “compelling interest”

            standard) should be applied in the instant case. This is especially true where, as here, the Court

            should weigh this factor as well as the other factors that militate in favor of NIKE.




            Page 6 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                          ER-025
(15 of 298), Page 15 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 15 of 298

                    Case 3:18-cv-01477-JR         Document 397        Filed 12/21/23     Page 11 of 13




                    C.      The Balance of Hardships Tips in Favor of NIKE and its Former Employees.


                    There would be no injury to other interested parties as a result of a stay. For one, all

            parties hereto have access to the applicable records without redaction. Plaintiffs did not

            challenge the Court’s June 17, 2019 Protective Order, and in fact, Plaintiffs agreed with NIKE to

            keep redacted “the names of any individuals named in allegations of sexual harassment or

            gender discrimination at [NIKE] that have not already been made public[.]” ECF No. 273 at 12.

            Of equal import, granting a stay would not impact the current stage of proceedings because the

            parties can continue the proceedings consistent with the Court’s case management order.

                    The Intervenors likewise would be no worse off to wait until the appellate court can

            review the legal issues here before gaining access to and/or publishing the records at issue. Any

            additional delay that may arise by virtue of any appellate proceedings is outweighed by the

            interest of justice for the individuals whose identities are currently redacted, and there would be

            no harm to the litigants themselves. See WOF SW GGP 1, LLC, 2020 WL 2758779, at *2

            (“[T]he timeframe for the appeal is not so arduously long that it creates an unnecessary burden

            on [p]laintiff.”).

                    D.      The Public Interest Favors a Stay Pending Appeal.


                    Finally, public interest weighs in favor of NIKE’s position. If there is no stay and the

            Court is inclined to overrule NIKE’s objections to the Magistrate Judge’s Findings, any appeal

            to the Ninth Circuit likely would be moot—far in advance of the Ninth Circuit’s review of the

            legal arguments. Hunton, 2019 WL 399708, at *3 (“Although the Court could issue a stay that

            prevents Plaintiff from disclosing these documents to others going forward, it is not clear how

            the Court can undo the disclosures that already have occurred.”). Allowing parties to seek

            appellate review without mooting the subject of the inquiry is a significant public interest and
            Page 7 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                         ER-026
(16 of 298), Page 16 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 16 of 298

                  Case 3:18-cv-01477-JR         Document 397        Filed 12/21/23      Page 12 of 13




          finding otherwise would effectively create a “race to the courthouse,” whereby Plaintiffs and/or

          the Intervenors would attempt to publicize the records here before the Court has time to consider

          NIKE’s appeal. C.f. Guthy-Renker Fitness, L.L.C. v. Icon Health & Fitness, Inc., 179 F.R.D.

          264, 271 (C.D. Cal. 1998) (“[C]ourts seek to eliminate the race to the courthouse door in an

          attempt to preempt a later suit in another forum.”). By contrast, minimal harm would befall the

          public interest if proceedings are stayed pending appeal. See Ball, 2020 WL 10180904, at *2

          (finding slight delay in revealing contested information while an appeal is pursued has minimal

          effect on public interest).

          IV.     CONCLUSION


                  Assuming, arguendo, that the Court overrules NIKE’s objections to the Magistrate’s

          Findings & Recommendation, NIKE respectfully requests an immediate stay of proceedings to

          protect the subject matter of any appeal that NIKE would file with the Ninth Circuit concerning the

          redactions referenced in NIKE’s objections to the Findings. Assuming, arguendo, that the Court

          denies this motion, NIKE requests a brief stay be put in place for NIKE to request a stay directly

          from the Ninth Circuit. Fed. R. App. P. 8(a)(2)(A)(ii); see Hunton, 2019 WL 399708, at *3 (granting

          party’s alternative request for stay to allow time to seek relief directly from the Ninth Circuit).



            Date: December 21, 2023                   /S/ Daniel Prince

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          Page 8 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                                          ER-027
(17 of 298), Page 17 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 17 of 298

                      Case 3:18-cv-01477-JR    Document 397    Filed 12/21/23   Page 13 of 13




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               Page 9 – NIKE, INC.’S EMERGENCY MOTION FOR A STAY PENDING APPEAL
                                                                                         ER-028
(18 of 298), Page 18 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 18 of 298


                     Case 3:18-cv-01477-JR        Document 396   Filed 12/21/23   Page 1 of 4




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                                          UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON

                                               PORTLAND DIVISION




               KELLY CAHILL SARA JOHNSTON,                Case No. 3:18-cv-01477-JR
               LINDSAY ELIZABETH, and HEATHER
               HENDER, individually and on behalf of      DEFENDANT NIKE, INC.’S RENEWED
               others similarly situated,                 REQUEST FOR ORAL ARGUMENT ON
                                                          NIKE, INC.’S OBJECTIONS TO THE
                            Plaintiffs,                   MAGISTRATE JUDGE’S FINDINGS &
                                                          RECOMMENDATION DATED
                      vs.                                 OCTOBER 11, 2023 (ECF NO. 363)
                                                          PURSUANT TO FED R. CIV. P. 72 AND
               NIKE, INC., an Oregon Corporation,         CONDITIONAL REQUEST FOR
                                                          EMERGENCY STAY
                            Defendant.
                                                          ORAL ARGUMENT REQUESTED




                                                                                           ER-029
(19 of 298), Page 19 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 19 of 298

                     Case 3:18-cv-01477-JR         Document 396        Filed 12/21/23     Page 2 of 4




                       Renewed Request for Oral Argument and Request for Emergency Stay

                   On October 25, 2023, NIKE filed its objections to the Magistrate Judge’s Findings and

            Recommendation dated October 11, 2023 (the “Findings”) granting the Non-Party Media

            Organizations’ (the “Intervenors”) Renewed Motion to Unseal Judicial Records (the “Renewed

            Motion”). NIKE requested oral argument because its objections raise serious and important

            legal questions. NIKE hereby renews that request. While NIKE continues to believe in its

            position, NIKE is concurrently filing a motion (on an expedited basis) seeking a stay pending

            appeal of the Court’s decision in the event that the Court overrules NIKE’s objections to ensure

            that Plaintiffs do not furnish records currently redacted to the Intervenors for publication while

            that appeal is pending.

                   That motion notwithstanding, at any oral argument, NIKE would seek an additional stay

            of proceedings if the Court overrules NIKE’s objections to account for the period before the

            Court may consider and rule on NIKE’s emergency motion for stay. Without a stay in place

            during this period, Plaintiffs could and likely would provide unredacted versions of documents

            that are now-redacted to the Intervenors, which, in turn, would publicize such information even

            though NIKE would seek an emergency stay and an appeal. 1 Thus, in the event NIKE does not

            have the opportunity to express this in oral argument, NIKE requests an immediate stay of the




            1
              Intervenors requested that unredacted versions of the following be publicly filed: Exhibit 46 to
            the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification, ECF No.
            284–6; Exhibit 47 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class
            Certification, ECF No. 284–7; Exhibit 48 to the Declaration of Mengfei Sun in Support of
            Plaintiffs’ Motion for Class Certification, ECF No. 284–8; Exhibit 51 to the Declaration of
            Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification, ECF No. 285–1; Exhibit 52
            to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification, ECF
            No. 285–2; Paragraph 16 of the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion
            for Class Certification, ECF No. 288; Exhibit 9 to the Declaration of Byron Goldstein in Support
            of Plaintiffs’ Motion for Class Certification, ECF No. 290–4. ECF No. 343 at 5.
            Page 1 – RENEWED REQUEST FOR ORAL ARGUMENT AND REQUEST FOR STAY
                                                                                                         ER-030
(20 of 298), Page 20 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 20 of 298

                     Case 3:18-cv-01477-JR         Document 396         Filed 12/21/23      Page 3 of 4




            Court’s Order adopting the Magistrate Judge’s findings while NIKE’s emergency motion for

            stay is under consideration.

                    As argued in that motion, a stay should be granted during this interim period for the

            same reasons why it is necessary pending appeal—because a stay avoids irreparable injury and

            protects the subject matter of any appeal. The Plaintiffs likely would provide, and the

            Intervenors likely would seek to immediately publicize, unredacted documents containing the

            identities of complainants, witnesses, and subjects of internal complaints listed in certain,

            limited documents before the Court rules on NIKE’s motion to stay. See ECF Nos. 343, 346.

            Publication of this information is likely to cause emotional and reputational harm and other

            injury to the individuals named in the redacted records, and once the unredacted records are

            publicly filed, the information within them can never be fully clawed back. See Ball v. Skillz

            Inc., No. 220CV00888JADBNW, 2020 WL 10180904, at *2 (D. Nev. Nov. 16, 2020) (finding

            irreparable injury absent stay because of inability to claw back plaintiff’s anonymity from public

            record); see also Align Tech., Inc. v. SmileDirectClub, LLC, No. 23-CV-00023-EMC, 2023 WL

            2347431, at *1 (“‘[When] the information is publicly filed, what once may have been

            [confidential] no longer will be’”) (quoting Apple, Inc. v. Samsung Elecs. Co., No. 11-CV-

            01846-LHK, 2012 WL 3536800, at *1 (N.D. Cal. Aug. 15, 2012)).

                   A stay also is in the public interest, there would be little to no injury to the Intervenors if

            a stay is granted, and NIKE’s objections raise serious and important legal questions related to

            individual’s privacy interests on the merits. Therefore, if NIKE’s objections are overruled,

            NIKE requests an immediate stay during the Court’s consideration of its motion to stay.


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            Page 2 – RENEWED REQUEST FOR ORAL ARGUMENT AND REQUEST FOR STAY
                                                                                                            ER-031
(21 of 298), Page 21 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 21 of 298

                    Case 3:18-cv-01477-JR    Document 396     Filed 12/21/23   Page 4 of 4




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             Page 3 – RENEWED REQUEST FOR ORAL ARGUMENT AND REQUEST FOR STAY
                                                                                             ER-032
(22 of 298), Page 22 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 22 of 298

                              Case 3:18-cv-01477-JR          Document 384       Filed 11/08/23   Page 1 of 10



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                                              IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF OREGON
                                                       PORTLAND DIVISION

                        KELLY CAHILL, et al., individually and            Case No. 3:18-cv-01477-JR
                        on behalf of others similarly situated,
                                                            Plaintiffs,   PLAINTIFFS’ OPPOSITION TO NIKE’S
                                                                          OBJECTIONS TO THE MAGISTRATE
                        vs.                                               JUDGE’S FINDINGS AND
                                                                          RECOMMENDATION
                        NIKE, INC., an Oregon Corporation,
                                                      Defendant.          FILED WITH REDACTIONS




                      PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                      RECOMMENDATION
          888091.10

                                                                                                        ER-033
(23 of 298), Page 23 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 23 of 298

                            Case 3:18-cv-01477-JR          Document 384        Filed 11/08/23     Page 2 of 10




                                             I.      INTRODUCTION AND SUMMARY

                           In its Objections to the Magistrate Judge’s Findings and Recommendation (“F&R”), ECF

                    No. 376 (“Objections”), Nike misrepresents the complaints 1 in question and their relevance to

                    Plaintiffs’ individual and class claims. Plaintiffs present this Opposition to correct these errors,

                    which, if uncorrected, could mislead the Court. The complaints are relevant to all of Plaintiffs’

                    claims, particularly the disparate treatment claims under Title VII and the Oregon Equality Act

                    (“OEA”), which allege a pattern and practice of discrimination against women. The information

                    in this Opposition is critical to respond to Nike’s factual distortions because the Media

                    Intervenors do not have equivalent access to record evidence or familiarity with the underlying

                    legal arguments as Plaintiffs.

                           Further, given that Plaintiffs will likely try their individual claims in the coming year and

                    appeal the denial of class certification upon a final judgment, there is an ongoing need for public

                    access to relevant and accurate information to evaluate both the merits of Plaintiffs’ claims and

                    the self-interested commentary issued by Nike. Only when the names are unredacted will non-

                    parties become aware that Nike Vice Presidents have been accused of gender-based

                    discrimination and harassment. For example, the spurious nature of Nike’s claim that the




                    1
                      Nike refers to the complaints as “unsubstantiated.” Objs., ECF No. 376 at 6, 17. But, Nike has
                    never introduced evidence disputing the substance of the complaints. Moreover, after Nike
                    received the complaints, Nike’s CEO endorsed the validity of the complaints by, among other
                    statements, admitting that “[HR] processes … underserved us in recent years [and Nike needs] to
                    restore trust in places where it has eroded.” Sun Decl. Ex. 4, ECF No. 280-4 at 7. Furthermore,
                    on the basis of attorney-client privilege, Nike has refused to produce documents related to its
                    investigations of the complaints, any conclusions about the validity of the complaints, or any
                    actions taken in response. Nike should not be permitted to obtain the benefit of the privilege
                    shield while, at the same time, making arguments about the validity of the complaints. Finally, a
                    corporate witness testifying pursuant to Federal Rule of Civil Procedure 30(b)(6) admitted that
                    “some” employees were forced to “exit” as a result of the complaints but was directed by
                    counsel not to identify those employees. Sun Decl. Ex. 67, ECF No. 286-7 at 6-7.
                    PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                    RECOMMENDATION
                    PAGE 1
        888091.10

                                                                                                             ER-034
(24 of 298), Page 24 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 24 of 298

                            Case 3:18-cv-01477-JR          Document 384       Filed 11/08/23     Page 3 of 10




                    offending conduct was “consensual” between “colleagues” becomes clear when alleged harassers

                    are revealed as executives with power and influence over their targets.

                                                           II.    ARGUMENT

                    A.      Nike Misrepresents the Substance of the Complaints.

                            To support its argument that the redactions should stand, Nike emphasizes the

                    dissimilarity of the complaints and the subject matter of Plaintiffs’ individual and class action

                    claims. But Nike’s characterizations are inaccurate and misleading.

                            According to Nike, “none of the complaints at issue relate to pay disparities” and “[a]

                    handful of claimed harassment complaints tell the Court nothing about whether Plaintiffs can

                    prove a common policy or practice of pay or promotion decisions sufficient to certify a class.”

                    But, contrary to these assertions: 2

                            •   A complainant alleges “inequity in pay,” stating that she has “asked twice to
                                have [her] salary reviewed” and her “boss” while saying “that will happen”
                                has “never follow[ed] through.” She “know[s]” that she is “underpaid.” Decl.
                                of Mengfei Sun in Supp. of Pls.’ Mot. for Class Certification (“Sun Decl.”)
                                Ex. 47, ECF No. 159-7 at 3 (unredacted) / ECF No. 284-7 at 3 (redacted).

                            •   A complaint, submitted by former Nike Vice President
                                describes discrimination in the promotion process. 3 Decl. of Byron Goldstein
                                in Supp. of Pls.’ Mot. for Class Certification (“Goldstein Class Cert. Decl.”)
                                Ex. 9, ECF No. 290-4 at 19 (redacted) / Sun Decl. Ex. 50, ECF No. 159-10
                                (unredacted).            alleges that she proposed three female candidates for
                                promotion but Senior VP 4              rejected her recommendation by telling
                                her “you need a man in the role.” Sun Decl. Ex. 50, ECF No. 159-10 at 2
                                (unredacted) / Goldstein Decl. Ex. 9, ECF No. 290-4 at 20 (redacted). After

                    2
                      Plaintiffs only refer to the complaints that are the subject of the F&R. For convenience of the
                    Court, Plaintiffs cite to both the redacted and unredacted versions of these complaints.
                    3
                                     is a former Nike vice president. Decl. of Byron Goldstein in Supp. of Pls.’ Reply
                    in Supp. of Mot. to Compel Produc. of Docs. (“Goldstein Reply MTC Decl.”) Ex. 12, ECF No.
                    369-11 at 10.
                    4
                     On a Nike organization chart,                is listed as “               .” Sun Decl. Ex. 54,
                    ECF No. 285-4 at 1. This is an example of the benefit of unredacting names. By identifying
                            on an unredacted complaint, it becomes clear that a Nike executive, a VP, gave
                    explicit instructions to discriminate on the basis of gender.
                    PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                    RECOMMENDATION
                    PAGE 2
        888091.10

                                                                                                             ER-035
(25 of 298), Page 25 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 25 of 298

                            Case 3:18-cv-01477-JR        Document 384       Filed 11/08/23     Page 4 of 10




                               hearing this explicit discriminatory direction by a high-ranking Nike
                               executive,       had a “lack of faith in a fair & equitable promotion
                               process.” Id.

                           •   Another complainant,                   alleged that, despite being a “top
                               performer,” she was not promoted; she reported the problem to HR but
                               “nothing was done ….” Sun Decl. Ex. 46, ECF No. 159-6 at 2 (unredacted) /
                               ECF No. 284-6 at 2 (redacted).

                           Nike also mischaracterizes the complaints of sexual harassment. According to Nike,

                    “none of the [sex harassment] claims appear to assert allegations of non-consensual conduct.”

                    Objs., ECF No. 376 at 6 n.4. Nike further attempts to minimize the seriousness of the complaints

                    by referring to them as “allegations of philandering, consensual sex between colleagues, and

                    workplace bullying.” Id. at 9-10. In reality, the complaints reveal hostile and unlawful sexual

                    harassment that cannot reasonably be described as “consensual.”

                           •                      alleged that her supervisor,           , had a “[b]oys club
                               attitude,” “terrorized her,” and “wouldn’t stop.” Sun Decl. Ex. 46, ECF No.
                               159-6 at 2 (unredacted) / ECF No. 284-6 at 2 (redacted).              added
                               that         knows that he “can get away with it,” because “               [a
                                          5
                               Nike VP] turned a blind eye.” Id.

                           •   Another complainant alleges “examples of sexual harassment” at Nike: “Men
                               sloppy drunk putting their arms around … female coworkers while on work
                               travel,” “[m]en trying to sleep with women in their function at lower levels by
                               luring them in through promise of a ‘work dinner’ to discuss their career,” and
                               “VP men sleeping with/getting BJs from women in the organization at much
                               lower level.” Sun Decl. Ex. 47, ECF No. 159-7 at 3 (unredacted) / ECF No.
                               284-7 at 3 (redacted). The Complainant further describes that “ER [Employee
                                                                                                    6
                               Relations] and HR at this company are a joke” and that “               [
                                                                         ] was a well known sexual harasser
                               ….” Id. Additionally, the complainant identifies several Nike executives

                    5
                      The unredacted complaint identifies that             , who was a Nike VP/GM, Goldstein
                    Reply MTC Decl. Ex. 7, ECF No. 369-6 at 1, “turned a blind eye” to the “[b]oys club” attitude
                    that “terrorized” the complainant,                . Without having access to the name,
                             the public has no way to know that a company executive turned a “blind eye” to sexual
                    harassment.
                    6
                                   was a former                                    . Goldstein Reply MTC Decl.
                    Ex. 9, ECF No. 369-8 at 1. Without the unredacted complaint it is not possible to know that the
                    complainant charged that Nike’s                     was a “well known harasser.”
                    PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                    RECOMMENDATION
                    PAGE 3
        888091.10

                                                                                                           ER-036
(26 of 298), Page 26 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 26 of 298

                            Case 3:18-cv-01477-JR         Document 384        Filed 11/08/23     Page 5 of 10




                                including “              [and]               , 7” who are identified in other
                                complaints, as “known philanderers with lower level employees whom they
                                exert influence and power over.” Id.

                            •                  , a former Nike VP, 8 identified “negative, manipulative and
                                sexist behavior over the course of [her] career at Nike.” Sun Decl. Ex. 48,
                                ECF No. 159-8 at 3 (unredacted) / ECF No. 284-8 at 3 (redacted).
                                                                                        9
                                alleged that a senior Nike executive,                     , engaged in
                                “[d]isparaging, dishonest behavior” and “discredit[ed]” her “reputation” and
                                damaged her career. Id. at 4. In doing so,            made sexist criticisms
                                (“it’s like neither your boyfriend nor your husband are happy with you.”) Id.

                            •   Two lower-level female complainants recounted severe harassing conduct by
                                Nike VP                   . One complainant alleged that “                  was
                                late for his Personal Training session with me. I said, ‘oh        you are so
                                late today.’ He responded, ‘well maybe if you dressed sexier I would be on
                                time.’ He continued with ‘take that baggy jacket off and show some skin.’ I
                                tried to laugh but I was humiliated. I finished the lesson and kept it to myself
                                because of who he is at the company.” She added, “[i]t made me feel bad. I
                                was intimidated and felt degraded.” Sun Decl. Ex. 51, ECF No. 160-1 at 2
                                (unredacted) / ECF No. 285-1 at 2 (redacted). A second complainant alleged
                                that she “walked into the massage room at Nike Sports Center [and w]hen
                                [she] opened the door” she saw a female trainer who was “performing oral sex
                                on                  .” The episode “put a very bad taste in my mouth about
                                leadership and how men … take advantage of women below them.” Sun
                                Decl. Ex. 52, ECF No. 160-2 at 2 (unredacted) / ECF No. 285-2 at 2
                                (redacted).

                            •   Finally, a complainant details the problem with reporting sexual harassment to
                                HR. She alleged how one woman was “not able to do anything about” being
                                called a “bitch” by her manager because HR refused to act after a Nike vice-
                                president,                , 10 “phoned in a favor” to protect his friend. Sun
                                Decl. Ex. 49, ECF No. 159-9 at 2 (unredacted) / Goldstein Class Cert. Decl.

                    7
                                     is a Nike VP. Goldstein Reply MTC Decl. Ex. 9, ECF 369-8 at 1. Without the
                    unredacted complaint it is not possible for the public to understand that that harassing conduct
                    alleged was committed by a Nike executive and that this Nike executive, as described in other
                    complaints, engaged in harassing conduct with Nike female employees in lower level positions.
                    8
                                    is a former Nike VP. Sun Decl. Ex. 74, ECF No. 162-4 at 8.
                    9
                                        is a former Nike VP/GM. Goldstein Reply MTC Decl. Ex. 3, ECF No. 369-2
                    at 1.
                    10
                      The unredacted complaint identifies that                , who is a Nike VP, Goldstein Reply
                    MTC Decl. Ex. 12, ECF No. 369-11 at 9, “phoned in a favor” that short-circuited any
                    investigation of the harassment complaint. Only by knowing the name,                   , would
                    the public understand that a Nike VP interfered with an HR harassment investigation in order to
                    protect a friend.
                    PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                    RECOMMENDATION
                    PAGE 4
        888091.10

                                                                                                           ER-037
(27 of 298), Page 27 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 27 of 298

                            Case 3:18-cv-01477-JR           Document 384       Filed 11/08/23      Page 6 of 10




                                 Ex. 9, ECF No. 290-4 at 27 (redacted).

                           Nike’s refusal to acknowledge the seriousness of these complaints is further evidence of a

                    workplace culture imbued with gender-based discrimination. Unredacting the names would

                    enable the press and the public to investigate or challenge Nike’s characterizations and

                    mischaracterizations of the complaints.

                    B.     Nike Ignores the Relevance of the Complaints.

                           For Plaintiffs’ disparate treatment claims under Title VII and the OEA, anecdotal evidence

                    of sexual harassment, such as those in the complaints, helps “establish a general discriminatory

                    pattern.” Obrey v. Johnson, 400 F.3d 691, 698 (9th Cir. 2005).

                           1.        Sexual Harassment by Superiors is Not Consensual.
                           Nike’s tone-deaf claim that the complaints do not allege “non-consensual” conduct and,

                    instead, refer to “consensual sex between colleagues,” Objections, ECF No. 376 at 6 n.4 and 10,

                    ignores the status of the harassers as compared to the female victims. For example, Nike cites

                    two complaints involving sexual contact, referring to the participants as “individuals.” Id. at 17.

                    But Nike can only maintain the fiction of consent based on the redacted complaints. When the

                    names are unredacted, and the male harasser is identified as a Nike executive, VP

                                and the victims are identified as female employees in the roles of personal trainer and a

                    massage therapist, see section II.A, supra, the nature of the harassing conduct becomes evident. 11

                           It is well established that conduct may constitute unlawful harassment because the

                    harasser was a supervisor who exercised influence over a lower-level employee. See Zetwick v.

                    County of Yolo, 850 F. 3d 436, 445 (9th Cir. 2017) (concluding that a reasonable jury could find


                    11
                      Similarly, Nike refers to “allegations of philandering,” Objections, ECF No. 376 at 9-10, but
                    omits that the complaint identifies “known philanderers,”                and                , as
                    well as other Nike VPs, and that these Nike VPs focused upon “lower level employees whom
                    they exert influence and power over.” See section II.A, supra.
                    PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                    RECOMMENDATION
                    PAGE 5
        888091.10

                                                                                                              ER-038
(28 of 298), Page 28 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 28 of 298

                            Case 3:18-cv-01477-JR         Document 384        Filed 11/08/23     Page 7 of 10




                    that the alleged sexual harassment was actionable, in part, because of the harasser’s status as a

                    supervisor). Courts further recognize the “potentially greater impact of harassment from a

                    supervisor ….” Id. “Indeed, the Supreme Court has recognized that a ‘supervisor’s power and

                    authority invests his or her harassing conduct with a particularly threatening character.’” Id.

                    (quoting Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 763 (1998)); see also Lanyon v. Interfor

                    U.S. Inc., No. 1:16-cv-2058-MC, 2018 WL 1976023, at *7 (D. Or. Apr. 26, 2018) (“Hostile work

                    environments created by supervisors deserve more scrutiny.”).

                           The complaints describe just this type of abusive sexual harassment, such as “[m]en

                    trying to sleep with women … at lower levels by luring them in through promise of a ‘work

                    dinner’ to discuss their career” and one complainant reporting that she “was intimidated and felt

                    degraded.” See section II.A, supra. Nike takes the offensive and tone-deaf position of

                    evaluating the complaints as if no power imbalance was at play; but this is key to analyzing

                    unlawful harassment. See EEOC v. v. Fairbrook Med. Clinic, P.A., 609 F.3d 320, 329 (4th Cir.

                    2010) (“When evaluating the context in which harassment takes place, we have often focused on

                    the disparity in power between the harasser and the victim”) (internal citation & quotation marks

                    omitted); EEOC v. R & R Ventures, 244 F. 3d 334, 340 (4th Cir. 2001) (The objective severity of

                    the harassment was compounded by the fact the harasser was an “adult male in a supervisory

                    position over young women barely half his age.”). Nike’s attempt to cast coercive sexual

                    harassment as “consensual sex” or “philandering” is not only misguided, but it also ignores well-

                    established and critical aspects of the legal framework that governs the very gender-based

                    discrimination claims asserted by Plaintiffs.

                           2.      Evidence of gender-based hostility is relevant to discrimination claims.

                           In another misleading pronouncement, Nike categorically states that the complaints “have


                    PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                    RECOMMENDATION
                    PAGE 6
        888091.10

                                                                                                             ER-039
(29 of 298), Page 29 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 29 of 298

                            Case 3:18-cv-01477-JR          Document 384        Filed 11/08/23     Page 8 of 10




                    nothing to do with the pay equity and promotion claims here,” Objections, ECF No. 376 at 6

                    (emphasis in original and footnote omitted), and “tell … nothing about policy or practices of pay

                    or promotion decisions ….” Id. at 14. Nike again ignores a well-established principle, namely

                    that, “[b]ecause hostility against women underlie decisions to discharge or hire women because

                    of their gender, evidence of sexual harassment often will be relevant to claims of gender-based

                    discrimination.” EEOC v. Farmers Bros. Co., 31 F.3d 891, 898 (9th Cir. 1994). The Ninth

                    Circuit has “long recognized that ‘[t]he sexual harassment of others, if shown to have occurred,

                    is relevant and probative of [a defendant’s] general attitude of disrespect toward his female

                    employees and his sexual objectification of them.’” Zetwick, 850 F. 3d at 445 (quoting Heyne v.

                    Caruso, 69 F.3d 1475, 1479-81 (9th Cir. 1995)); see also McGinist v. GTE Serv. Corp., 360 F.3d

                    1103, 1117 (9th Cir. 2004) (If “hostility pervades a workplace, a plaintiff may establish a

                    violation of Title VII, even if such hostility was not directly targeted at the plaintiff ….”). Here,

                    the pattern of gender-based hostility described in the complaints is relevant to Plaintiffs’ claims

                    which, at their core, are premised on the devaluation of female employees.

                           This is particularly true where, as here, the gender-based hostility is demonstrated by

                    upper-level executives, as shown by the unredacted complaints, see section II.A, supra. In such

                    an environment, evidence of sexual harassment can support class pattern or practice claims. See,

                    e.g., Ellis v. Costco, 285 F.R.D. 492, 520 (N.D. Cal. 2012) (evidence of a company culture that

                    “fosters and reinforces stereotyped thinking” supports the claim that the company operates under

                    a “common companywide promotion system”); Chen-Oster v. Goldman Sachs & Co., 325

                    F.R.D. 55, 76-77 (S.D.N.Y. 2018) (pattern or practice discrimination class established by

                    evidence including “sexualization” of female class members).

                           Not only do the complaints contain reports of discrimination in pay and promotions

                    PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                    RECOMMENDATION
                    PAGE 7
        888091.10

                                                                                                              ER-040
(30 of 298), Page 30 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 30 of 298

                             Case 3:18-cv-01477-JR         Document 384       Filed 11/08/23     Page 9 of 10




                     supporting Plaintiffs’ equal pay and disparate impact claims, they also evidence a pervasive

                     hostility to women at Nike and a workplace culture that turns a blind eye to bad behavior of

                     those with power, in support of Plaintiffs’ disparate treatment claims. Nike’s claim that the

                     complaints lack relevance to the individual or class claims is simply wrong.

                                                         III.    CONCLUSION

                            For the reasons set forth above, Plaintiffs respectfully oppose Nike’s objections to the

                     F&R.

                        Dated: November 8, 2023                 Respectfully submitted,

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                     PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                     RECOMMENDATION
                     PAGE 8
         888091.10

                                                                                                           ER-041
(31 of 298), Page 31 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 31 of 298

                             Case 3:18-cv-01477-JR   Document 384      Filed 11/08/23     Page 10 of 10




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                       PLS.’ OPP’N TO NIKE’S OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS AND
                       RECOMMENDATION
                       PAGE 9
           888091.10

                                                                                                  ER-042
(32 of 298), Page 32 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 32 of 298


                     Case 3:18-cv-01477-JR        Document 383    Filed 11/08/23   Page 1 of 20




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                                           UNITED STATES DISTRICT COURT
                                                DISTRICT OF OREGON
                                                PORTLAND DIVISION



                                                                 Case No. 3:18-cv-01477-JR
               KELLY CAHILL, et al., individually and
               on behalf of others similarly situated,           RESPONSE OF NON-PARTY MEDIA
                                                                 ORGANIZATIONS INSIDER, INC.
                             Plaintiffs,                         d/b/a BUSINESS INSIDER, ADVANCE
                                                                 LOCAL MEDIA LLC d/b/a
                      v.                                         OREGONIAN MEDIA GROUP, AND
                                                                 AMERICAN CITY BUSINESS
               NIKE, INC., an Oregon Corporation,                JOURNALS, INC. d/b/a PORTLAND
                                                                 BUSINESS JOURNAL TO
                             Defendant.                          DEFENDANT’S OBJECTIONS TO
                                                                 THE MAGISTRATE JUDGE’S
                                                                 ORDER PURSUANT TO FED. R. CIV.
                                                                 P. 72(a)




                                                                                             ER-043
(33 of 298), Page 33 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 33 of 298

                        Case 3:18-cv-01477-JR                       Document 383                  Filed 11/08/23               Page 2 of 20




                                                                 TABLE OF CONTENTS


             TABLE OF AUTHORITIES ......................................................................................................... iii

             INTRODUCTION ........................................................................................................................... 1

             BACKGROUND ............................................................................................................................. 2

                A.      The Parties’ Protective Order and Intervenors’ Initial Motion to Intervene and
                        Unseal ................................................................................................................................. 2

                B.      The Magistrate’s First Findings and Recommendation on Intervention and
                        Unsealing ............................................................................................................................ 3

                C.      Denial of Plaintiffs’ Motion for Class Certification ........................................................... 3

                D.      Remaining Stipulated Redactions ...................................................................................... 4

                E.      Media Intervenors’ Renewed Motion to Unseal and the Magistrate’s Second
                        Findings and Recommendation on Unsealing .................................................................... 5

             ARGUMENT................................................................................................................................... 5

                 A.       Standard of Review ........................................................................................................... 5

                 B.       The Magistrate Judge Correctly Found that “Compelling Reasons” Is the Proper
                          Standard for Evaluating Requests to Seal Judicial Records Filed in Support of
                          Class Certification ............................................................................................................. 6

                 C.       Nike Continues to Improperly Seek to Shift its Burden to Media Intervenors ................. 9

                 D.       Nike’s Conclusory Claims of Potential Reputational and Privacy Harms Are
                          Insufficient to Overcome the Burdens Under Both the “Compelling Reasons”
                          and “Good Cause” Standards .......................................................................................... 10

                 E.       Nike Mischaracterizes Media Intervenors’ Motives ....................................................... 13

             CONCLUSION ............................................................................................................................. 15




             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page ii -
                                                                                                                                                        ER-044
(34 of 298), Page 34 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 34 of 298

                        Case 3:18-cv-01477-JR                     Document 383               Filed 11/08/23             Page 3 of 20




                                                            TABLE OF AUTHORITIES

             Cases

             Adtrader, Inc. v. Google LLC,
               No. 17-CV-7082, 2020 WL 6391210 (N.D. Cal. Mar. 24, 2020).......................................... 8, 11

             Bracken v. Fla. League of Cities,
               No 1:19-CV-602, 2019 WL 1867921 (D. Or. Apr. 24, 2019) ................................................... 12

             CBS, Inc. v. Democratic Nat’l Comm.,
              412 U.S. 94 (1973) ..................................................................................................................... 14

             Coates v. Farmers Grp., Inc.,
               No. 15-CV-1913, 2016 WL 8223348 (N.D. Cal. Jan. 25, 2016) ................................................. 7

             Ctr. for Auto Safety v. Chrysler Grp., LLC,
               809 F.3d 1092 (9th Cir. 2016) ....................................................................................... 1, 7, 8, 10

             Fodera v. Equinox Holdings, Inc.,
               341 F.R.D. 616 (N.D. Cal. 2022) ................................................................................................. 8

             Foltz v. State Farm Mut. Auto. Ins. Co.,
               331 F.3d 1122 (9th Cir. 2003) ..................................................................................... 7, 9, 10, 11

             Hagestad v. Tragesser,
              49 F.3d 1430 (9th Cir. 1995) ....................................................................................................... 6

             Heath v. Google LLC,
              No. 15-CV-1824, 2018 WL 11465387 (N.D. Cal. June 22, 2018) .............................................. 7

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               101 F.R.D. 34 (C.D. Cal. 1984) ................................................................................................. 15

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               686 F.3d 1115 (9th Cir. 2012) ..................................................................................................... 7

             Kamakana v. City & Cnty. of Honolulu,
               447 F.3d 1172 (9th Cir. 2006) ..................................................................................... 7, 9, 10, 12

             Kautsman v. Carrington Mortg. Servs.,
               2017 U.S. Dist. LEXIS 153550 (W.D. Wash. Sept. 19, 2017) .................................................... 7

             Miami Herald Publ’g Co. v. Tornillo,
              418 U.S. 241 (1974) ................................................................................................................... 14

             Oliner v. Kontrabecki,
               745 F.3d 1024 (9th Cir. 2014) ................................................................................................... 12

             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page iii -
                                                                                                                                               ER-045
(35 of 298), Page 35 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 35 of 298

                         Case 3:18-cv-01477-JR                      Document 383                Filed 11/08/23             Page 4 of 20




             Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
               307 F.3d 1206 (9th Cir. 2002) ............................................................................................... 6, 10

             Polaris Innovations Ltd. v. Kingston Tech. Co.,
               No. 16-CV-300, 2017 WL 2806897 (C.D. Cal. Mar. 30, 2017) ................................................ 12

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               No. 3:17-CV-67, 2018 WL 259386 (N.D. W. Va. Jan. 2, 2018) ................................................. 6

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               No. 2:20-CV-2292, 2023 WL 1795856 (D. Nev. Feb. 6, 2023) .................................................. 7

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               No. 13-CV-2925, 2016 WL 1257501 (S.D. Cal. Mar. 31, 2016) ................................................ 7

             Taylor v. Astrue,
               32 F. Supp. 3d 253 (N.D.N.Y. 2012) ....................................................................................... 5, 6

             Other Authorities

             Fed. R. Civ. P. 26(c) ...................................................................................................................... 11

             Fed. R. Civ. P. 72(a) ........................................................................................................................ 5

             Fed. R. Civ. P. 72(b) ........................................................................................................................ 5

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               Discrimination Suit, The Oregonian (Nov. 18, 2020),
               https://perma.cc/WGC3-78W7 .................................................................................................. 13

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               The Oregonian (July 7, 2018),
               https://perma.cc/9AJK-2BE4 ..................................................................................................... 13

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               N.Y. Times (Apr. 28, 2018),
               https://perma.cc/2PTE-23LZ ..................................................................................................... 13

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              Harassment and Bias, N.Y. Times (May 5, 2018),
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              https://perma.cc/R3M4-63EE .................................................................................................... 13




             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page iv -
                                                                                                                                                   ER-046
(36 of 298), Page 36 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 36 of 298

                        Case 3:18-cv-01477-JR                  Document 383              Filed 11/08/23           Page 5 of 20




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              Discrimination Lawsuit Sealed, Insider (Mar. 16, 2022),
              https://perma.cc/N7V4-GJ7D .................................................................................................... 13

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              ‘Behavior’, The Oregonian (Mar. 16, 2018),
              https://perma.cc/2FTE-M3W2 ................................................................................................... 13

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               https://perma.cc/9EP6-SYML .................................................................................................... 13

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               Bloomberg (Feb. 27, 2019),
               https://perma.cc/V7M3-Q9EV ................................................................................................... 13




             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page v -
                                                                                                                                        ER-047
(37 of 298), Page 37 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 37 of 298

                     Case 3:18-cv-01477-JR         Document 383        Filed 11/08/23     Page 6 of 20




                    Non-party media organizations Insider, Inc. d/b/a Business Insider, Advance Local Media

             LLC d/b/a Oregonian Media Group, and American City Business Journals, Inc. d/b/a Portland

             Business Journal (collectively, the “Media Intervenors”) respectfully respond to Defendant Nike’s

             objections to the Magistrate Judge’s Findings & Recommendation dated October 11, 2023 (ECF

             No. 363) and request that the Court affirm the Magistrate’s order pursuant to Federal Rule of Civil

             Procedure 72(a).

                                                     INTRODUCTION

                    The Magistrate correctly granted Media Intervenors’ renewed motion to unseal judicial

             records related to class certification because, as the proponent for sealing, Nike failed to show

             compelling reasons supported by specific factual findings that outweigh the historic presumption

             and public interest in favor of openness. Nike’s objections do not demonstrate that any of the

             Magistrate’s findings are clearly erroneous or contrary to law and should be rejected for the

             following reasons. First, Nike continues to argue for application of the incorrect “good cause”

             standard to justify sealing judicial records related to a motion for class certification. Instead, as

             the Magistrate found, Nike must meet the more stringent “compelling reasons” standard adopted

             by the Ninth Circuit for these matters in Center for Auto Safety v. Chrysler Group, LLC, 809 F.3d

             1092 (9th Cir. 2016). Second, while the public interest in this proceeding, which will determine

             whether one of the country’s most prominent public companies is properly handling claims of

             sexual harassment and misconduct, is undeniable, Nike continues to improperly seek to shift its

             burden to justify sealing to Media Intervenors; the Magistrate correctly imposed that burden on

             Nike. Third, in lieu of presenting concrete evidence of compelling reasons, or even good cause,

             to redact the names of all employees identified in workplace misconduct complaints, Nike

             reiterates vague privacy and reputational concerns that are too general to meet either standard and



             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 1 -
                                                                                                           ER-048
(38 of 298), Page 38 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 38 of 298

                     Case 3:18-cv-01477-JR        Document 383        Filed 11/08/23     Page 7 of 20




             which have already been correctly rejected by the Magistrate Judge. Finally, Nike improperly

             uses its objections to repeat its past ad hominem attacks on Media Intervenors’ motives for seeking

             to unseal judicial records in this case, which are unwarranted and irrelevant. In sum, Nike’s

             objections fail to assert any legitimate arguments that would justify rejection or modification of

             the Magistrate Judge’s findings.

                                                     BACKGROUND

                A.      The Parties’ Protective Order and Intervenors’ Initial Motion to Intervene and
                        Unseal

                     On June 17, 2019, this Court entered a stipulated umbrella protective order, ECF No. 82

             (“Protective Order”), modeled on the Court’s Tier II template to govern the Parties’ exchange of

             discovery materials. Invoking the Protective Order, the Parties thereafter filed thousands of pages

             of documents under seal. See ECF No. 205 Appendix A. In March 2022, Media Intervenors

             notified the Parties of their intent to intervene for the limited purpose of moving to unseal those

             documents to vindicate the press and public’s presumptive right of access to judicial records. ECF

             No. 205 at 5–7. Media Intervenors conferred with the Parties to reach a resolution, leading to the

             public filings of four docket entries previously submitted by Defendant under seal. Id. But

             Defendant ultimately declined to unseal most of the documents at issue, including its Response to

             the Class Motion, and instead moved to seal the documents the Parties had to that point filed under

             seal pursuant only to their Protective Order. Id. at 7; ECF No. 171. On April 8, 2022, Media

             Intervenors brought their initial Motion to Intervene for the Limited Purpose of Moving to Unseal

             Judicial Records and to Oppose Defendant’s Motion to Seal. ECF No. 205.

                     Defendant opposed Media Intervenors’ Motion, contesting the public’s presumptive right

             of access to the sealed judicial records and arguing that “[t]hose redactions w[ould] be addressed

             in due course” under the auspices of the Protective Order. ECF No. 219 at 2. Plaintiffs took no

             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 2 -
                                                                                                         ER-049
(39 of 298), Page 39 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 39 of 298

                     Case 3:18-cv-01477-JR        Document 383        Filed 11/08/23     Page 8 of 20




             position on Media Intervenors’ Motion, emphasizing that their lack of a position stemmed not from

             opposition to unsealing, but from a desire not to disturb the outcome of “months” of “negotiating

             in good faith with Nike about what documents should remain sealed.” ECF No. 218 at 2. Plaintiffs

             clarified that they “[were] not advocating that any documents should remain sealed,” and were

             “cognizant of the presumption that documents filed with the Court should not be sealed.” Id.

                B.      The Magistrate’s First Findings and Recommendation on Intervention and
                        Unsealing

                     On September 30, 2022, Magistrate Judge Russo recommended granting the Motion to

             Intervene and the Court subsequently entered the Magistrate’s Findings and Recommendation on

             intervention. ECF Nos. 273, 275. The Magistrate recognized that the Media Intervenors’ interests

             were not represented with respect to stipulated redactions produced under the Parties’ Protective

             Order. ECF No. 273 at 11. Because of the Parties’ ongoing efforts to unseal and unredact existing

             filings, and the pendency of the Plaintiffs’ class certification motion, Media Intervenors’ request

             for further briefing and to unseal additional documents was denied. Id. at 12–14. However, the

             Magistrate further instructed that “following the final resolution of plaintiffs’ Motion for Class

             Certification, the non-party media organizations may file a renewed motion for the purposes of

             opposing any remaining stipulated redactions.” Id. at 14. Meanwhile, Magistrate Judge Russo

             continued to oversee the Parties’ ongoing efforts to “review previously sealed documents and re-

             lodge unsealed or redacted versions where appropriate.” Id. at 13. This process led the Parties to

             refile redacted versions of all but one of the previously sealed documents identified in Appendix

             A of the Motion to Intervene. See ECF No. 229 Updated Appendix A; ECF Nos. 276–309.

                C.      Denial of Plaintiffs’ Motion for Class Certification

                     On November 22, 2022, Magistrate Judge Russo entered Findings and Recommendation

             concluding that Plaintiffs’ motion for class certification should be denied. ECF No. 310. On

             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 3 -
                                                                                                         ER-050
(40 of 298), Page 40 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 40 of 298

                     Case 3:18-cv-01477-JR         Document 383        Filed 11/08/23     Page 9 of 20




             March 21, 2023, the District Court adopted those Findings and Recommendation. ECF No. 335.

             Plaintiffs petitioned the Ninth Circuit for leave to appeal their motion for class certification. See

             ECF No. 337. On June 1, 2023, the Ninth Circuit denied Plaintiffs’ petition. ECF No. 339.

                D.      Remaining Stipulated Redactions

                     Once the motion for class certification was resolved, Media Intervenors reviewed the

             remaining redacted judicial records related to Plaintiffs’ motion for class certification and

             identified seven documents where continued redaction withholds key evidence presented in

             support of class certification:

                            • Exhibit 46 to the Declaration of Mengfei Sun in Support of
                            Plaintiffs’ Motion for Class Certification. ECF No. 284-6.

                            • Exhibit 47 to the Declaration of Mengfei Sun in Support of
                            Plaintiffs’ Motion for Class Certification. ECF No. 284-7.

                            • Exhibit 48 to the Declaration of Mengfei Sun in Support of
                            Plaintiffs’ Motion for Class Certification. ECF No. 284-8.

                            • Exhibit 51 to the Declaration of Mengfei Sun in Support of
                            Plaintiffs’ Motion for Class Certification. ECF No. 285-1.

                            • Exhibit 52 to the Declaration of Mengfei Sun in Support of
                            Plaintiffs’ Motion for Class Certification. ECF No. 285-2.

                            • Paragraph 16 of the Declaration of Byron Goldstein in Support of
                            Plaintiffs’ Motion for Class Certification. ECF No. 288.

                            • Exhibit 9 to the Declaration of Byron Goldstein in Support of
                            Plaintiffs’ Motion for Class Certification. ECF No. 290-4.

                     Although redactions limit Media Intervenors’ ability to ascertain the full contents of these

             judicial records, they appear to contain information concerning allegations of harassment and

             abuse involving Nike executives.




             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 4 -
                                                                                                           ER-051
(41 of 298), Page 41 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 41 of 298

                     Case 3:18-cv-01477-JR        Document 383        Filed 11/08/23     Page 10 of 20




                E.      Media Intervenors’ Renewed Motion to Unseal and the Magistrate’s Second
                        Findings and Recommendation on Unsealing

                     Pursuant to Local Rule 7-1(a), counsel for Media Intervenors conferred in good faith with

             counsel for Plaintiffs and Defendant regarding their intended renewed motion to unseal. Plaintiffs

             supported Media Intervenors’ request to unseal the documents. ECF No. 343. Nike did not support

             Media Intervenors’ request and, unable to resolve the dispute, on August 9, 2023, Media

             Intervenors filed a Renewed Motion to Unseal Judicial Records. Id. Nike opposed the Renewed

             Motion, ECF No. 345, and following full briefing, on October 11, 2023, the Magistrate entered

             Findings & Recommendation granting the renewed motion.                 ECF No. 363 (hereinafter

             “Magistrate’s Findings”). Nike filed objections to the Magistrate’s Findings and Recommendation

             on October 25, 2023. ECF No. 376 (hereinafter “Objections”).

                                                       ARGUMENT

                A.      Standard of Review

                     The Magistrate Judge’s finding should be reviewed by the District Court de novo. Under

             Federal Rule of Civil Procedure 72(b), when reviewing a pretrial matter dispositive of the party’s

             claim or defense “[t]he district judge must determine de novo any part of the magistrate judge’s

             disposition that has been properly objected to. The district judge may accept, reject, or modify the

             recommended disposition; receive further evidence; or return the matter to the magistrate judge

             with instructions.” Fed. R. Civ. P. 72(b)(3). Pursuant to Rule 72(a), the district judge must

             consider any timely objection and “modify or set aside any part of the order that is clearly

             erroneous or is contrary to law.”

                     For the de novo standard to apply, a party’s objections must be specific. If the objecting

             party “merely reiterates the same arguments made” in the original briefs submitted to the

             magistrate, then the court conducts only a clear error review. See Taylor v. Astrue, 32 F. Supp. 3d

             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 5 -
                                                                                                          ER-052
(42 of 298), Page 42 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 42 of 298

                     Case 3:18-cv-01477-JR        Document 383        Filed 11/08/23     Page 11 of 20




             253, 260–61 (N.D.N.Y. 2012) (explaining that plaintiff’s objections repeated the same arguments

             made in the brief in support of his motion for judgment on the pleadings and the Magistrate Judge’s

             report-recommendation was free of clear error because he “employed the proper standards,

             accurately recited the facts, and reasonably applied the law to those facts”); Reynolds v. Saad, No.

             3:17-CV-67, 2018 WL 259386, at *2 (N.D. W. Va. Jan. 2, 2018) (finding that de novo review was

             not required because petitioner “presented no new material facts or arguments in his objections to

             the Magistrate Judge’s R&R”).

                     Here, Nike objects to the Magistrate Judge’s finding that it must demonstrate “compelling

             reasons” to justify sealing court records filed in support of Plaintiffs’ motion for certification.

             Objections at 7. This is a legal question and should be reviewed de novo by this Court. Nike’s

             further objections are otherwise simply a recitation of the same general and conclusory privacy

             and reputational arguments that were presented to the Magistrate Judge. Whether the Magistrate’s

             findings are reviewed de novo or for clear error, these claims lack adequate specificity to overcome

             the presumption of public access in this case.

                B.      The Magistrate Judge Correctly Found that “Compelling Reasons” Is the Proper
                        Standard for Evaluating Requests to Seal Judicial Records Filed in Support of
                        Class Certification

                     Nike continues to misapply the standard for sealing judicial records filed in connection

             with a motion for class certification. The Ninth Circuit recognizes a strong presumption in favor

             of access to judicial records that stems from the “public interest in understanding the judicial

             process.” Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1213 (9th Cir.

             2002) (quoting Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995) (recognizing that when

             courts are determining if the common law right of access should be overridden, they must begin

             with a strong presumption in favor of access to information in civil cases)). To overcome this



             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 6 -
                                                                                                          ER-053
(43 of 298), Page 43 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 43 of 298

                    Case 3:18-cv-01477-JR         Document 383        Filed 11/08/23     Page 12 of 20




             presumption, a party seeking redaction or sealing must show that there are compelling reasons for

             concealing the information from the public. Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d

             1122, 1135 (9th Cir. 2003). This showing is particularized to each document or portion of a

             document the party seeks to seal. Id. at 1138–39.

                    The Ninth Circuit has sometimes applied a more lenient “good cause” standard to justify

             sealing documents filed in connection with non-dispositive motions. See In re Midland Nat’l Life

             Ins. Co. Annuity Sales Pracs. Litig., 686 F.3d 1115, 1119 (9th Cir. 2012) (per curiam). The Court

             has made clear that the relevant standard “turn[s] on whether the motion is more than tangentially

             related to the merits of a case.” Magistrate’s Findings at 4 (quoting Ctr. for Auto Safety, 809 F.3d

             at 1101 (applying the compelling reasons standard to documents related to putative class action

             plaintiffs’ motion for preliminary injunction)).1 Proceedings demanding a higher threshold for

             sealing involve “the presentation of substantial evidence,” “requir[ing] the court to address the

             merits of [the] case.” Ctr. for Auto Safety, 809 F.3d at 1099. Thus, the terms “dispositive” and

             “nondispositive” are not meant to be “mechanical classifications.” Id. at 1098. Instead, courts

             must look at how strongly a motion relates to the merits of the case. Id. (noting that even routine

             motions that would generally be considered nondispositive can be particularly relevant to the

             outcome of a case). Here, adjudication of Plaintiffs’ motion for class certification, which required


             1
                     Nike’s reliance on Sessa v. Ancestry.com Operations Inc., No. 2:20-CV-2292, 2023 WL
             1795856 (D. Nev. Feb. 6, 2023), to argue that courts in the Ninth Circuit apply the “good cause
             standard” to seal class certification documents is misplaced. See Objections at 8. The Sessa
             court relied on Kamakana v. City & County of Honolulu, 447 F.3d 1172 (9th Cir. 2006) and
             overlooked the Ninth Circuit’s clarification in Center for Auto Safety that “compelling reasons”
             is the applicable sealing standard for documents in the class certification context. Sessa, 2023
             WL 1795856, at *1. All other cases Nike relies upon similarly ignore the Ninth Circuit’s
             operative decision in Center for Auto Safety. See Objections at 8 (citing Heath v. Google LLC,
             No. 15-CV-1824, 2018 WL 11465387 (N.D. Cal. June 22, 2018); Kautsman v. Carrington
             Mortg. Servs., 2017 U.S. Dist. LEXIS 153550 (W.D. Wash. Sept. 19, 2017); Stoba v.
             Saveology.com, LLC, No. 13-CV-2925, 2016 WL 1257501 (S.D. Cal. Mar. 31, 2016); Coates v.
             Farmers Grp., Inc., No. 15-CV-1913, 2016 WL 8223348 (N.D. Cal. Jan. 25, 2016).
             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 7 -
                                                                                                          ER-054
(44 of 298), Page 44 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 44 of 298

                     Case 3:18-cv-01477-JR          Document 383        Filed 11/08/23      Page 13 of 20




             assessments of voluminous evidentiary submissions and the merits of the case, unquestionably

             requires application of the “compelling reasons” standard to any requests to seal related judicial

             records. See ECF No. 310 at 31–32; ECF Nos. 148–167, 185–187.

                     Accordingly, the Magistrate Judge correctly noted that Plaintiffs’ reliance on internal Nike

             misconduct complaints, while not entirely determinative, “formed a crucial part of their motion,”

             thus making the compelling reasons standard appropriate for evaluating the continued redaction of

             names found in those complaints. Magistrate’s Findings at 4. Despite this, Nike continues to

             wrongfully assert that the Motion for Class Certification in this case is nondispositive and therefore

             subject to the “good cause” standard. Objections at 2. However, courts in the Ninth Circuit

             routinely apply the “compelling reasons” standard when ruling on motions to seal documents

             relating to class certification. See Fodera v. Equinox Holdings, Inc., 341 F.R.D. 616, 634–35 (N.D.

             Cal. 2022) (finding that the requesting party incorrectly applied the “good cause” standard in its

             motions to seal documents related to class certification and denying the motions for failing to

             present specific, compelling reasons for sealing); see also Adtrader, Inc. v. Google LLC, No. 17-

             CV-7082, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24, 2020) (following “numerous other district

             courts within the Ninth Circuit in concluding that the compelling reasons standard applies to

             motions to seal documents relating to class certification”).

                     Plaintiffs’ Motion for Class Certification was plainly “more than tangentially related to the

             merits of [this] case.” Ctr. for Auto Safety, 809 F.3d at 1101. As the Magistrate Judge’s order

             correctly explained, “[t]he evidence sought to be unsealed . . . relates to commonality and for

             purposes of plaintiffs’ disparate impact claims, proof of commonality overlaps with the merits

             because both look at the reason for a particular employment decision.” Magistrate’s Findings at

             4. A court’s decision whether to certify a class is critical to the litigation and it necessarily follows



             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 8 -
                                                                                                               ER-055
(45 of 298), Page 45 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 45 of 298

                     Case 3:18-cv-01477-JR        Document 383        Filed 11/08/23     Page 14 of 20




             that the public in general (including potential class members) should have access to filings relating

             to that certification decision. Accordingly, Nike must demonstrate “compelling reasons” to

             maintain under seal key information from judicial records Plaintiffs submitted in support of their

             class certification motion.

                C.      Nike Continues to Improperly Seek to Shift its Burden to Media Intervenors

                     Nike maintains that the Magistrate Judge “erroneously focus[ed] on the relationship

             between the redacted documents and Plaintiffs’ Motion for Class Certification.” Objections at 9.

             In so arguing, Nike seeks to shift its burden to Media Intervenors to show the connection between

             the redacted documents and the substantive rights of the Parties. Nike also repeatedly downplays

             the public’s interest in the redacted information given the purported “lack of relevance of such

             information to the pay equity and promotion claims asserted in this lawsuit.” Id. at 12. Again,

             this line of argument incorrectly burdens Media Intervenors with the task of demonstrating

             “compelling reasons” to unseal, when in fact, the burden rests with Nike to present compelling

             reasons to justify sealing the information from the public. Foltz, 331 F.3d at 1130–31.

                     At the start of this case, the Parties agreed to redact the names of Nike complainants,

             witnesses, and accused harassers, but that agreement has since ceased. Magistrate’s Findings at 2

             n.1. To date, Nike has provided no specific justifications for continued redaction of the names of

             the complainants, witnesses, and accused harassers. Further, the Plaintiffs in this case now support

             the motion to unseal. Id. To successfully argue for sealing under the “compelling reasons”

             standard, the party seeking sealing must demonstrate specific factual findings that outweigh the

             historic presumption and public interest in favor of access. Kamakana, 447 F.3d at 1178–79. Nike

             is, in effect, asking for a presumption in favor of closure and requiring Media Intervenors to show

             “compelling reasons” for unsealing this information from the public.             Nike’s position is



             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 9 -
                                                                                                           ER-056
(46 of 298), Page 46 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 46 of 298

                     Case 3:18-cv-01477-JR        Document 383       Filed 11/08/23     Page 15 of 20




             inconsistent with clear Ninth Circuit holdings that the presumptive right of access “applies fully”

             to judicial records of this nature. Id.; Ctr. for Auto Safety, 809 F.3d at 1101. It is not the

             responsibility of Media Intervenors to affirmatively prove why the public deserves this

             information.

                     In any event, the public’s interest in Nike’s case is clear. Nike is one of the largest and

             most prominent brands in the world, and its handling of workplace harassment and discrimination

             claims is of significant importance to American consumers and shareholders. The Court reviewed

             the redacted identities of Nike complainants, witnesses, and employees who allegedly engaged in

             misconduct when ruling on the Plaintiffs’ Motion for Class Certification. To foster a greater

             understanding of the judicial process, the public has a right to know what evidence was relied on—

             and what evidence was rejected—in making decisions in this high-profile litigation. Phillips ex

             rel. Estates of Byrd, 307 F.3d at 1213.

                D.      Nike’s Conclusory Claims of Potential Reputational and Privacy Harms Are
                        Insufficient to Overcome the Burdens Under Both the “Compelling Reasons” and
                        “Good Cause” Standards

                     Applying the “compelling reasons” standard, the Magistrate Judge correctly found that

             Nike’s privacy and reputational harm arguments rest on “generalized assertions” regarding the

             need to redact names and seal information that are insufficient to support continued sealing.

             Magistrate’s Findings at 5; see also Foltz, 331 F.3d at 1130–31. Yet, when given the chance to

             object, Nike once again fails to provide any specific examples or an evidentiary showing of the

             potential harm that the complainants, witnesses, and subjects of the complaints would endure if

             their names were unredacted. Nike’s arguments thus fall far short of the showing necessary to

             meet its burden under Ninth Circuit law.




             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 10 -
                                                                                                         ER-057
(47 of 298), Page 47 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 47 of 298

                    Case 3:18-cv-01477-JR         Document 383       Filed 11/08/23     Page 16 of 20




                    Nike alleges that the Findings and Recommendation ignore the privacy interests of the

             named individuals and cites the Federal Rules as evidence that such concerns are compelling

             enough to justify sealing. Objections at 9. But while Federal Rule of Civil Procedure 26(c)(1)

             allows for sealing to spare a person or party “annoyance, embarrassment, oppression, or undue

             burden or expense,” this rule only applies to the application of the “good cause” standard in the

             discovery context. As discussed, this is not the controlling standard in this case. Where, as here,

             the “compelling reasons” standard applies, the proponent of sealing must present arguments

             “supported where possible by affidavits and concrete examples, rather than broad, conclusory

             allegations of potential harm.” Foltz, 331 F.3d at 1130–31 (citation omitted). This showing must

             be made for each document or portion of a document that the party wishes to seal. Id. at 1138–

             39. Examples of specific harms that may satisfy this standard include situations where confidential

             business information could be used improperly by competitors or could be weaponized to gratify

             private spite. See, e.g., Adtrader, Inc., 2020 WL 6391210, at *2 (finding that, in accordance with

             local rules, Google submitted a table of all documents they sought to have sealed and provided

             compelling reasons why each document listed should be redacted in order to “protect Google’s

             sensitive, non-public, confidential, and propriet[ar]y business information”). Nike has made no

             specific allegation that such harm would result from unsealing any particular document at issue.

                    Indeed, Nike has still not provided specific reasoning or an evidentiary showing supporting

             sealing as to each document. Objections at 12; Foltz, 331 F.3d at 1138–39. Nike refers to only

             six of the seven exhibits at issue in its discussion of the supposed personal interests at stake.

             Objections at 12. And instead of pointing the Court to evidence such as affidavits describing

             specific potential harm, Nike resorts back to its same imprecise claims of “public scrutiny” and

             “reputational damage,” id. at 11–13, that the Magistrate Judge correctly found were insufficient to



             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 11 -
                                                                                                         ER-058
(48 of 298), Page 48 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 48 of 298

                    Case 3:18-cv-01477-JR          Document 383        Filed 11/08/23     Page 17 of 20




             outweigh the public’s interest in disclosure. Magistrate’s Findings at 5 (citing Bracken v. Fla.

             League of Cities, No 1:19-CV-602, 2019 WL 1867921, at *4 (D. Or. Apr. 24, 2019) (finding that

             “[t]he mere fact that the production of records may lead to a litigant’s embarrassment,

             incrimination, or exposure to further litigation will not, without more, compel the court to seal its

             records”)). Put simply, “assertions about possible harm” that are so vague “that there is no

             meaningful way to realistically gauge how”—or even whether—“disclosure would” actually be

             harmful are insufficient to seal court records. Polaris Innovations Ltd. v. Kingston Tech. Co., No.

             16-CV-300, 2017 WL 2806897, at *6 (C.D. Cal. Mar. 30, 2017).

                     Vague privacy and reputational interests do not rise to the level demanded by the

             “compelling reasons” standard.      Federal courts have consistently found that assertions that

             information might be embarrassing or damaging to an individual’s reputation do not outweigh the

             public’s right of access. Kamakana, 447 F.3d at 1178–79 (holding that, under the compelling

             reasons standard, “[t]he mere fact that the production of records may lead to a litigant’s

             embarrassment, incrimination, or exposure to further litigation will not, without more, compel the

             court to seal its records”); Oliner v. Kontrabecki, 745 F.3d 1024, 1026 (9th Cir. 2014) (holding

             that “avoid[ing] embarrassment or annoyance” is not a compelling enough reason to justify a

             request to seal an entire record of proceedings); Bracken, 2019 WL 1867921, at *4 (explaining

             that compelling reasons to justify sealing court records exist only when those records could be

             used for “improper purposes” and holding that “[t]he desire for privacy is not a compelling reason

             sufficient to outweigh the public’s interest in disclosure” (citation omitted)).

                    Nike also asserts concerns that “[u]nredacting complainants’ names . . . would have a

             chilling effect on confidential reporting in the workplace,” but Nike’s claims that it “takes

             considerable precautions to protect the confidentiality of individuals” who make workplace



             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 12 -
                                                                                                           ER-059
(49 of 298), Page 49 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 49 of 298

                      Case 3:18-cv-01477-JR      Document 383       Filed 11/08/23    Page 18 of 20




             complaints or are subjects and witnesses in these matters are unproven and irrelevant. Objections

             at 12. Indeed, Nike offers no concrete evidence of the measures it has in place to maintain

             confidentiality. Id. Nike has not presented the Court with any confidentiality agreements signed

             by complainants or produced any documentation that would suggest third parties provided

             information under the promise of confidentiality. Id. Critically, whatever general privacy or

             reputational interests Nike asserts can be easily overcome by the public’s right to information

             regarding the handling of sexual harassment and misconduct claims by the largest sportswear

             brand in the world.2

                 E.      Nike Mischaracterizes Media Intervenors’ Motives

                      While the Magistrate Judge correctly ignored Nike’s baseless attacks on Media

             Intervenors’ supposed motivations for seeking unsealing, Nike uses its objections to double-down

             on its unsubstantiated argument. Objections at 1. Nike accuses Media Intervenors of trying to

             “embarrass and shame” individuals by disclosing supposed confidential information, id., and

             alleges, with no supporting evidence, that “[t]here can be no doubt that the sole purpose of the

             Media Intervenors’ request is to shame and disparage third parties who will have no opportunity


             2
                     See, e.g., Mike Rogoway, Nike Sheds Second Top Executive Amid Inquiry into Workplace
             ‘Behavior’, The Oregonian (Mar. 16, 2018), https://perma.cc/2FTE-M3W2; Julie Creswell et al.,
             At Nike, Revolt Led by Women Leads to Exodus of Male Executives, N.Y. Times (Apr. 28, 2018),
             https://perma.cc/2PTE-23LZ; Kevin Draper & Julie Creswell, Nike’s C.E.O. Vows Changes After
             Claims of Workplace Harassment and Bias, N.Y. Times (May 5, 2018),
             https://perma.cc/V9YMGEAC; Jeff Manning, Inside Nike’s Purge: More than a #MeToo Moment,
             The Oregonian (July 7, 2018), https://perma.cc/9AJK-2BE4; Matthew Kish, Exclusive: Departing
             Nike Executive Trevor Edwards Was Company’s Highest Paid, Portland Bus. J. (July 25, 2018),
             https://perma.cc/R3M4-63EE; Peter Blumberg, Nike Women Clear First Hurdle in Lawsuit Over
             Gender Pay Gap, Bloomberg (Feb. 27, 2019), https://perma.cc/V7M3-Q9EV; Jeff Manning,
             Courts Reject Nike’s Effort to Keep Executives’ Info Secret in Discrimination Suit, The Oregonian
             (Nov. 18, 2020), https://perma.cc/WGC3-78W7; Patrick Dorrian, Nike Pay Equity Studies
             Privileged, Off Limits in Sex Bias Suit, Bloomberg Law (Oct. 13, 2020), https://perma.cc/9EP6-
             SYML; Matthew Kish, Nike Files Motion to Keep Sensitive Records in Sweeping Gender
             Discrimination Lawsuit Sealed, Insider (Mar. 16, 2022), https://perma.cc/N7V4-GJ7D.

             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 13 -
                                                                                                       ER-060
(50 of 298), Page 50 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 50 of 298

                    Case 3:18-cv-01477-JR         Document 383        Filed 11/08/23     Page 19 of 20




             to defend their reputation.” Id. at 11. This attack on Media Intervenors’ motives is both untrue

             and irrelevant.

                    Nike largely mischaracterizes Media Intervenors’ involvement in this case by suggesting

             that they initially requested private information including the redacted names of third parties

             mentioned in documents related to the class certification briefing. Objections at 4. In actuality,

             Media Intervenors first contacted the Parties to inquire about unsealing the docket generally to

             ensure the public could stay informed about this high-profile matter prior to the Parties’ agreement

             to unseal certain documents with redactions. See ECF No. 205 at 5. The Media Intervenors’ “sole

             purpose” thus could not have been to reveal the identities of complainants, witnesses, and accused

             harassers because the Parties’ documents had been pervasively filed under seal and the presence

             of such information was unknown to non-parties.

                    Furthermore, Nike’s attacks on Media Intervenors’ motives do nothing to advance Nike’s

             legal arguments.    Courts have historically chosen not to inquire into the press’ editorial

             prerogatives. See CBS, Inc. v. Democratic Nat’l Comm., 412 U.S. 94, 124-25 (1973) (“For better

             or worse, editing is what editors are for; and editing is selection and choice of material.”); Miami

             Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258 (1974) (“The choice of material to go into a

             newspaper . . . constitute[s] the exercise of editorial control and judgment. It has yet to be

             demonstrated how governmental regulation of this crucial process can be exercised consistent with

             First Amendment guarantees of a free press . . . .”). Consistent with the First Amendment and

             common law access principles set forth herein, the decision of how to report on the matters Nike

             seeks to withhold from the public must be made by editors, and not by courts (or Nike).

                    By failing to meet its burden to justify sealing, Nike once again reveals its true concern

             with unsealing—unfavorable press coverage. Despite Nike’s claims that the names of third parties



             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 14 -
                                                                                                          ER-061
(51 of 298), Page 51 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 51 of 298

                       Case 3:18-cv-01477-JR        Document 383        Filed 11/08/23     Page 20 of 20




             should be redacted to avoid “subject[ing] them to public scrutiny,” Objections at 13, records

             relating to matters of public concern cannot be sealed for this reason alone because “[i]t is not the

             duty of federal courts to accommodate the public relations interests of litigants.” In re Coordinated

             Pretrial Proceedings in Petrol. Prods. Antitrust Litig., 101 F.R.D. 34, 40 (C.D. Cal. 1984). Like

             the Magistrate Judge’s Recommendation, the Court should rest its decision on the factual showings

             made—not general attacks on the media or attempts to mitigate a corporation’s public relations

             crisis.

                                                        CONCLUSION

                       Media Intervenors respectfully request that this Court affirm the findings of the Magistrate

             Judge and unseal the redacted information filed in connection with Plaintiffs’ Motion for Class

             Certification. This important litigation is of interest to both the people of Oregon and the public

             at large. Thus, the presumptive right of access to the related judicial records outweighs any of

             Defendant’s asserted and unsupported justifications for continued secrecy.

             Dated: November 8, 2023                                /s/ Lisa Zycherman

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             RESPONSE TO DEFENDANT’S OBJECTIONS TO MAGISTRATE’S ORDER
             - Page 15 -
                                                                                                            ER-062
(52 of 298), Page 52 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 52 of 298




                   Case 3:18-cv-01477-JR         Document 376   Filed 10/25/23   Page 1 of 21



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                                        UNITED STATES DISTRICT COURT

                                            DISTRICT OF OREGON

                                             PORTLAND DIVISION


             KELLY CAHILL, SARA JOHNSTON,                 Case No.: 3:18-cv-01477-JR
             LINDSAY ELIZABETH, and HEATHER
             HENDER, individually and on behalf of
             others similarly situated,                   DEFENDANT NIKE, INC.’S OBJECTIONS
                                                          TO THE MAGISTRATE JUDGE’S
                          Plaintiffs,                     FINDINGS & RECOMMENDATION
                                                          DATED OCTOBER 11, 2023 (ECF NO. 363)
                   v.                                     PURSUANT TO FED. R. CIV. P. 72(a)

             NIKE, INC., an Oregon Corporation,           REQUEST FOR ORAL ARGUMENT

                          Defendant.




                                                                                            ER-063
(53 of 298), Page 53 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 53 of 298

                        Case 3:18-cv-01477-JR                     Document 376                Filed 10/25/23             Page 2 of 21


                                                              TABLE OF CONTENTS

                                                                                                                                                 Page
              I.       PRELIMINARY STATEMENT ....................................................................................... 1

              II.      PROCEDURAL BACKGROUND.................................................................................... 3

              III.     ARGUMENT ..................................................................................................................... 5

                       A.        Standard Of Review Under Rule 72(a). ................................................................. 5

                       B.        Pursuant To Rule 72(a), The Court Should Set The Findings &
                                 Recommendation Aside As Contrary To Law. ...................................................... 7

                                 1.         The Findings & Recommendation Ignore That The “Good Cause”
                                            Standard Applies To Redaction Requests Accompanying Motions
                                            Tangentially-Related To The Merits Of The Case. ................................... 7
                                 2.         The Findings & Recommendation Ignore Case Law Finding Third-
                                            Parties’ Privacy Is A Compelling Reason To Redact Names. ................... 9
                                 3.         The Findings & Recommendation Erroneously Rely On Inapposite
                                            Case Law. ................................................................................................. 14
                                 4.         The Findings & Recommendation Ignore The Reasonableness Of
                                            NIKE’s Limited Redactions, Which Are Supported By Case Law. ........ 15
              IV.      CONCLUSION ................................................................................................................ 16




              Page i        -    DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                                 FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                                                                ER-064
(54 of 298), Page 54 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 54 of 298


                             Case 3:18-cv-01477-JR                  Document 376              Filed 10/25/23           Page 3 of 21


                                                               TABLE OF AUTHORITIES

                                                                                                                                         Page(s)

                  CASES
                  Bakki v. Boeing Co.,
                     2021 WL 962488 (W.D. Wash. Mar. 15, 2021) ......................................................................13
                  Bracken v. Fla. League of Cities,
                     2019 WL 1867921 (D. Or. Apr. 24, 2019) ..............................................................................14
                  Coates v. Farmers Grp., Inc.,
                     2016 WL 8223348 (N.D. Cal. Jan. 25, 2016) ............................................................................8
                  Crispin v. Christian Audigier, Inc.,
                     717 F. Supp. 2d 965 (C.D. Cal. 2010) ...................................................................................5, 6
                  Ctr. for Auto Safety v. Chrysler Grp., LLC,
                      809 F.3d 1092 (9th Cir. 2016) .............................................................................................7, 10
                  Delaittre v. Berryhill,
                     2017 WL 6310483 (W.D. Wash. Dec. 11, 2017) ....................................................................13
                  Doe v. Va. Polytechnic Inst. & State Univ.,
                     2022 WL 67324 (W.D. Va. Jan. 6, 2022) ................................................................................11
                  Foltz v. State Farm Mut. Auto. Ins. Co.,
                     331 F.3d 1122 (9th Cir. 2003) ...........................................................................................10, 15
                  Gnassi v. del Toro,
                     2022 WL 3867376 (W.D. Wash. Aug. 30, 2022) ....................................................................10
                  Gregory v. City of Vallejo,
                     2014 WL 4187365 (E.D. Cal. Aug. 21, 2014) .........................................................................10
                  Hanson v. Wells Fargo Home Mortg., Inc.,
                     2013 WL 5674997 (W.D. Wash. Oct. 17, 2013) .......................................................................7
                  Heath v. Google LLC,
                     2018 WL 11465387 (N.D. Cal. June 22, 2018) .........................................................................8
                  Hill v. Xerox Corp.,
                      2014 WL 1356212 (W.D. Wash. Apr. 7, 2014) .........................................................................8
                  Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc.,
                     2015 WL 984121 (N.D. Cal. Mar. 4,2015) ..............................................................................10
                  Ingram v. Pac. Gas & Elec. Co.,
                     2013 WL 6174487 (N.D. Cal. Nov. 22, 2013) ..........................................................................6
                  Kamakana v. City & Cnty. of Honolulu,
                    447 F.3d 1172 (9th Cir. 2006) .............................................................................................7, 11
                  Kautsman v. Carrington Mortg. Servs.,
                     2017 U.S. Dist. LEXIS 153550 (W.D. Wash. Sept. 19, 2017) ..................................................8



                  Page ii       -     DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                                      FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                                                     ER-065
(55 of 298), Page 55 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 55 of 298

                        Case 3:18-cv-01477-JR                    Document 376               Filed 10/25/23             Page 4 of 21


                                                            TABLE OF AUTHORITIES
                                                                  (continued)
                                                                                                                                          Page(s)
             Mirlis v. Greer,
                952 F.3d 51 (2d. Cir. 2020)......................................................................................................11
             Moussouris v. Microsoft Corp.,
               2018 WL 1159251 (W.D. Wash. Feb. 16, 2018) .....................................................................11
             Music Grp. Macao Com. Offshore Ltd. v. Foote,
               2015 WL 3993147 (N.D. Cal. June 30, 2015) .........................................................................10
             Myles v. County of San Diego,
                2017 WL 274829 (S.D. Cal. Jan. 19, 2017).............................................................................10
             Nixon v. Warner Commc’ns, Inc.,
                435 U.S. 589 (1978) .................................................................................................................11
             Philips v. Ford Motor Co.,
                2016 WL 7374214 (N.D. Cal. Dec. 20, 2016) ...........................................................................8
             Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
                307 F.3d 1206 (9th Cir. 2002) ...................................................................................................9
             Price v. Equilon Enterprises LLC,
                2012 WL 12846100 (W.D. Wash. Nov. 20, 2012) ............................................................14, 15
             Quatama Park Townhomes Owners Ass’n v. RBC Real Estate Fin., Inc.,
                365 F. Supp. 3d 1129 (D. Or. 2019) ..........................................................................................6
             Rawcar Grp., LLC v. Grace Med., Inc.,
                2014 WL 12496548 (S.D. Cal. Aug. 4, 2014) ...........................................................................6
             Reflex Media, Inc. v. Doe No. 1,
                 2022 WL 2985938 (D. Nev. July 28, 2022) ..............................................................................3
             Romero v. County of Santa Clara,
                2014 WL 12641990 (N.D. Cal. June 17, 2014) .........................................................................3
             SEC v. Ripple Labs, Inc.,
                2023 WL 3477552 (S.D.N.Y. May 16, 2023) ...................................................................11, 13
             Sentynl Therapeutics, Inc. v. U.S. Specialty Ins. Co.,
                2021 WL 794271 (S.D. Cal. Mar. 1, 2021), aff’d,
                2022 WL 706941 (9th Cir. Mar. 9, 2022) ..................................................................................3
             Sessa v. Ancestry.com Operations Inc.,
                2023 WL 1795856 (D. Nev. Feb. 6, 2023) ................................................................................8
             Skurkis v. Montelongo,
                2016 WL 4719271 (N.D. Cal. Sept. 9, 2016) ..........................................................................11
             Spam Arrest, LLC v. Replacements, Ltd.,
                2013 WL 4478645 (W.D. Wash. Aug. 20, 2013) ....................................................................10
             Stoba v. Saveology.com, LLC,
                2016 WL 1257501 (S.D. Cal. Mar. 31, 2016) ...........................................................................8

             Page iii       -     DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                                  FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                                                             ER-066
(56 of 298), Page 56 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 56 of 298

                         Case 3:18-cv-01477-JR                      Document 376                Filed 10/25/23             Page 5 of 21


                                                              TABLE OF AUTHORITIES
                                                                    (continued)
                                                                                                                                               Page(s)
             True Health Chiropractic, Inc. v. McKesson Corp.,
                2019 WL 11743580 (N.D. Cal. Aug. 13, 2019) ........................................................................7
             United States v. Bus. of Custer Battlefield Museum & Store Located at Interstate 90, Exit
                514, S. of Billings, Mont.,
                658 F.3d 1188 (9th Cir. 2011) .................................................................................................15
             United States v. Mayers,
                2017 WL 2215805 (W.D. Wash. May 19, 2017).......................................................................3
             United States v. McConney,
                728 F.2d 1195 (9th Cir. 1984) (en banc), overruled on other grounds by
                Estate of Merchant v. C.I.R.,
                947 F.2d 1390 (9th Cir. 1991) ...................................................................................................6
             Weeks v. Union Pac. R.R. Co.,
                2017 WL 1740123 (E.D. Cal. May 3, 2017) .........................................................................5, 6
             STATUTES
             28 U.S.C. § 636(b)(1)(A) .................................................................................................................5
             28 U.S.C. § 2106 ..............................................................................................................................5
             RULES
             FED. R. CIV. P. 23 ......................................................................................................................2, 15
             FED. R. CIV. P. 26(c)(1) ...................................................................................................................9
             FED. R. CIV. P. 72(a) ............................................................................................................3, 5, 6, 7
             TREATISES
             12 Charles Alan Wright and Arthur R. Miller, et al.,
                Federal Practice and Procedure: Civil § 3069 (3d ed. 2018) ...................................................6




             Page iv         -     DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                                   FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                                                                   ER-067
(57 of 298), Page 57 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 57 of 298

                      Case 3:18-cv-01477-JR        Document 376        Filed 10/25/23    Page 6 of 21




             I.       PRELIMINARY STATEMENT

                      These objections concern whether the privacy interests of complainants, third-party

             witnesses, and alleged persons of interest identified in unsubstantiated and uncorroborated

             complaint files outweigh the interests of the Media Intervenors to embarrass and shame

             individuals who did not consent to disclosure of their confidential information. 1 The impact on

             privacy is particularly troubling where, as here, the complaints were often made anonymously,

             describe events that purportedly occurred many years before a small pamphlet of materials

             containing these complaints was provided to NIKE in or about December 2017, 2 and largely

             concern former employees whose personal and/or professional reputations ought not be damaged

             by unsubstantiated allegations to which they have no opportunity to respond. 3

                      As the Court is aware, this is not a harassment case. Yet, even though the

             unsubstantiated complaints alleging workplace (mis)conduct have nothing to do with the pay

             equity and promotion claims here, 4 it is undisputed that the allegations themselves—whether true

             or not—have been made available to Plaintiffs, the Media Intervenors, and exist in the public




             1
               “Media Intervenors” refers to Non-Party Media Organizations Insider Inc. d/b/a Business
             Insider, Advance Local Media LLC d/b/a Oregonian Media Group, and American City Business
             Journals, Inc. d/b/a Portland Business Journal.
             2
               Where possible, NIKE retained outside counsel to investigate the allegations.
             3
               Specifically, the Media Intervenors seek to unseal the redacted content in Exhibits 46 (ECF
             No. 284-6), 47 (ECF No. 284-7), 48 (ECF No. 284-8), 51 (ECF No. 285-1), and 52 (ECF
             No. 285-2) of the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class
             Certification, Paragraph 16 of the Declaration of Byron Goldstein in Support of Plaintiffs’
             Motion for Class Certification (“Goldstein Decl.”) (ECF No. 288), and Exhibit 9 to the Goldstein
             Decl. (ECF No. 290-4) (collectively, the “Documents”). Exhibit 9 to the Goldstein Decl. at
             pages 17, 18, 25, 31, and 32, includes redactions of the contents of complaints, rather than just
             the names of complainants, witnesses, and subjects of complaints. NIKE maintains that the
             names of any individuals on these pages should be redacted, but does not otherwise oppose
             lifting the redactions.
             4
               Further, none of the claims appear to assert allegations of non-consensual conduct.

             Page 1      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                            ER-068
(58 of 298), Page 58 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 58 of 298

                      Case 3:18-cv-01477-JR        Document 376        Filed 10/25/23      Page 7 of 21




             domain. 5 In fact, such allegations have been repeated in court filings and news publications.

             See, e.g., Edward Helmore, Nike lawsuit records allege culture of sexism, bullying and fear of

             retaliation, The Guardian, Dec. 22, 2022

             (https://www.theguardian.com/business/2022/dec/20/nike-lawsuit-records-sexual-abuse-toxic-

             workplace-claim) (last visited October 25, 2023); see also ECF No. 146 at 37-39. None of these

             shaming allegations—and certainly not the names of the complainants, witnesses, and alleged

             persons of interest—had any bearing on the Court’s finding that Plaintiffs failed to meet their

             burden under Rule 23 to certify a class action. Nor did the failure to disclose the identities of

             complainants, witnesses, and alleged persons of interest preclude the Ninth Circuit from denying

             Plaintiffs’ petition for an immediate appeal.

                      The Findings & Recommendation (the “Findings”), however, assert that the privacy

             interests of the complainants, witnesses, and alleged persons of interest are not sufficiently

             specific here. ECF No. 363 at 5-6. But the Findings do not clarify the amount of proof or

             showing required to establish a specific privacy interest, whether under a “compelling reasons”

             or “good cause” standard. As NIKE has argued, the identities of these individuals are

             completely unrelated to Plaintiffs’ Motion for Class Certification, a non-dispositive motion that

             is only tangentially related to the causes of action. As a result, the “good cause” standard applies

             to the narrowly-tailored redactions in this case. Nevertheless, NIKE sufficiently demonstrated

             that, under either the “good cause” or the “compelling reasons” standard, the limited redactions




             5
              Sun Declaration, Exhibits 46, 47, 51, and 52 relate, at least in part, to allegations of sexual
             harassment or observance of a consensual sexual act, rather than discrimination or pay equity
             and thus have no bearing on Plaintiffs’ claims in this case.

             Page 2      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                              ER-069
(59 of 298), Page 59 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 59 of 298

                      Case 3:18-cv-01477-JR         Document 376       Filed 10/25/23     Page 8 of 21




             of the names of complainants, witnesses, and alleged persons of interest should be maintained to

             protect their privacy. 6

                      Certainly, the law does not require that NIKE provide a third-party declaration stating,

             for example, that a third-party’s personal or professional reputation would be harmed if

             uncorroborated allegations of his/her conduct (including details about his/her private life,

             relationship, or intimate partners) were revealed in the newspaper. Under the Findings, even that

             would be insufficient to outweigh the Media Intervenors’ claimed right of access here. The law

             is not so rigid. Nor should it be construed to yield this result. Therefore, pursuant to Federal

             Rule of Civil Procedure 72(a), NIKE respectfully requests that the Findings are set aside as

             contrary to law. Nike further requests oral argument on its objections.

             II.      PROCEDURAL BACKGROUND

                      Plaintiffs and NIKE had previously agreed to redact select matters from the Parties’ class

             certification briefing, principally the names of complainants, witnesses, and subjects of

             complaints (the “Third Parties”) that were collected incident to the leafletting that occurred on

             NIKE’s campus in late 2017. ECF No. 273 at 13 (the Parties had worked together to “review

             previously sealed documents and re-lodge unsealed or redacted versions where appropriate.”); id

             at 12 (the Parties agreed to keep redacted “the names of any individuals named in allegations of

             sexual harassment or gender discrimination at Nike that have not already been made public[.]”).



             6
               See e.g., Reflex Media, Inc. v. Doe No. 1, 2022 WL 2985938, at *2 (D. Nev. July 28, 2022)
             (sealing personal identifying information of victims of the alleged extortion business); Sentynl
             Therapeutics, Inc. v. U.S. Specialty Ins. Co., 2021 WL 794271, at *3 (S.D. Cal. Mar. 1, 2021),
             aff’d, 2022 WL 706941 (9th Cir. Mar. 9, 2022) (sealing non-parties’ names because it “runs a
             substantial risk of exposing those individuals to harassment”); United States v. Mayers, 2017 WL
             2215805, at *2 (W.D. Wash. May 19, 2017) (“sealing the identifying personal information of an
             unrelated party to this case is a compelling reason to keep that information sealed”); Romero v.
             County of Santa Clara, 2014 WL 12641990, at *3 (N.D. Cal. June 17, 2014) (“Discrete, sensitive
             identifying information regarding third parties may be redacted.”).

             Page 3      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                            ER-070
(60 of 298), Page 60 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 60 of 298

                      Case 3:18-cv-01477-JR         Document 376       Filed 10/25/23     Page 9 of 21




             While the allegations contained in the complaints were made public, the Third Parties’ names

             were redacted. ECF No. 171 at 10.

                      On April 1, 2022, NIKE’s counsel met and conferred with counsel for Plaintiffs and the

             Media Intervenors regarding the Media Intervenors’ request for private information in support of

             the Parties’ class certification briefing. ECF No. 220, ¶ 3. The Media Intervenors claimed that

             they should have the right to access “Confidential” and “AEO” filings to evaluate whether

             unsealing was justified. ECF No. 205 at 13-15.

                      On April 8, 2022, the Media Intervenors brought their initial Motion to Intervene for the

             Limited Purpose of Moving to Unseal Judicial Records and to Oppose Defendant’s Motion to

             Seal (the “Motion to Intervene”). ECF No. 205. NIKE and the Media Intervenors fully briefed

             the motion, and on September 30, 2022, the Court issued a recommendation granting in part and

             denying in part the Motion to Intervene. ECF No. 273. While the Court allowed Media

             Intervenors to intervene for the limited purpose of unsealing judicial records, it denied their

             attempts to access or unseal the records in connection with Plaintiffs’ Motion for Class

             Certification. ECF No. 273 at 11.

                      On November 22, 2022, the Court entered its Findings and Recommendation, concluding

             that Plaintiffs’ Motion for Class Certification should be denied. ECF No. 310. On March 21,

             2023, the Court adopted the Findings and Recommendation in its Order denying class

             certification. ECF No. 335. Plaintiffs petitioned the Ninth Circuit for leave to immediately

             appeal the denial of their class certification motion. ECF No. 337. The Ninth Circuit denied

             their petition. Cahill v. Nike, Inc., No. 23-80027 (9th Cir. Ct. App. June 1, 2023) (Dkt. 9).

                      On August 9, 2023, the Media Intervenors filed a renewed motion to unredact the limited

             items remaining in certain “complaint” files, including, for example, allegations of philandering,



             Page 4      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                             ER-071
(61 of 298), Page 61 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 61 of 298

                      Case 3:18-cv-01477-JR         Document 376        Filed 10/25/23      Page 10 of 21




             consensual sex between colleagues, and workplace bullying. ECF No. 343. Recognizing the

             pre-certification stage of this case, and to protect the Third Parties’ personal interest in

             maintaining privacy, NIKE had redacted the names of these third parties; but, the complaints

             themselves were unsealed. Despite this wealth of information, the Media Intervenors claimed

             this was not enough and demanded the disclosure of the Third Parties’ names. On August 23,

             2023, NIKE filed its opposition to the Media Intervenors’ renewed motion. ECF No. 345. On

             September 6, 2023, the Media Intervenors replied. ECF No. 346. The Magistrate Judge issued

             her Findings & Recommendation on October 11, 2023. ECF No. 363. Therein, and as discussed

             below in more detail, the Findings recommend removal of the limited redactions remaining to

             mask the identities of complainants, witnesses, and alleged persons of interest. These objections

             followed.

             III.     ARGUMENT

                      A.       Standard Of Review Under Rule 72(a).

                      The District Court should review the Magistrate’s Findings de novo. Federal Rule of

             Civil Procedure 72(a) governs a district court’s review of non-dispositive rulings by a magistrate

             judge. Fed. R. Civ. P. 72(a). The Rule provides that “[t]he district judge in the case must

             consider timely objections and modify or set aside any part of the order that is clearly erroneous

             or is contrary to law.” Id.; 28 U.S.C. § 636(b)(1)(A). As such, the district court, “[a]cting as an

             appellate court . . . has the power to ‘affirm, modify, vacate, set aside or reverse’ the magistrate

             judge’s order and ‘may remand the cause and direct the entry of such appropriate judgment,

             decree or order, or require such further proceedings . . . as may be just under the circumstances.’”

             Crispin v. Christian Audigier, Inc., 717 F. Supp. 2d 965, 971 (C.D. Cal. 2010) (quoting

             28 U.S.C. § 2106).



             Page 5        -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                               FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                            ER-072
(62 of 298), Page 62 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 62 of 298

                      Case 3:18-cv-01477-JR          Document 376        Filed 10/25/23      Page 11 of 21




                      Under Rule 72(a), the “contrary to law” standard—which applies to a magistrate judge’s

             finding of law—calls for “independent plenary review.” Weeks v. Union Pac. R.R. Co., 2017

             WL 1740123, at *5 (E.D. Cal. May 3, 2017) (sustaining objections to a magistrate judge’s order

             under Rule 72(a) after conducting an independent, plenary review); see also Quatama Park

             Townhomes Owners Ass’n v. RBC Real Estate Fin., Inc., 365 F. Supp. 3d 1129, 1141-42 (D. Or.

             2019) (reversing magistrate judge’s order as contrary to law under Rule 72(a) after conducting

             plenary review); Rawcar Grp., LLC v. Grace Med., Inc., 2014 WL 12496548, at *4 (S.D. Cal.

             Aug. 4, 2014) (“In an objection under [Rule] 72(a), a magistrate judge’s legal conclusions are

             subject to de novo review.”); Crispin, 717 F. Supp. 2d at 991 (reversing in part and vacating in

             part a magistrate judge’s decision under Rule 72(a) after conducting de novo review). As Judge

             Simon of this Court observed in undertaking plenary review of a nondispositive decision by a

             magistrate judge:

                      [I]t is also important to avoid the conclusion that district judges are absolutely
                      powerless to alter magistrate-judge resolution of nondispositive matters unless they
                      fall into the clearly erroneous category. . . . Moreover, even for those courts that
                      adhere to a strict application of the ‘clearly erroneous’ standard, it is limited to
                      factual findings; even the Third Circuit recognized that the phrase ‘contrary to law’
                      indicates plenary review as to matters of law. . . . The latter is the situation that we
                      have here.

             Quatama Park, 365 F. Supp. 3d at 1141-42 (quoting 12 Charles Alan Wright and Arthur R.

             Miller, et al., Federal Practice and Procedure: Civil § 3069 (3d ed. 2018)) (quotation marks and

             citations omitted). Of note, for issues involving mixed questions of law and fact, de novo or

             plenary review still applies. See, e.g., Ingram v. Pac. Gas & Elec. Co., 2013 WL 6174487, at *7

             (N.D. Cal. Nov. 22, 2013) (observing that under Rule 72(a), “[m]ixed questions of fact and law

             are reviewed de novo”) (citing United States v. McConney, 728 F.2d 1195, 1202-03 (9th Cir.

             1984) (en banc), overruled on other grounds by Estate of Merchant v. C.I.R., 947 F.2d 1390,

             1392-93 (9th Cir. 1991)). Finally, an order is “contrary to law” when it “fails to apply or
             Page 6      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                                 ER-073
(63 of 298), Page 63 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 63 of 298

                      Case 3:18-cv-01477-JR        Document 376       Filed 10/25/23     Page 12 of 21




             misapplies relevant statutes, case law, or rules of procedure.” Weeks, 2017 WL 1740123, at *5

             (quotation marks and citation omitted).

                      Here, NIKE’s objections to the Findings concern two purely legal questions. First,

             whether the “good cause” or “compelling reasons” standard should apply to NIKE’s request to

             maintain the limited redactions contained in the complaint files (i.e., the names of complainants,

             witnesses, and alleged persons of interest). Second, regardless of which standard is applied,

             whether the privacy rights of Third Parties outweigh the presumption of public access in this

             case. Thus, the Findings are subject to de novo review by this Court.

                      B.       Pursuant To Rule 72(a), The Court Should Set The Findings &
                               Recommendation Aside As Contrary To Law.

                      The Court should set aside the Findings under Rule 72(a) because, as discussed below, it

             fails to apply the “good cause” standard and, even under a “compelling reasons” standard, fails

             to find a particularized showing of harm to the Third Parties’ privacy, in contravention of the

             holding in several cases in this Circuit.

                               1.    The Findings & Recommendation Ignore That The “Good Cause”
                                     Standard Applies To Redaction Requests Accompanying Motions
                                     Tangentially-Related To The Merits Of The Case.

                      Courts employ two legal standards in motions to seal: the ‘good cause’ standard and the

             “compelling reasons” standard. See Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092,

             1096-97 (9th Cir. 2016). “The Ninth Circuit has not ruled [on the question of] whether a motion

             for class certification is a dispositive motion for the purposes of determining whether the

             compelling reasons standard applies to a sealing request.” True Health Chiropractic, Inc. v.

             McKesson Corp., 2019 WL 11743580, at *2 (N.D. Cal. Aug. 13, 2019) (citation omitted). In

             deciding which legal standard to apply, the Ninth Circuit has distinguished between requests that

             accompany dispositive and non-dispositive motions, with a focus on whether the motion is


             Page 7        -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                               FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                           ER-074
(64 of 298), Page 64 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 64 of 298

                      Case 3:18-cv-01477-JR         Document 376       Filed 10/25/23     Page 13 of 21




             “more than tangentially related to the merits of a case.” Ctr. for Auto Safety, 809 F.3d at 1101;

             Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006); see also Hanson v.

             Wells Fargo Home Mortg., Inc., 2013 WL 5674997, at *2 (W.D. Wash. Oct. 17, 2013); Hill v.

             Xerox Corp., 2014 WL 1356212, at *1 (W.D. Wash. Apr. 7, 2014).

                      “[C]ourts generally hold that the standard for filing documents under seal in relation to a

             class certification motion is a showing of ‘good cause.’” Sessa v. Ancestry.com Operations Inc.,

             2023 WL 1795856, at *1 (D. Nev. Feb. 6, 2023) (citing cases; applying good cause standard)

             (citation omitted); see, e.g., Heath v. Google LLC, 2018 WL 11465387, at *2 (N.D. Cal. June 22,

             2018) (applying good cause standard to motion to decertify collective action); Kautsman v.

             Carrington Mortg. Servs., 2017 U.S. Dist. LEXIS 153550, at *2-3 (W.D. Wash. Sept. 19, 2017)

             (finding good cause existed to seal documents filed to support the non-dispositive class

             certification motion); Stoba v. Saveology.com, LLC, 2016 WL 1257501, at *2 (S.D. Cal. Mar. 31,

             2016) (applying good cause standard to motion to unseal documents related to motion for class

             certification); Coates v. Farmers Grp., Inc., 2016 WL 8223348, at *2 (N.D. Cal. Jan. 25, 2016)

             (applying good cause standard to seal documents in connection with plaintiff’s motion for

             conditional collective action certification because motion “does not address the merits of

             Plaintiff’s underlying claims”).

                      The “good cause” standard applies here because Plaintiffs’ Motion for Class Certification

             is not more than tangentially related to the merits. Importantly, “[t]he Court need not decide

             whether, in general, motions for class certification are more than tangentially related to the

             underlying cause of action. . . . Instead, the Court merely decides that the instant motion for

             class certification meets this standard.” Philips v. Ford Motor Co., 2016 WL 7374214, at *2

             (N.D. Cal. Dec. 20, 2016) (internal citation omitted). Here, it does not.



             Page 8      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                              ER-075
(65 of 298), Page 65 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 65 of 298

                      Case 3:18-cv-01477-JR         Document 376       Filed 10/25/23      Page 14 of 21




                      However, instead of analyzing the extent to which the Motion for Class Certification is

             tangentially related to Plaintiffs’ claims, the Findings erroneously focus on the relationship

             between the redacted documents and Plaintiffs’ Motion for Class Certification. For example, the

             Findings state, “complaints regarding pay disparities and harassment can be significant in an

             attempt to demonstrate class status” (ECF No. 363 at 4). But, none of the complaints at issue

             relate to pay disparities, and Plaintiffs have not brought a harassment cause of action, nor have

             they attempted to certify a harassment class. Furthermore, in the Findings and Recommendation

             denying class certification, the Magistrate Judge noted that these same documents are

             insignificant. ECF No. 310 at 53 (“Plaintiffs present approximately 30 complaints from the

             Starfish Survey and no declarations from opt-in plaintiffs. Given the size of the putative class,

             this is insufficient to demonstrate a standard operating procedure of discrimination.”). Indeed,

             the Findings and Recommendation on Plaintiffs’ Motion for Class Certification do not analyze

             the complaints—for good reason. A handful of claimed harassment complaints tell the Court

             nothing about whether Plaintiffs can prove a common policy or practice of pay or promotion

             decisions sufficient to certify a class.

                      Because Plaintiffs’ Motion for Class Certification was only tangentially related to the

             underlying merits of the case, the good cause standard applies to this motion to seal.

                             2.      The Findings & Recommendation Ignore Case Law Finding Third-
                                     Parties’ Privacy Is A Compelling Reason To Redact Names.

                      NIKE seeks to maintain the limited redactions of the documents at issue because they

             reveal the names of third-party (1) complainants alleging discrimination or harassment;

             (2) subjects of those complaints; and (3) witnesses to the alleged conduct.

                      Good cause exists where disclosure may subject “a party or person [to] annoyance,

             embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1); see also


             Page 9      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                           ER-076
(66 of 298), Page 66 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 66 of 298

                    Case 3:18-cv-01477-JR          Document 376        Filed 10/25/23     Page 15 of 21




             Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002)

             (“For good cause to exist, the party seeking protection bears the burden of showing specific

             prejudice or harm will result if no protective order is granted.”). Under the “compelling reasons”

             standard, the court must “conscientiously balance the competing interests of the public and the

             party who seeks to keep certain judicial records secret.” Ctr. for Auto Safety, 809 F.3d at 1097

             (citation omitted).

                    While the “good cause” standard should apply, even under the “compelling reasons”

             standard, courts have recognized the privacy interests of third parties by sealing personnel and

             other identifying information from the public record. See Foltz v. State Farm Mut. Auto. Ins.

             Co., 331 F.3d 1122, 1137 (9th Cir. 2003) (“third-party medical and personnel records” should be

             redacted “to protect third-party privacy interests”); Gnassi v. del Toro, 2022 WL 3867376, at *3

             (W.D. Wash. Aug. 30, 2022) (“Courts may seal records containing identifying information of

             third parties to protect their privacy interests.”); Myles v. County of San Diego, 2017 WL

             274829, at *2 (S.D. Cal. Jan. 19, 2017) (“[I]nformation about third parties’ personal identifying

             information should not be disclosed to the public.”); Music Grp. Macao Com. Offshore Ltd. v.

             Foote, 2015 WL 3993147, at *2 (N.D. Cal. June 30, 2015) (“Disclosure of [identifying]

             information would infringe the privacy rights of [third party individuals], which constitutes a

             compelling reason for sealing.”); Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015

             WL 984121, at *2 (N.D. Cal. Mar. 4 ,2015) (“invasion of third parties’ privacy” constitutes a

             compelling reason to file under seal); Gregory v. City of Vallejo, 2014 WL 4187365, at *3 (E.D.

             Cal. Aug. 21, 2014) (identities of third parties should be sealed in internal investigation

             documents); Spam Arrest, LLC v. Replacements, Ltd., 2013 WL 4478645, at *2 (W.D. Wash.

             Aug. 20, 2013) (finding compelling reasons justified redacting “email addresses [and] other



             Page 10    -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                            FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                           ER-077
(67 of 298), Page 67 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 67 of 298

                     Case 3:18-cv-01477-JR          Document 376        Filed 10/25/23      Page 16 of 21




             identifying information for Spam Arrest customers and . . . third parties”). “The privacy interests

             of innocent third parties . . . should weigh heavily in a court’s balancing equation when deciding

             whether to seal certain materials.” SEC v. Ripple Labs, Inc., 2023 WL 3477552, at *6 (S.D.N.Y.

             May 16, 2023) (quoting Mirlis v. Greer, 952 F.3d 51, 61 (2d. Cir. 2020)). That concern is

             particularly important here where the party seeking to unseal the files is not the Plaintiffs (who

             agreed the names should be sealed), but the Media Intervenors. There can be no doubt that the

             sole purpose of the Media Intervenors’ request is to shame and disparage third parties who will

             have no opportunity to defend their reputations.

                     Prevention of unfounded reputational damage is an overriding interest that supports

             redaction. See Kamakana, 447 F.3d at 1178-79; see also Skurkis v. Montelongo, 2016 WL

             4719271, at *6 (N.D. Cal. Sept. 9, 2016) (granting motion to file complaint under seal where it

             contained information about allegedly criminal acts of defendants’ agents and non-parties). “In

             general, ‘compelling reasons’ . . . exist when such ‘court files might have become a vehicle for

             improper purposes,’ such as the use of records to gratify private spite, promote public scandal,

             circulate libelous statements, or release trade secrets.” See Kamakana, 447 F.3d at 1179 (citing

             Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); see also Doe v. Va. Polytechnic

             Inst. & State Univ., 2022 WL 67324, at *4 (W.D. Va. Jan. 6, 2022) (third parties “did not

             voluntarily disclose their identities . . .; there is a risk of harm to them as non-parties by being

             known as persons who asserted that they were victims of sexual violence . . .”). “The privacy

             interests of non-parties – most of whom raised allegations that they were discriminated against or

             harassed while employed by [NIKE] – outweighs the public’s interest in knowing the identity of

             the non-parties. Such information is private to the individuals involved, who have not sought to




             Page 11    -    DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                             FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                              ER-078
(68 of 298), Page 68 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 68 of 298

                    Case 3:18-cv-01477-JR          Document 376        Filed 10/25/23     Page 17 of 21




             place that private information in the public sphere.” Moussouris v. Microsoft Corp., 2018 WL

             1159251, at *6 (W.D. Wash. Feb. 16, 2018) (citation omitted).

                    Here, the unsubstantiated complaints about and by Third Parties implicate similar,

             significant privacy interests. For example, Sun Declaration Exhibit 47 accuses a NIKE

             employee of being a bully and others of being “philanderers.” Sun Declaration Exhibit 51

             alleges that an individual made inappropriate comments about the dress and body of the

             anonymous complainant. Sun Declaration Exhibit 52 identifies two individuals who allegedly

             engaged in a sex act on NIKE’s campus. Further, Goldstein Declaration Exhibit 9 includes

             complaints with the names of women who allegedly complained about gender discrimination and

             the subjects of those complaints. Paragraph 16 of the Goldstein Declaration lists the subjects of

             these complaints.

                    Publication of this confidential information (including uncorroborated information about

             individuals and their claimed intimate partners) would violate the privacy of several current and

             former NIKE employees who are not parties to this lawsuit. These privacy interests outweigh

             the public’s right of access to court records, particularly given the lack of relevance of such

             information to the pay equity and promotion claims asserted in this lawsuit. The individuals

             whose employment information is at stake here are ordinary citizens who lead private lives. For

             complainants and persons of interest, a complaint process is supposed to be a safe space for

             individuals to voice concerns, not for salacious rumor-spreading. Unredacting complainants’

             names necessarily risks their privacy, which likely would have a chilling effect on confidential

             reporting in the workplace. The net result is that complainants would be worse off. NIKE takes

             considerable precautions to protect the confidentiality of individuals who raise concerns, as well

             as the confidentiality of subjects and witnesses in these matters. Because publication of the



             Page 12    -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                            FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                           ER-079
(69 of 298), Page 69 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 69 of 298

                    Case 3:18-cv-01477-JR          Document 376        Filed 10/25/23     Page 18 of 21




             Third Parties’ names would subject them to public scrutiny while serving no countervailing

             public interest, there are compelling reasons to redact them.

                    Furthermore, courts have routinely found the protection of third party investigatory or

             disciplinary records to be a sufficiently compelling interest to justify withholding the information

             from the public. See, e.g., Bakki v. Boeing Co., 2021 WL 962488, at *6 (W.D. Wash. Mar. 15,

             2021) (finding, under compelling reasons standard, that the “third party disciplinary document

             implicates significant privacy interests” and its publication “would violate the employee’s

             privacy and expose him to public scrutiny while serving no countervailing public interest in

             transparency”) (citation omitted); Delaittre v. Berryhill, 2017 WL 6310483, at *3-4 (W.D. Wash.

             Dec. 11, 2017) (granting motion to seal documents, including disciplinary histories of third party

             employees).

                    Moreover, Sun Declaration Exhibit 46 contains investigatory and disciplinary documents

             regarding a third party, specifically an executive summary of the complaint about the individual

             and the disciplinary letter the individual received as a result of the investigation. Thus, the

             names in Sun Declaration Exhibit 46 should remain redacted to avoid violating the employees’

             privacy interests and subjecting them to public scrutiny. The contents of the investigatory

             documents are already unsealed; there is no reason the public needs to know the individuals’

             names because their “identities have minimal relevance to the court’s decision on the” class

             certification motion. SEC, 2023 WL 3477552, at *6.

                    The Findings state, without explanation, that the aforementioned compelling reasons are

             not “concrete examples” but rather “broad conclusory allegations of harm.” ECF No. 363 at 5.

             That is incorrect, and as detailed above, construing the law in this fashion would functionally

             mean that a third party’s privacy may not be protected. Even if s/he submitted a declaration of



             Page 13    -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                            FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                               ER-080
(70 of 298), Page 70 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 70 of 298

                     Case 3:18-cv-01477-JR          Document 376        Filed 10/25/23      Page 19 of 21




             potential harm to reputation resulting from the public disclosure of intimate partners and the like,

             the declaration itself would be unsealed/unredacted under the Findings, and likewise would be

             considered to be speculative and not sufficiently specific. This position is untenable.

                            3.      The Findings & Recommendation Erroneously Rely On Inapposite
                                    Case Law.

                    The Finding’s reliance on Bracken v. Fla. League of Cities, 2019 WL 1867921, at *4 (D.

             Or. Apr. 24, 2019) and Price v. Equilon Enterprises LLC, 2012 WL 12846100, at *1 (W.D.

             Wash. Nov. 20, 2012) is misplaced. ECF No. 363 at 5-6. In Bracken, the plaintiff requested to

             seal the case file, including the complaint, in its entirety “per reasons of privacy of all

             participants as the fruition of these matters set forth shall prevail.” Bracken, 2019 WL 1867921,

             at *4. The Bracken court “reviewed the Complaint for personal information that may be

             inappropriate for public disclosure and found no such information.” Id. Here, by contrast, NIKE

             explained the harm that disclosure of the Third Parties’ names would have on each of them and

             cited to a plethora of case law finding the same.

                    The Findings point to Price v. Equilon Enterprises LLC as an example of a case where a

             court permitted unsealing a third party’s name. ECF No. 363 at 5-6. But in Price, the court

             declined to redact just one third party’s name because his behavior, as attested to in the relevant

             document, went directly to the plaintiff’s claim that her employer maintained a hostile work

             environment. Price, 2012 WL 12846100, at *1. Indeed, the plaintiff specifically called out

             “experienc[ing] harassment and belittling comments” from that individual. Id. Notably, for the

             other third parties, the Price court found that simply redacting those individuals’ names “is

             feasible.” Id. Similarly, here NIKE only seeks to redact these individuals’ names and none of

             these individuals is the focus of Plaintiffs’ specific allegations in the operative complaint.




             Page 14    -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                            FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                              ER-081
(71 of 298), Page 71 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 71 of 298

                       Case 3:18-cv-01477-JR         Document 376       Filed 10/25/23     Page 20 of 21




                       The Findings also state that the identities of the subjects of complaints “bear on

             [P]laintiffs’ claims” and that the identities of complainants and witnesses go “to the merits and

             credibility of [P]laintiffs’ claims.” ECF No. 363 at 5-6. Untrue. While the substance of the

             redacted documents may go to Plaintiffs’ claims, the names of Third Parties in unverified

             complaints do not. Furthermore, there is no showing that the names of Third Parties purportedly

             involved in harassment or discrimination (or who may have witnessed harassment or

             discrimination) were relevant to the Magistrate Judge’s finding that Plaintiffs failed to meet their

             obligation under Rule 23.

                              4.      The Findings & Recommendation Ignore The Reasonableness Of
                                      NIKE’s Limited Redactions, Which Are Supported By Case Law.

                       The Findings fail to address case law advocating for the use of limited redactions for

             privacy purposes as NIKE does here. Indeed, one of the two cases upon which the Findings rely

             to explain the purported relevance of the Third Parties’ identities to Plaintiffs’ Motion for Class

             Certification actually supports NIKE’s position. See Price, 2012 WL 12846100, at *1.

             “[C]ourts have recognized several concerns that may call for redaction of the materials or

             withholding of disclosure outright[,]” including privacy interests. United States v. Bus. of Custer

             Battlefield Museum & Store Located at Interstate 90, Exit 514, S. of Billings, Mont., 658 F.3d

             1188, 1195 n.5 (9th Cir. 2011). “Simply redacting the identifying information of third parties

             (e.g., their names . . .) from these records and disclosing the remaining information … would not

             injure the third parties[.]” Foltz, 331 F.3d at 1137. 7 This is exactly what NIKE has done. It has

             provided the public with the information it needs to understand the Magistrate Judge’s orders,




             7
                 The Findings also cite to this case in reliance on another proposition.

             Page 15      -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                              FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                            ER-082
(72 of 298), Page 72 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 72 of 298

                    Case 3:18-cv-01477-JR          Document 376        Filed 10/25/23   Page 21 of 21




             while preventing the public scrutiny of Third Parties whose identities provide no added value to

             the issues in the Motion for Class Certification.

             IV.    CONCLUSION

                    For the foregoing reasons, Nike respectfully asks the Court to set aside and reverse the

             Findings & Recommendation dated October 11, 2023 (ECF No 363).

             Dated: October 25, 2023               Respectfully submitted,



                                                   /s/ Daniel Prince

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             Page 16    -   DEF. NIKE, INC.’S OBJECTIONS TO THE MAGISTRATE JUDGE’S
                            FINDINGS & RECOMMENDATION PURSUANT TO FED. R. CIV. P. 72(a)
                                                                                                        ER-083
(73 of 298), Page 73 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 73 of 298

                      Case 3:18-cv-01477-JR         Document 363       Filed 10/11/23     Page 1 of 7




                                      IN THE UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON



             KELLY CAHILL, SARA JOHNSTON,                                           Case No. 3:18-cv-01477-JR
             LINDSAY ELIZABETH, and HEATHER
             HENDER, individually and on behalf of                                          FINDINGS AND
             others similarly situated,                                                 RECOMMENDATION

                            Plaintiffs,
                    v.

             NIKE, INC., an Oregon Corporation,

                         Defendant.
             ___________________________________

             RUSSO, Magistrate Judge:

                    Named plaintiffs Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and Heather Hender

             brought this action seeking class action status alleging that defendant Nike systematically

             discriminates against them and other similarly situated women regarding salary and promotions.

             Several additional plaintiffs filed consents to join this action. During the pendency of plaintiffs’

             motion for class certification, defendant sought to seal certain portions of the documents filed in

             relation to the motion. At that time, a group of non-party media organizations, moved to intervene

             seeking access to sealed documents in the case. The Court granted the motion to seal in part. The

             Court also granted the motion to intervene for the limited purpose of challenging the parties’



             Page 1 – FINDINGS AND RECOMMENDATION
                                                                                                          ER-084
(74 of 298), Page 74 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 74 of 298

                       Case 3:18-cv-01477-JR               Document 363          Filed 10/11/23         Page 2 of 7




             stipulated redactions in regard to the briefing surrounding plaintiffs’ motion for class certification.

             However, the Court denied intervenor’s request for further briefing and to unseal or access

             documents produced under the protective order in place in the case. Nonetheless, the Court invited

             the media organizations to file a renewed motion for the purpose of opposing any remaining

             stipulated redactions following final resolution of the motion for class certification. The motion

             to certify has been denied and the media organizations now move to unredact the following

             documents:

                      • Exhibit 46 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class

             Certification. ECF No. 284-6.

                      • Exhibit 47 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class

             Certification. ECF No. 284-7.

                      • Exhibit 48 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class

             Certification. ECF No. 284-8.

                      • Exhibit 51 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class

             Certification. ECF No. 285-1.

                      • Exhibit 52 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class

             Certification. ECF No. 285-2.

                      • Paragraph 16 of the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion for

             Class Certification. ECF No. 288.

                      • Exhibit 9 to the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion for Class

             Certification. ECF No. 290-4. 1



             1
              Defendant does not object to unredacting contents of the complaints in this document but maintains that redactions
             of the names of individuals listed as complainants, witnesses, and subjects of the complaints must remain. Plaintiffs
             support the motion to unseal.


             Page 2 – FINDINGS AND RECOMMENDATION
                                                                                                                          ER-085
(75 of 298), Page 75 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 75 of 298

                      Case 3:18-cv-01477-JR         Document 363       Filed 10/11/23     Page 3 of 7




                    For the reasons stated below, the motion is granted.



                                                       DISCUSSION

                    The redactions at issue involve the names of those making workplace complaints along

             with the names of the witnesses and subjects of and to the complaints.

                    The press and the public have a “general right to inspect and copy public records and

             documents, including judicial records.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597

             (1978). There is a strong presumption in favor of access to court records that “can be overridden

             given sufficiently compelling reasons for doing so.” Foltz v. State Farm Mut. Auto. Ins. Co., 331

             F.3d 1122, 1135 (9th Cir. 2003). However, with respect to judicial records filed in relation to non-

             dispositive motions, a more lenient standard applies when seeking to seal records. In re Midland

             Nat’l Life Ins. Co. Annuity Sales Prac. Litig., 686 F.3d 1115, 1119 (9th Cir. 2012). In such

             situations, under Fed. R. Civ. P. 26(c), the party seeking to seal need only demonstrate “good

             cause.” Id.

                    Thus, the applicable standard depends on the document’s relationship to the merits of the

             plaintiff’s claims. See Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-99 (9th

             Cir. 2016) (the focus is on whether the material “at issue is more than tangentially related to the

             underlying cause of action”). Under the “compelling reasons” standard, the party seeking to seal

             or redact a judicial record bears the burden of showing that compelling reasons supported by

             specific factual findings outweigh the presumption of access and the public policies favoring

             disclosure. Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006). The

             “good cause” standard, in contrast, requires only a showing that “specific prejudice or harm will

             result.” Phillips ex rel. Est. of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002).




             Page 3 – FINDINGS AND RECOMMENDATION
                                                                                                          ER-086
(76 of 298), Page 76 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 76 of 298

                      Case 3:18-cv-01477-JR         Document 363       Filed 10/11/23     Page 4 of 7




                    The parties disagree over which standard applies with respect to the documents at issue.

             Defendant asserts the motion to certify is nondispositive and therefore the documents filed in

             support of the motion are merely subject to the good cause standard. Certainly, the complaints

             regarding pay disparities and harassment can be significant in an attempt to demonstrate class

             status. See, e.g., Kassman v. KPMG LLP, 416 F. Supp. 3d 252, 281 (S.D. N.Y. 2018) (quoting

             Int'l Bhd. of Teamsters v. United States, 431 U.S. 324, 336 (1977)) (Plaintiff’s may demonstrate

             commonality in a disparate treatment claim via evidence of a “systemwide pattern or practice” of

             pervasive discrimination against the class, such that the discrimination is “the regular rather than

             the unusual practice.” ).

                    Plaintiffs use of the complaints, while insufficient to demonstrate a company-wide policy

             rather than individualized hiring manager decisions, formed a crucial part of their motion. Public

             access to filed motions and their attachments does not merely depend on whether the motion is

             technically “dispositive,” rather, access turns on whether the motion is more than tangentially

             related to the merits of a case. Ctr. for Auto Safety, 809 F.3d at 1101 (9th Cir. 2016). Here, such

             evidence may also go to the merits of the disparate impact claim itself. Generally, courts within

             this circuit apply the compelling reasons standard to motions to seal documents relating to class

             certification. See Adtrader, Inc. v. Google LLC, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24,

             2020) (collecting cases). The evidence sought to be unsealed, as noted, relates to commonality

             and for purposes of plaintiffs’ disparate impact claims, proof of commonality overlaps with the

             merits because both look at the reason for a particular employment decision. See, e.g., Cooper v.

             Fed. Rsrv. Bank of Richmond, 467 U.S. 867, 876 (1984). Accordingly, defendant must show

             compelling reasons to continue redaction of the names of those making workplace complaints

             along with the names of the witnesses and subjects of and to the complaints.




             Page 4 – FINDINGS AND RECOMMENDATION
                                                                                                          ER-087
(77 of 298), Page 77 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 77 of 298

                      Case 3:18-cv-01477-JR         Document 363       Filed 10/11/23     Page 5 of 7




                     Defendant asserts that the privacy interests of third parties in the complaints, especially

            those made by anonymous complainants rebuts any presumption of public access. Defendant

            maintains unredacting the names would have a chilling effect on confidential reporting in the

            workplace and cause reputational damage to the subjects of the complaints especially if the

            complaints have been unsubstantiated. In addition, defendant asserts revealing the names of

            witnesses identified in the complaints may expose those witnesses to unwanted attention or

            ridicule. Finally, defendant asserts the public will reap no additional benefit from revealing the

            names beyond what they already may glean from the substance of the previously revealed

            documents.

                     Defendant largely relies on generalized assertions of purported compelling reasons to

            redact the names and only once specifically refers to a complaint in which the complainant is not

            identified. However, the proponent of redactions must provide concrete examples rather than

            broad conclusory allegations of harm. Foltz, 331 F.3d at 1130–31.

                     The names included in the documents involve Nike employees and actions that plaintiffs

            allege demonstrate gender discrimination and harassment by Nike itself. The mere fact that the

            production of records may lead to a litigant's embarrassment, incrimination, or exposure to further

            litigation will not, without more, compel the court to seal its records. Kamakana, 447 F.3d at 1179.

            In addition, the desire for privacy is not a compelling reason sufficient to outweigh the public's

            interest in disclosure. Bracken v. Fla. League of Cities, 2019 WL 1867921, at *4 (D. Or. Apr. 24,

            2019).

                     To the extent the individuals identified in the complaints are third parties, the public has

            an interest and right to access the documents that bear on plaintiffs’ claims even if those documents

            identify non-parties to the litigation. Price v. Equilon Enterprises LLC, 2012 WL 12846100, at *1




            Page 5 – FINDINGS AND RECOMMENDATION
                                                                                                          ER-088
(78 of 298), Page 78 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 78 of 298

                      Case 3:18-cv-01477-JR          Document 363        Filed 10/11/23      Page 6 of 7




             (W.D. Wash. Nov. 20, 2012). The identity of Nike employees engaged in the very behavior

             plaintiffs assert resulted in discrimination certainly bear on plaintiffs’ claims. The identity of

             complainants and witnesses similarly relate to issues going to the merits and credibility of

             plaintiffs’ claims. Accordingly, the intervenors’ motion to unseal judicial records is granted.

                                                   RECOMMENDATION

                    The Media Intervenors’ renewed motion to unseal judicial records (ECF 343) should be

             granted and the following exhibits should be unredacted: Exhibit 46 to the Declaration of Mengfei

             Sun in Support of Plaintiffs’ Motion for Class Certification (ECF No. 284-6); Exhibit 47 to the

             Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification (ECF No. 284-

             7); Exhibit 48 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for Class

             Certification. ECF No. 284-8); Exhibit 51 to the Declaration of Mengfei Sun in Support of

             Plaintiffs’ Motion for Class Certification (ECF No. 285-1); Exhibit 52 to the Declaration of

             Mengfei Sun in Support of Plaintiffs’ Motion for Class Certification (ECF No. 285-2); Paragraph

             16 of the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion for Class Certification

             (ECF No. 288); and Exhibit 9 to the Declaration of Byron Goldstein in Support of Plaintiffs’

             Motion for Class Certification (ECF No. 290-4).

                   This recommendation is not an order that is immediately appealable to the Ninth Circuit

             Court of Appeals. Any notice of appeal pursuant to Rule 4(a)(1), Federal rules of Appellate

             Procedure, should not be filed until entry of the district court’s judgment or appealable order. The

             parties shall have fourteen (14) days from the date of service of a copy of this recommendation

             within which to file specific written objections with the court. Thereafter, the parties shall have

             fourteen (14) days within which to file a response to the objections. Failure to timely file objections

             to any factual determination of the Magistrate Judge will be considered as a waiver of a party’s




             Page 6 – FINDINGS AND RECOMMENDATION
                                                                                                             ER-089
(79 of 298), Page 79 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 79 of 298

                      Case 3:18-cv-01477-JR         Document 363       Filed 10/11/23     Page 7 of 7




             right to de novo consideration of the factual issues and will constitute a waiver of a party’s right

             to appellate review of the findings of fact in an order or judgment entered pursuant to this

             recommendation.

                   DATED this 11th day of October, 2023.


                                                    /s/ Jolie A. Russo
                                            _____________________________
                                                      Jolie A. Russo
                                              United States Magistrate Judge




             Page 7 – FINDINGS AND RECOMMENDATION
                                                                                                          ER-090
(80 of 298), Page 80 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 80 of 298

                      Case 3:18-cv-01477-JR         Document 346    Filed 09/06/23    Page 1 of 16




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                                            UNITED STATES DISTRICT COURT
                                                 DISTRICT OF OREGON
                                                 PORTLAND DIVISION


                                                                   Case No. 3:18-cv-01477-JR
               KELLY CAHILL, et al., individually and
               on behalf of others similarly situated,             REPLY IN SUPPORT OF RENEWED
                                                                   MOTION OF NON-PARTY MEDIA
                              Plaintiffs,                          ORGANIZATIONS INSIDER, INC. d/b/a
                                                                   BUSINESS INSIDER, ADVANCE
                      v.                                           LOCAL MEDIA LLC d/b/a OREGONIAN
                                                                   MEDIA GROUP, AND AMERICAN CITY
               NIKE, INC., an Oregon Corporation,                  BUSINESS JOURNALS, INC. d/b/a
                                                                   PORTLAND BUSINESS JOURNAL TO
                              Defendant.                           UNSEAL JUDICIAL RECORDS




              REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
              - Page i -
                                                                                                     ER-091
(81 of 298), Page 81 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 81 of 298

                        Case 3:18-cv-01477-JR                       Document 346                 Filed 09/06/23              Page 2 of 16




                                                                 TABLE OF CONTENTS


             TABLE OF AUTHORITIES ......................................................................................................... iii

             I.    INTRODUCTION .................................................................................................................... 1

             II. ARGUMENT ........................................................................................................................... 2

                   A. Nike Must Demonstrate “Compelling Reasons” to Seal Judicial Records Filed in
                      Support of Class Certification. .......................................................................................... 2

                   B. Nike Bears the Burden to Show Compelling Reasons to Justify Continued
                      Sealing. .............................................................................................................................. 3

                   C. Nike’s Claims of Potential Embarrassment and Reputational Harm Are
                      Insufficient to Justify Sealing Under Either the “Compelling Reasons” or “Good
                      Cause” Standard. ............................................................................................................... 6

                   D. Nike’s Arguments About Media Intervenors’ Purported Motives Are Irrelevant. ........... 9

             III. CONCLUSION ..................................................................................................................... 11




             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page ii -
                                                                                                                                                    ER-092
(82 of 298), Page 82 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 82 of 298

                        Case 3:18-cv-01477-JR                     Document 346               Filed 09/06/23             Page 3 of 16




                                                            TABLE OF AUTHORITIES

             Cases

             Adtrader, Inc. v. Google LLC,
               No. 17-CV-07082-BLF, 2020 WL 6391210 (N.D. Cal. Mar. 24, 2020) .................................... 3

             Bracken v. Fla. League of Cities,
               No. 19-CV-00602-CL, 2019 WL 1867921 (D. Or. Apr. 24, 2019) ............................................ 7

             Buchanan v. Homeservices Lending LLC,
               No. 11-CV-0922, 2012 WL 5505775 (S.D. Cal. Nov. 13, 2012)................................................ 2

             CBS, Inc. v. Democratic Nat’l Comm.,
               412 U.S. 94 (1973) .................................................................................................................... 10

             Ctr. for Auto Safety v. Chrysler Grp., LLC,
               809 F.3d 1092 (9th Cir. 2016) ............................................................................................. 1, 2, 3

             Davis v. Soc. Serv. Coordinators, Inc.,
               No. 10-CV-02372-SKO, 2012 WL 2376217 (E.D. Cal. June 22, 2012)..................................... 2

             Delplanche v. Window Prods., Inc.,
               No. 16-CV-02319-AA, 2021 WL 1425320 (D. Or. Apr. 15, 2021),
               appeal dismissed, No. 21-35361, 2021 WL 5237292 (9th Cir. July 19, 2021) ........................... 7

             Doe v. Pub. Citizen,
               749 F.3d 246 (4th Cir. 2014) ..................................................................................................... 10

             Dugan v. Lloyds TSB Bank, PLC,
               No. 12-CV-02549-WHA, 2013 WL 1435223 (N.D. Cal. Apr. 9, 2013) ..................................... 2

             F.T.C. v. AbbVie Prods. LLC,
               713 F.3d 54 (11th Cir. 2013) ....................................................................................................... 4

             Fodera v. Equinox Holdings, Inc.,
               341 F.R.D. 616 (N.D. Cal. 2022) ................................................................................................ 3

             Foltz v. State Farm Mut. Auto. Ins. Co.,
               331 F.3d 1122 (9th Cir. 2003) ................................................................................................. 4, 5

             In re Coordinated Pretrial Proceedings in Petrol. Prods. Antitrust Litig.,
                101 F.R.D. 34 (C.D. Cal. 1984)................................................................................................. 10

             In re McClatchy Newspapers, Inc.,
                288 F.3d 369 (9th Cir. 2002) ..................................................................................................... 11



             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page iii -
                                                                                                                                               ER-093
(83 of 298), Page 83 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 83 of 298

                        Case 3:18-cv-01477-JR                     Document 346               Filed 09/06/23            Page 4 of 16




             In re NCAA Student-Athlete Name & Likeness Licensing Litig.,
                No. 09-CV-01967-CW, 2012 WL 5395039 (N.D. Cal. Nov. 5, 2012) ....................................... 2

             In re Roman Cath. Archbishop of Portland,
                661 F.3d 417 (9th Cir. 2011) ....................................................................................................... 8

             In re High-Tech Emp. Antitrust Litig.,
                No. 11-CV-02509-LHK, 2013 WL 163779 (N.D. Cal. Jan. 15, 2013) ....................................... 2

             Johnson v. Coos Cnty.,
               No. 19-CV-01883-AA, 2023 WL 3994287 (D. Or. June 14, 2023)............................................ 7

             Kamakana v. City & Cnty. of Honolulu,
               447 F.3d 1172 (9th Cir. 2006) ......................................................................................... 4, 5, 6, 7

             Miami Herald Publ’g Co. v. Tornillo,
               418 U.S. 241 (1974) .................................................................................................................. 10

             Oliner v. Kontrabecki,
               745 F.3d 1024 (9th Cir. 2014) ..................................................................................................... 7

             Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
               307 F.3d 1206 (9th Cir. 2002) ..................................................................................................... 4

             Polaris Innovations Ltd. v. Kingston Tech. Co.,
               No. 16-CV-00300-CJC, 2017 WL 2806897 (C.D. Cal. Mar. 30, 2017) ..................................... 5

             Price v. Equilon Enters. LLC,
               No. 11-CV-1553-JCC, 2012 WL 12846100 (W.D. Wash. Nov. 20, 2012) ................................ 8

             Reflex Media, Inc. v. Doe No. 1,
               No. 18-CV-02423-BNW, 2022 WL 2985938 (D. Nev. July 28, 2022) ...................................... 8

             Rich v. Hewlett-Packard Co.,
               No. 06-CV-03361-JF, 2009 WL 2168688 (N.D. Cal. July 20, 2009) ......................................... 2

             Romero v. Cnty. of Santa Clara,
               No. 11-CV-04812-WHO, 2014 WL 12641990 (N.D. Cal. June 17, 2014)................................. 8

             Sentynl Therapeutics, Inc. v. U.S. Specialty Ins. Co.,
               No. 19-CV-1667-LAB, 2021 WL 794271 (S.D. Cal. Mar. 1, 2021) .......................................... 8

             Skky, LLC v. Facebook, Inc.,
               191 F. Supp. 3d 977 (D. Minn. 2016) ......................................................................................... 5

             United States v. Amodeo,
               71 F.3d 1044 (2d Cir. 1995) .................................................................................................. 9, 10



             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page iv -
                                                                                                                                               ER-094
(84 of 298), Page 84 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 84 of 298

                     Case 3:18-cv-01477-JR          Document 346         Filed 09/06/23      Page 5 of 16




             United States v. Mayers,
               No. 16-CR-0258-JCC, 2017 WL 2215805 (W.D. Wash. May 19, 2017) ................................... 8

             Vietnam Veterans of Am. v. C.I.A.,
               No. 09-CV-0037-CW, 2012 WL 1094360 (N.D. Cal. Mar. 29, 2012) ....................................... 2

             Waldrup v. Countrywide Fin. Corp.,
              No. 13-CV-08833-CAS, 2018 WL 4586188 (C.D. Cal. Sept. 17, 2018) .................................. 10

             Whitecryption Corp. v. Arxan Techs., Inc.,
              No. 15-CV-00754-WHO, 2016 WL 7852471 (N.D. Cal. Mar. 9, 2016) .................................... 5




             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page v -
                                                                                                              ER-095
(85 of 298), Page 85 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 85 of 298

                     Case 3:18-cv-01477-JR         Document 346        Filed 09/06/23      Page 6 of 16




                    Non-party media organizations Insider, Inc. d/b/a Business Insider, Advance Local Media

             LLC d/b/a Oregonian Media Group, and American City Business Journals, Inc. d/b/a Portland

             Business Journal (collectively, the “Media Intervenors”) respectfully submit this reply in support

             of their renewed motion seeking a court order requiring the parties to file unredacted versions of

             seven judicial records filed in support of Plaintiffs’ Motion for Class Certification.

             I.     INTRODUCTION

                    Nike’s opposition to Media Intervenors’ Renewed Motion to Unseal seeks to invert the

             presumptive right of access and misapplies the applicable standard for sealing judicial records filed

             in connection with a motion for class certification in the Ninth Circuit. Media Intervenors’

             Renewed Motion should be granted for the following reasons. First, Nike must meet the stringent

             “compelling reasons” standard to seal the records at issue. All the cases cited by Nike in support

             of the less stringent “good cause” standard pre-date the Ninth Circuit’s 2016 decision in Center

             for Auto Safety v. Chrysler Group, LLC, 809 F.3d 1092 (9th Cir. 2016), which clarified the sealing

             standard for class certification records. Second, while Nike would have this Court continue to

             redact the names of all employees identified in workplace misconduct complaints, concerns about

             potential embarrassment or reputational harm are insufficient to meet the “compelling reasons”

             standard, especially given the strong public interest in this proceeding, which will determine

             whether one of the country’s most prominent public companies is properly handling claims of

             sexual harassment and misconduct. Third, Nike’s generalized assertions and conclusory claims

             of potential harm fail to meet its burden to maintain secrecy. Finally, Nike’s attacks on what it

             claims are Media Intervenors’ motives for seeking to unseal judicial records in this case are

             improper and irrelevant; Nike’s desire to control news media coverage of this matter is not

             determinative of the public’s right of access and its arguments to that end must be rejected.



             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 1 -
                                                                                                             ER-096
(86 of 298), Page 86 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 86 of 298

                     Case 3:18-cv-01477-JR         Document 346        Filed 09/06/23     Page 7 of 16




             II.    ARGUMENT

                    A. Nike Must Demonstrate “Compelling Reasons” to Seal Judicial Records Filed in
                       Support of Class Certification.

                    After filing thousands of pages of judicial records under seal pursuant only to a stipulated

             protective order, Nike continues to resist meeting the Ninth Circuit’s “compelling reasons”

             standard to justify sealing of judicial records submitted in support of class certification. Instead,

             Nike claims that it need only demonstrate “good cause”—a standard governing the exchange of

             materials in discovery, not the sealing of judicial records filed in connection with a dispositive

             motion. Opp’n 5. However, every case Nike cites in support of its position was issued before the

             Ninth Circuit’s decision in Center for Auto Safety v. Chrysler Group, LLC, 809 F.3d 1092 (9th

             Cir. 2016), which clarified application of the “compelling reasons” standard in the class

             certification context. Consequently, Nike’s survey of the caselaw, Opp’n 6–7,1 elides the Ninth

             Circuit’s unambiguous—and, here, dispositive—direction that where motions and accompanying

             materials are “more than tangentially related to the merits of a case”—including, specifically, at

             the class certification stage—a party must demonstrate “compelling reasons,” rather than merely

             “good cause,” to seal them from public view. Ctr. for Auto Safety, 809 F.3d at 1101 (reversing

             district court order applying “good cause” standard to deny motion to unseal records filed in

             connection with motion for preliminary injunction to require defendant vehicle manufacturer to


             1
                     Citing Dugan v. Lloyds TSB Bank, PLC, No. 12-CV-02549-WHA, 2013 WL 1435223, at
             *1 (N.D. Cal. Apr. 9, 2013); In re High-Tech Emp. Antitrust Litig., No. 11-CV-02509-LHK, 2013
             WL 163779, at *2 n.1 (N.D. Cal. Jan. 15, 2013); In re NCAA Student-Athlete Name & Likeness
             Licensing Litig., No. 09-CV-01967-CW, 2012 WL 5395039, at *1–2 (N.D. Cal. Nov. 5, 2012);
             Vietnam Veterans of Am. v. C.I.A., No. 09-CV-0037-CW, 2012 WL 1094360, at *1–2 (N.D. Cal.
             Mar. 29, 2012); Buchanan v. Homeservices Lending LLC, No. 11-CV-0922, 2012 WL 5505775,
             at *2 (S.D. Cal. Nov. 13, 2012); Davis v. Soc. Serv. Coordinators, Inc., No. 10-CV-02372-SKO,
             2012 WL 2376217, at *1 (E.D. Cal. June 22, 2012); Rich v. Hewlett-Packard Co., No. 06-CV-
             03361-JF, 2009 WL 2168688, at *1 (N.D. Cal. July 20, 2009).
             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 2 -
                                                                                                           ER-097
(87 of 298), Page 87 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 87 of 298

                     Case 3:18-cv-01477-JR           Document 346      Filed 09/06/23       Page 8 of 16




             notify proposed class of alleged risks presented by its vehicles); id. (“Consistent with our

             precedent, we make clear that public access to filed motions and their attachments does not merely

             depend on whether the motion is technically ‘dispositive.’”). More recent decisions confirm that

             “[c]ourts within this circuit apply the compelling reasons standard to motions to seal documents

             relating to class certification.” Fodera v. Equinox Holdings, Inc., 341 F.R.D. 616, 634 (N.D. Cal.

             2022); see Adtrader, Inc. v. Google LLC, No. 17-CV-07082-BLF, 2020 WL 6391210, at *2 (N.D.

             Cal. Mar. 24, 2020) (collecting cases). Simply put, the law of this Circuit is clear: Nike must

             satisfy that more stringent standard.

                    Plaintiffs’ Motion for Class Certification was plainly “more than tangentially related to the

             merits of [the] case.” Ctr. for Auto Safety, 809 F.3d at 1101. As noted in Media Intervenors’

             Renewed Motion, the Findings and Recommendation adopted by this Court on class certification

             specifically addressed the merits of Plaintiffs’ underlying claim. ECF No. 310 at 44–50 (analyzing

             Plaintiffs’ disparate impact claims), 50–53 (analyzing Plaintiffs’ disparate treatment claims), 53–

             54 (analyzing Plaintiffs’ Oregon Equal Pay Act claim), 54–55 (analyzing the typicality and

             adequacy requirements of Rule 23). This analysis was based on an assessment of voluminous

             evidence submitted by both parties. The Court’s decision whether to certify a class is critical to

             the litigation and it necessarily follows that the public in general (including potential class

             members) should have access to filings relating to that certification decision. Accordingly, Nike

             must demonstrate “compelling reasons” to maintain under seal key information from judicial

             records Plaintiffs submitted in support of their class certification motion.

                    B. Nike Bears the Burden to Show Compelling Reasons to Justify Continued Sealing.

                    Nike improperly attempts to shift its burden to Media Intervenors, Opp’n 11, but the burden

             to show compelling reasons that support sealing remains entirely with Nike. In this case, other

             than an agreement of the parties—which has now ended—no specific justification was put forward
             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 3 -
                                                                                                           ER-098
(88 of 298), Page 88 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 88 of 298

                     Case 3:18-cv-01477-JR          Document 346       Filed 09/06/23      Page 9 of 16




             by either party for redacting the names of Nike complainants, witnesses, and accused harassers.2

             And, now, absent that agreement, Nike offers no further justification to continue sealing those

             names other than the unsupported claim that one or more persons involved might be embarrassed

             by disclosure. However, as detailed below, embarrassment is not good cause—let alone a

             compelling reason—for entry of a sealing order or closure order of any kind. See infra Section

             II.C. And, fundamentally, Nike’s arguments fall far short of the showing necessary to meet its

             burden under Ninth Circuit law.

                    To fulfill the demanding “compelling reasons” standard, a party seeking sealing must show

             compelling reasons supported by specific factual findings that outweigh the historic presumption

             and public interest in favor of openness. Kamakana, 447 F.3d at 1178–79. This showing is

             particularized to each document or portion of a document the party seeks to seal. Foltz v. State

             Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1138–39 (9th Cir. 2003). The burden remains on Nike

             even under the “good cause” standard, which requires the party seeking to shield documents (or

             portions of documents) to show that specific prejudice or harm will result from public disclosure.

             Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1211 & n.1 (9th Cir. 2002).

             And, again, that burden must be met with respect to “each particular document [the party] seeks

             to protect.”   Foltz, 331 F.3d at 1130–31. This showing must be made through “specific



             2
                     Nike argues that the redacted information in filings in support of Plaintiffs’ Motion for
             Class Certification is not of sufficient importance because “these peoples’ identities did not form
             the bases or explanations for the court’s decision.” Opp’n 12 (citation and internal quotation marks
             omitted). In essence, Nike argues for a presumptive right of closure until a court determines that
             information contained in court filings was critical or necessary to its ultimate decision. That is not
             the law. The Ninth Circuit has been explicit: the presumptive right of access “applies fully” to
             judicial records—not just those parts of a court record later deemed relevant to the issues before
             the court. Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006); see also
             F.T.C. v. AbbVie Prods. LLC, 713 F.3d 54, 64 (11th Cir. 2013) (“This is a simple rule to apply and
             does not involve locating the [judicial record] on a continuum by determining the actual role the
             document played—by, for instance, counting the number of times the district court cited it[.]”).
             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 4 -
                                                                                                            ER-099
(89 of 298), Page 89 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 89 of 298

                    Case 3:18-cv-01477-JR         Document 346        Filed 09/06/23     Page 10 of 16




             demonstrations of fact, supported where possible by affidavits and concrete examples, rather than

             broad, conclusory allegations of potential harm.” Id. (citation omitted).

                    Here, Nike has not identified any particularized harm, supported by any facts or evidence,

             that would result from the disclosure of the names of Nike employees involved in its internal

             workplace misconduct investigations.       Moreover, even if Nike could identify some non-

             speculative, particularized harm (which it has not done), it would be outweighed by the substantial

             public interest in this case. Besides broad claims of potential embarrassment and reputational

             harm, Nike offers no factual support whatsoever for its contention that the court records at issue

             must continue to be redacted. To the contrary, Nike relies exclusively on broad generalizations

             about the value of confidentiality and unfounded speculation about the impact of disclosure, Opp’n

             9–11. Indeed, it does not offer any evidence to show that unsealing any particular employee’s

             name will cause any specific harm.

                    Nike’s “generalized rationales” and vague speculation are not an adequate substitute for

             the factual demonstration of specific harm required to seal court records. Whitecryption Corp. v.

             Arxan Techs., Inc., No. 15-CV-00754-WHO, 2016 WL 7852471, at *2 (N.D. Cal. Mar. 9, 2016).

             “[A]ssertions about possible harm” that are so vague “that there is no meaningful way to

             realistically gauge how”—or even whether—“disclosure would” actually be harmful are

             insufficient to seal court records. Polaris Innovations Ltd. v. Kingston Tech. Co., No. 16-CV-

             00300-CJC, 2017 WL 2806897, at *6 (C.D. Cal. Mar. 30, 2017). And courts have repeatedly

             rejected attempts to seal court records based on such assertions. See, e.g., Skky, LLC v. Facebook,

             Inc., 191 F. Supp. 3d 977, 980–81 (D. Minn. 2016) (“If Defendants have a factual basis for

             requiring this information to be sealed, it is Defendants’ duty to present that basis; the Court will

             not speculate based on broad, unsupported attorney advocacy.”); Kamakana, 447 F.3d at 1182



             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 5 -
                                                                                                           ER-100
(90 of 298), Page 90 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 90 of 298

                        Case 3:18-cv-01477-JR        Document 346       Filed 09/06/23    Page 11 of 16




             (refusing to seal court records based on “conclusory statements” that the documents “are

             confidential and that, in general, their production would . . . hinder [a police department’s] future

             operations with other agencies, endanger informants’ lives, and cast [police] officers in a false

             light”).

                        C. Nike’s Claims of Potential Embarrassment and Reputational Harm Are
                           Insufficient to Justify Sealing Under Either the “Compelling Reasons” or “Good
                           Cause” Standard.

                        Nike’s primary argument for continued sealing is that revealing the names of Nike

             employees who complained of, witnessed, or were accused of workplace misconduct would

             embarrass those unnamed individuals and potentially harm their reputations.                Opp’n 8.

             Specifically—and ignoring all other considerations, including the public’s interest in access—

             Nike argues that there is good cause (and even compelling reason) to continue to redact the records

             at issue because unsealing would result in “embarrassing and shaming” people “solely to appeal

             to [Media Intervenors’] (or the public’s) prurient interests.” Id. Nike’s arguments must fail.

                        Whereas Federal Rule of Civil Procedure 26(c) authorizes courts to issue protective orders

             to shield “a party or person from annoyance, embarrassment, oppression, or undue burden or

             expense” in the discovery context, “[d]ifferent interests are at stake with the right of access [to

             court records] than with Rule 26(c).” Kamakana, 447 F.3d at 1180. Indeed, even when a party

             has identified “compelling reasons,” a court must then “conscientiously balance[] the competing

             interests of the public and the party who seeks to keep certain judicial records secret.” Id. at

             1179 (citations and internal quotation marks omitted). In general, compelling reasons that could

             outweigh the public’s interest in access and justify sealing court records are rare, found only when

             the information sought to be sealed could be used for some palpably improper purpose. Id.

                        Here, in contrast, Nike’s conclusory argument casts a single, narrow factor in the good

             cause analysis—whether “specific prejudice or harm will result” if information is unsealed, Opp’n
             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 6 -
                                                                                                           ER-101
(91 of 298), Page 91 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 91 of 298

                    Case 3:18-cv-01477-JR         Document 346        Filed 09/06/23     Page 12 of 16




             6—as a wholesale exception for anything that might be embarrassing or unfavorable. Nike’s broad

             claims of potential embarrassment are insufficient under either the “compelling reasons” or the

             “good cause” standard. Federal courts consistently find assertions that information might be

             embarrassing, incriminating, or reputation-damaging insufficient to overcome the presumption of

             access. Kamakana, 447 F.3d at 1179 (applying compelling reasons standard and holding “[t]he

             mere fact that the production of records may lead to a litigant’s embarrassment, incrimination, or

             exposure to further litigation will not, without more, compel the court to seal its records”); Oliner

             v. Kontrabecki, 745 F.3d 1024, 1026 (9th Cir. 2014) (applying compelling reasons standard and

             holding “to avoid embarrassment or annoyance to [debtor] and to prevent an undue burden on his

             professional endeavors [] are not ‘compelling’”); Delplanche v. Window Prods., Inc., No. 16-CV-

             02319-AA, 2021 WL 1425320, at *2 (D. Or. Apr. 15, 2021), appeal dismissed, No. 21-35361,

             2021 WL 5237292 (9th Cir. July 19, 2021) (“potential employers’ knowledge of . . . lawsuit”

             which “has caused them to ask difficult questions during interviews and made it hard for [litigant]

             to find work does not meet the ‘compelling reasons’ standard”); Bracken v. Fla. League of Cities,

             No. 19-CV-00602-CL, 2019 WL 1867921, at *4 (D. Or. Apr. 24, 2019) (“The desire for privacy

             is not a compelling reason sufficient to outweigh the public’s interest in disclosure.”); Johnson v.

             Coos Cnty., No. 19-CV-01883-AA, 2023 WL 3994287, at *3 (D. Or. June 14, 2023) (applying

             “good cause” standard and finding that while litigants had “a privacy interest at stake and the

             disclosure of the challenged exhibits may be embarrassing to them, these considerations are

             substantially outweighed by the remaining factors,” including the public interest in disclosure).

                    Nike argues that some of the redacted witness names were provided in a confidential

             process (although no evidence has been proffered to support that claim) and that third parties

             should not be subjected to potential embarrassment or reputational harm, Opp’n 9. But the



             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 7 -
                                                                                                           ER-102
(92 of 298), Page 92 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 92 of 298

                    Case 3:18-cv-01477-JR          Document 346        Filed 09/06/23     Page 13 of 16




             applicable standard applies equally to party litigants and non-parties. The Ninth Circuit has

             explicitly rejected the suggestion that it “develop a new rule governing the disclosure of discovery

             material containing confidential information about third parties.” In re Roman Cath. Archbishop

             of Portland, 661 F.3d 417, 425–26 (9th Cir. 2011); see also Price v. Equilon Enters. LLC, No. 11-

             CV-1553-JCC, 2012 WL 12846100, at *1 (W.D. Wash. Nov. 20, 2012) (finding even under the

             good cause standard that the public has an interest and right to know the identity of the non-party

             whose actions go directly to plaintiffs’ claims). Indeed, this discrimination lawsuit is against Nike,

             which acts through its employees, including those identified in the records at issue.3

                    In addition to offering only insufficient, conclusory arguments to support closure, Nike

             also radically underplays the public interest in the identities of key witnesses. Nike acknowledges

             “[t]he public’s claimed interest in learning who may have been involved in purported

             wrongdoing,” but argues that interest is “outweighed” by the “intrusion” on individuals’ “privacy

             rights.” Opp’n 3. The public interest here goes well beyond that. Despite Nike’s inverted

             understanding of the presumption, the information it contends should remain sealed—i.e., the

             identities of Nike employees who alleged serious misconduct occurred at the company or who

             were accused of serious misconduct—is relevant to the adjudication of the substantive rights of

             the parties. Here, the Court reviewed the redacted information to reach a determination on



             3
                     None of the cases Nike cites is actually supportive of its argument for sealing individual
             names to avoid potential “harassment,” Opp’n 10, as they either involved the incorrect sealing
             standard, Reflex Media, Inc. v. Doe No. 1, No. 18-CV-02423-BNW, 2022 WL 2985938, at *1 (D.
             Nev. July 28, 2022) (applying the “good cause” standard); criminal allegations or proceedings,
             Sentynl Therapeutics, Inc. v. U.S. Specialty Ins. Co., No. 19-CV-1667-LAB, 2021 WL 794271, at
             *3 (S.D. Cal. Mar. 1, 2021) (the sealing of “non-parties’ personal identifying information . . .
             [b]ecause that information connects the individuals to a criminal investigation of a high-profile
             issue”), United States v. Mayers, No. 16-CR-0258-JCC, 2017 WL 2215805, at *2 (W.D. Wash.
             May 19, 2017); or the denial of a motion to seal, Romero v. Cnty. of Santa Clara, No. 11-CV-
             04812-WHO, 2014 WL 12641990, at *2–3 (N.D. Cal. June 17, 2014).

             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 8 -
                                                                                                            ER-103
(93 of 298), Page 93 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 93 of 298

                     Case 3:18-cv-01477-JR          Document 346         Filed 09/06/23   Page 14 of 16




             Plaintiffs’ Motion for Class Certification and the public is entitled to know the factual basis for

             this Court’s legal determinations. Specifically, the public is entitled to know what evidence the

             Court deemed credible, what evidence carried weight, and what evidence did not.

                     Media Intervenors seek access to the redacted information in furtherance of reporting on

             this important litigation. This legitimate purpose does not promote public scandal, but instead

             fosters public understanding of these proceedings. While Nike may prefer to litigate in private—

             as its extensive sealed filings before intervention make clear—the public interest in access to the

             sealed information is especially weighty here and more than enough to overcome any interest in

             secrecy.   On balance, Nike’s claimed interest in precluding the public disclosure of Nike

             employees who claimed or were accused of misconduct does not overcome the public’s right of

             access to the parties’ class certification briefing in this case.

                     D. Nike’s Arguments About Media Intervenors’ Purported Motives Are Irrelevant.

                     Nike chastises Media Intervenors for supposedly “attempt[ing] to create a media circus,”

             Opp’n 1, and seeking access only to “satisfy [their] (and Plaintiffs’) ‘morbid craving for that which

             is sensational and impure,’” id. at 3 (quoting United States v. Amodeo, 71 F.3d 1044, 1050–51 (2d

             Cir. 1995)). In addition to being baseless, Nike’s ad hominem attack on Media Intervenors’

             purported motives ignores the fact that, as even the decision Nike relies upon underscores, neither

             Media Intervenors’ nor Plaintiffs’ motives are relevant:

                             Although the presumption of access is based on the need for the
                             public monitoring of federal courts, those who seek access to
                             particular information may want it for entirely different reasons.
                             However, we believe motive generally to be irrelevant to defining
                             the weight accorded the presumption of access. It is true that
                             journalists may seek access to judicial documents for reasons
                             unrelated to the monitoring of Article III functions.
                             Nevertheless, assessing the motives of journalists risks self-serving
                             judicial decisions tipping in favor of secrecy. Where access is for
                             the purpose of reporting news, moreover, those interested in

             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 9 -
                                                                                                           ER-104
(94 of 298), Page 94 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 94 of 298

                    Case 3:18-cv-01477-JR         Document 346        Filed 09/06/23     Page 15 of 16




                            monitoring the courts may well learn of, and use, the information
                            whatever the motive of the reporting journalist.

             Amodeo, 71 F.3d at 1050 (emphasis supplied); see also Waldrup v. Countrywide Fin. Corp., No.

             13-CV-08833-CAS, 2018 WL 4586188, at *3 (C.D. Cal. Sept. 17, 2018).

                    Courts have dismissed such motive-based arguments for good reason: it is not Nike’s (or

             this Court’s) role to impose its views as to the editorial prerogatives of press movants. See CBS,

             Inc. v. Democratic Nat’l Comm., 412 U.S. 94, 124–25 (1973) (“For better or worse, editing is what

             editors are for; and editing is selection and choice of material.”); Miami Herald Publ’g Co. v.

             Tornillo, 418 U.S. 241, 258 (1974) (“The choice of material to go into a newspaper . . . and

             treatment of public issues . . . —whether fair or unfair—constitute the exercise of editorial control

             and judgment. It has yet to be demonstrated how governmental regulation of this crucial process

             can be exercised consistent with First Amendment guarantees of a free press as they have evolved

             to this time.”). Consistent with the First Amendment and common law access principles set forth

             in Media Intervenors’ Renewed Motion to Unseal, the decision of how to report on the matters

             Nike seeks to withhold from the public must be made by editors, and not by courts (or Nike).

                    Nike’s hyperbolic criticism of supposedly “‘sensational and impure’ headlines” it claims

             Media Intervenors “have used to grab attention for more than four years,” Opp’n 8, reveals its real

             goal is to preserve the company’s ability to “spin” future news coverage of this litigation. To the

             extent Nike is suggesting that court records may be sealed to avoid negative press coverage, it is

             wrong: “It is not the duty of federal courts to accommodate the public relations interests of

             litigants.” In re Coordinated Pretrial Proceedings in Petrol. Prods. Antitrust Litig., 101 F.R.D.

             34, 40 (C.D. Cal. 1984); see, e.g., Doe v. Pub. Citizen, 749 F.3d 246, 269 (4th Cir. 2014) (“[T]he

             public and press enjoy a presumptive right of access to civil proceedings and documents filed

             therein, notwithstanding the negative publicity those documents may shower upon a

             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 10 -
                                                                                                           ER-105
(95 of 298), Page 95 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 95 of 298

                    Case 3:18-cv-01477-JR          Document 346        Filed 09/06/23     Page 16 of 16




             company.”); In re McClatchy Newspapers, Inc., 288 F.3d 369, 374 (9th Cir. 2002) (rejecting

             argument that court records could be sealed based on concerns that news media would publish

             accusations “without also publishing the skepticism of [the accuser’s] credibility”). Needless to

             say, Nike’s public relations concerns do not and cannot justify the continuing infringement of

             Media Intervenors’ (and the public’s) rights to access judicial records filed in this case.

             III.   CONCLUSION

                    Media Intervenors respectfully request that the redacted information filed in connection

             with Plaintiffs’ Motion for Class Certification be made public. Access will promote public

             understanding of the events at issue in this important litigation, and the presumptive right of

             access to judicial records in this case outweighs any interest in secrecy.

                                                               /s/Lisa Zycherman______________

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             REPLY IN SUPPORT OF RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 11 -
                                                                                                           ER-106
(96 of 298), Page 96 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 96 of 298

                     Case 3:18-cv-01477-JR         Document 345   Filed 08/23/23   Page 1 of 19



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                                        UNITED STATES DISTRICT COURT

                                              DISTRICT OF OREGON

                                               PORTLAND DIVISION


               KELLY CAHILL, SARA JOHNSTON,                 Case No.: 3:18-cv-01477-JR
               LINDSAY ELIZABETH, and HEATHER
               HENDER, individually and on behalf of others
               similarly situated,                          DEFENDANT NIKE, INC.’S OPPOSITION
                                                            TO RENEWED MOTION OF NON-PARTY
                       Plaintiffs,                          MEDIA ORGANIZATIONS INSIDER INC.
                                                            d/b/a BUSINESS INSIDER, ADVANCE
                       v.                                   LOCAL MEDIA LLC d/b/a OREGONIAN
                                                            MEDIA GROUP, AND AMERICAN CITY
               NIKE, INC., an Oregon Corporation,           BUSINESS JOURNALS, INC. d/b/a
                                                            PORTLAND BUSINESS JOURNAL TO
                       Defendant.                           UNSEAL JUDICIAL RECORDS




                           DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                           INTERVENORS’ MOTION TO UNSEAL JUDICIAL RECORDS
                                                                                                  ER-107
(97 of 298), Page 97 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 97 of 298

                       Case 3:18-cv-01477-JR                     Document 345               Filed 08/23/23             Page 2 of 19




                                                              TABLE OF CONTENTS

                                                                                                                                                Page

             I.       INTRODUCTION ............................................................................................................. 1
             II.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND ................................ 3
                      A.   The Court Denied Media Intervenors’ Unfettered Access To Sealed
                           Records. ................................................................................................................. 3
                      B.   The Court Denied The Plaintiffs’ Motion For Class Certification. ....................... 4
                      C.   Media Intervenors Seek To Unseal The Names Of Individuals Connected
                           To Unsubstantiated Harassment Allegations. ........................................................ 5
             III.     ARGUMENT ..................................................................................................................... 5
                      A.   The “Good Cause” Standard Applies Here. ........................................................... 5
                      B.   Even If A Higher Standard Is Applied, There Are “Compelling Reasons”
                           To Redact The Names Of Complainants, Witnesses, And Subjects...................... 8
                      C.   The Denial Of Class Certification Does Not Heighten The Public’s Right
                           To Access The Names Of Complainants, Witnesses, And Subjects. .................. 12
                      D.   Plaintiffs’ Position On Disclosure Is Legally Irrelevant. ..................................... 13
             IV.      CONCLUSION ................................................................................................................ 13




             Page i       -     DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                INTERVENORS’ MOTION TO UNSEAL JUDICIAL RECORDS
                                                                                                                                               ER-108
(98 of 298), Page 98 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 98 of 298

                        Case 3:18-cv-01477-JR                   Document 345              Filed 08/23/23            Page 3 of 19




                                                          TABLE OF AUTHORITIES

                                                                                                                                        Page(s)

             CASES

             Accenture LLP v. Sidhu,
                2011 WL 6057597 (N.D. Cal. Dec. 6, 2011) .............................................................................9

             Apple Inc. v. Samsung Elecs. Co., Ltd.,
                727 F.3d 1214 (Fed. Cir. 2013)................................................................................................11

             Buchanan v. Homeservices Lending LLC,
                2012 WL 5505775 (S.D. Cal. Nov. 13, 2012) ...........................................................................7

             Ctr. for Auto Safety v. Chrysler Grp., LLC,
                 809 F.3d 1092 (9th Cir. 2016) .............................................................................................6, 11

             Davis v. Soc. Serv. Coordinators, Inc.,
                2012 WL 2376217 (E.D. Cal. June 22, 2012) ...........................................................................7

             Dugan v. Lloyds TSB Bank, PLC,
                2013 WL 1435223 (N.D. Cal. Apr. 9, 2013) .............................................................................6

             Fodera v. Equinox Holdings, Inc.,
                341 F.R.D. 616 (N.D. Cal. 2022) .............................................................................................12

             Foltz v. State Farm Mut. Auto. Ins. Co.,
                331 F.3d 1125 (9th Cir. 2003) ...............................................................................................5, 6

             Forbes Media LLC v. United States,
                61 F.4th 1072 (9th Cir. 2023) ..................................................................................................11

             Hounshel v. Battelle Energy All., LLC,
                2013 WL 5375833 (D. Idaho Sept. 24, 2013)........................................................................8, 9

             In re: High-Tech Emp. Antitrust Litig.,
                 2013 WL 163779 (N.D. Cal. Jan. 15, 2013) ..............................................................................6

             In Re Midland Nat’l Life Ins. Co. Annuity Sales Pracs. Litig.,
                 686 F.3d 1115 (9th Cir. 2012) ...................................................................................................6

             In re NCAA Student-Athlete Name and Likeness Licensing Litig.,
                 2012 WL 5395039 (N.D. Cal. Nov. 5, 2012) ............................................................................7

             Kamakana v. City & Cnty. of Honolulu,
               447 F.3d 1172 (9th Cir. 2006) .....................................................................................5, 6, 9, 11




             Page ii       -     DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                 INTERVENORS’ MOTION TO UNSEAL JUDICIAL RECORDS
                                                                                                                                          ER-109
(99 of 298), Page 99 of 298 Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 99 of 298

                        Case 3:18-cv-01477-JR                     Document 345               Filed 08/23/23             Page 4 of 19




             Leucadia, Inc. v. Applied Extrusion Techs., Inc.,
                998 F.2d 157 (3d Cir. 1993).....................................................................................................13

             Maldonado v. Apple, Inc.,
                333 F.R.D. 175 (N.D. Cal. 2019) .......................................................................................12, 13

             Nixon v. Warner Commc’ns, Inc.,
                435 U.S. 589 (1978) ...............................................................................................................6, 9

             Oliner v. Kontrabecki,
                745 F.3d 1024 (9th Cir. 2014) .................................................................................................12

             Phillips ex rel. Ests. of Byrd v. Gen. Motors Corp.,
                307 F.3d 1206 (9th Cir. 2002) ...................................................................................................6

             Ramirez v. GEO Grp.,
                2019 WL 6782920 (S.D. Cal. Dec. 11, 2019)........................................................................2, 7

             Reflex Media, Inc. v. Doe No. 1,
                 2022 WL 2985938 (D. Nev. July 28, 2022) ............................................................................10

             Rich v. Hewlett-Packard Co.,
                2009 WL 2168688 (N.D. Cal. July 20, 2009) ............................................................................7

             Romero v. County of Santa Clara,
                2014 WL 12641990 (N.D. Cal. June 17, 2014) .......................................................................10

             Romero v. Drummond Co.,
                480 F.3d 1234 (11th Cir. 2007) ...............................................................................................13

             Sentynl Therapeutics, Inc. v. U.S. Specialty Ins. Co.,
                2021 WL 794271 (S.D. Cal. Mar. 1, 2021), aff’d,
                2022 WL 706941 (9th Cir. Mar. 9, 2022) ................................................................................10

             Skurkis v. Montelongo,
                2016 WL 4719271 (N.D. Cal. Sept. 9, 2016) ............................................................................9

             United States v. Amodeo,
                71 F.3d 1044 (2d Cir. 1995)...................................................................................................3, 8

             United States v. Mayers,
                2017 WL 2215805 (W.D. Wash. May 19, 2017).....................................................................10

             Vietnam Veterans of Am. v. C.I.A.,
                 2012 WL 1094360 (N.D. Cal. Mar. 29, 2012) ...........................................................................7

             STATUTES

             Oregon Equal Pay Act .....................................................................................................................4

             Page iii       -     DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                  INTERVENORS’ MOTION TO UNSEAL JUDICIAL RECORDS
                                                                                                                                               ER-110
(100 of 298), Page 100 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 100 of 298

                         Case 3:18-cv-01477-JR                     Document 345                Filed 08/23/23              Page 5 of 19




             RULES

             FED. R. CIV. P. 23 .................................................................................................................. passim

             FED. R. CIV. P. 26(c) ........................................................................................................................7




             Page iv        -     DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                  INTERVENORS’ MOTION TO UNSEAL JUDICIAL RECORDS
                                                                                                                                                   ER-111
(101 of 298), Page 101 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 101 of 298

                       Case 3:18-cv-01477-JR          Document 345        Filed 08/23/23      Page 6 of 19




                                   MEMORANDUM OF POINTS AND AUTHORITIES

              I.       INTRODUCTION

                       By their renewed motion, the Media Intervenors seek to reveal the identities of

              complainants, witnesses, and alleged victims of claimed wrongdoing based on the collection of

              unsubstantiated, uncorroborated, and unofficial “complaints” that were circulated to a small

              group of individuals on NIKE’s campus in or about December 2017. 1 The allegations made in

              these documents—whether true or not—have been published by various media outlets and

              documents filed in the class certification briefing. The sole issue here is whether the privacy

              interests of the purported victims, witnesses, and alleged wrongdoers outweighs any purported

              right of the Media Intervenors to embarrass and shame these individuals. None of this shaming

              detail had any bearing on the Court’s finding that Plaintiffs failed to meet their burden under

              Rule 23 to certify a class action, or the Ninth Circuit’s denial of Plaintiffs’ petition seeking an

              immediate appeal of the denial of class certification. Nor does the law support an attempt to

              create a media circus. Indeed, the following shows why the Court should deny this request.

                       First, here’s a realistic illustration that proves the point. In the packet of “complaints”

              distributed and collected by Plaintiffs, an anonymous person stated that they saw Person 1

              performing a sex act on Person 2 at some location on NIKE’s 286-acre campus in Beaverton,

              Oregon, and that s/he told Random Person A about the event. The fact of the allegation was laid

              bare in the documents produced by NIKE in this litigation. The Media Intervenors now seek to

              unredact the identities of Persons 1 and 2, as well as Random Person A, notwithstanding:




              1
                “Media Intervenors” refers to Non-Party Media Organizations Insider Inc. d/b/a Business
              Insider, Advance Local Media LLC d/b/a Oregonian Media Group, and American City Business
              Journals, Inc. d/b/a Portland Business Journal.


              Page 1      -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                              INTERVENORS’ MOTION TO UNSEAL
                                                                                                                ER-112
(102 of 298), Page 102 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 102 of 298

                       Case 3:18-cv-01477-JR          Document 345        Filed 08/23/23     Page 7 of 19




                       •       The complainant here did not reveal her/himself, and there was no showing that

                               this event ever took place. Nor are there any facts on the face of the complaint

                               suggesting that this encounter, if it happened, was non-consensual even if

                               inappropriate.

                       •       Assuming arguendo that the event occurred, there is no bona fide reason to reveal

                               the names of Persons 1 and 2—other than to embarrass them. But if the

                               complaint was fabricated, identifying Persons 1 and 2 publicly likely would do

                               violence to those individuals’ personal and professional reputations, including

                               their standing within the community, compromising (or destroying) personal and

                               familial relationships, and endangering current employment or future employment

                               prospects.

                       •       Naming Random Person A also serves no legitimate purpose. That person is not a

                               witness to the alleged event; his/her knowledge would be hearsay. In addition,

                               publicly disclosing the identities of third parties (and witnesses) seems antithetical

                               to the goal of encouraging confidential reporting of wrongdoing in a system that

                               protects alleged victims. Media Intervenors—and Plaintiffs who joined this

                               motion—should care about this objective. Their advocacy suggests otherwise.

                       Second, Media Intervenors are incorrect on the law. While they argue that a “compelling

              reasons” standard should apply in determining whether to unredact the names of purported

              victims, witnesses, and alleged wrongdoers, a majority of district courts in the Ninth Circuit hold

              that court records filed in connection with a motion for class certification are subject to a lower

              “good cause” standard because class certification motions are not dispositive. See Ramirez v.

              GEO Grp., 2019 WL 6782920, at *3 (S.D. Cal. Dec. 11, 2019). The “good cause” standard




              Page 2       -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                               INTERVENORS’ MOTION TO UNSEAL
                                                                                                               ER-113
(103 of 298), Page 103 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 103 of 298

                       Case 3:18-cv-01477-JR         Document 345        Filed 08/23/23     Page 8 of 19




              applies in this case, particularly where, as here, the litigation continues even after this Court and

              the Ninth Circuit ruled in NIKE’s favor. In the above example, the risk of reputational and

              emotional harm to Persons 1 and 2 supports the limited redactions.

                       Third, the same result is obtained under a “compelling reasons” standard. The public’s

              claimed interest in learning who may have been involved in purported wrongdoing is outweighed

              by the intrusion into Persons 1 and 2’s privacy rights. Nor does the Media Intervenors’ curiosity

              support a stifling of the complaint and investigation process as a whole, where the confidentiality

              of persons of interest is a key feature of a system that encourages victims to come forward so that

              allegations of wrongdoing may be fully investigated. Courts routinely support the limited

              redactions at issue here, particularly where there is no showing that unredacting the individuals’

              names would assist the public in understanding Rule 23’s requirements or any issue tied to the

              class certification briefing. The sole objective of the renewed motion is to satisfy the Media

              Intervenors’ (and Plaintiffs’) “morbid craving for that which is sensational and impure.” United

              States v. Amodeo, 71 F.3d 1044, 1050-51 (2d Cir. 1995) (citation omitted).

                       The Media Intervenors’ renewed motion should be denied.

              II.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

                       A.       The Court Denied Media Intervenors’ Unfettered Access To Sealed Records.

                       Notwithstanding their recent change of heart, Plaintiffs and NIKE previously agreed to

              redact select matters from the parties’ class certification briefing, principally the names of

              complainants, witnesses, and subjects of “complaints” that were collected incident to the

              leafletting that occurred on NIKE’s campus in late 2017. ECF No. 273 at 13 (the Parties had

              worked together to “review previously sealed documents and re-lodge unsealed or redacted

              versions where appropriate.”); id at 12 (the Parties agreed to keep redacted “the names of any

              individuals named in allegations of sexual harassment or gender discrimination at Nike that have


              Page 3        -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                INTERVENORS’ MOTION TO UNSEAL
                                                                                                               ER-114
(104 of 298), Page 104 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 104 of 298

                       Case 3:18-cv-01477-JR         Document 345       Filed 08/23/23     Page 9 of 19




              not already been made public[.]”). To be clear, this means that the allegations contained in the

              “complaints” would be made public; only the specific identities of witnesses and persons of

              interest would be redacted.

                       On April 1, 2022, NIKE’s counsel met and conferred with counsel for Plaintiffs and

              Media Intervenors regarding the Media Intervenors’ request to private information in support of

              the parties’ filings in connection with the class certification briefing. ECF No. 220 ¶ 3. The

              Media Intervenors claimed that they should have the right to access “Confidential” and “AEO”

              filings to evaluate whether unsealing was justified. ECF No. 273 at 13.

                       On April 8, 2022, Media Intervenors’ brought their initial Motion to Intervene for the

              Limited Purpose of Moving to Unseal Judicial Records and to Oppose Defendant’s Motion to

              Seal (the “Motion to Intervene”). ECF No. 205. The parties fully briefed the motion, and on

              September 30, 2022, the Court issued a recommendation granting in part and denying in part the

              Motion to Intervene. ECF No. 273. While the Court allowed Media Intervenors to intervene for

              the limited purpose of unsealing judicial records, it denied their attempts to access or unseal the

              records in connection with Plaintiffs’ Motion for Class Certification. ECF No. 273 at 11.

                       B.       The Court Denied The Plaintiffs’ Motion For Class Certification.

                       On November 22, 2022, the Court entered its Findings and Recommendations,

              concluding that Plaintiffs’ Motion for Class Certification should be denied. ECF No. 310. The

              Court found, inter alia, that Plaintiffs had failed to establish (1) a common practice regarding

              NIKE’s alleged use of prior pay to set starting pay; (2) a common practice regarding bonus

              payments; (3) commonality regarding their Oregon Equal Pay Act claim; and (4) typicality,

              predominance, and superiority. On March 21, 2023, the Court adopted those Findings and

              Recommendations in its Order denying class certification. ECF No. 335. Plaintiffs petitioned

              the Ninth Circuit for leave to immediately appeal the denial of their class certification motion.


              Page 4        -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                INTERVENORS’ MOTION TO UNSEAL
                                                                                                             ER-115
(105 of 298), Page 105 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 105 of 298

                       Case 3:18-cv-01477-JR       Document 345        Filed 08/23/23     Page 10 of 19




              ECF No. 337. The Ninth Circuit denied their petition. ECF No. 339.

                       C.       Media Intervenors Seek To Unseal The Names Of Individuals Connected To
                                Unsubstantiated Harassment Allegations.

                       Media Intervenors have filed a renewed motion to unredact the limited items remaining

              in certain “complaint” files. Specifically, Media Intervenors seek to unseal the redacted content

              in Exhibits 46 (ECF No. 284-6), 47 (ECF No. 284-7), 48 (ECF No. 284-8), 51 (ECF No. 285-1),

              and 52 (ECF No. 285-2) of the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

              Class Certification, Paragraph 16 of the Declaration of Byron Goldstein in Support of Plaintiffs’

              Motion for Class Certification (“Goldstein Decl.”) (ECF No. 288), and Exhibit 9 to the Goldstein

              Decl. (ECF No. 290-4). 2 As Media Intervenors admit, NIKE already unredacted extensive

              information in the documents identified. ECF No. 343 at 7-8. Generally speaking, the

              remaining redactions seek to protect the privacy interest of individuals who (1) submitted

              complaints so that the issues they raised could be investigated confidentially; (2) were alleged as

              persons of interest; or (3) alleged witnesses to purported events.

              III.     ARGUMENT

                       A.       The “Good Cause” Standard Applies Here.

                       The Media Intervenors contend that there must be “compelling reasons” to override their

              claim of access to the names of complainants, witnesses, and subjects identified in the

              “complaint” files at issue. See Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178-79

              (9th Cir. 2006) (“specific factual findings” of prejudice must “outweigh the general history of

              access and the public policies favoring disclosure”) (citations omitted); Foltz v. State Farm Mut.



              2
               Exhibit 9 to the Goldstein Decl. at pages 17, 18, 25, 31, and 32, includes redactions of the
              contents of complaints, rather than just the names of complainants, witnesses, and subjects of
              complaints. Nike maintains that the names of any individuals on these pages should be redacted,
              but does not oppose lifting the redactions of anything besides that.


              Page 5        -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                INTERVENORS’ MOTION TO UNSEAL
                                                                                                            ER-116
(106 of 298), Page 106 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 106 of 298

                       Case 3:18-cv-01477-JR        Document 345         Filed 08/23/23     Page 11 of 19




              Auto. Ins. Co., 331 F.3d 1125, 1135 (9th Cir. 2003) (the right to access court records “is not

              absolute and can be overridden given sufficiently compelling reasons for doing so.”).

                       However, there is an exception for sealed materials filed in relation to non-dispositive

              motions, which warrant a more lenient standard. See Kamakana, 447 F.3d at 1178-79; see also

              In Re Midland Nat’l Life Ins. Co. Annuity Sales Pracs. Litig., 686 F.3d 1115, 1119 (9th Cir.

              2012) (same). Under this exception, a party need only satisfy the less exacting “good cause”

              standard. See Foltz, 331 F.3d at 1135. The “good cause” standard requires the sealing party to

              show that “specific prejudice or harm will result” if information is unsealed. Phillips ex rel.

              Ests. of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002). As the Ninth

              Circuit has held, when materials are attached to a non-dispositive motion, “the private interests

              of litigants are the only weights on the scale,” and public access may be denied for “good cause”

              alone. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (citation

              and quotation marks omitted).

                       Under both standards, courts continue to have a strong interest in preventing abuse of

              their processes; otherwise, judicial records would become a “vehicle for improper purposes,”

              such as a tool to “gratify private spite,” or “promote public scandal.” Nixon v. Warner

              Commc’ns, Inc., 435 U.S. 589, 598 (1978) (citations omitted).

                       Numerous courts have held that the “good cause” standard applies to class certification

              motions. See e.g., Dugan v. Lloyds TSB Bank, PLC, 2013 WL 1435223, at *1 (N.D. Cal. Apr. 9,

              2013) (“Unless the denial of a motion for class certification would constitute the death knell of a

              case, the vast majority of courts within this circuit treat motions for class certification as non-

              dispositive motions to which the ‘good cause’ sealing standard applies.”) (citation and quotation

              marks omitted); In re: High-Tech Emp. Antitrust Litig., 2013 WL 163779, at *2 at n.1 (N.D.




              Page 6      -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                              INTERVENORS’ MOTION TO UNSEAL
                                                                                                               ER-117
(107 of 298), Page 107 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 107 of 298

                       Case 3:18-cv-01477-JR         Document 345        Filed 08/23/23      Page 12 of 19




              Cal. Jan. 15, 2013) (in finding that the motion for class certification is non-dispositive, “the

              Court applies a ‘good cause’ standard here in accordance with the vast majority of other courts

              within this circuit”); In re NCAA Student-Athlete Name and Likeness Licensing Litig., 2012 WL

              5395039, at *1-2 (N.D. Cal. Nov. 5, 2012) (applying “good cause” standard to motion to seal

              class certification briefing); Vietnam Veterans of Am. v. C.I.A., 2012 WL 1094360, at *1-2 (N.D.

              Cal. Mar. 29, 2012) (same); Buchanan v. Homeservices Lending LLC, 2012 WL 5505775, at *2

              (S.D. Cal. Nov. 13, 2012) (same); Davis v. Soc. Serv. Coordinators, Inc., 2012 WL 2376217, at

              *1 (E.D. Cal. June 22, 2012) (“the party seeking to seal a document related to a non-dispositive

              motion [exhibits attached to a declaration in support of a motion for conditional class

              certification] must meet the ‘good cause’ standard set forth by Federal Rule of Civil

              Procedure 26(c) that applies to protective orders.”); Rich v. Hewlett-Packard Co., 2009 WL

              2168688, at *1 (N.D. Cal. July 20, 2009) (Because “[t]he contested issues in Plaintiffs’ motion

              for class certification involve the procedural requirements of Fed. R. Civ. P. 23 and relate only

              tangentially to the underlying merits of Plaintiffs’ claim[,] [t]he motion thus is not ‘dispositive’

              . . . and a showing of good cause is sufficient to justify filing these documents under seal.”).

                       There is no argument here that the denial of class certification would constitute the “death

              knell” of this case, particularly where Plaintiffs continue to litigate their claims and are in the

              midst of post-certification discovery concerning the same. In Ramirez, 2019 WL 6782920, at *3,

              the court found a class certification motion to be non-dispositive and applied the “good cause”

              standard for documents attached to it to be filed under seal because the plaintiff “would

              presumably have financial incentive to pursue individual litigation even if he could not do so on

              behalf of a class.” There are no presumptions here—the named Plaintiffs are proceeding with

              their claims.




              Page 7      -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                              INTERVENORS’ MOTION TO UNSEAL
                                                                                                                 ER-118
(108 of 298), Page 108 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 108 of 298

                       Case 3:18-cv-01477-JR         Document 345      Filed 08/23/23      Page 13 of 19




                       The “good cause” standard attaches in this case. NIKE has demonstrated specific harm

              to the personal and professional reputations of individuals who would be publicly associated

              with alleged wrongdoing (including consensual sex acts) during the course of their employment

              at NIKE. This harm would be amplified if the anonymous reports were false—that would cause

              harm which is impossible to compensate by money damages alone.

                       B.       Even If A Higher Standard Is Applied, There Are “Compelling Reasons” To
                                Redact The Names Of Complainants, Witnesses, And Subjects.

                       While the “good cause” standard is applicable here, even under the “compelling reasons”

              standard, the Court should deny the Media Intervenors’ renewed motion. See Amodeo, 71 F.3d

              at 1050-51 (privacy interests of third parties rebut the presumption of public access, particularly

              where the request for public access hinges on “a morbid craving for that which is sensational and

              impure.”) (citation omitted). All that the Media Intervenors (and Plaintiffs) seek in this case is a

              repetition of the same “sensational and impure” headlines that they have used to grab attention

              for more than four years, except this time, they do not believe that the allegations alone are

              sufficient. Media Intervenors and Plaintiffs seek to double down by embarrassing and shaming

              (perhaps innocent) people regardless of the reputational and professional costs, solely to appeal

              to their own (or the public’s) prurient interests. There are “compelling reasons” to override their

              claim of public access in this case.

                       First, a significant number of the “complaints” collected here were anonymous, which

              presents critical questions relating to the veracity of the matters identified in those documents

              and the harm to individuals who may be publicly identified in connection with unverified,

              “sensational and impure” allegations. But as a general matter, individuals who submit

              complaints have no expectation that their own privacy might be compromised due to

              republication of their names in litigation (or the newspaper). See Hounshel v. Battelle Energy



              Page 8        -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                                INTERVENORS’ MOTION TO UNSEAL
                                                                                                               ER-119
(109 of 298), Page 109 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 109 of 298

                       Case 3:18-cv-01477-JR       Document 345        Filed 08/23/23     Page 14 of 19




              All., LLC, 2013 WL 5375833, at *1 (D. Idaho Sept. 24, 2013) (party’s “discovery requests raise

              significant privacy concerns for third-party employees who ha[d] no involvement in the case”).

              The complaint process is supposed to be a safe space for individuals to voice concerns, not for

              salacious rumor-spreading. Unredacting complainants’ names necessarily risks the privacy of

              such third parties, which likely would have a chilling effect on confidential reporting in the

              workplace. The net result is that victims would be worse off. 3

                       Second, there are “compelling reasons” to redact the names of subjects of the complaints

              in sexual harassment and/or gender discrimination matters, particularly where the allegations are

              unsubstantiated. Prevention of unfounded reputational damage is an overriding interest that

              supports sealing. See Kamakana, 447 F.3d at 1178-79; see also Skurkis v. Montelongo, 2016

              WL 4719271, at *6 (N.D. Cal. Sept. 9, 2016) (granting motion to file complaint under seal where

              it contained information about allegedly criminal acts of defendants’ agents and non-parties).

                       Here, NIKE only seeks to redact these individuals’ names. “The inclusion of unfounded

              accusations unrelated to the claims brought by [Plaintiffs] suggests that” their names are being

              used “as a vehicle for character assassination.” Accenture LLP v. Sidhu, 2011 WL 6057597, at

              *3 (N.D. Cal. Dec. 6, 2011) (holding that unfounded accusations should remain under seal

              because they could become the vehicle for improper purposes). Numerous “courts have refused

              to permit their files to serve as reservoirs of libelous statements for press consumption.” Nixon,

              435 U.S. at 598 (citing cases). There is no showing that the names of those purportedly involved

              in harassment or discrimination here (or who may have witnessed harassment or discrimination)

              would have been relevant to the Court’s finding that Plaintiffs failed to meet their obligation



              3
                It is particularly unfortunate that Plaintiffs, who purport to represent the interests of Nike’s
              women employees, have suddenly decided that they now “support un-redaction of the documents
              at issue.” ECF No. 343 at 10.


              Page 9      -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                              INTERVENORS’ MOTION TO UNSEAL
                                                                                                               ER-120
(110 of 298), Page 110 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 110 of 298

                     Case 3:18-cv-01477-JR         Document 345        Filed 08/23/23     Page 15 of 19




              under Rule 23. The only purpose served would be to harm the reputations and infringe upon the

              privacy rights of individuals who have not been found to have engaged in inappropriate conduct.

              This is improper.

                     Third, the names of witnesses (either third-party observers or victims of alleged

              harassment or discriminatory treatment by others) should be redacted. Presumably, the Media

              Intervenors wish these names to be disclosed, along with those of complainants and persons of

              interest, for the purposes of writing salacious stories that potentially would expose such

              individuals to unwarranted attention or ridicule.

                     As provided above, the current record shows the potential for harm. In Exhibit 52 of the

              Sun Declaration, there is an anonymous complaint that two individuals (Persons 1 and 2, whose

              names have been redacted) engaged in a sex act at some point while employed at NIKE. ECF

              No. 285-2. The complaint neither alleges nor suggests that the act was non-consensual. Thus,

              revealing these individuals’ names in a public filing serves no purpose other than to harass and

              shame. Courts routinely prohibit this. See e.g., Reflex Media, Inc. v. Doe No. 1, 2022 WL

              2985938, at *2 (D. Nev. July 28, 2022) (sealing personal identifying information of victims of

              the alleged extortion business); Sentynl Therapeutics, Inc. v. U.S. Specialty Ins. Co., 2021 WL

              794271, at *3 (S.D. Cal. Mar. 1, 2021), aff’d, 2022 WL 706941 (9th Cir. Mar. 9, 2022) (sealing

              non-parties’ names because it “runs a substantial risk of exposing those individuals to

              harassment”); United States v. Mayers, 2017 WL 2215805, at *2 (W.D. Wash. May 19, 2017)

              (“sealing the identifying personal information of an unrelated party to this case is a compelling

              reason to keep that information sealed”); Romero v. County of Santa Clara, 2014 WL 12641990,

              at *3 (N.D. Cal. June 17, 2014) (“Discrete, sensitive identifying information regarding third

              parties may be redacted.”). The public already has access to the facts relevant to that




              Page 10    -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                             INTERVENORS’ MOTION TO UNSEAL
                                                                                                              ER-121
(111 of 298), Page 111 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 111 of 298

                     Case 3:18-cv-01477-JR          Document 345        Filed 08/23/23     Page 16 of 19




              “complaint,” including the allegation that a sex act occurred on NIKE’s 286-acre campus at

              some point in history. There is no additional benefit to disclosing these individuals’ names; but,

              dire personal and professional consequences could result if their identities are published (e.g.,

              there are likely impacts with respect to these individuals’ personal relationships, relationships

              with family members, at their current employment, in the community or other professional

              circles, etc.). These individuals’ lives would be put under a spotlight for the sole purpose of the

              Media Intervenors’ (and Plaintiffs’) enjoyment. The case law does not support the same.

                     Finally, the Media Intervenors’ reliance on the “compelling reasons” standard falls flat

              because it misses the key point in the case law—the touchstone of the inquiry is whether removal

              of the redactions would assist the “public interest in understanding the judicial process[.]”

              Kamakana, 447 F.3d at 1178-79 (emphasis added, citation omitted); Forbes Media LLC v.

              United States, 61 F.4th 1072, 1076 (9th Cir. 2023) (“[m]atters decided in the courts are often of

              considerable public interest,” but the question is “not one of public interest but [of] public

              access.”). That interest “does not extend to mere curiosity about . . . confidential information

              where that information is not central to a decision on the merits.” Apple Inc. v. Samsung Elecs.

              Co., Ltd., 727 F.3d 1214, 1228 (Fed. Cir. 2013); see also Ctr. for Auto Safety, 809 F.3d at 1099

              (the focus of the analysis is on whether the material “at issue is more than tangentially related to

              the underlying cause of action.”).

                     There is no evidence—by the Media Intervenors or the Plaintiffs—that the names of the

              complainants, witnesses, and subjects referenced in the unverified “complaints” would assist the

              public in understanding the judicial process relating to the Court’s ruling on class certification or

              the Ninth Circuit’s denial of Plaintiffs’ petition. There is no logical argument as to why the

              identities of Persons 1 and 2, and Random Person A, might help anyone understand the




              Page 11    -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                             INTERVENORS’ MOTION TO UNSEAL
                                                                                                               ER-122
(112 of 298), Page 112 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 112 of 298

                     Case 3:18-cv-01477-JR          Document 345        Filed 08/23/23     Page 17 of 19




              requirements of Rule 23. The Media Intervenors have not identified a single reference in any

              ruling by any court indicating that the court’s legal or factual conclusions might rest upon the

              identities of a person of interest in the unverified “complaint” files. The Media Intervenors’

              renewed motion should be denied.

                     C.       The Denial Of Class Certification Does Not Heighten The Public’s Right To
                              Access The Names Of Complainants, Witnesses, And Subjects.

                     Media Intervenors argue that the Court’s ruling on class certification increases the public

              interest in accessing documents that informed judicial decision-making. They then cite an array

              of inapplicable cases that, in fact, cut against the Media Intervenors’ arguments.

                     For example, Media Intervenors cite Oliner v. Kontrabecki, 745 F.3d 1024, 1025 (9th

              Cir. 2014), for the proposition that court records provide important bases for a court’s decisions.

              But the case is inapposite. In Oliner, the party sought to seal the entire record of the court

              proceedings, including the opinion itself. By contrast, here, the opinion denying class

              certification and the great majority of the evidence supporting the opinion are publicly

              accessible. In fact, the critical facts underlying the “complaints” are publicly available. Only the

              individuals’ names remain redacted and these peoples’ identities did not form the “bases or

              explanations for [the] court’s decision.” Id.

                     In Fodera v. Equinox Holdings, Inc., 341 F.R.D. 616, 635 (N.D. Cal. 2022), another case

              cited by Media Intervenors, the basis for the court’s holding that sealing the records would make

              it difficult for the public to understand the facts underlying the motion for class certification was

              “the nature and volume of the sealing requests.” In Fodera, the parties sought to seal

              approximately 175 records. Here, there are only seven documents at issue with a very limited

              redaction focus—protecting the privacy rights and interests of non-parties.

                     Maldonado v. Apple, Inc., 333 F.R.D. 175 (N.D. Cal. 2019), is similarly unhelpful to the



              Page 12     -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                              INTERVENORS’ MOTION TO UNSEAL
                                                                                                               ER-123
(113 of 298), Page 113 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 113 of 298

                      Case 3:18-cv-01477-JR          Document 345         Filed 08/23/23      Page 18 of 19




              Media Intervenors’ position. The Maldonado court merely held that the information that

              defendants sought to seal was too broad, albeit acknowledging that the categories were “likely to

              include sealable information.” Id. at 194. The court confirmed that it would not seal information

              that is “necessary to understand plaintiffs’ theory of liability and hence this Order.” Id.

              (emphasis added). Media Intervenors cannot earnestly argue that a third-party individual’s name

              is necessary to understanding plaintiffs’ claims or the Court’s denial of class certification. 4

                      D.       Plaintiffs’ Position On Disclosure Is Legally Irrelevant.

                      Finally, Media Intervenors argue that because Plaintiffs now seemingly support the

              disclosure of the names of the individuals in these complaints, unsealing is appropriate.

              Plaintiffs’ position is legally irrelevant and immaterial. It is interesting that Plaintiffs support

              disclosure of information (without consent) pertaining to the victims they claim to represent, but

              unlike any previous briefing on sealing, the sole question here is whether the law supports

              redaction of the names of complainants, witnesses, and subjects in “complaints” alleging sexual

              harassment and discrimination. 5 The great weight of authority supports NIKE’s position here.

              IV.     CONCLUSION

                      For the foregoing reasons, Nike respectfully submits that Media Intervenors’ Motion to

              Unseal should be denied in its entirety.




              4
                Media Intervenors’ out-of-circuit cases are similarly distinguishable. In Leucadia, Inc. v.
              Applied Extrusion Techs., Inc., 998 F.2d 157, 164 (3d Cir. 1993), the Circuit Court vacated the
              district court’s order that a party could not intervene, but did not hold that certain documents relevant
              to a motion should have been unsealed. In Romero v. Drummond Co., 480 F.3d 1234, 1245-46 (11th
              Cir. 2007), the court applied the “good cause” standard. While the Eleventh Circuit found there was
              not good cause, it only did so because the party seeking to seal failed to articulate any good cause.
              By contrast, Nike has explained in detail the harm that could come from unsealing these documents.
              5
                In the previous round of sealing briefing, the Court unredacted the names of (former) NIKE
              employees referenced in the “complaints” because those specific references tracked information
              that had already been made public. ECF No. 273 at 7-8.


              Page 13      -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                               INTERVENORS’ MOTION TO UNSEAL
                                                                                                                 ER-124
(114 of 298), Page 114 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 114 of 298

                     Case 3:18-cv-01477-JR   Document 345     Filed 08/23/23    Page 19 of 19




               Dated: August 23, 2023               Respectfully submitted,


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               Page 14   -   DEFENDANT NIKE, INC.’S OPPOSITION TO NON-PARTY MEDIA
                             INTERVENORS’ MOTION TO UNSEAL
                                                                                                ER-125
(115 of 298), Page 115 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 115 of 298

                       Case 3:18-cv-01477-JR         Document 343    Filed 08/09/23    Page 1 of 16




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                                             UNITED STATES DISTRICT COURT
                                                  DISTRICT OF OREGON
                                                  PORTLAND DIVISION


                                                                    Case No. 3:18-cv-01477-JR
                KELLY CAHILL, et al., individually and
                on behalf of others similarly situated,             RENEWED MOTION OF NON-PARTY
                                                                    MEDIA ORGANIZATIONS INSIDER,
                               Plaintiffs,                          INC. d/b/a BUSINESS INSIDER,
                                                                    ADVANCE LOCAL MEDIA LLC d/b/a
                       v.                                           OREGONIAN MEDIA GROUP, AND
                                                                    AMERICAN CITY BUSINESS
                NIKE, INC., an Oregon Corporation,                  JOURNALS, INC. d/b/a PORTLAND
                                                                    BUSINESS JOURNAL TO UNSEAL
                               Defendant.                           JUDICIAL RECORDS




               RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
               - Page i -
                                                                                                  ER-126
(116 of 298), Page 116 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 116 of 298

                        Case 3:18-cv-01477-JR                      Document 343                Filed 08/09/23              Page 2 of 16




                                                                TABLE OF CONTENTS

             TABLE OF AUTHORITIES ......................................................................................................... iii

             LR 7-1(a) CERTIFICATION ......................................................................................................... 1

             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS ...................................................... 1

             MEMORANDUM OF LAW IN SUPPORT .................................................................................. 2

                 I.    INTRODUCTION .............................................................................................................. 2

                 II. BACKGROUND AND SEALED DOCUMENTS AT ISSUE .......................................... 2

                       A. The Parties’ Protective Order and Intervenors’ Initial Motion to Intervene and
                          Unseal .......................................................................................................................... 2

                       B. This Court’s Findings and Recommendation on Intervention and Unsealing ............. 4

                       C. Denial of Plaintiffs’ Motion for Class Certification .................................................... 4

                       D. Remaining Stipulated Redactions ................................................................................ 5

                       E. Media Intervenors’ Renewed Outreach to the Parties ................................................. 5

                 III. ARGUMENT ...................................................................................................................... 6

                       A. The Press and Public Enjoy a Presumptive Right to Access Judicial Records
                          Submitted in Support of Class Certification Which Can Only Be Overcome
                          By a Stringent “Compelling Reasons” Standard. ........................................................ 6

                       B. Additional Factors Now Favor Access. ....................................................................... 9

                             i.     Now that a final determination has been rendered on class certification,
                                    there is increased public interest in accessing documents that informed
                                    judicial decision-making. ..................................................................................... 9

                             ii.    Plaintiffs have clarified their position in favor of disclosure. ............................ 11

                 IV. CONCLUSION ................................................................................................................. 11




             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page ii -
                                                                                                                                                  ER-127
(117 of 298), Page 117 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 117 of 298

                        Case 3:18-cv-01477-JR                     Document 343               Filed 08/09/23             Page 3 of 16




                                                            TABLE OF AUTHORITIES

             Cases

             Blackie v. Barrack,
               524 F.2d 891 (9th Cir. 1975) ...................................................................................................... 7

             Ctr. for Auto Safety v. Chrysler Grp., LLC,
               809 F.3d 1092 (9th Cir. 2016) ...................................................................................... 7, 8, 9, 10

             Fodera v. Equinox Holdings, Inc.,
               341 F.R.D. 616 (N.D. Cal. 2022) ............................................................................................ 8, 9

             Foltz v. State Farm Mut. Auto. Ins. Co.,
               331 F.3d 1122 (9th Cir. 2003) ................................................................................................ 6, 9

             Ground Zero Ctr. for Non-Violent Action v. U.S. Dep’t of Navy,
               860 F.3d 1244 (9th Cir. 2017) .................................................................................................... 8

             In re Midland Nat’l Life Ins. Co. Annuity Sales Pracs. Litig.,
                686 F.3d 1115 (9th Cir. 2012) .................................................................................................... 6

             In re Nat’l Sec. Agency Telecomms. Records Litig.,
                No. 06-1791 VRW, 2007 WL 549854 (N.D. Cal. Feb. 20, 2007) ............................................ 11

             Kamakana v. City & Cnty. of Honolulu,
               447 F.3d 1172 (9th Cir. 2006) ................................................................................................ 6, 8

             Leucadia, Inc. v. Applied Extrusion Techs., Inc.,
               998 F.2d 157 (3d Cir. 1993) ..................................................................................................... 10

             Maldonado v. Apple, Inc.,
              333 F.R.D. 175 (N.D. Cal. 2019) .......................................................................................... 8, 10

             Nixon v. Warner Commc’ns, Inc.,
               435 U.S. 589 (1978).................................................................................................................... 6

             Oliner v. Kontrabecki,
               745 F.3d 1024 (9th Cir. 2014) .................................................................................................... 9

             Romero v. Drummond Co.,
               480 F.3d 1234 (11th Cir. 2007) ................................................................................................ 10

             Schmidt v. I.R.S.,
               533 F. Supp. 3d 952 (E.D. Cal. 2020) ........................................................................................ 8

             Uniloc 2017 LLC v. Apple, Inc.,
               964 F.3d 1351 (Fed. Cir. 2020) .............................................................................................. 8, 9

             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page iii -
                                                                                                                                              ER-128
(118 of 298), Page 118 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 118 of 298

                        Case 3:18-cv-01477-JR                     Document 343              Filed 08/09/23             Page 4 of 16




             Vesta Corp. v. Amdocs Mgmt. Ltd.,
               312 F. Supp. 3d 966 (D. Or. 2018) ............................................................................................. 8

             Wal-Mart Stores, Inc. v. Dukes,
              564 U.S. 338 (2011).................................................................................................................... 7




             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page iv -
                                                                                                                                              ER-129
(119 of 298), Page 119 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 119 of 298

                     Case 3:18-cv-01477-JR          Document 343        Filed 08/09/23     Page 5 of 16




                                               LR 7-1(a) CERTIFICATION

                    Pursuant to Local Rule 7-1(a), counsel for Media Intervenors conferred in good faith with

             counsel for Plaintiffs Cahill, et al., and Defendant Nike, Inc. regarding this motion, and the matters

             contained herein. Plaintiffs support Media Intervenors’ request to unseal the documents referred

             to in this motion. Nike does not support Media Intervenors’ request to fully unredact the

             documents addressed in this motion. As such, the Parties and Intervenors were unable to resolve

             the dispute.

                              RENEWED MOTION TO UNSEAL JUDICIAL RECORDS

                    Non-party media organizations Insider, Inc. d/b/a Business Insider, Advance Local Media

             LLC d/b/a Oregonian Media Group, and American City Business Journals, Inc. d/b/a Portland

             Business Journal (collectively, the “Media Intervenors”) respectfully move this Court to order the

             Parties to file unredacted versions of the following seven documents in this proceeding:

                        •   Exhibit 46 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 284-6.

                        •   Exhibit 47 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 284-7.

                        •   Exhibit 48 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 284-8.

                        •   Exhibit 51 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 285-1.

                        •   Exhibit 52 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 285-2.



             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 1 -
                                                                                                            ER-130
(120 of 298), Page 120 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 120 of 298

                     Case 3:18-cv-01477-JR          Document 343         Filed 08/09/23   Page 6 of 16




                        •   Paragraph 16 of the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion

                            for Class Certification. ECF No. 288.

                        •   Exhibit 9 to the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion

                            for Class Certification. ECF No. 290-4.

             Pursuant to the Magistrate’s September 30, 2022 Findings and Recommendation, Media

             Intervenors’ renewed motion is now timely because the Court has issued its final disposition

             denying Plaintiffs’ motion for class certification and, moreover, the Court of Appeals has denied

             Plaintiffs’ motion for leave to appeal that ruling.

                                        MEMORANDUM OF LAW IN SUPPORT

             I.     INTRODUCTION

                    This case centers on allegations of discrimination and abuse involving one of the most

             well-known multinational corporations in the world. Accordingly, this Court has granted the

             Media Intervenors’ intervention to represent the significant public interest in accessing information

             about this important judicial proceeding. ECF No. 273. Media Intervenors respectfully renew

             their motion to challenge redactions to seven judicial records related to class certification. There

             is a presumptive right of access to these records, which include newsworthy information of public

             concern. The rationale underlying disclosure is most applicable where, as here, the judicial records

             are considered by a Court in ruling on a dispositive motion, like class certification. Furthermore,

             the continued redaction of these records is no longer stipulated to by all Parties, with Plaintiffs

             clarifying their current position in favor of disclosure.

             II.    BACKGROUND AND SEALED DOCUMENTS AT ISSUE

                    A. The Parties’ Protective Order and Intervenors’ Initial Motion to Intervene and
                       Unseal



             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 2 -
                                                                                                           ER-131
(121 of 298), Page 121 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 121 of 298

                    Case 3:18-cv-01477-JR         Document 343       Filed 08/09/23     Page 7 of 16




                   On June 17, 2019, this Court entered a stipulated umbrella protective order, ECF No. 82

            (“Protective Order”), modeled on the Court’s Tier II template to govern the Parties’ exchange of

            discovery materials. Invoking the Protective Order, the Parties thereafter filed thousands of pages

            of documents under seal. See ECF No. 205 Appendix A. In March 2022, Media Intervenors

            notified the Parties of their intent to intervene for the limited purpose of moving to unseal those

            documents to vindicate the press and public’s presumptive right of access to judicial records. ECF

            No. 205 at 5–7. Media Intervenors conferred with the Parties to reach a resolution, leading to the

            public filings of four docket entries previously submitted by Defendant under seal. Id. But

            Defendant ultimately declined to unseal most of the documents at issue, including its Response to

            the Class Motion, and instead filed a motion to seal the documents the parties had to that point

            filed under seal pursuant only to their Protective Order. Id. at 7; ECF No. 171. On April 8, 2022,

            Media Intervenors moved to intervene pursuant to Fed. R. Civ. P. Rule 24(b) to challenge the

            sealed filings in this case, and to oppose Defendant’s then-pending motion to seal. ECF No. 205.

                   Defendant opposed Media Intervenors’ Motion, contesting the public’s presumptive right

            of access to the sealed judicial records and arguing that “[t]hose redactions w[ould] be addressed

            in due course” under the auspices of the Protective Order. ECF No. 219 at 2. Plaintiffs took no

            position on Media Intervenors’ Motion, emphasizing that their lack of a position stemmed not from

            opposition to unsealing, but from a desire not to disturb the outcome of “months” of “negotiating

            in good faith with Nike about what documents should remain sealed.” ECF No. 218 at 2. Plaintiffs

            clarified that they “[were] not advocating that any documents should remain sealed,” and were

            “cognizant of the presumption that documents filed with the Court should not be sealed.” Id.

            Indeed, in the weeks following Media Intervenors’ Motion, the Parties would go on to unseal




            RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
            - Page 3 -
                                                                                                         ER-132
(122 of 298), Page 122 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 122 of 298

                     Case 3:18-cv-01477-JR         Document 343        Filed 08/09/23     Page 8 of 16




             multiple judicial records, even before the Magistrate reached its Findings and Recommendation

             on the Motion to Intervene. See ECF Nos. 224, 230, 247, 263, 270.

                    B. This Court’s Findings and Recommendation on Intervention and Unsealing

                    On September 30, 2022, Magistrate Judge Russo recommended granting the Motion to

             Intervene and the Court subsequently entered the Magistrate’s Findings and Recommendation on

             intervention. ECF Nos. 273, 275. The Magistrate recognized that the Media Intervenors’ interests

             were not represented with respect to stipulated redactions produced under the Parties’ Protective

             Order. ECF No. 273 at 11. Because of the Parties’ ongoing efforts to unseal and unredact existing

             filings, and the pendency of the Plaintiffs’ class certification motion, Media Intervenors’ request

             for further briefing and to unseal additional documents was denied. Id. at 12–14. However, in its

             Findings and Recommendation, the Magistrate made clear that “following the final resolution of

             plaintiffs’ Motion for Class Certification, the non-party media organizations may file a renewed

             motion for the purposes of opposing any remaining stipulated redactions.” Id. at 14. Meanwhile,

             Magistrate Judge Russo continued to oversee the Parties’ ongoing efforts to “review previously

             sealed documents and re-lodge unsealed or redacted versions where appropriate.” Id. at 13. This

             process led the Parties to refile redacted versions of all but one of the previously sealed documents

             identified in Appendix A of the Motion to Intervene. See ECF No. 229 Updated Appendix A; ECF

             Nos. 276–309.

                    C. Denial of Plaintiffs’ Motion for Class Certification

                    On November 22, 2022, Magistrate Judge Russo entered her Findings and

             Recommendation concluding that Plaintiffs’ motion for class certification should be denied. On

             March 21, 2023, the District Court adopted those Findings and Recommendation. ECF No. 335.

             Plaintiffs petitioned the Ninth Circuit for leave to appeal their motion for class certification. See

             ECF No. 337. On June 1, 2023, the Ninth Circuit denied Plaintiffs’ petition. ECF No. 339.

             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 4 -
                                                                                                           ER-133
(123 of 298), Page 123 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 123 of 298

                     Case 3:18-cv-01477-JR         Document 343        Filed 08/09/23     Page 9 of 16




                    D. Remaining Stipulated Redactions

                    Media Intervenors have reviewed the remaining redacted judicial records related to

             Plaintiffs’ motion for class certification and identified seven documents where continued redaction

             withholds key evidence presented in support of class certification:

                        •   Exhibit 46 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 284-6.

                        •   Exhibit 47 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 284-7.

                        •   Exhibit 48 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 284-8.

                        •   Exhibit 51 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 285-1.

                        •   Exhibit 52 to the Declaration of Mengfei Sun in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 285-2.

                        •   Paragraph 16 of the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion

                            for Class Certification. ECF No. 288.

                        •   Exhibit 9 to the Declaration of Byron Goldstein in Support of Plaintiffs’ Motion for

                            Class Certification. ECF No. 290-4.

             Although redactions limit Media Intervenors’ ability to ascertain the full contents of these judicial

             records, they appear to contain information concerning allegations of harassment and abuse

             involving Nike executives.

                    E. Media Intervenors’ Renewed Outreach to the Parties




             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 5 -
                                                                                                           ER-134
(124 of 298), Page 124 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 124 of 298

                    Case 3:18-cv-01477-JR          Document 343       Filed 08/09/23      Page 10 of 16




                    On May 2, 2023, Media Intervenors notified the Parties of their intent to file a renewed

             motion to unseal, predicated on the public’s presumptive right to access judicial records. On May

             15, 2023, counsel for Media Intervenors and the Parties conferred regarding the redacted

             documents at issue. On May 23, 2023, Plaintiffs stated their position in support of Media

             Intervenors’ renewed motion to unseal and Defendant provided its position against full un-

             redaction. On August 4, 2023, counsel for Media Intervenors contacted Plaintiffs and Defendant

             to verify their stated positions.    Plaintiffs confirmed that they support un-redaction of the

             documents at issue. Nike confirmed that it does not support Media Intervenors’ request to fully

             unredact the documents addressed in this motion. Unable to ascertain the exact contents of the

             redactions, and mindful of the now-heightened equities favoring disclosure, Intervenors now move

             this Court to unredact the documents at issue.

             III.   ARGUMENT

                    As Magistrate Judge Russo made clear, Media Intervenors enjoy “well-established

             common law and First Amendment rights to challenge the sealing of judicial records.” ECF No.

             273 at 13. The documents at issue are now post-decisional judicial materials, and the already-

             sufficient rationales for their disclosure apply with even greater force following the disposition of

             Plaintiffs’ motion for class certification. And Plaintiffs’ position in favor of disclosure further

             bolsters the need for unsealing.

                    A. The Press and Public Enjoy a Presumptive Right to Access Judicial Records
                       Submitted in Support of Class Certification Which Can Only Be Overcome By a
                       Stringent “Compelling Reasons” Standard.

                    The press and public enjoy a strong, presumptive right of access to judicial records. Nixon

             v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978). Consequently, a party seeking to seal

             judicial records must meet a “compelling reasons” standard. Kamakana v. City & Cnty. of


             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 6 -
                                                                                                           ER-135
(125 of 298), Page 125 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 125 of 298

                    Case 3:18-cv-01477-JR          Document 343       Filed 08/09/23      Page 11 of 16




             Honolulu, 447 F.3d 1172 (9th Cir. 2006). To fulfill this demanding standard, a party seeking

             sealing must show compelling reasons supported by specific factual findings that outweigh the

             historic presumption and public interest in favor of openness. Id. at 1178–79. This showing is

             particularized to each document or portion of a document the party seeks to seal. Foltz v. State

             Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1138–39 (9th Cir. 2003).

                    The Ninth Circuit has sometimes applied a more lenient “good cause” standard to justify

             sealing documents filed in connection with non-dispositive motions. See In re Midland Nat’l Life

             Ins. Co. Annuity Sales Pracs. Litig., 686 F.3d 1115, 1119 (9th Cir. 2012) (per curiam). In

             considering Defendant’s motion to seal, Magistrate Judge Russo did not reach the question of

             which standard should apply because she found that “defendant’s motion largely fail[ed] to present

             even ‘good cause’ for the proposed non-disclosures.” ECF No. 273 at 5 n.3. The Ninth Circuit

             has made clear that the relevant standard “turn[s] on whether the motion is more than tangentially

             related to the merits of a case.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101

             (9th Cir. 2016) (applying the compelling reasons standard to documents related to putative class

             plaintiffs’ motion for preliminary injunction). Proceedings demanding a higher threshold for

             sealing involve “the presentation of substantial evidence,” “requir[ing] the court to address the

             merits of [the] case.” Id. at 1099. Adjudication of Plaintiffs’ motion for class certification, which

             required assessments of voluminous evidentiary submissions and the merits of the case,

             unquestionably requires application of the “compelling reasons” standard to any requests to seal

             related judicial records. See ECF No. 310 at 31–32; ECF Nos. 148–167, 185–187.

                    Motions for class certification are unquestionably “more than tangentially related to the

             merits of a case.” Ctr. for Auto Safety, 809 F.3d at 1101. To adjudicate motions for class

             certification, courts’ rigorous analysis “will entail some overlap with the merits of the plaintiff’s



             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 7 -
                                                                                                           ER-136
(126 of 298), Page 126 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 126 of 298

                    Case 3:18-cv-01477-JR         Document 343        Filed 08/09/23     Page 12 of 16




             underlying claim.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). The Findings and

             Recommendation adopted by this Court on class certification is no exception. ECF No. 310 at 44–

             50 (analyzing Plaintiffs’ disparate impact claims), 50–53 (analyzing Plaintiffs’ disparate treatment

             claims), 53–54 (analyzing Plaintiffs’ Oregon Equal Pay Act claim), 54–55 (analyzing the typicality

             and adequacy requirements of Rule 23). In addition, class certification proceedings typically

             demand a higher threshold for sealing in the Ninth Circuit because courts take substantial evidence

             into consideration before rendering a decision granting or denying certification. Blackie v.

             Barrack, 524 F.2d 891, 901 (9th Cir. 1975). Here, Magistrate Judge Russo reviewed voluminous

             evidence submitted by the Parties,1 spanning thousands of pages, including the evidence contained

             within the seven redacted documents Media Intervenors now seek to unseal. ECF No. 310 at 19–

             21. Accordingly, Defendant must show compelling reasons, particularized to each redaction in

             the seven identified documents, to maintain their non-disclosure. See Ctr. for Auto Safety, 809

             F.3d at 1099; Ground Zero Ctr. for Non-Violent Action v. U.S. Dep’t of Navy,

             860 F.3d 1244, 1261 (9th Cir. 2017) (holding that a party seeking continued sealing had failed to

             meet the compelling reasons standard where it only made vague claims of national security

             interests); Uniloc 2017 LLC v. Apple, Inc., 964 F.3d 1351, 1362 (Fed. Cir. 2020) (“[A]ll filings

             [are] presumptively accessible . . . [and] the proponent of sealing bears the burden with respect to

             sealing.” (quoting Kamakana, 447 F.3d at 1182)); Fodera v. Equinox Holdings, Inc., 341 F.R.D.

             616, 635 (N.D. Cal. 2022) (applying compelling reasons standard to deny proposed sealing of


             1        ECF No. 310 at 41 (citing Deposition of Shine Thomas at 215 (unsealed at ECF No. 287-
             9)); id. at 42–43 (referencing Plaintiffs’ multiple regression analysis); id. at 44 (citing Rebuttal
             Expert Report of David Neumark at 4 (unsealed at ECF No. 278-2)); id. at 47 (citing ECF Nos.
             148-1 and 149-2 (unsealed with redactions at ECF Nos. 277-1 and 278-2, respectively)); id. at 48
             (citing ECF Nos. 149-2 and 159-1 (unsealed at ECF Nos. 278-2 and 284-1, respectively)); id. at
             49 (citing ECF No. 159-2 (unsealed at ECF No. 284-2)); id. at 52 (citing ECF Nos. 149-1 and 182
             (unsealed with redactions at ECF Nos. 278-1 and 293, respectively)).

             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 8 -
                                                                                                          ER-137
(127 of 298), Page 127 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 127 of 298

                     Case 3:18-cv-01477-JR         Document 343        Filed 08/09/23      Page 13 of 16




             materials the court considered in granting plaintiffs’ motion for class certification); Maldonado v.

             Apple, Inc., 333 F.R.D. 175, 194 (N.D. Cal. 2019) (same); Vesta Corp. v. Amdocs Mgmt. Ltd., 312

             F. Supp. 3d 966, 969 (D. Or. 2018) (applying compelling reasons standard to deny proposed

             sealing involving alleged proprietary trade secret information); Schmidt v. I.R.S., 533 F. Supp. 3d

             952, 954 (E.D. Cal. 2020) (applying compelling reasons standard to deny proposed sealing

             involving alleged personal and confidential information tax information).

                    B. Additional Factors Now Favor Access.

                            i.      Now that a final determination has been rendered on class certification,
                                    there is increased public interest in accessing documents that informed
                                    judicial decision-making.

                    Regardless of which standard this Court applies to the stipulated redactions, this Circuit

             recognizes a heightened public interest in accessing documents filed in connection with post-

             decisional matters. The presumptive press and public right to judicial records flows from the

             rationale that the public is entitled to learn about the judicial process itself, including the bases

             behind judicial decisions that often exert far-reaching effects on society. Foltz, 331 F.3d at 1135.

             Court documents filed in connection with post-decisional matters are crucial to this understanding

             because “court records often provide important, sometimes the only, bases or explanations for a

             court’s decision.” Oliner v. Kontrabecki, 745 F.3d 1024, 1025 (9th Cir. 2014) (citation omitted).

                    This rationale applies to the documents filed in connection with Plaintiffs’ motion for class

             certification. See Fodera, 341 F.R.D. at 635 (“[G]ranting [proponent’s sealing requests] would

             make it difficult, if not impossible, for the public to understand the basic facts underlying the

             motion for class certification as well as [any] rationale for granting it.”). Plaintiffs’ claims will

             have far-reaching implications, involving the application of Oregon’s Equality Act and the federal

             and Oregon Equal Pay Act to one of the most well-known multinational corporations in the world.

             The denial of Plaintiffs’ motion for class certification is a significant decision in the case, and the

             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 9 -
                                                                                                             ER-138
(128 of 298), Page 128 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 128 of 298

                     Case 3:18-cv-01477-JR         Document 343        Filed 08/09/23      Page 14 of 16




             public has a compelling interest in accessing the underlying information that informed this Court’s

             adjudication. See Ctr. for Auto Safety, 809 F.3d at 1102 (“Nothing in our precedent suggests that

             the right of access turns on any particular result.”). This rationale applies irrespective of whether

             the specific documents at issue were mentioned in the Court’s decision. See Uniloc 2017 LLC,

             964 F.3d at 1362 (“The district court was not required to seal any information that was not ‘directly

             relevant’ to its ruling on [a dispositive motion]; instead, all filings were presumptively accessible,

             and it was [the sealing proponent’s] duty to provide compelling reasons for shielding particular

             materials from public view.”).

                    Furthermore, it is well-established that the heightened public interest in post-decisional

             judicial records applies to significant stages of litigation, even where additional discovery and

             determinations on the merits of a case remain. See Maldonado, 333 F.R.D. at 194 (denying a

             motion to seal even where the class action litigation involved further determinations on the merits,

             ruling “I will not seal information that is necessary to understand plaintiffs’ theory of liability and

             hence this Order”); Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 164 (3d Cir.

             1993) (“[T]here is a presumptive right of public access to pretrial motions . . . whether preliminary

             or dispositive, and the material filed in connection therewith.”); Romero v. Drummond Co., 480

             F.3d 1234, 1245–46 (11th Cir. 2007) (pretrial motions, even those unrelated to discovery, are

             subject to the presumptive right of access). To assess whether there is heightened public interest

             in accessing documents related to a judicial determination, the relevant inquiry is whether the

             judicial determination “is more than tangentially related to the merits,” irrespective of whether

             additional questions on the merits remain. Ctr. for Auto Safety, 809 F.3d at 1101. It is therefore

             immaterial that the Parties have entered a schedule for additional discovery and hearings on

             Defendant’s motion for summary judgment. See ECF No. 342. Following resolution of the motion



             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 10 -
                                                                                                             ER-139
(129 of 298), Page 129 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 129 of 298

                     Case 3:18-cv-01477-JR        Document 343        Filed 08/09/23     Page 15 of 16




             for class certification, the heightened rationales underlying public access to judicial records have

             attached to the documents at issue and require their disclosure.

                             ii.    Plaintiffs have clarified their position in favor of disclosure.

                     In the September 30, 2022 Findings and Recommendation, Magistrate Judge Russo opted

             to revisit the Parties’ stipulated redactions, including the redactions challenged here, at a later

             point. ECF No. 273 at 12. And Judge Russo only upheld redactions that both Parties agreed upon,

             denying Defendant’s unilateral motion to seal additional, unstipulated information. Id. at 7; see

             also id. at 13 (decision to leave stipulated redactions intact motivated in part by desire not to

             “disturb the existing compromise between the parties” (citing In re Nat’l Sec. Agency Telecomms.

             Records Litig., No. 06-1791 VRW, 2007 WL 549854, *4 (N.D. Cal. Feb. 20, 2007))). Defendant’s

             sealing motion sought to shield information referencing Nike employees identified in Project

             Starfish as alleged perpetrators of harassment and abuse: implicating the same purported privacy

             interests as the documents at issue here. Id. However, Magistrate Judge Russo found those privacy

             interests, advanced solely by Defendant, insufficient to justify sealing. Id. Accordingly, Media

             Intervenors’ renewed motion concerns redactions that are no longer stipulated to by all Parties

             pertaining to the same alleged privacy interests Judge Russo has already found to be insufficient

             to justify sealing.

             IV.     CONCLUSION

                     For the foregoing reasons, Media Intervenors respectfully renew their motion to unseal

             and ask this Court to recommend the filing of unredacted versions of the seven identified

             documents.



                                                               /s/Lisa Zycherman_______________


             RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
             - Page 11 -
                                                                                                          ER-140
(130 of 298), Page 130 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 130 of 298

                        Case 3:18-cv-01477-JR    Document 343    Filed 08/09/23    Page 16 of 16




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                  RENEWED MOTION TO UNSEAL JUDICIAL RECORDS
                  - Page 12 -
                                                                                            ER-141
(131 of 298), Page 131 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 131 of 298

                        Case 3:18-cv-01477-JR         Document 339       Filed 06/14/23   Page 1 of 5



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                                       IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF OREGON
                                                PORTLAND DIVISION

                 KELLY CAHILL, et al., individually and            Case No. 3:18-cv-01477-JR
                 on behalf of others similarly situated,
                                                     Plaintiffs,   PARTIES’ JOINT STIPULATION AND
                                                                   [PROPOSED] ORDER REQUESTING
                 vs.                                               AN EXTENSION TO FILE A STATUS
                                                                   REPORT AND PROPOSED CASE
                 NIKE, INC., an Oregon Corporation,                MANAGEMENT SCHEDULE
                                               Defendant.




                PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING AN EXTENSION TO FILE A STATUS
                REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
                                                                                                        ER-142
(132 of 298), Page 132 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 132 of 298

                      Case 3:18-cv-01477-JR         Document 339        Filed 06/14/23     Page 2 of 5




                     Plaintiffs Kelly Cahill, et al. (“Plaintiffs”) and Nike, Inc. (“Nike” or “Defendant”)

             (collectively, the “Parties”), through their respective counsel hereby present the following

             stipulated and agreed upon request for a short extension to file a Status Report and Proposed Case

             Management Schedule.

                       The Parties Have a Good Faith Basis for Revising the Default Deadlines

                     On April 4, 2023, this Court issued an Order requiring, if Plaintiffs’ Rule 23(f) Petition

             was denied, the Parties to “confer and file a formal Joint Status Report which includes proposed

             case management deadlines within 14 days of the Ninth Circuit Court's ruling.” ECF No. 338. On

             June 1, 2023, the Ninth Circuit, in its discretion, denied the petition. The current deadline for the

             Parties is thus June 15, 2023.

                     Since the petition was denied, the Parties have been conferring but have not completed the

             process. The Parties believe they can complete the conferral process by June 29, 2023. In the

             absence of any other impacted litigation deadlines, the Parties stipulate to and respectfully request

             that the Court enter an order revising the due date for the Status Report to June 29, 2023.

                                         STIPULATED REVISED DEADLINES
                     The Parties hereby stipulate and agree and request the Court order that the Parties complete

             their conferral and file a Status Report with proposed case management deadlines by June 29,

             2023.

                     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                Dated: June 14, 2023                     Respectfully submitted,

                                                         GOLDSTEIN, BORGEN, DARDARIAN & HO

                                                         /s/Craig Ackermann
                                                        Laura L. Ho (admitted pro hac vice)
                                                        Barry Goldstein, Of Counsel (admitted pro hac vice)
                                                        James Kan (admitted pro hac vice)
                                                        Byron Goldstein (admitted pro hac vice)


              PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING AN EXTENSION TO FILE A STATUS
              REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
              PAGE 1
                                                                                                           ER-143
(133 of 298), Page 133 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 133 of 298

                      Case 3:18-cv-01477-JR   Document 339       Filed 06/14/23     Page 3 of 5




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                 Dated: June 14, 2023             Respectfully submitted,
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                                                  Attorneys for Nike, Inc.




               PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING AN EXTENSION TO FILE A STATUS
               REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
               PAGE 2
                                                                                                   ER-144
(134 of 298), Page 134 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 134 of 298

                     Case 3:18-cv-01477-JR         Document 339        Filed 06/14/23     Page 4 of 5




                                             SIGNATURE ATTESTATION

                    In accordance with Civil Local Rule 11(b)(2), I attest that concurrence in the filing of this

             document has been obtained from the signatories on this e-filed document.



                Dated: June 14, 2023                    Respectfully submitted,

                                                        ACKERMANN & TILAJEF, P.C.

                                                        /s/Craig Ackermann
                                                        Craig Ackermann (admitted pro hac vice)




              PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING AN EXTENSION TO FILE A STATUS
              REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
              PAGE 3
                                                                                                          ER-145
(135 of 298), Page 135 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 135 of 298

                       Case 3:18-cv-01477-JR       Document 339      Filed 06/14/23    Page 5 of 5




                                                 [PROPOSED] ORDER


                      The Court has reviewed the Parties’ Joint Stipulation Requesting An Extension To File A

             Status Report And Proposed Case Management Schedule and hereby enters the same. The Parties

             shall confer and file a formal Joint Status Report which includes proposed case management

             deadlines by June 29, 2023.



                      IT IS SO ORDERED.



             Dated:                                       _________________________________________
                                                          JOLIE A. RUSSO
                                                          United States Magistrate Judge




              PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING A ONE WEEK EXTENSION TO FILE
              A STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
              PAGE 4
                                                                                                       ER-146
(136 of 298), Page 136 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 136 of 298

                           Case 3:18-cv-01477-JR         Document 337       Filed 04/04/23   Page 1 of 3




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                  [Additional Counsel for Plaintiffs, and Counsel for Defendant, listed
                  on the Signature page]

                                          IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF OREGON
                                                   PORTLAND DIVISION

                    KELLY CAHILL, et al., individually and            Case No. 3:18-cv-01477-JR
                    on behalf of others similarly situated,
                                                        Plaintiffs,   JOINT STATUS REPORT AND
                                                                      REQUEST FOR STAY
                    vs.

                    NIKE, INC., an Oregon Corporation,
                                                  Defendant.


                   JOINT STATUS REPORT AND REQUEST FOR STAY
                   PAGE 1
                                                                                                    ER-147
(137 of 298), Page 137 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 137 of 298

                      Case 3:18-cv-01477-JR          Document 337        Filed 04/04/23      Page 2 of 3




                    Plaintiffs Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and Heather Hender

             (“Plaintiffs”) and Defendant Nike, Inc. (“Nike”) (collectively, the “Parties”) by and through their
             respective counsel, submit the following Joint Status Report and Request for Stay pursuant to

             the Court’s March 21, 2023 Order (Dkt. No. 336):

                    The Parties have conferred regarding the status of the immediate action. In light of the
             fact that Plaintiffs will file a Fed. R. Civ. P. 23(f) petition with the Ninth Circuit Court of

             Appeals on April 4, 2023 requesting permission to appeal this Court’s denial of Plaintiffs’
             motion for class certification, the Parties agree that good cause exists for the Court to stay the

             litigation of this matter—and to withhold on setting further case management deadlines—until

             the resolution of Plaintiffs’ forthcoming Rule 23(f) petition.

                    The Parties further agree that, within 14 days of the latter of (a) denial of Plaintiffs’

             forthcoming Rule 23(f) petition, or (b) resolution of Plaintiffs’ Rule 23(f) appeal, if permitted,

             they will jointly submit an updated Joint Status Report to the Court and/or schedule a Case

             Management Conference.


                Dated: April 4, 2023                      Respectfully submitted,

                                                          GOLDSTEIN, BORGEN, DARDARIAN & HO


                                                           /s/ James Kan
                                                          Laura L. Ho (admitted pro hac vice)
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              JOINT STATUS REPORT AND REQUEST FOR STAY
              PAGE 2
                                                                                                                ER-148
(138 of 298), Page 138 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 138 of 298

                      Case 3:18-cv-01477-JR    Document 337       Filed 04/04/23     Page 3 of 3




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                                                   Attorneys for Plaintiffs and Opt-In Plaintiffs


                 Dated: April 4, 2023              Respectfully submitted,

                                                   PAUL HASTINGS LLP


                                                    /s/ Felicia A. Davis
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                                                   Felicia A. Davis (admitted pro hac vice)

                                                   STOEL RIVES LLP
                                                   Laura E. Rosenbaum, OSB No. 110061

                                                   Attorneys for Defendant Nike, Inc.




                JOINT STATUS REPORT AND REQUEST FOR STAY
                PAGE 3
                                                                                                    ER-149
(139 of 298), Page 139 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 139 of 298

                      Case 3:18-cv-01477-JR        Document 335      Filed 03/21/23    Page 1 of 3




                                     IN THE UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON




              KELLY CAHILL, SARA JOHNSTON,                              No. 3:18-cv-01477-JR
              LINDSAY ELIZABETH, and HEATHER
              HENDER, individually and on behalf of                     ORDER
              others similarly situated,

                                   Plaintiffs,

                     v.

              NIKE, INC., an Oregon Corporation,

                                   Defendant.


              HERNÁNDEZ, District Judge:

                     Magistrate Judge Jolie A. Russo issued a Findings and Recommendation on

              November 22, 2022, in which she recommends that the Court deny Defendant’s Motions to

              Exclude the Opinions of Kathleen Lundquist and David Neumark, deny Plaintiffs’ Motions to

              Rule as Inadmissible Parts of the Expert Reports of Chester Hanvey and Ali Saad, and deny




              1 – ORDER
                                                                                                     ER-150
(140 of 298), Page 140 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 140 of 298

                      Case 3:18-cv-01477-JR        Document 335        Filed 03/21/23     Page 2 of 3




             Plaintiffs’ Motion to Certify the Class. F&R, ECF 310. The matter is now before the Court

             pursuant to 28 U.S.C. § 636(b)(1)(B) and Federal Rule of Civil Procedure 72(b).

             I.     Portions of the Findings and Recommendation to which the parties do not object

                    The parties did not object to the portions of the Findings and Recommendation in which

             Judge Russo recommended the Court deny Defendant’s Motions to Exclude the Opinions of

             Kathleen Lundquist and David Neumark and Plaintiffs’ Motions to Rule as Inadmissible Parts of

             the Expert Reports of Chester Hanvey and Ali Saad. The Court, therefore, is relieved of its

             obligation to review those portions of the Findings and Recommendation de novo. United States

             v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003)(en banc); see also United States v.

             Bernhardt, 840 F.2d 1441, 1444 (9th Cir. 1988)(de novo review required only for portions of

             Magistrate Judge’s report to which objections have been made). Having reviewed the legal

             principles de novo, the Court finds no error as to those portions of the Findings and

             Recommendation.

             II.    Portions of the Findings and Recommendation to which Plaintiffs object

                    Plaintiffs object to the portion of the Findings and Recommendation in which Judge

             Russo recommends the Court deny Plaintiffs’ Motion to Certify the Class. The Court, therefore,

             must make a de novo determination of that portion of the Magistrate Judge’s report. 28 U.S.C.

             § 636(b)(1); Dawson v. Marshall, 561 F.3d 930, 932 (9th Cir. 2009); United States v. Reyna-

             Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003)(en banc).

                    The Court has carefully considered Plaintiffs’ objections and concludes there is no basis

             to modify the Findings and Recommendation. The Court has also reviewed the pertinent portions

             of the record de novo and finds no error in the Magistrate Judge’s Findings and

             Recommendation.




             2 – ORDER
                                                                                                           ER-151
(141 of 298), Page 141 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 141 of 298

                  Case 3:18-cv-01477-JR       Document 335       Filed 03/21/23     Page 3 of 3




                                                CONCLUSION

                The Court adopts Magistrate Judge Russo’s Findings and Recommendation [310].

         Accordingly, Defendant’s Motions to Exclude the Opinions of Kathleen Lundquist and David

         Neumark [179, 181] are denied, Plaintiffs’ Motions to Rule as Inadmissible Parts of the Expert

         Reports of Chester Hanvey and Ali Saad [192, 221] are denied, and Plaintiffs’ Motion to Certify

         the Class [146] is denied.

                IT IS SO ORDERED.



                DATED: __________________________
                             March 21, 2023




                                                             MARCO A. HERNÁNDEZ
                                                             United States District Judge




         3 – ORDER
                                                                                                          ER-152
(142 of 298), Page 142 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 142 of 298




                                        UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF OREGON

            KELLY CAHILL, SARA JOHNSTON,                                                      3:18-cv-1477-JR
            LINDSAY ELIZABETH, and HEATHER
            HENDER, individually and on behalf of others
            similarly situated,                                        FINDINGS & RECOMMENDATION

                                                   Plaintiffs,

                                   v.

            NIKE, INC., an Oregon Corporation,

                                                  Defendant.

           RUSSO, Magistrate Judge:

                  Named plaintiffs Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and Heather Hender bring

           this putative class and collective action alleging that defendant Nike systematically discriminates

           against them and other similarly situated women at Nike headquarters regarding salary and

           promotions. Plaintiffs move to certify this case as a class action. Related to the motion to certify,

           the parties raise challenges to each other’s experts and evidentiary objections. For the reasons

           stated below, plaintiffs’ motion to certify should be denied.



           Page 1 - FINDINGS & RECOMMENDATION




                                                                                                       ER-153
(143 of 298), Page 143 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 143 of 298




                                                    ALLEGATIONS

                  Named plaintiffs bring this action on behalf of the following collective/class members:

                  All female current and former Nike employees at Nike Headquarters in Oregon,
                  who were employed by Nike at any time from three years prior to opting-in through
                  the resolution of this action, in a salaried, corporate position that was or is a lower-
                  level position than Vice-President.

           First Amended Complaint (ECF 42) at ¶ 165. Plaintiffs exclude Nike retail store employees,

           lawyers within Nike’s legal department, and employees in Nike’s finance and human resources

           departments. Id. at ¶ 166.

                  Plaintiffs allege defendant has engaged in systemic sex discrimination against the

           collective/class members by paying them less than male employees with substantially equal job

           duties requiring substantially similar skill, effort, and responsibility performed under similar

           working conditions.    Id. at ¶ 167.    Plaintiffs also allege defendant has contributed to, and

           perpetuated, sex-based pay disparities through common policies, patterns, or practices, including,

           but not limited to, those relating to starting salary and “band level,” annual ratings, promotions,

           performance management policies or practices, centralized decision-making, and a work

           environment hostile to women. Id. at ¶ 168.

                  Plaintiffs assert defendant pays lower salaries and promotes women with less frequency

           than defendant’s male employees. Plaintiffs allege those disparities occur because a small group

           of primarily male decision-makers implement the policies below, patterns, or practices which have

           an adverse impact on and otherwise discriminate against Class/Collective Members based on their

           sex:

                  First, Nike sets starting pay and other compensation-related terms based, in part, on
                  prior compensation. Around May 2018, Nike stated that it will “remove bias from
                  critical moments of the hiring process by . . . eliminating the collection of candidate


           Page 2 - FINDINGS & RECOMMENDATION



                                                                                                         ER-154
(144 of 298), Page 144 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 144 of 298




                     salary history . . . .” The collection of prior compensation history causes women to
                     receive lower starting salaries and other less favorable compensation-related terms.

                     Second, as part of its annual performance evaluation process, Nike rates each of its
                     corporate employees. The ratings are assigned according to a forced ranking
                     system. Nike utilizes a curve that limits the number of employees at Nike
                     headquarters who can receive ratings in the top two levels. This system causes
                     Class/Collective Members to receive lower ratings than their male colleagues.
                     Lower ratings cause women to receive less compensation, including smaller annual
                     salary increases, lower annual bonuses, and smaller equity distributions. Ratings
                     also affect promotions. Lower ratings preclude promotions whereas higher ratings
                     can lead to promotions.

                     Third, Nike’s budgeting system for finalizing annual salary increases and annual
                     bonuses adversely impacts and otherwise discriminates against women. Each year,
                     Nike creates a set pool of money for each of its organizations that is then used to
                     provide annual salary increases and bonuses. A disproportionately low amount of
                     these budgets is distributed towards women’s annual salary increases and bonuses.

                     Fourth, Nike’s Organizational Talent Planning system identifies                      a
                     disproportionately low number of women for promotional opportunities.

                     Fifth, Nike has a pattern or practice of channeling women into positions and job
                     assignments that Nike views as less valuable and that are less likely to lead to
                     promotions or increased compensation.

                     Nike has neither validated nor established the job relatedness of its policies or
                     practices for its systems that determine starting pay, ratings, pay raises, bonuses,
                     equity distributions, and promotions.

                     Nike has intentionally and willfully discriminated against Class/Collective
                     Members with respect to pay, promotions, and conditions of employment. Two of
                     Nike’s most-senior executives – Trevor Edwards (Nike Brand President and the
                     second most senior executive after the CEO from July 2013 to August 2018) and
                     David Ayre (Vice-President in charge of HR from 2007 through July 2017) –
                     caused and reinforced a workplace that was, and continues to be, hostile towards
                     women and that devalues women. The above-described policies or practices reflect
                     Nike’s discriminatory intent. In addition, since before the class and collective action
                     periods, Nike has been aware that Class/Collective Members are paid and promoted
                     less than male employees at Nike headquarters. Nike has known that the above-
                     described policies or practices caused women to receive less pay and fewer
                     promotions. Nike has likewise long known that Nike headquarters’ workplace is
                     hostile towards and devalues women. For years, women have reported hostility,
                     sexual harassment, and inequality in pay and promotions to Nike’s Employee


              Page 3 - FINDINGS & RECOMMENDATION



                                                                                                       ER-155
(145 of 298), Page 145 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 145 of 298




                  Relations department, which is the department within Nike Human Resources that
                  is primarily tasked with addressing workplace complaints, and to Nike’s Human
                  Resources department (“HR”). Instead of addressing these complaints, HR has
                  reinforced and exacerbated the hostile work environment. Regardless of the
                  evidence, HR has regularly found such complaints unsubstantiated, avoided taking
                  any meaningful corrective or preventive actions, and otherwise failed to act to end
                  either the inequality in pay and promotions or the hostility towards women in the
                  workplace.

           Id. at ¶¶ 4, 5-12 (footnotes and parentheticals omitted).

                  The named plaintiffs are as follows:

                  ●       Heather Hender, who had nearly 20 years of engineering experience and a B.S. in

                          Manufacturing Engineering when she started working at Nike in April 2015. She

                          was hired initially as a process engineer II until September 2018 when she was

                          promoted to senior process engineer. Hender filed a sex discrimination charge

                          with the EEOC on November 9, 2018, alleging harm due to defendant’s alleged

                          pattern and practice of discrimination with respect to pay and promotions, and

                          received a right to sue notice on November 15, 2018.

                  ●       Sara Johnston, who had four years of experience in human resources and analytics

                          along with an M.B.A. when she started working at Nike as a part-time employee in

                          June 2008 in the employee services department. Johnston began working full-time

                          in February 2010 when she was hired as a senior account service representative.

                          In August 2012, Johnston became a junior business systems analyst and then

                          promoted in 2014 to an intermediate business system analyst. In November 2017,

                          Johnston resigned asserting she had fewer promotions than her male counterparts

                          and due to a hostile work environment that defendant refused to cure.

                  ●       Kelly Cahill, who had nearly eight years of work experience in marketing, business


           Page 4 - FINDINGS & RECOMMENDATION



                                                                                                    ER-156
(146 of 298), Page 146 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 146 of 298




                           development, and advertising, and a B.S. in Sports Marketing, when Nike hired her

                           in November 2012 as an independent contractor in a senior producer position.

                           Nike then hired Cahill as a full-time director in October 2013. On July 26, 2017,

                           Cahill resigned asserting Nike refused to address her complaints of a hostile work

                           environment and discriminatory promotional practices.

                    ●      Lindsay Elizabeth, who had nearly four years of experience in product design and

                           a B.F.A. in apparel design when Nike hired her as an independent contractor in

                           March 2015 in a design position. In January 2017, Nike hired Elizabeth as a full-

                           time apparel designer. On August 23, 2018, Elizabeth filed a sex discrimination

                           charge against Nike with the EEOC alleging harm due to defendant’s alleged

                           pattern and practice of discrimination with respect to pay and promotions.

                           Elizabeth received a right to sue notice on September 28, 2018. Elizabeth left

                           Nike’s employment in October 2018.

           Id. at ¶¶ 13-40.

                    Plaintiffs allege defendant has a disproportionately low number of women in higher level

           positions. Specifically, plaintiffs allege 71% of Nike’s vice presidents are men, 62% of its

           directors and senior directors are men, with significantly more men making up senior directors.

           Also, Nike’s “band level” ranks influence employees’ salaries and bonuses. Plaintiffs assert that,

           as the band level increases, the percentage of women within that band level decreases. Id. at ¶¶

           53-56.

                    Plaintiffs allege that despite many and long-standing complaints about male supervisors

           subjecting women to a hostile work environment and sexual harassment, defendant did not conduct



           Page 5 - FINDINGS & RECOMMENDATION



                                                                                                     ER-157
(147 of 298), Page 147 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 147 of 298




           sexual harassment training for its headquarter employees until March 2018. Id. at ¶¶ 64-65.

           Plaintiffs relate their personal experiences with sexual harassment and hostile working conditions

           as well as their formal complaints, and assert the male perpetrators were promoted while they

           suffered retaliation. Id. at ¶¶ 72-90.

                  Plaintiffs allege that defendant acknowledged in May 2018 that it has a policy or practice

           of setting employees’ starting pay and band levels based on past compensation which

           disproportionately places women in lower pay and band levels. Id. at ¶¶ 97-103. Plaintiffs also

           allege employee ratings are decided by a majority of male managers based on criteria that are not

           job-related causing women to receive smaller salaries, bonuses, and fewer promotions. Id. at ¶¶

           104-17.

                  Plaintiffs assert defendant has a pattern or practice of channeling women into positions that

           are less likely to lead to promotions by, for example, providing smaller budgets to teams with

           higher percentages of women. Id. at ¶¶ 118-24. Plaintiffs allege defendant acknowledges it has

           failed to implement changes in hiring and promotion decisions to eliminate discriminatory impact

           on women and that it needs to change its hiring, compensation, and promotion systems. Id. at ¶¶

           126, 129.

                  Cahill alleges when she left defendant, she was replaced with a male who received a higher

           title and band level resulting in a higher salary and bonuses than she received despite having

           substantially the same job responsibilities. Id. at ¶¶ 132-36.

                  Johnston alleges that two months after she was hired, defendant hired a male employee to

           perform substantially the same work in the same conditions, at a higher rate of pay even though

           Johnston had to train him, and he had a lower level of education and less experience. Id. at ¶ 137.



           Page 6 - FINDINGS & RECOMMENDATION



                                                                                                       ER-158
(148 of 298), Page 148 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 148 of 298




           Johnston further alleges she received fewer and slower promotional opportunities than her less

           qualified or equally qualified male counterparts. Id. at ¶ 140-43. Johnston asserts that when she

           left, defendant hired two men to fill her position at higher pay. Id. at ¶ 144.

                    Elizabeth and Hender also allege they were paid and promoted less than their similarly

           situated male counterparts. Id. at ¶¶ 145-55.

                    Plaintiffs allege six claims for relief: (1) violation of the Equal Pay Act, 29 U.S.C. § 206(d);

           (2) violation of the Civil Rights Act via disparate impact, 42 U.S.C. §§ 2000e et seq; (3) violation

           of the Civil Rights Act via disparate treatment, 42 U.S.C. §§ 2000e et seq; (4) violation of the

           Oregon Equal Pay Act, Or. Rev. Stat. § 652.220; (5) violation of the Oregon Equality Act via

           disparate impact, Or. Rev. Stat. § 659A.030; and (6) violation of the Oregon Equality Act via

           intentional discrimination, Or. Rev. Stat. § 659A.030. Defendant moves to dismiss or strike the

           class and collective claims in the first, third, fourth, and sixth causes of action.

                                                            BACKGROUND

                    The putative class includes at least 5,200 current and former female employees at Nike’s

           World Headquarters (WHQ) in salaried corporate positions in Bands L, U, E, or S.1 Report of

           Ali Saad at ¶ 43 (ECF 186-1 at p. 30). As result, the proposed class includes employees in 1249

           different job codes. Id. at ¶ 44.2

                    Nike’s WHQ consists of a broad array of employees including, but not limited to, shoe and

           apparel designers, manufacturing and software engineers, event planners, sports marketers,


           1
             Nike places employees under the executive level in six bands known as VALUES. Declaration of Mengfei Sun at
           Ex. 27 at p. 6 (ECF 157-7 at p. 6). The L Band includes supervisors, intermediate professional, and entry professional.
           The U Band includes managers, lead professionals and senior professionals. The E Band includes directors and
           expert professionals. The S Band includes senior directors and professional consultants. Id.
           2
            In addition, there are over 13,000 position titles for the putative class. Report of Chester Hanvey at ¶ 14, fn. 6 (ECF
           185-1 at p. 9).

           Page 7 - FINDINGS & RECOMMENDATION



                                                                                                                         ER-159
(149 of 298), Page 149 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 149 of 298




           information and technology security professionals, security professionals, supply chain experts,

           and airplane pilots and mechanics. See id. at Appx. D (ECF 186-1 at pp. 185-266). The WHQ

           jobs are organized within a uniform hierarchy according to “type of work” and “level of work.”

           Declaration of Mengfei Sun at Ex. 27 (ECF 156-2 at p. 24) (defining job code via “type of work”

           such as finance and “level of work” such as intermediate professional). “Type of Work” includes

           job functions and job family. Job functions are broad categories of work that can be logically

           grouped together based on having similar characteristics or prerequisite skills. Nike has identified

           about 20 job functions that categorizes the work it does. Job families are the unique roles within

           a job function that can be performed at various levels based on Nike’s leveling criteria. The number

           of job families varies with each job function. Id. at p. 25 (description from Nike “2019 Job Training

           Program”).

                  “Level of work” provides a common framework used to determine the scope and

           complexity of various roles. “Level of work” consists of bands and job levels.             Id.   The

           combination of “level of work” and “type of work” results in a job code. Id. at p. 27.

           A.     Starting Pay

                  The putative class’s positions span 21 different job functions which are then divided across

           109 different job families and 198 different job subfamilies. Report of Ali Saad at ¶¶ 44-45 (ECF

           186-1 at p. 31). As noted, within this proposed class there over 1200 different job codes and each

           job code has its own pay range which managers use to place new hires and determine their

           compensation. ECF 187-3 at 41 (importance of job code and its relation to pay range); Deposition

           of Shane Walker at p. 60 (ECF 187-2 at p. 334) (managers are responsible for making pay

           decisions); p. 86 (ECF 187-2 at p. 336) (job codes tied to job titles and there is a position title



           Page 8 - FINDINGS & RECOMMENDATION



                                                                                                       ER-160
(150 of 298), Page 150 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 150 of 298




           which provides the generic description of job role); p. 411-12 (ECF 187-2 at pp. 355-56) (managers

           are responsible for making pay adjustments); ECF 187-3 at p. 47 (sections of pay range);

           Deposition of Jessica Elizabeth Stuckey at p. 67-68 (ECF 187-2 at pp. 270-71) (job code and title

           drives pay range and without link to job code, there is no driver for pay range).

                  Nike uses global jobs and global job descriptions “to level jobs across the organization,

           regardless of the location of the role, and facilitates career pathing, talent planning, and

           organizational design.” ECF 160-8 at p. 1. The pay ranges are “developed from market pay data

           and used to guide pay decisions and provide a common span of pay for people in similarly valued

           jobs,” but “[i]ndividual pay within that range can be influenced by performance/potential,

           experience, length of time in job, previous pay rate or strategic talent focus.” ECF 155-2 at p. 10.

           Nike specifically denotes that, “[w]hile individual pay may vary, there should not be systematic

           differences based on gender or race.” Id.

                  Despite the leveling of jobs across the organization, Nike’s Senior Director of Global Retail

           Compensation confirms

                  Nike's job codes are the most differentiated type of work and level of work within
                  our corporate architecture (but even then, individuals working in the same job code
                  do not necessarily perform similar work). Job codes that share the same Job
                  Subfamily and Job Level may not be the same from a compensation survey or actual
                  day-to-day perspective at Nike – it depends on the job. In fact, there are a number
                  of job codes that share the same Job Subfamily and Job Level but are readily
                  distinguishable, involving the application of differing skillsets.

           Declaration of Jessica Stuckey at ¶ 4 (ECF 187-1 at pp. 270-71).

                  Managers determine base salaries by considering the experience and sustained
                  performance of the employee while also recognizing pay levels in the external
                  market.

                  Although employees' backgrounds vary widely, each should be paid within the
                  portion of the market zone* that reflects their level of experience and performance.


           Page 9 - FINDINGS & RECOMMENDATION



                                                                                                       ER-161
(151 of 298), Page 151 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 151 of 298




                    Employees with less experience and lower performance will generally be lower in
                    NIKE's relevant market zone for that job, while employees with more experience
                    and/or higher sustained performance in that job will generally be paid higher (at or
                    above the median**) in the market zone.

           ECF 159-5 at p. 1.

                    When beginning a new job, whether new to Nike or moving into a new role at Nike,

           managers could consider these factors when offering base salary:

                    • External market zone for the job
                    • Internal peer base salaries
                    • Relevant work experience, education, and skills
                    • Total rewards package
                    • Historical salary progression
                    • Business financial conditions
                    • Past NIKE job performance (for internal employees changing jobs)

           Id. Managers are also free to consider and weigh whatever factors they deem relevant to the

           position being hired. E.g., Declaration of Cynthia Peele (Service Delivery Manager) at ¶ 9 (ECF

           187-1 at p 126):

                    I have also been involved in the hiring process in my roles at Nike. No one has to
                    approve my decision to post a job. I am typically posting jobs that existed on my
                    team previously, but now are vacant. Accordingly, the band level and job title are
                    pre-set and cannot change based on the candidate or any other factor. I also am
                    involved in setting starting salary. To make this decision, I look at the candidate’s
                    experience, whether they have any certifications, and sometimes, what company
                    they are coming from. For example, I know that candidates from Microsoft have a
                    lot of technical experience, so I would likely give someone from Microsoft a higher
                    salary than someone from a smaller, less technical company. Certifications are also
                    very important for roles on my team because it shows whether candidates are
                    keeping up with their technical skills. In IT and Tech Ops, it is easy to fall behind,
                    so it is imperative that candidates actively seek to develop and refine their skills.3

           3
             See also, e.g., Declaration of Alyssa Levison (Director Digital Design Operations) at ¶¶ 14-15 (ECF 187-1 at pp.
           72-73) (have ultimate responsibility for setting starting pay, consult HR and Nike’s salary range but then consider
           education, experience, room for growth, mastery of soft skills — may have to consult manager one level above to
           offer staring salary above pay range); Declaration of Mac Caputo (Former Recruiter-Global HR) at ¶¶ 9-11 (ECF 187-
           1 at pp. 187-88) (“Ultimately, while I typically do provide a recommendation to the hiring manger, the hiring manager
           is responsible for making the final decision on the starting salary” and they consider factors such as years of
           experience, related progressive experience to the job, education, complexity of the applicant’s prior organization, level
           of prior influence and responsibility, and communication style, among many other possible factors).

           Page 10 - FINDINGS & RECOMMENDATION



                                                                                                                         ER-162
(152 of 298), Page 152 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 152 of 298




                   In May 2019, Nike internal documents indicate that, “[i]n the past, we often focused on the

           new hire’s prior salary and/or the size of the increase the new hire would receive,” but that it did

           not “want to carry over poor pay practices from a prior company or start a candidate from a

           disadvantage—we want to create an equal playing field from day one.” ECF 158-2 at p. 8.

                   In September 2019, Nike issued a directive that recruiters, hiring managers, etc. may no

           longer ask external applicants or their employers questions about their compensation history.

           ECF 155-6 at p. 1. After that, Nike policy permitted asking a candidate about salary expectations.

           Id.

                   As noted above, Shane Walker, Senior Director of Global Compensation, indicates the

           hiring managers receive pay ranges for a job and are responsible for making the pay decision

           within that range. Deposition of Shane Walker at pp. 48-49, 60 (ECF 187-2 at pp. 332-33, 344):

                   So for new hires, the guidance is to position someone between 85 percent to the
                   maximum of the pay range. For promotions is to position 85 percent to 95 percent
                   in the pay range. And for lateral moves it is generally no increase.

                   But each individual situation needs to be reviewed and may call for an increase,
                   and our guidance is that managers are responsible for making pay adjustments and
                   that all newly hired or promoted employees should always be above the minimum
                   of the pay range.

           Id. at pp. 411-12 (ECF 187-2 at pp. 355-56).

                   According to Shine Thomas (Senior Director for Talent Acquisition, Innovation, Enterprise

           Data Science, and Analytics, Consumer Creation), decisions related to hiring, in some cases,

           should be approved by Talent Acquisition, but that hiring decisions are approved by multiple

           people. Deposition of Shine Thomas at pp. 49-50 (ECF 162-9 at pp. 9-10).4 That said, “[t]he


           4
             Thomas made this statement in the context of a situation in which a manager is asked to hire a relative of a friend
           for a summer internship whom they know is not qualified and whether that is considered a form of bribery. See ECF

           Page 11 - FINDINGS & RECOMMENDATION



                                                                                                                      ER-163
(153 of 298), Page 153 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 153 of 298




          onus of the decision making for the offer rests on the hiring manager. The recruiter is involved in

          facilitating that process, but the decision is made by the hiring manager.” Id. at p. 123 (ECF 187-

          2 at p. 299).

          Thomas states that before September 2017:

                   [P]rior salary was a data point that we looked at, but it was always, our guideline
                   has always been that is a data point. The position and the range is also a data point.
                   Every single offer is unique, and every single offer has different nuances associated
                   with the candidate and their experiences and qualifications.

          Id. at p. 220 (ECF 187-2 at p. 307).

          B.       Pay Increases and Bonuses

                   From 2015 until 2019, lump-sum merit awards and pay increases were based on a

          percentage of employees’ base pay. Deposition of Shane Walker at p. 357 (ECF 162-11 at p. 32).

          In March 2019, Nike adjusted its annual salary increase policy (core pay) such that it is not purely

          percentage based and would account for an employee’s position within Nike’s pay range. ECF

          158-5 at pp. 34-35. Even so, using the new competitive pay management (CPM) system still has

          a percent increase to base pay component. ECF 156-6 at pp. 2-4. The pay adjustment also

          includes consideration of the employee’s current position in pay range, prior year performance,

          future potential, impact of loss, risk of loss, time in role and pay relative to peers. Id. at pp. 3-4.

                   Nike’s performance review process - i.e., Coaching for Excellence (CFE) - assigns a

          rating of exceptional, highly successful, successful, inconsistent, or unsatisfactory. ECF 187-3 at

          p. 85. Prior to 2019, Nike assigned a minimum and maximum percentage for each rating and then

          managers used discretion to determine what increase the employee would receive, but whether that

          was within or outside the guideline depended on each manager. Deposition of Shane Walker at


          159-2 at p. 18.

          Page 12 - FINDINGS & RECOMMENDATION



                                                                                                            ER-164
(154 of 298), Page 154 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 154 of 298




           p. 360 (ECF 162-11 at p. 33). Beginning in 2019, managers select among four options (max

           invest, invest, market, and zero) which then presents a percent increase based on where the

           employee is in the pay range. ECF 158-5 at p. 35.

                  Nike does not have a forced CFE distribution. ECF 187-3 at p. 139. Individual CFE

           ratings seldom need to be approved by higher level managers. E.g., Declaration of Rebecca

           Edington (Vice President of Footwear Technical Development) at ¶ 13 (ECF 187-1 at p. 24)

           (“Lower-level managers are also the ones who made decisions on their direct reports’ CFE ratings.

           While I do run calibration sessions to review the CFE ratings for the higher-level managers in my

           organization to ensure we are aligned and consistent in how we are rating employees, lower-level

           employees are reviewed through separate calibration sessions. I do not rate or review ratings for

           every single employee in my organization. I have never encountered a situation where I have over-

           ridden any manager’s rating for his or her direct report.”); Declaration of Kimberly Mack (Vice

           President for Men’s Sport Performance Apparel) at ¶ 14 (ECF 187-1 at p. 97) (“During the annual

           pay and performance review cycles, I provide a performance rating for each of my direct reports.

           I then select a base pay increase for each direct report based on their performance rating. Each

           manager on my team rates and reviews each of their direct reports and selects a base pay increase

           accordingly. It is the manager’s responsibility to select the employee’s rating and base pay

           increase, not mine. If a manager cannot decide on a rating or base pay increase, that manager and

           I may have a conversation about ratings and pay, and I may provide input or guidance, but it

           ultimately is the direct manager’s decision. In fact, I rarely question a manager’s perspective on

           their direct report’s performance or pay. I have never seen a base pay or ratings decision changed

           by anyone in a higher level.”); but see ECF 158-6 at p. 13 (executive review does include using



           Page 13 - FINDINGS & RECOMMENDATION



                                                                                                    ER-165
(155 of 298), Page 155 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 155 of 298




           reporting to ensure pay outcomes align with talent perspective and ability to make any necessary

           changes); ECF 159-3 at p. 3 (“[S]ystem requires ‘manger+1’ approvals for merits and PSP

           awards.”).

                  Despite the Nike guidelines, managers had discretion regarding pay increases and even

           employees with the same CFE ratings could receive different percent merit increases. E.g.,

           Declaration of Ronni Worboys (Director of Retail Operations) at ¶ 12 (ECF 187-1 at p. 173) (“As

           a manager, I have the discretion to set base pay increases within this budget. I allocate this budget

           based on each employee’s performance rating and each employee’s compensation within a

           competitive salary range. I try to be as equitable as possible in providing base pay increases for

           each of the employees I supervise, but I do not always provide the same base pay increases to

           employees with the same ratings. For example, if two employees both received the same

           performance rating, but one employee’s base pay is further from the midpoint of the salary range,

           I would give that employee a higher base pay increase. My goal is to try to increase pay so that all

           my employees are situated equitably within the same percentage of the pay range for the job.”);

           see also ECF 187-3 at p. 141:

                  Merit awards are discretionary and merit award guidelines vary within each
                  performance rating category. When determining the size of increase, managers
                  should consider a variety of factors:

                          o Performance: employee's performance for the entire fiscal year,
                          and the most important factor in merit pay decisions.
                          o Position to Market: employee's pay relative to external market
                          zone
                          o Internal Equity: employee's pay relative to peers in similar jobs
                          within NIKE
                          o Employee's experience, skill levels, etc.
                          o Available Budget

                  The same is true after the 2019 introduction of the CPM system. See ECF 187-3 at p. 65


           Page 14 - FINDINGS & RECOMMENDATION



                                                                                                       ER-166
(156 of 298), Page 156 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 156 of 298




           (managers have the ability to further invest using a dropdown list); Deposition of Shane Walker at

           p. 365 (ECF 187-2 at p. 353) (The core pay investment table “is a data point that is available during

           that process, but how each individual manager, manager +1, uses that information will vary or if

           they use it at all.”).

                   Nike uses a Performance Sharing Plan (PSP) to award annual cash bonuses to employees

           who receive a CFE rating above unsatisfactory. See, e.g., ECF 187-3 p. 78 (fiscal year 2017 CFE

           modifier guidelines: exceptional = 75-150%; highly successful = 50-125%; successful = 25-110%;

           inconsistent = 0-75%; and unsatisfactory = 0%). Prior to 2019, the award consisted of team and

           discretionary shares; the latter was determined by the manager based on the CFE rating. Id. Both

           shares consider an employee’s job band and fiscal year earnings (i.e., base pay for salaried

           employees). Id.; Deposition of Shelli White at p. 122 (ECF 162-13 at p. 9). Starting in 2019, the

           performance modifier was set at 100% for all employees. ECF 158-5 at p. 11. The manager+1

           approves the PSP award. Deposition of Shelli White at pp. 68-69 (ECF 187-2 at pp. 370-71).

           C.      Promotions

                   At Nike, Talent Acquisition helps manage the process for competitive promotions or other

           job changes but does not manage the process independent of hiring managers. Deposition of

           Shine Thomas at pp. 28-29 (ECF 162-9 at pp. 6-7). Nike has a fill strategy which allows a job

           role to be posted internally, externally, or the hiring manager can promote someone within the

           company into a position. Deposition of Shine Thomas at pp. 80-81 (ECF 180-10 at pp. 2-3). Fill

           strategy and promotions do not require approval from Human Resources but may require a

           manager’s direct supervisor (manager+1). See, e.g., Deposition of Treasure Heinle at pp. 62-63

           (ECF 187-2 at pp. 144-45 (manager needs to get her direct manager’s approval for noncompetitive



           Page 15 - FINDINGS & RECOMMENDATION



                                                                                                       ER-167
(157 of 298), Page 157 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 157 of 298




           job change); ECF 156-5 (noncompetitive job changes described as when an employee moves into

           a different role without formal interview process and requires approval of manager+1 or Human

           Resources partner).

                  Until 2018, employees in Bands L though S could receive a noncompetitive promotion, but

           it was really up to the manager. Deposition of Treasure Heinle at pp. 211-12 (ECF 161-10 at pp.

           25-26). In December 2018, Nike required all E Band positions and below to be posted for a

           competitive hiring process. ECF 156-10 at pp. 1-3. Nike noted the changes in response to,

           among other things, recent employee surveys revealing that employees feel excluded from career

           opportunities due to perceived lack of transparency and visibility into open roles. ECF 157-1 at

           p. 5. Plaintiff’s expert, Dr. David Neumark, found that, during the period from January 1, 2013,

           to September 1, 2019, promotions among entry level professionals to senior director consisted of

           5,688 non-competitive promotions and 1,974 competitive promotions. Expert Report of David

           Neumark, Ph.D. at p. 78 (ECF 149-1 at p. 79).

                  This case is distinguishable from Ellis v. Costco Wholesale Corp., 285 F.R.D. 492 (N.D.

           Cal. 2012) where the court acknowledged that (1) the derivative effects of a companywide policy

           could themselves present issues common to the class; and (2) a “common mode of exercising

           discretion that pervades the entire company” (recruiting internally and without necessarily making

           employees aware of openings) – coupled with evidence of working culture that reinforces

           stereotypes was enough to establish commonality regarding Title VII claims brought by woman

           surrounding the defendant’s allegedly promotion practices. There, however, the class was much

           narrower (nationwide but concerning only two “closely related management-level” positions), and

           significantly, there were upper level managers that had direct oversight in the selection process.



           Page 16 - FINDINGS & RECOMMENDATION



                                                                                                      ER-168
(158 of 298), Page 158 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 158 of 298




           D.      Initial Job Assignments

                   As noted above, in the context of bribery and corruption practices by third parties seeking

           employment, all decisions related to hiring should be approved by Talent Acquisition. ECF 159-

           2 at p. 18. Talent Acquisition’s role is to ensure compliance and provide guidance throughout the

           competitive hiring process, ensure a diverse slate when hiring for E-band+ open roles, and

           regularly communicate with hiring managers. ECF 157-1 at p. 7. Human Resources Business

           Partners associate with Talent Acquisition to ensure all E-band and below open roles are posted

           competitively. Id. Hiring managers attend regular manger training on the hiring process. Id.

           In December 2018, Nike instituted these policy guidelines to prioritize inclusion, transparency,

           and equal opportunity throughout the hiring process. Id. at p. 4. To that end, Nike asked all

           employees, managers, and Talent Acquisition to follow consistent guidelines during each stage of

           the hiring process. Id.

                   Maggie Baird, who has held positions ranging from Category Sales Director for Men’s

           Training to Senior Director for Jordan North America, describes the initial hiring process she has

           used:

                   We typically post an open position both internally and externally. There was one
                   occasion that we posted the job internally only because we had an immediate
                   business need for a position that managed a category, which comprised 65-70% of
                   the business. We needed someone who understood the business to come in and pick
                   up the work quickly. Prior to posting a job, I determine the band level based on
                   what I think the scope of the work is in the current state and what I think the scope
                   will be in the future. I also look at the work structure of my team, including each
                   employee’s band level, and figure out what our needs are. For example, when we
                   hired the Retail Concepts Director, we knew that position would not have a team at
                   the time of hiring, but we wanted a candidate that had leadership skills because we
                   knew we would build out a team of direct reports into that role eventually.

           Declaration of Maggie Baird at ¶¶ 4, 8, 13 (ECF 187-1 at pp. 7, 9, 11).



           Page 17 - FINDINGS & RECOMMENDATION



                                                                                                       ER-169
(159 of 298), Page 159 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 159 of 298




                  Although a hiring manager may partner with the Human Resources manager around the

           best approach for an open position, “the hiring manager will make the decision because it is their

           team and their business around what the open position should be.” Deposition of Shine Thomas

           at p. 107 (ECF 187-2 at p. 295).

                  A hiring manager may work with Human Resources and their manager to set the level for

           the job posting. “The level is set for each role when the job is approved for headcount and cannot

           be changed once the job is approved.” Declaration of Ronni Worboys at ¶ 15 (ECF 187-1 at p.

           174); see also Declaration of Cynthia Peele at ¶ 9 (ECF 187-1 at p. 126) (“the band level and job

           title are pre-set and cannot change”).

                  Recruiters may extend invitations to applicants for one job to apply for another open job.

           Deposition of Julian Miller at pp. 68-69 (ECF 187-2 at pp. 203-04) (a recruiter might extend an

           invitation to another job—they can invite candidates to apply to the specific requisition and it is

           up to the discretion of the recruiter). As for the guidelines provided recruiters:

                  The guidelines are very specific. It has to be a job that meets the same band level.
                  Right? It's the same seniority, the same job code. We're recruiting within those roles
                  within a similar time frame, so it's still a valid application. And the screening
                  criteria, as we mentioned, those pre-screening questions are the same amongst those
                  requisitions. Those are -- Those are the guidelines that we educate them on. Right?
                  So we can show in the system that -- that those roles use the same criteria, that
                  recruiters screen candidates based on the same criteria based on -- across multiple
                  requisitions.

           Id. at p. 100 (ECF 187-2 at p. 205).

                  For example, Cahill notes that she planned to apply for a senior manager position, but the

           Vice President of Global Digital Brand wanted her to be at the higher level of Director instead.

           Deposition of Kelly Cahill at p. 106 (ECF 182 at p. 104). The record demonstrates that none of

           the named plaintiffs were channeled into a lower position than the one for which they had planned


           Page 18 - FINDINGS & RECOMMENDATION



                                                                                                       ER-170
(160 of 298), Page 160 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 160 of 298




           to apply. See Defendant’s Opposition (ECF 183) at p. 21, n. 25 (collecting transcript entries

           noting plaintiffs were hired into the positions for which they applied).

           E.        Complaints of Harassment and Discrimination

                     In 2018, several Nike employees made complaints about discrimination and harassment

           referenced as the Starfish Survey. See, e.g., Declaration of Mengfei Sun at Ex. 46 (ECF 159-6 at

           pp. 1-3)5; at Ex. 48 (ECF 159-8 at pp. 1-6)6; at Ex. 24 (ECF 157-4 at pp. 1-2);7 at Ex. 50 (ECF

           159-10 at pp. 1-4).8 Plaintiff identifies approximately 22 Nike executives who were alleged to

           have discriminated or condoned discrimination and approximately 30 complaints.9 Declaration

           of Byron Goldstein at ¶ 16 (ECF 163 at pp. 9-10). Some complainants noted that Human

           Resources refused to act or apparently condoned the discriminatory and harassing behavior. See,


           5
             Gender bias and leadership complaint summarized as:
                    • Was completely disrespected by []. No problems until he came on board. Almost left NIKE
                    because of him. Terrorized her. He wouldn't stop. Boys club attitude. Knows he can get away with
                    it. Sad to say, [] turned a blind eye.
           • Gender bias. On team with other men. They had no issues. They didn't get demeaned. She was top performer
           but was not set up for career advancement. Her male colleague moved up, doesn't understand how. Biggest
           concern is that she already reported this situation to HR and nothing was done except she was moved to
           another role deeper in the organization, with no track for development. []
                    • Fails or refuses to communicate with his team regarding key facts (e.g., new hires, project details
                    and assignments, promotion of new boss); displays lack of interest in developing careers of his
                    reports; in his current role, has never called a group meeting of his direct reports on any issues,
                    including recent MOR-related events and []’s termination; indignantly refused team member request
                    for huddle to discuss []'s promotion and impact on team.
           6
             Describing a broken culture of pay inequities, diminished female talent, old-school lack of modern approach, male
           oriented supervision, disparaging behavior, “[b]oys club, biased selection process,” and lack of HR action.
           7
               Responses by Nike to the New York Times regarding complaints of harassment and discrimination.
           8
             Female vice president alleges a more senior male denied her request for consideration of three females for a position
           and was told, “no, you need a man in that role.”
           9
             Plaintiff refers to the 2018 complaints as the Starfish survey. While there is evidence in the record that refers to
           “Nike Project Starfish” (ECF 159-6 at p. 2), the record does not demonstrate who created the survey, how it was
           distributed, how recipients were selected, the sample size, or the response rate. See Deposition of Kathleen Lundquist
           at pp. 275-80 (ECF 187-2 at pp. 184-89). Nike’s Human Resources Chief doesn’t know who created the survey or
           who completed it but did receive a hard copy of the complaints. Deposition of Monique Matheson at p. 93 (ECF
           187-2 at p. 196).

           Page 19 - FINDINGS & RECOMMENDATION



                                                                                                                        ER-171
(161 of 298), Page 161 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 161 of 298




           e.g., Declaration of Mengfei Sun at Ex. 49 (ECF 159-9 at p. 2) (unable to do anything about being

           called a “bitch” by a manger who “is protected by the European Boys Club” and nothing happened

           after reported to HR); at Ex. 47 (ECF 159-7 at p. 3) (“ER and HR at this company are a joke…

           [former Head of Human Resources] himself was a well-known sexual harasser”).10

                   Nike’s internal portals provide avenues to raise complaints (anonymously or otherwise).

           See, e.g., ECF 187-3 at pp. 83-84 (anti-harassment and antidiscrimination policy with definitions

           and directing: “Anyone who experiences, witnesses, or learns of harassment in the workplace must

           immediately report the incident by contacting their manager, HR Direct or Matter of Respect” and

           providing phone numbers, web links, and email address); id. at p. 86 (providing a link to provide

           feedback to HR); id. at pp. 87-90 (portal to “speak up,” provided by an external issue reporting

           firm, to report concerns related to “harassment, retaliation, [and] discrimination” and if reporter

           chooses to remain anonymous, no identifying information is passed on to Nike); id. at pp. 92-99

           (speak-up portal overview and instructions on reporting).

                   Monique Matheson, Nike’s Chief Human Resources Officer since July 2017, notes that

           Nike shared the Starfish complaints with third-party counsel. Deposition of Monique Matheson

           at pp. 86, 93 (ECF 187-2 at pp. 195-96). Third-party counsel led an investigation and follow-up

           for the concerns raised. Id. at pp. 86, 97-98 (ECF 187-2 at pp. 197-98). Opt-in plaintiff Lauren

           Anderson states that after third-party counsel investigated her complaint of sexual harassment, the

           subject of the complaint was no longer with Nike and her complaint was taken seriously.

           Deposition of Lauren Anderson at pp. 220-21 (ECF 187-2 at pp. 40-41).



           10
              This complainant reported “bullying” to HR which also included bullying by female managers but did not report
           sexual harassment because “it has not happened to me personally.” Declaration of Mengfei Sun at Ex. 47 (ECF 159-
           7 at p. 3).

           Page 20 - FINDINGS & RECOMMENDATION



                                                                                                                  ER-172
(162 of 298), Page 162 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 162 of 298




                   Near the conclusion of the investigation conducted in response to the Starfish complaints,

           Nike CEO Mark Parker stated:

                   … the main set of complaints that gave rise to this process have been acted on ...
                   and employee exits from this larger investigation will be behind us after this next
                   week.

                   It's also important to remember that not all employment action is visible. Just
                   because someone didn't leave, does not necessarily mean that they've not had
                   consequences. People have the potential to change and grow ... we have to believe
                   in that as well.

                   And as I said in my email, people leave and join Nike every day. With a workforce
                   of 74,000 people, not everyone who leaves during this time is being exited.

                   It's clear that people have raised broader concerns. Please remember that system
                   changes, compensation reviews, and changes to organizations take time.

                   There is no finish line here. We continue to review our HR processes from top to
                   bottom so we can take our learnings from this experience.

           ECF 155-4 at pp. 6-7.

                     Nike confirmed to the New York Times that, “[b]esides the resignations of Trevor

           Edwards and Jayme Martin, Nike has also confirmed the departures of Antoine Andrews; Vikrant

           Singh, a senior brand director for basketball; Daniel Tawiah, a VP for global brand innovation;

           and Greg Thompson, the VP for footwear.” ECF 157-3 at p. 2. Nike also stated: “There was

           conduct where an insular group of high-level managers, in pockets of the organization, protected

           each other and looked the other way. This is something Nike will not tolerate.” Id. at p. 3.

                                                     DISCUSSION

           A.      Defendant’s Motion to Exclude the Opinions of Plaintiffs’ Expert, Kathleen Lundquist,

           Ph.D.

                   Nike seeks to exclude the expert reports and testimony of Dr. Lundquist, an



           Page 21 - FINDINGS & RECOMMENDATION



                                                                                                     ER-173
(163 of 298), Page 163 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 163 of 298




           Industrial/Organizational (I/O) psychologist, pursuant to Fed. R. Evid. 702.

                  Dr. Lundquist opines that:

                  Nike groups its jobs into substantially similar job groups based on the Job Function,
                  Job Family, Job Subfamily, Band and Job Level architecture into which all jobs at
                  Nike are categorized. Nike uses this job architecture to apply a consistent set of
                  policies and practices for employees within these groups for compensation, talent
                  acquisition, talent management and performance management. Despite a common
                  architecture for classifying jobs, Nike’s policies and practices for compensation and
                  promotion have not been substantiated as job related according to professional and
                  legal guidelines.

           ECF 148-1 at p. 48.

                  Nike asserts Dr. Lundquist’s report is not based on any reliable methodology.

           Specifically, Nike contends she failed to describe any objective principles, standards, definitions,

           or other methodologies she applied to support her finding.

                  A witness who is qualified as an expert by knowledge, skill, experience, training,
                  or education may testify in the form of an opinion or otherwise if:
                  (a) the expert's scientific, technical, or other specialized knowledge will help the
                  trier of fact to understand the evidence or to determine a fact in issue;
                  (b) the testimony is based on sufficient facts or data;
                  (c) the testimony is the product of reliable principles and methods; and
                  (d) the expert has reliably applied the principles and methods to the facts of the
                  case.

           Fed. R. Evid. 702.

                  This court must assess whether the reasoning or methodology underlying the testimony is

           scientifically valid and whether that reasoning or methodology properly can be applied to the facts

           at issue. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 593 (1993). The court's task is to

           ensure that an expert's testimony both rests on a reliable foundation and is relevant to the task at

           hand. Id. at 597.

                  Although Daubert listed specific factors for assessing scientific testimony, the test for



           Page 22 - FINDINGS & RECOMMENDATION



                                                                                                       ER-174
(164 of 298), Page 164 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 164 of 298




           reliability is a flexible one and not all factors11 necessarily apply in every case. Primiano v. Cook,

           598 F.3d 558, 564 (9th Cir. 2010).

                      When considering the applicability of Daubert criteria to the particular case before
                      the court, the inquiry must be flexible. Peer reviewed scientific literature may be
                      unavailable because the issue may be too particular, new, or of insufficiently broad
                      interest, to be in the literature. Lack of certainty is not, for a qualified expert, the
                      same thing as guesswork. Expert opinion testimony is relevant if the knowledge
                      underlying it has a valid connection to the pertinent inquiry. And it is reliable if the
                      knowledge underlying it has a reliable basis in the knowledge and experience of the
                      relevant discipline. [T]he factors identified in Daubert may or may not be pertinent
                      in assessing reliability, depending on the nature of the issue, the expert's particular
                      expertise, and the subject of his testimony. Reliable expert testimony need only be
                      relevant, and need not establish every element that the plaintiff must prove, in order
                      to be admissible.

           Id. at 565 (internal citations omitted).

                      "Daubert's general holding--setting forth the trial judge's general 'gatekeeping' obligation-

           -applies not only to testimony based on 'scientific' knowledge, but also to testimony based on

           'technical' and 'other specialized' knowledge." Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141

           (1999). This Court has broad latitude when it decides how to determine reliability. Id. In the

           end, an opinion is admissible if it is reliable and will assist the trier of fact in understanding the

           evidence at issue.

                      Certainly, Dr. Lundquist qualifies as an expert and her knowledge is connected to facts in

           issue, e.g., the relationship of Nike’s Human Resources in developing and monitoring

           implementation of Nike’s employment practices. It is true that Dr. Lundquist provides scant

           analysis of, for example, whether certain job groupings actually perform similar work. However,

           the Court is able to weigh the evidence adduced regarding Nike’s Human Resources policies and

           determine what weight to give expert opinion, if any, for purposes of class certification. See


           11
                The Court listed criteria such as testability, publication, peer review, and general acceptance.

           Page 23 - FINDINGS & RECOMMENDATION



                                                                                                                   ER-175
(165 of 298), Page 165 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 165 of 298




           Primiano 598 F.3d at 564–65 (“Under Daubert, the district judge is ‘a gatekeeper, not a fact finder.’

           When an expert meets the threshold established by Rule 702 as explained in Daubert, the expert

           may testify and the jury decides how much weight to give that testimony.”).12 When and if this

           action proceeds to a merits decision, the parties may wish to revisit the relevance of this opinion.

           Yet, as noted below, given the evidence regarding Nike’s employment policies and discretion

           afforded individual managers, plaintiffs’ experts provide little useful information for determining

           the core issue of whether commonality exits.13 Accordingly, the motion to exclude the opinions

           of Dr. Lundquist should be denied at this time.

           B.       Defendant’s Motion to Exclude the Opinions of Plaintiffs’ Expert, David Neumark, Ph.D.

                    Nike also seeks to exclude the expert reports and testimony of statistical expert Dr.

           Neumark pursuant to Fed. R. Evid. 702.

                    Dr. Neumark opines that:

                    a. Women and men come to Nike with similar human capital (education,
                    experience), and women get performance ratings as high or higher than men.
                    b. Women are hired at lower Job Levels than are men who come to Nike with
                    similar human capital.
                    c. Once hired, women are promoted more slowly than men; this is driven by non-
                    competitive promotions.
                    d. The lower Job Levels at hire, and the slower progress to higher Job Levels,
                    creates a large pay shortfall for women in the class period.
                            i. A simple estimate of this pay shortfall is $11,363 lower pay (in December
                            2019 dollars) per woman per year. [footnote omitted]
                    e. In addition, women doing substantially similar work to men, and with similar
                    qualifications to men and similar performance to men, are paid less at hire. This

           12
              For purposes of this motion, the Court itself has the discretion to determine whether a class should be certified and
           conducts a rigorous analysis to consider whether a claim meets Rule 23’s requirements. Thus, the Court, for
           certification purposes, decides how much weight to give the expert testimony.
           13
              The core issue of commonality is generally capable of resolution without resort to expert analysis as the Court can
           review the evidence of whether Nike mandates an applicable policy that results in disparate treatment or impact.
           While a statistical analysis has some bearing on this issue, it becomes more useful in understanding an issue once the
           policy is or standard operating procedure is identified. In addition, Dr. Lundquist’s opinion regarding the job
           relatedness of Nike’s policies becomes important once an actual company-wide policy has been identified.

           Page 24 - FINDINGS & RECOMMENDATION



                                                                                                                         ER-176
(166 of 298), Page 166 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 166 of 298




                  starting pay gap persists into the class period, during which women are paid less
                  than men who are doing substantially similar work and have similar qualifications
                  and performance. This happens because, after being hired, subsequent pay
                  increases for women and men with similar performance are based on the same
                  percentage pay increase, perpetuating the starting pay gap.
                          i. The pay gap within the same job creates a large pay shortfall for women
                          in the class period. A simple estimate of this pay shortfall is $3,138 lower
                          pay (in December 2019 dollars) per woman per year. Note that these
                          amounts, while sizable, are smaller than the amounts in paragraph 8.d.i.
                          above, because they do not reflect the female pay shortfall attributable to
                          women being hired at lower Job Levels and being promoted more slowly.

           ECF 149-1 at pp. 4-5

                  Dr. Neumark further opines:

                  In reaching these conclusions, my analysis uses an aggregated model that includes
                  detailed controls for differences across women and men in the jobs they are in (or
                  “Job Cells” defined by the interactions of Job Subfamilies and Levels), and their
                  bona fide qualifications. This provides precise estimates of potential gender
                  differences in pay and other outcomes. Dr. Saad insists, instead, that a
                  disaggregated model must be used; this means that there has to be a separate model
                  for each job (which he incorrectly insists should be based on Job Code rather than
                  Job Cells). However, Dr. Saad’s proposed disaggregation reduces statistical
                  precision, which predictably often eliminates statistical significance, and masks
                  common mechanisms that, as my evidence shows, cause discrimination.

           ECF 149-2 at p. 5.

                  Nike asserts Dr. Neumark’s opinions and/or analyses: (1) are based on the kind of

           aggregated analyses that the United States Supreme Court found were insufficient to establish

           whether pay discrimination claims can be proved on a class-wide basis; (2) do not show whether

           women are paid less than men for performing comparable or substantially equal work; (3) fail to

           consider the effect that different decision-makers have on the pay and promotion decisions

           challenged by plaintiffs; (4) incorporate data from outside the relevant claims periods, which leads

           to misleading and irrelevant results; (5) fail to account for fundamental variables and rely on

           unsubstantiated assumptions; (6) are based on a purported disparity that is not statistically


           Page 25 - FINDINGS & RECOMMENDATION



                                                                                                      ER-177
(167 of 298), Page 167 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 167 of 298




           significant or derives from the misapplication of his own models and standards; (7) are based on

           scientifically unsound and unreliable analyses of work experience and education background that

           fail to apply the facts here, and lack support within the scientific community; and (8) accepted the

           reliability of the opinions of Dr. Lundquist without question, despite admitting that he never

           analyzed her report.

                   Dr. Neumark, like Dr. Lundquist, is qualified and offers an opinion that is relevant to the

           facts at issue. However, as addressed below, the weight afforded this opinion is limited given the

           failure of the evidence to demonstrate a common policy or a standard operating procedure.

           Nonetheless, the motion should be denied at this time.

           C.      Plaintiffs’ Motion to Rule as Inadmissible Part of the Expert Report of Chester Hanvey,

           Ph.D.

                   Plaintiffs seek to exclude paragraphs 3, 5-8, 19-234, 247-48, and 251-52 of Dr. Hanvey,

           an I/O psychologist, pursuant to Fed. R. Evid. 702.

                   Dr. Hanvey opines that Nike employees are not sufficiently similar to be examined as a

           single group. ECF 185-1 at p. 5, ¶ 3. After analyzing the jobs performed by certain individuals

           in covered positions, Dr. Hanvey concluded:

                   I designed and conducted an extensive job analysis involving over 200 hours of
                   interviews with Nike employees to gather systematic data about the work
                   performed by Nike employees and skill, effort, responsibility, and working
                   conditions associated with that work. I selected two random samples of employee
                   to evaluate the degree of variability across Job Codes and within Job Codes and
                   conducted detailed interviews with each individual in the samples regarding various
                   aspects of their work that relate to the factors specified in equal pay statutes and
                   regulations.

                   I found that employees in both samples varied substantially on factors that
                   commonly impact pay, such as: work performed; KSAs required to perform that
                   work; prior work experience; education; decision-making authority; supervisory


           Page 26 - FINDINGS & RECOMMENDATION



                                                                                                       ER-178
(168 of 298), Page 168 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 168 of 298




                  responsibility; level of stress in the job; work hours; travel; and exposure to physical
                  hazards. Many of these differences are also present when I examined responses
                  from multiple Nike employees with the same Job Code, Level, Function, Family,
                  and Subfamily. I also found that certain factors that impact pay such as prior
                  experience and education are not uniformly applicable to all Job Codes. In order
                  to determine which roles do perform substantially equal or similar work, it would
                  be necessary to conduct a full assessment of actual job content for each of the more
                  than 1,400 Job Codes.

                  Finally, I found that rather than conducting a job analysis, Dr. Lundquist relied
                  entirely on existing documents to reach her conclusions, which directly contradicts
                  professional standards and her own statements in a prior case. She did not employ
                  any scientific methods to support her conclusions about Nike employees and did
                  not perform any analysis to determine whether employees are “substantially
                  similar” for evaluating pay. As a result, there is no scientific basis to support her
                  position that Nike employees in the same Subfamily/level are substantially similar.

           ECF 185-1 at pp. 144-45, ¶¶ 251-53.

                  Plaintiffs assert they do not seek to establish that all jobs at Nike are comparable. They

           also argue Dr. Hanvey’s conclusions are not based on sufficient facts, and he did not understand

           Nike’s policies or plaintiffs’ challenge to those policies. Plaintiffs also contend Dr. Hanvey did

           not use generally recognized methodologies and his sample sizes were too small to be reliable.

                  As with the other experts discussed above, Dr. Hanvey’s qualifications are not in question.

           As for the merits of plaintiffs’ claims, the opinion is relevant, and the weaknesses identified are

           more appropriately confined to the weight of the opinion, at least at this stage of the proceedings.

           As noted above, the Court can resolve the core issue of class certification without much resort to

           expert opinion. The parties disagree regarding how to demonstrate the important issue of whether

           there is a pay differential based on gender. Plaintiffs believe they can establish that difference by

           showing generally, regardless of job variability, that men as a whole earn more than women as a

           whole even when controlling for experiential differences. Nike, on the other hand, asserts the

           question must be answered by comparing similar work performed in a similar manner to determine


           Page 27 - FINDINGS & RECOMMENDATION



                                                                                                         ER-179
(169 of 298), Page 169 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 169 of 298




           whether any differences in pay exist. But at this stage, the Court is more concerned whether

           plaintiffs can point to any common company-wide policy or standard operating procedure that

           impacted the pay of all class members. It is unclear, at this stage, to what extent the various expert

           opinions may assist the trier of fact, but the Court can determine the existence of the policy or

           procedure by examining the underlying facts generally with or without the aid of the expert

           opinions. Accordingly, the motion should be denied at this time.

           D.     Plaintiffs’ Motion to Rule as Inadmissible Parts of the Expert Report of Ali Saad, Ph.D.

                  Plaintiffs seek to exclude portions of the opinion of statistical expert Dr. Saad pursuant to

           Fed. R. Evid. 702.

                  Dr. Saad reviewed Dr. Neumark’s report and opined:

                  a. Incumbent Pay: There is no common pay shortfall for women across the
                  Covered Positions. When I examine pay outcomes on a job-by-job basis, I find that
                  for 97.1% of job codes, in which 92.4% of all women in the Covered Positions
                  worked, there are no statistically significant adverse outcomes for women.
                  Moreover, only 35 of the 1,204 job codes show a statistically significant adverse
                  outcome for women, and those 35 job codes include just 7.6% of women in the
                  Covered Positions. When I examine female pay outcomes by manager, I find that
                  just 5.7% of managers have teams in which women earn statistically significantly
                  less than men. The relatively small number of statistically significant disparities
                  that the analyses do yield (for incumbent pay only) are sporadic and isolated, linked
                  to a relatively small number of job codes and a small percentage of decision-
                  makers, and do not appropriately account for legitimate, business-related factors
                  that explain pay.
                  b. Prior Pay: There is no statistical evidence of sex-based disparities in prior pay
                  because this data is not available to analyze. Nor is there any statistical evidence
                  using the approach of Dr. Neumark that Nike consistently used prior pay to set
                  starting pay at Nike, or that any such practice disparately impacted women.
                  c. Starting Pay: There is no consistent statistical evidence of sex-based disparities
                  in starting pay when proper analysis groups are constructed. I estimated Dr.
                  Neumark’s starting pay model separately by Job Family in order to compare
                  employees with prior education and work experience backgrounds one would
                  expect to be similar. I find that 48% of Job Families analyzed show that female new
                  hires are paid more than men on average (covering 39% of female new hires), even
                  without suitable controls for prior experience and education. Only four Job Families


           Page 28 - FINDINGS & RECOMMENDATION



                                                                                                        ER-180
(170 of 298), Page 170 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 170 of 298




                     show that women earn statistically significantly less than men. One Job Family
                     shows that women earn statistically significantly more than men. Using Dr.
                     Neumark’s approach there is no common starting pay shortfall for women.
                     d. Starting Level: There is no statistical evidence of sex-based disparities in
                     starting level once I correct Dr. Neumark’s analysis to account for a critical variable
                     — the job level a candidate applied to — which is essential for any analysis of
                     whether “under-leveling” occurred.
                     e. Prior Relevant Experience: Dr. Neumark’s methodology for measuring and
                     comparing prior relevant experience among new hires is completely unscientific
                     and full of obvious errors. Indeed, the clusters of purportedly similar prior jobs
                     generated by Dr. Neumark’s methodology are preposterous on their face. One
                     cluster, for example, contains as supposedly similar prior jobs: Library Page;
                     Deckhand; Spanish-English GED Tutor; Nanny; CEO; Handyman; Armory Chief;
                     Journeymen; Bank Teller; Sign Painter; Penetration Tester; Tennis Captain; Model;
                     Master Black Belt; and Caregiver.[footnote omitted] Dr. Neumark claims this is
                     irrelevant because his alternative method of calculating prior experience returns the
                     same results, but his alternative method omits 70% of the data used in the analysis.
                     Neither method produces scientifically reliable results. Both should be disregarded.
                     f. Relevant Education: Dr. Neumark’s attempts to control for education are
                     equally deficient. Rather than control for college major, or degrees from schools
                     that are valued by Nike, he controls for schools’ rank based on three publicly-
                     available “top 500”-type lists, which do not contain a single art or design school.
                     Considering that Nike is a footwear and athletic apparel design company, the fact
                     that not a single art or design school appears on those lists should have given Dr.
                     Neumark pause as to their relevance for hiring at Nike (and his methodology as a
                     whole).
                     g. Merit Increases: There is no statistical evidence of sex-based disparities in merit
                     increases. In fact, Dr. Neumark finds that women actually receive larger merit
                     increases than men. It is only by omitting job level – which is a key factor in
                     determining the amount of merit pay awarded, regardless of gender – that Dr.
                     Neumark manufacturers an issue where none exists.
                     h. Promotions: Finally, there is no statistical evidence of sex-based disparities in
                     promotions. Again, Dr. Neumark’s own analysis confirms this is true. And once
                     again, only by contorting the data does Dr. Neumark manufacture an issue where
                     there is none.

                     Not only is the analysis flawed, but the Neumark Corrected Report fails to address
                     the legal claims at issue in this case. I understand that for claims under the federal
                     Equal Pay Act (“federal EPA”) and the Oregon Equal Pay Act (“Oregon EPA”),
                     the jury must decide whether women are paid less than men for substantially equal
                     or comparable work, respectively. [footnote omitted] In order to answer this
                     question, the statistical analysis must present results at the level of the question
                     presented – substantially equal or comparable work. Yet none of Dr. Neumark’s
                     analyses do so. Nowhere in Dr. Neumark’s report can one find the answer to the


              Page 29 - FINDINGS & RECOMMENDATION



                                                                                                       ER-181
(171 of 298), Page 171 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 171 of 298




                  question of whether women in job code A1046 (like named Plaintiff Cahill) are
                  paid less than men in job code A1046. Nor does he answer the question whether
                  women in job code A0692 (like named Plaintiff Johnston) are paid less than men
                  in job code A0692. Instead, he combines all employees in the over 1,200 different
                  Covered Positions [footnote omitted] in a single analysis, and presents one singular
                  alleged female pay difference. In other words, he purports to find a 2.03% average
                  shortfall across all of these disparate jobs (from his Table 2, column 4, panel C
                  (which, when technical errors of timing and other mechanical issues are corrected,
                  actually reveals itself to be 1.33%)). Yet even Dr. Neumark testified that this
                  alleged shortfall does not apply to all of the Covered Positions, and is not likely to
                  be the shortfall for any one Covered Position. In fact, I show that the overwhelming
                  majority of within-job analyses show no statistically significant sex disparity in
                  pay. Dr. Neumark’s analysis, on the other hand, does not identify jobs in which
                  women are paid more than men performing substantially equal or comparable work,
                  jobs where women and men are paid the same, and jobs where women are paid less
                  than men. Thus he cannot answer the question presented by the federal and Oregon
                  EPAs: are women are paid less than men for substantially equal or comparable
                  work? The alleged “average” provided by Dr. Neumark is not the correct metric to
                  employ for a statistical analysis in an EPA setting.

                  Furthermore, to the extent that the Court must decide issues of commonality
                  regarding Plaintiffs’ disparate impact or treatment claims under Title VII or the
                  Oregon Equality Act, Dr. Neumark presents no analyses at the level of decision-
                  makers as I understand is required by Wal- Mart Stores, Inc. v. Dukes. [footnote
                  omitted] In fact, Dr. Neumark never mentions decision-makers at all. Thus, none
                  of Dr. Neumark’s aggregated incumbent pay analyses speak to the issues in this
                  case, or to the statistical issues relevant to class certification.

                  To summarize, Dr. Neumark conducts the wrong analysis to address Plaintiffs’
                  federal and Oregon EPA claims, and he fails to show statistical commonality
                  supporting certification of Plaintiffs’ Title VII or Oregon Equality Act claims. His
                  aggregated analyses of incumbent pay do not identify a single job in which men
                  and women are paid differently. Using his model but correcting for flaws in timing
                  and various technical errors demonstrates that the vast majority of the putative class
                  did not experience a statistically significant pay shortfall. In addition, none of the
                  various other employment outcomes studied by Dr. Neumark (for which he claims
                  women share an adverse experience) are found to show any adverse outcomes, once
                  errors are corrected.

           ECF 186-1 at pp. 5-10.

                  Plaintiffs assert portions of the report are inadmissible because they contain legal

           conclusions, Dr. Saad lacks a reliable basis in knowledge and experience in the relevant discipline,


           Page 30 - FINDINGS & RECOMMENDATION



                                                                                                       ER-182
(172 of 298), Page 172 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 172 of 298




           and portions of the report are not relevant. Again, the Court should decline to grant the motion at

           this time as the report, while useful as to certain merits issues, is not entirely necessary to resolve

           a core issue regarding class certification. To the extent Dr. Saad offers his own legal analysis and

           conclusions on issues related to class certification,14 the Court should not consider those opinions.

           See, e.g., Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004) (an

           expert witness cannot give an opinion as to their legal conclusion, i.e., an opinion on an ultimate

           issue of law).

           E.      Evidentiary Objections

                   Nike argues the Declaration of Byron Goldstein improperly raises discovery disputes

           despite the close of pre-certification discovery. Defendant also raises specific hearsay objections

           and objections to conclusions of law offered by a witness.

                   Plaintiffs object to: (1) the declaration of Jessica Stuckey as inadmissible lay testimony

           about scientific matters; (2) statements relying on privileged pay equity studies and investigation

           of Starfish complaints because Nike uses both as a shield and sword; and (3) evidence based on

           the Talent Acquisition playbook regarding “Match to Job” because Nike failed to produce the

           playbook.

                   In evaluating a motion for class certification, the Court may consider all material evidence

           submitted by the parties to determine whether the Rule 23 requirements are satisfied. Blackie v.

           Barrack, 524 F.2d 891, 901 (9th Cir. 1975). Strict adherence to the Federal Rules of Evidence is

           not required. Gonzalez v. Millard Mall Servs., Inc., 281 F.R.D. 455, 459 (S.D. Cal. 2012). In

           considering the background facts applicable to class certification, the Court has endeavored to


           14
             In addition to paragraphs 6 through 7 of the report quoted above, Dr. Saad concludes that Dr. Neumark’s analysis
           provides no “glue” holding together plaintiffs’ claims. ECF 186-1 at p. 151.

           Page 31 - FINDINGS & RECOMMENDATION



                                                                                                                    ER-183
(173 of 298), Page 173 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 173 of 298




           consider only evidence upon which both parties had access. To the extent that the Court discusses

           any attorney-client privileged material, it is merely to provide historical background information

           leading up this litigation.15

           F.      Class Certification

                   Initially, plaintiffs filed their class certification motion seeking to certify a class of:

                   All female current and former Nike employees at Nike Headquarters in Oregon,
                   who were employed at any time from October 11, 2017 through the resolution of
                   this action for claims under Title VII, and for the period from August 9, 2017
                   through the resolution of this action for claims under ORS 652.220 and ORS
                   659A.030, in a salaried, corporate position in Bands L, U,
                   E, or S2 (“Putative Class”)

           Motion For Class Certification (ECF 146) at p. 1.

                   Nike asserted this definition precluded Cahill’s inclusion in the putative class given that

           she resigned from Nike on July 26, 2017. Thus, in their reply brief, plaintiffs modified their

           proposed class as follows:

                   All female current and former Nike employees at Nike Headquarters in Oregon,
                   who were employed at any time from October 11, 2017 through the resolution of
                   this action for claims under Title VII, for the period from July 25, 2017 through the
                   resolution of this action for claims under ORS 659A.030, and for the period from
                   August 9, 2017 through the resolution of this action for claims under ORS 652.220,
                   in a salaried, corporate position in Bands L, U, E, or S (“Putative Class”).

           Reply (ECF 240) at p. 2.

                   The proposed change expands the claims under the Oregon Equality Act to begin 15 days

           earlier. Defendant objects contending the amendment to the class definition causes it to suffer

           prejudice.


           15
             The Court does consider Stuckey’s declaration regarding job codes given her position as Senior Director of
           Global Retail Compensation. The declaration is based on her personal knowledge and qualifies as lay testimony.
           See United States v. Flores, 536 F. App'x 709, 711 (9th Cir. 2013) (testimony rationally based on personal
           knowledge offering observation that is common and requires limited expertise is admissible).

           Page 32 - FINDINGS & RECOMMENDATION



                                                                                                                  ER-184
(174 of 298), Page 174 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 174 of 298




                  Generally, the Court is bound by the class definitions provided in the complaint and, absent

           an amendment to the operative complaint, will not consider certification beyond that definition.

           See Berlowitz v. Nob Hill Masonic Mgmt., Inc., 1996 WL 724776, at *2 (N.D. Cal. Dec. 6, 1996)

           (rejecting plaintiff's attempt to certify a class different from that alleged in the complaint, because

           the “court is bound by the class definition provided in the complaint ... and will not consider

           certification of the class beyond the definition provided in the complaint unless plaintiffs choose

           to amend it”); see also Ortiz v. McNeil–PPC, Inc., 2009 WL 1322962, at *2 (S.D. Cal. May 8,

           2009); Stuart v. Radioshack Corp., 2009 WL 281941, at *2 (N.D. Cal. Feb. 5, 2009).

                  Plaintiffs assert they are willing to amend if the Court prefers. Thus, in the Court is not

           prohibited from considering certification of a class as modified in a reply brief. See Garcia v.

           Schlumberger Lift Sols., 2021 WL 1259737, at *18 (E.D. Cal. Apr. 6), report and recommendation

           adopted, 2021 WL 5321669 (E.D. Cal. Nov. 16, 2021) (“As an initial matter, the Court may

           consider class definitions first raised in a plaintiff's reply brief.”). As noted in Garcia, “the Court

           has the authority to redefine a class, and as such there is no reason the Court should not consider

           the amended definitions proposed.” Id. Nonetheless, the modification should be permitted only

           if it is minor and non-prejudicial. Cancino Castellar v. Mayorkas, 2021 WL 4081559, at *8 (S.D.

           Cal. Sept. 8, 2021).

                  Defining the class is critical because it identifies the persons (1) entitled to relief, (2) bound

           by a final judgment, and (3) entitled under Rule 23(b)(2) to the “best notice practicable” in a Rule

           23(b)(3) action. Naylor Farms v. Anadarko OGC Co., 2009 WL 8572026, at *3 (W.D. Okla. Aug.

           26, 2009). In this case, the parties engaged in a rancorous discovery process related to class

           certification over a nearly four-year period including extensive expert analysis based on the



           Page 33 - FINDINGS & RECOMMENDATION



                                                                                                           ER-185
(175 of 298), Page 175 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 175 of 298




           definition asserted in the First Amended Complaint which did not include dates but included all

           current and former female employees employed by Nike at any time from three years prior to

           opting-in through resolution of this action. First Am. Compl. ¶ 165 (ECF 42). The complaint

           alleged Cahill was a full-time employee from October 2013 to July 26, 2017. Cahill filed a BOLI

           complaint on July 25, 2018, which was withdrawn due to the filing of the initial complaint on

           August 9, 2018. Id. at ¶¶ 28, 32. Cahill filed the BOLI complaint on behalf of herself and all other

           similarly situated female Nike employees. Id. at ¶ 33. Further, Cahill filed her consent to be a

           party in the EPA collective action on August 9, 2018. Id. at ¶ 31. Accordingly, the First

           Amended Complaint made clear that the proposed class included claims up to one year before the

           filing of the BOLI charge which includes claims of former female employees, such as Cahill, as

           far back as July 25, 2017. See Or. Rev. Stat. § 659A.875; Or. Admin. R. § 839-003-020(3).

                  The inclusion of modified specific dates within the time frame alluded to in the First

           Amended Complaint is a minor adjustment to the class definition. Moreover, Nike does not

           demonstrate a need to conduct further discovery, only a potential need to have their expert re-run

           his analysis to reflect the 15-day change to the class definition. However, pre-liability data is

           relevant and thus Nike already had incentive to conduct such analysis. See, e.g., Ellis v. Costco

           Wholesale Corp., 285 F.R.D. 492, 528 (N.D. Cal. 2012) (pre-statute of limitations data is generally

           both relevant and frequently used in such matters as evidence of the alleged discriminatory

           practice, even when a plaintiff may not directly recover as to events occurring outside the

           applicable period). In addition, Nike’s primary dispute about expert analysis revolves around

           whether that analysis should be aggregated or disaggregated and the 15-day difference in the

           modified class does not impact this argument. Accordingly, the Court should consider class



           Page 34 - FINDINGS & RECOMMENDATION



                                                                                                      ER-186
(176 of 298), Page 176 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 176 of 298




           certification based on the modified definition asserted in plaintiffs’ reply brief.

                  Besides certifying the above modified class, plaintiffs also ask the Court to appoint the four

           named plaintiffs, Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and Heather Hender, as class

           representatives and appoint named plaintiffs’ counsel as class counsel.

                  Plaintiffs challenge four purported class-wide polices that allegedly resulted in the putative

           class receiving lower pay than their male counterparts: (1) using prior pay or salary expectations

           when setting starting salary; (2) using a percentage of current salary when awarding annual merit

           increases and bonuses; (3) determining whether to fill promotions non-competitively or

           competitively; and (4) using hiring policies or practices that place women into lower job-levels

           based on initial job assignments.

                  Defendant asserts plaintiffs fail to provide sufficient evidence of a company policy or

           practice that both uniformly applies and harmed the entire putative class of 5,200 female

           employees.    Defendant thus asserts plaintiffs fail to establish commonality, typicality, and

           predominance for purposes of Fed. R. Civ. P. 23. Defendant also argues certain putative class

           members themselves exercised discretion in their jobs and made the allegedly discriminatory

           decisions having a disparate impact, thus raising issues as to the adequacy of representation by the

           named plaintiffs. Defendant also contends plaintiffs lack standing for injunctive relieve on behalf

           of the class given that they are former employees. Finally, defendant argues plaintiffs fail to show

           a class action is superior to other methods of adjudication.

                  Rule 23 imbues “district courts with broad discretion to determine whether a class should

           be certified, and to revisit that certification throughout the legal proceedings." Dukes v. Wal-

           Mart, Inc., 509 F.3d 1168, 1176 (9th Cir. 2007). The party seeking certification bears the burden



           Page 35 - FINDINGS & RECOMMENDATION



                                                                                                       ER-187
(177 of 298), Page 177 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 177 of 298




           of showing the proposed class meets the requirements of Federal Rule of Civil Procedure 23(a)

           and (b). See id. Although a court should accept the substantive allegations of the complaint as

           true, a court must also consider the nature and range of proof necessary to establish those

           allegations and conduct a "rigorous analysis" to determine whether the claim satisfies the Rule

           23(a) requirements. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160-61 (1982); see also Zinser

           v. Accuflx Research Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001). Thus, this Court may look

           to supplemental information to "allow an informed judgment." Id. Although it may be necessary

           to inquire into the substance of a case to ascertain satisfaction of the Rule 23 requirements, the

           Court should not "advance a decision on the merits to the class certification stage." Staton v.

           Boeing Co., 327 F.3d 938, 954 (9th Cir. 2003).

                  To meet plaintiffs’ burden, they must satisfy the requirements of Fed. R. Civ. P. 23(a) and

           23(b). Rule 23(a) provides that plaintiffs may represent a class of similarly situated persons in a

           class action lawsuit only where:

                  (1) the class is so numerous that joinder of all members is impracticable,
                  (2) there are questions of law or fact common to the class,
                  (3) the claims or defenses of the representative parties are typical of the claims
                  or defenses of the class; and
                  (4) the representative parties will fairly and adequately protect the interests of
                  the class.

           Fed. R. Civ. P. 23(a).

                  Plaintiffs seek Rule 23 certification for three class claims: (1) disparate impact under Title

           VII, 42 U.S.C.§ 2000e et seq. and the Oregon Equality Act (OEA), Or. Rev. Stat. 659A.001 et

           seq.; (2) disparate treatment under Title VII and the OEA; and (3) pay discrimination under the

           Oregon Equal Pay Act (OEPA).

                  1.      Numerosity


           Page 36 - FINDINGS & RECOMMENDATION



                                                                                                       ER-188
(178 of 298), Page 178 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 178 of 298




                      There are at least 4,913 potential class members who were employed at Nike Headquarters

           in Oregon in a salaried, corporate position that was a lower-level position than Vice-President

           between October 11, 2017, and August 31, 2019.16 Rebuttal Expert Report of David Neumark at

           ¶ 27 (ECF 149-2 at p. 17). Accordingly, this requirement for certification is met. See Harrison

           v. Harry & David Operations, Inc., 2020 WL 8367533, at *6 (D. Or. Oct. 21, 2020), report and

           recommendation adopted, 2021 WL 1135022 (D. Or. Mar. 24, 2021) (numerosity is met when the

           proposed class size in excess of 2000 is so large that joinder would be impractical).

                      2.       Commonality

                      A class has sufficient commonality "if there are questions of fact and law which are
                      common to the class." Fed. R. Civ. P. 23(a)(2). The commonality preconditions of
                      Rule 23(a)(2) are less rigorous than the companion requirements of Rule 23(b)(3).
                      Indeed, Rule 23(a)(2) has been construed permissively. All questions of fact and
                      law need not be common to satisfy the rule. The existence of shared legal issues
                      with divergent factual predicates is sufficient, as is a common core of salient facts
                      coupled with disparate legal remedies within the class.

           Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998).

                      The class members' claims “must depend on a common contention ... that is capable of

           class-wide resolution—which means that determination of its truth or falsity will resolve an issue

           that is central to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v.

           Dukes, 564 U.S. 338, 350 (2011).

                      Plaintiffs assert that all three of the of the claims upon which they seek certification are

           capable of class-wide resolution. Plaintiffs contend the four challenged practices (using prior pay

           when setting starting salary, using a percentage of current salary when awarding annual merit

           increases and bonuses, filling promotions non-competitively, and placing women into lower job-



           16
                As noted, discovery and expert reporting were completed before plaintiffs’ modification of the class period.

           Page 37 - FINDINGS & RECOMMENDATION



                                                                                                                         ER-189
(179 of 298), Page 179 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 179 of 298




           levels based on initial job assignments) result in disparate impact and disparate treatment. In other

           words, plaintiffs contend that resolution of whether these policies result in lower pay for women

           will decide a common question impacting the whole class. Plaintiffs also contend resolution of

           Nike’s affirmative defense that any pay gap is due to a factor other than sex will resolve a common

           question related to the OEPA claim. At the core of this argument is whether the purported policies

           are in fact company-wide policies applied to all employees regardless of job or at least all

           employees within the 1200+ different jobs plaintiffs occupy.

                               a.       Disparate Impact Claims

                      To establish a prima facie case of disparate impact under Title VII, the plaintiffs must: (1)

           show a significant disparate impact on a protected class or group; (2) identify the specific

           employment practices or selection criteria at issue; and (3) show a causal relationship between the

           challenged practices or criteria and the disparate impact. Atonio v. Wards Cove Packing Co., Inc.,

           810 F.2d 1477, 1482 (9th Cir. 1987).17 If plaintiffs establish a prima facie case, the burden shifts

           to the employer to show that its challenged practices are consistent with business necessity and

           that there was no less discriminatory alternative. Moussouris v. Microsoft Corp., 2018 WL

           3328418, at *14 (W.D. Wash. June 25, 2018), aff'd, 799 F. App'x 459 (9th Cir. 2019).

                      For purposes of plaintiff’s disparate impact claims, proof of commonality overlaps with

           the merits because both look at the reason for a particular employment decision. See, e.g., Cooper

           v. Fed. Rsrv. Bank of Richmond, 467 U.S. 867, 876 (1984). Thus, in order to demonstrate

           commonality, it is not enough for plaintiffs to show they disproportionately are paid less than men,

           they must show that the reason behind that discrimination is the same for all class members.


           17
                The parties agree that the OEA claims are analyzed similarly to the Title VII claims.


           Page 38 - FINDINGS & RECOMMENDATION



                                                                                                           ER-190
(180 of 298), Page 180 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 180 of 298




           However, by using an aggregate statistical analysis as their primary evidence of disparate impact,

           plaintiffs put the cart before the horse and essentially argue the impact provides the common thread

           as to the reason for the discrimination. The four purported company-wide policies to which

           plaintiffs’ point are the ostensive class-wide glue that binds their claims together permitting

           resolution at one fell swoop. The question thus becomes whether the policies are in essence

           mandatory principles upon which hiring managers must adhere together with whether those

           policies caused the disparate pay shown by the statistical analysis.

                                  1.     Starting Pay

                  As noted above, before September 2017, Nike hiring managers were free to consider and

           weigh whatever factors they deemed relevant to the position being hired including historical salary

           progression. In September 2017, Nike issued a directive that recruiters, hiring managers, etc. may

           no longer ask external applicants or their employers questions about their compensation history.

           ECF 155-6 at p. 1. After that, Nike policy permitted asking a candidate only about salary

           expectations. Id. Nike internal documents specifically indicated that, “[i]n the past, we often

           focused on the new hire’s prior salary and/or the size of the increase the new hire would receive,”

           but it did not “want to carry over poor pay practices from a prior company or start a candidate from

           a disadvantage—we want to create an equal playing field from day one.” ECF 158-2 at p. 8.

                  Plaintiffs assert Nike had a class-wide policy of using prior pay when setting starting

           salaries and uniformly implemented this policy via active involvement of Human Resources

           including final decision-making by Human Resources and high-level executives. However, the

           evidence presented does not tip the scales in favor of a class-wide policy, rather it demonstrates

           that hiring managers possessed significant discretion.



           Page 39 - FINDINGS & RECOMMENDATION



                                                                                                       ER-191
(181 of 298), Page 181 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 181 of 298




                   Hiring managers receive pay ranges for a posted job but then make an independent decision

           within that range. While hiring decisions may involve multiple people providing approval, the

           onus for the offer decision rests on the hiring manager. In that respect, the prior salary (before

           September 2017) was merely a data point the manager could consider. The record does not

           demonstrate a centralized decisionmaker(s) inserting themself into the hiring decision to adjust the

           offer to align with prior pay. Indeed, there appear to be many times a hiring manager did not

           inquire into prior pay. See e.g., Declaration of Kimberly Louder at ¶ 6 (ECF 187-2 at p. 84)

           (“After the hiring manager offered me the job, I asked for a higher starting salary, which she

           approved. Nobody at Nike asked me about my prior salary or salary expectations before making

           the offer.”); Declaration of Amber Dockter at ¶ 10 (ECF 187-1 at p. 203) (“Nike does not ask new

           graduate hires for prior salary information and it plays no role in the compensation for new

           graduate hires.”); Declaration of Adrienne Lore at ¶ 6 (ECF 187-1 at p. 77) (“I do not recall if

           anyone asked me about my current salary or salary expectations during the hiring process, but I

           would not have answered the question if asked.”); Declaration of Julia Hansen at ¶ 6 (ECF 187-1

           at p. 39) (“I do not believe anyone asked me about my prior salary or my salary expectations before

           I received an offer, nor did anyone communicate to me what my starting salary was based on.”);

           Declaration of Taya Saxton at ¶ 5 (ECF 187-1 at p. 136) (“I do not recall being asked for my

           current salary during the interview or hiring process. I recall discussing salary generally and the

           hiring manager was open about the salary range for the position, so I knew the salary range during

           the interview process. My starting salary at Nike was higher than my salary at PGE at the time.”).18


           18
              There were candidates who did recall being asked about prior pay. See, e.g., Deposition of Kelly Cahill at p. 112
           (ECF 241-1 at p. 30) (“I remember discussing salary and pay. They asked me what I had made prior or what I currently
           made as a Flex contractor.”); Deposition of Samantha Phillips at p. 103-05 (ECF 241-1 at pp. 104-06) (candidate noted
           that the offer was lower than prior pay and was told it was because cost of living is lower in Portland).

           Page 40 - FINDINGS & RECOMMENDATION



                                                                                                                      ER-192
(182 of 298), Page 182 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 182 of 298




                   Plaintiffs assert Nike not only collected prior pay information from candidates, it also

           collected such information from employers and public records. See ECF 157-10 at p. 2 (in

           response to legislation prohibiting gathering compensation, Nike notes under new policy it may

           no longer search public records for compensation history); ECF 241-1 at p. 1 (HireRight

           background check seeking, from Hender, documentation verifying previous employment which

           may include W-2 forms, pay stubs and/or 1099 forms).19

                   The Senior Director for Talent Acquisition, Shine Thomas, specifically notes that she has:

                   never asked an employer about someone's previous compensation history. … It's
                   not a standard part of our recruiting process. We would ask, a follow-on change,
                   we would ask a compensation history of a candidate. I can't think of a single
                   scenario where the question went to their previous employer because of
                   confidentiality. And currently we ask the candidate expectations, but we also do
                   not contact the candidate's previous employer around compensation.

           Deposition of Shine Thomas at p. 215 (ECF 162-9- at p. 21). Nike also asserts it is routine to

           confirm employment history. Moreover, there is insufficient evidence that Nike had a company-

           wide policy of collecting prior pay data from other sources. As with directly asking about prior

           pay either in the interview process or via public records search/background checks, some hiring

           managers inquired about it and some did not. The evidence does not demonstrate a centralized

           decision-making process that collected prior pay data used to make starting pay decisions.

                   Plaintiffs suggest the statistical analysis showing little variability among the class

           demonstrating women overall received lower pay than men at a statistically significant level is

           strong evidence of commonality. However, when using an aggregated statistical analysis, plaintiffs



           19
             Plaintiffs similarly contend background checks sought prior pay information from plaintiffs Sara Johnston and
           Emily Tucker (ECF 241-1 at pp. 3-4, 7-8).

           Page 41 - FINDINGS & RECOMMENDATION



                                                                                                                ER-193
(183 of 298), Page 183 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 183 of 298




           must first demonstrate a class-wide policy that is the alleged cause of the pay gap. The evidence

           here more likely suggests an individual analysis of whether a particular hiring manager gathered

           prior pay history and used that information to set the starting pay with respect to individual hires.

                  In Wal-Mart Stores, Inc., 564 U.S. 338, the Supreme Court recognized the difficulty of

           maintaining a class action for disparate impact claims where hiring managers have discretion to

           make employment decisions such as setting starting pay. As noted above, while Nike permitted

           consideration of historical salary progression, mangers were free to consider and weigh whatever

           factors they deemed relevant to the position. While prior salary may have been a permissible data

           point, every offer was unique. In other words, hiring managers were given discretion to set

           starting pay, within a guideline range, using whatever factors they deemed relevant which may or

           may not include prior pay history. Use of such a discretionary system requires an individualized

           assessment as to whether the consideration of prior pay resulted in a disparate impact on the

           starting pay for women. As the Supreme Court noted:

                  recognition that this type of Title VII claim “can” exist does not lead to the
                  conclusion that every employee in a company using a system of discretion has such
                  a claim in common. To the contrary, left to their own devices most managers in any
                  corporation—and surely most managers in a corporation that forbids sex
                  discrimination—would select sex-neutral, performance-based criteria for hiring
                  and promotion that produce no actionable disparity at all. Others may choose to
                  reward various attributes that produce disparate impact…. And still other managers
                  may be guilty of intentional discrimination that produces a sex-based disparity. In
                  such a company, demonstrating the invalidity of one manager's use of discretion
                  will do nothing to demonstrate the invalidity of another's. A party seeking to certify
                  a nationwide class will be unable to show that all the employees' Title VII claims
                  will in fact depend on the answers to common questions.

           Id. at 355–56.

                  Certainly, plaintiffs have shown that, in the aggregate, there is a statistically significant

           disparity among pay for women compared to pay for men at Nike. Plaintiffs have not, however,


           Page 42 - FINDINGS & RECOMMENDATION



                                                                                                        ER-194
(184 of 298), Page 184 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 184 of 298




           provided a statistical analysis demonstrating on a class-wide basis that starting pay is lower for

           women and higher for men where prior pay was a data point used by hiring managers in

           determining starting pay.           Plaintiffs merely offer a broad analysis of starting pay at Nike

           headquarters showing a significant statistical disparity and assume the gathering of prior pay

           history is to blame without showing that the gathering of such information was common class-

           wide regardless of the job applied for, the department in which the job was located, or the

           educational, experiential, and other requirements for the job. Plaintiffs simply point to one

           document showing managers may consider historical salary progression (which is not defined in

           the document)20 and assumed Nike did not permit managers to exercise discretion in implementing

           factors for setting starting pay.           The evidence demonstrates otherwise.                 At best, plaintiffs

           demonstrate that some hiring managers considered prior pay. Nike similarly demonstrates that

           some hiring managers did not. The evidence squarely supports that an individualized inquiry will

           be necessary for each plaintiff to determine whether the imposition of the factor (or lack of

           imposition of that factor) had a disparate impact on pay.

                    Plaintiffs assert their multiple regression analysis demonstrates common impact. See

           Olean Wholesale Grocery Coop., 31 F.4th at 679 (finding well-developed expert testimony and

           regression modeling support common impact). The Court does not disagree that there is a



           20
              The seven factors listed apply to “beginning a new job,” but do not necessarily mean starting fresh with Nike. For
           example, one factor is past Nike job performance for internal employees changing jobs. Thus, it is not clear that
           historical salary progression applies to pay before coming to Nike. The evidence does, however, demonstrate that
           prior salary was a factor that may have been considered, but it does not demonstrate that it was a required factor class-
           wide. Plaintiffs argue that such an issue is itself a common question, but the Court must resolve the question of
           commonality at this stage of the litigation. See, e.g., Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods
           LLC, 31 F.4th 651, 667 (9th Cir. 2022) (“A district court must also resolve disputes about historical facts if necessary
           to determine whether the plaintiffs' evidence is capable of resolving a common issue central to the plaintiffs' claims.
           For instance … a district court [must] resolve factual disputes at certification regarding whether decisions regarding
           promotions were made at the local level or by upper management”).

           Page 43 - FINDINGS & RECOMMENDATION



                                                                                                                         ER-195
(185 of 298), Page 185 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 185 of 298




           statistically significant difference in pay even when controlling for factors such as education and

           experience. However, the issue in this case is whether the common impact results from a common

           policy.

                     As noted above, Dr. Neumark opines that generally women came to Nike with similar or

           better education and/or experience than men but the starting pay for women was lower because of

           the purported company-wide policy of using prior pay as a factor in setting starting pay. (ECF

           149-2 at p. 4). In reaching this conclusion, Dr. Neumark used an aggregate model controlling for

           differences in job families and subfamilies rather than for each job. Dr. Neumark justifies this

           level of statistical analysis asserting the prior pay policy was common across all jobs at Nike. Id.

           at p. 5. While it is true that for a short period encompassed within the proposed class period prior

           salary was a permissible data point at Nike, the evidence does not establish hiring managers were

           required to or even did actually use such data uniformly across all jobs. An aggregated statistical

           analysis is only appropriate in analyzing practices that are uniform across a company because it

           would conform to the level of decision for the challenged practice. Ellis, 285 F.R.D. at 523. “[I]n

           the absence of a common policy or procedure, mere statistics could not ‘produce a common answer

           to the crucial question why was I disfavored.’” Jones v. Nat'l Council of Young Men's Christian

           Assocs. of the U.S. of Am., 34 F. Supp. 3d 896, 909 (N.D. Ill. 2014) (quoting Wal-Mart Stores,

           Inc., 564 U.S. at 352). 21        The evidence supports a finding that hiring managers exercised

           discretion and determined what factors to apply in setting starting pay. The existence of a factor

           that may or may not be used is not “common direction” and there is no evidence that Nike



           21
              Additionally, prior pay data for either men or women employed at Nike was unavailable for the analysis. This
           reinforces that plaintiffs’ experts presumed prior pay must be the reason behind the aggregated lower starting pay.


           Page 44 - FINDINGS & RECOMMENDATION



                                                                                                                    ER-196
(186 of 298), Page 186 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 186 of 298




           executives directed their hiring managers to use that factor. Generalized statistics notwithstanding,

           “it is quite unbelievable that all managers would exercise their discretion in a common way without

           some common direction.” Wal-Mart Stores, Inc. 564 U.S. at 356. That an intervening change in

           the law required Nike to issue directives not to use the factor is not evidence of a prior directive

           requiring its use.22

                    In Olean, plaintiff sought class certification for price fixing where the common practice

           was already established via a conspiracy and thus the use of a common aggregated model to show

           class-wide impact was appropriate. See Olean Wholesale Grocery Coop., 31 F.4th at 661 (DOJ

           investigation uncovered a price-fixing scheme among tuna suppliers and Bumble Bee and StarKist,

           and three tuna industry executives pleaded guilty to the conspiracy); id. at 685 (statistical evidence

           capable of providing class-wide proof, sufficient to sustain a jury verdict on antitrust impact for

           the entire class).

                    While plaintiffs offer evidence of impact, they fail to establish a common mode of

           exercising discretion applied to virtually all hiring decisions made at Nike headquarters.

           Plaintiffs’ theory is that use of prior pay or obtaining pay history resulted in women receiving

           disproportionately lower pay than men despite similar qualifications. However, because of the

           discretion afforded hiring managers, during the brief period in which such data could have been

           22
              Plaintiffs assert they need not prove the existence of the challenged practice at this stage, merely that their evidence
           is capable of proving a key element on a class-wide basis. See Maney v. State, 2022 WL 986580, at *18 (D. Or. Apr.
           1, 2022) (“based on Plaintiffs' theory of the case, they will be able to rely on the same evidence of centralized policies,
           practices, and decisions to attempt to prove that Defendants' alleged deliberate indifference and negligence caused the
           class members' injuries. Whether or not Plaintiffs can so prove is a merits question for trial, but these common
           questions predominate over individual questions for the purpose of class certification.”). However, the Court must
           resolve factual disputes at the certification stage regarding whether starting pay decisions were at the hiring manager
           level or at the highest level of Nike management. Plaintiffs’ theory is that differences in starting pay resulted in the
           disparate impact but resolving that question will require individualized inquiries as to whether each hiring manager
           utilized prior pay to set that pay. Plaintiffs would not just place the issue of determining the merits of its case to the
           jury but leave to the jury whether plaintiffs establish commonality. That is an issue the Court must decide before
           certifying the class.

           Page 45 - FINDINGS & RECOMMENDATION



                                                                                                                            ER-197
(187 of 298), Page 187 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 187 of 298




           used, for each putative class member it will be necessary to determine did the applicant provide

           the salary data or did the hiring manager obtain it from another source and did the hiring manager

           use such data to set pay. The evidence already shows that some hiring managers did not use such

           data in the hiring process, while also showing some managers had the data. Accordingly, it is

           necessary to resolve not just whether the use of such data had a disparate impact (plaintiffs’ theory)

           but whether each plaintiff was subject to such treatment. Simply resolving the issue of whether

           the data caused the disparate impact will not resolve a common question, it will instead turn on

           individualized inquiries. The resolution of those individualized inquires will then present the

           added complication of whether there is some other reason for the disparate pay, in the aggregate.

           Of course, offering a different reason for the pay differential (presumably one that is legitimate

           and nondiscriminatory) could itself present a common question. Nonetheless, in this case, it is

           first necessary to delve into each plaintiff’s hiring process to determine what happened that may

           have caused any disparate impact. The failure to point to a common and required policy in the

           hiring process precludes a common analysis.

                  Plaintiffs attempt to certify a class of over 5,200 women in widely varying job positions

           with myriad qualifications from entry professionals to senior directors. There is insufficient

           evidence that starting pay was a required factor in making starting pay decisions throughout all

           these varied jobs. Plaintiffs fail to establish a common question of law or fact capable of class-

           wide resolution for starting pay and their disparate impact claims.

                                  2.      Pay Increases and Bonuses

                  Plaintiffs assert that Nike had a policy of calculating merit awards and pay increases based

           on a percentage of base pay and that this policy exacerbates the starting pay gap based on the



           Page 46 - FINDINGS & RECOMMENDATION



                                                                                                         ER-198
(188 of 298), Page 188 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 188 of 298




           purported policy of using prior pay to set starting pay.

                   The evidence again establishes considerable discretion on the part of managers and

           manager+1, with some managers providing a higher percentage increase to an employee with the

           same CFE rating as another employee if one of the employee’s base pay is further from the

           midpoint.

                   Dr. Neumark opines:

                   This starting pay gap persists into the class period, during which women are paid
                   less than men who are doing substantially similar work and have similar
                   qualifications and performance. This happens because, after being hired, merit pay
                   increases and bonuses for women and men with similar performance are based on
                   the same percentage pay increase relative to their base pay, which perpetuates the
                   starting pay gap.

           ECF 149-2 at p. 4.23

                   Dr. Lundquist opines:

                   In addition to the problem of setting starting pay based on prior pay, Nike awarded
                   merit increases using a percentage increase approach based on performance ratings
                   from 2015 to 2018 …. This approach is problematic because gender differences
                   in starting salary tend to be perpetuated, and sometimes exacerbated, over time
                   when increases are based on a percentage of base pay …. These differences can
                   be exacerbated both within the current job and magnified in promotional increase
                   decisions which typically also are based on a percentage of pay . . . The issues with
                   percentage increases in merit decisions discussed above are also applicable to
                   Nike’s annual bonus plan, or PSP, which determined payouts based on percentage
                   of base pay…. As with merit increases, a reward based on a percentage of the
                   employee’s base pay will continue to exacerbate existing gender differences in pay.

           ECF 148-1 at pp. 33-35.

                   Plaintiffs point to a company-wide policy of using percentages of base pay for increases,

           but to the extent that this policy results in a disparate impact it requires Nike to also have a


           23
              Dr. Neumark also opines that the purported policy of hiring women into lower job levels and promoting them more
           slowly further exacerbates the disparate impact of the use of a percentage of base pay to calculate increases and
           bonuses. ECF 149-2 at p. 5. The placement and fill strategy is addressed in the next sections.

           Page 47 - FINDINGS & RECOMMENDATION



                                                                                                                   ER-199
(189 of 298), Page 189 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 189 of 298




           company-wide policy of using prior pay to set starting salaries. As noted above, the evidence

           fails to demonstrate that Nike had such a policy. Moreover, managers had considerable discretion

           and could adjust the pay percentage to accommodate different employees with lower base pay in

           the same CFE rating. They had discretion to account for lower base pay, and upper-level

           management involvement was generally limited to manager+1. As noted above, the absence of a

           common mode of exercising discretion that pervades throughout Nike headquarters prevents a

           finding of commonality. See, e.g., Moussouris v. Microsoft Corp., 2018 WL 3328418, at *19-21

           (W.D. Wash. June 25, 2018), aff'd, 799 F. App'x 459 (9th Cir. 2019) (use of common criteria for

           pay determinations insufficient where the class was large involving myriad positions along with

           discretion of managers to make decisions within the framework).

                                     3.       Promotions

                   Until 2018, employees in Bands L through S could receive promotions noncompetitively.

           Dr. Neumark opines women at Nike experience a 6.26% lower rate of promotion, despite similar

           qualifications and performance ratings, when promotions are made noncompetitively. ECF 149-

           2 at pp. 36-38, ¶ 59 and Table R8.

                   However, the evidence again demonstrates managers exercise discretion in determining

           whether to promote noncompetitively.              In addition, beyond a manager+1, upper-level Nike

           executives played no role in that decision.24 When upper-level executives did get involved in

           response to employee surveys, it was to require all E Band and below jobs to be posted for a

           competitive hiring process. As with the other purported company-wide policies above, the



           24
             Plaintiffs did present an instance in which Talent Acquisition posted competitively for a U Band position in 2016.
           ECF 159-1 at p. 1. However, the record does not support a broad HR policy enforced upon hiring managers to post
           non-competitive positions.

           Page 48 - FINDINGS & RECOMMENDATION



                                                                                                                     ER-200
(190 of 298), Page 190 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 190 of 298




           discretion afforded managers with little upper management involvement is insufficient to present

           a common question that will resolve an issue relative to the entire class.

                                  4.     Initial Job Assignments

                  Plaintiffs assert Nike has a policy of hiring women into lower job levels than men despite

           more education and work experience. Expert Report of Dr. David Neumark at ¶ 102 (ECF 149-

           1 at p. 50). Plaintiffs primarily assert the policy is company-wide based on a Nike document

           which stated: “All decisions related to hiring should be approved by Talent Acquisition.” ECF

           159-2 at p. 18. As noted previously, this statement is made in the very specific context of bribery

           and corruption. The full context is as follows, which appears in a code of conduct document under

           the heading “BRIBERY AND CORRUPTION”:

                  The rule is simple:
                  Don 't bribe anybody, anytime, for any reason.

                  We do not offer, promise, give or accept money or anything of value to or from
                  third parties to get an improper business advantage. Any of these actions constitutes
                  a bribe. Anti-bribery laws apply in every country where Nike does business.
                  Criminal penalties to you and Nike for violating these laws are severe. There is no
                  monetary threshold, so even a small or minor improper gift or donation could be
                  construed as a bribe. Maintain accurate and transparent books and records, so all
                  payments can be honestly described and documented. We take particular care
                  when working with or evaluating prospective third parties, including agents who
                  may interact with government officials or business partners on behalf of Nike. We
                  don't use them to do anything that is prohibited by law, our Code or Nike policies.

                  WHAT I F. . .?
                  I know someone who works in the Department of Customs. This person asked if I
                  would be willing to hire their relative as an intern for the summer even though I
                  know they aren't qualified. Would it be OK if I offer the relative a position or
                  recommend them to another department for a position?
                  No. All decisions relating to hiring should be approved by Talent Acquisition.
                  Offering the official's relative a position or ensuring they receive special
                  consideration in the hiring process could be considered a form of bribery. Please
                  direct all requests for employment or internships to Talent Acquisition or reach out
                  to Human Resources or the Ethics & Compliance Office for help.


           Page 49 - FINDINGS & RECOMMENDATION



                                                                                                      ER-201
(191 of 298), Page 191 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 191 of 298




                  We are in the middle of negotiating a big contract with a potential vendor. The
                  vendor just gave me NBA courtside tickets. Is it OK to accept the tickets ?
                  Probably not . Accepting anything of value - including event tickets, gifts, excessive
                  meals or hospitality - from a vendor while negotiating a contract with them creates
                  a potential conflict of interest and could also violate our policy on gifts, hospitality
                  and other payments. Discuss with your manager to determine the best course of
                  action to take.

           ECF 159-2 at p. 18 (emphasis added).

                  This does not support a conclusion that all hiring decisions must be approved by Talent

           Acquisition. Indeed, the record supports a finding that, while hiring managers attend training

           sessions to understand guidelines, those managers make the decision on posting open positions.

           Even though a hiring manager may work with Human Resources to set the level for the posting, it

           cannot be changed once approved and the record does not support an effort to channel women into

           applying for postings at a lower level once an application is received. To the extent that hiring

           managers tend to deny applications from women for the higher-level jobs in favor of men, that is

           again a function of discretion that does not involve the application of any required company policy

           or upper management. The presence of centralized guidelines along with discretion is insufficient

           to present a common question — the resolution of which will apply to all putative class members.

           Whether any given candidate was channeled into a lower paying job requires an individualized

           assessment. See Moussouris, 2018 WL 3328418, at *19-21 (use of common criteria for pay

           determinations insufficient where managers exercise discretion within that framework).

                  Plaintiffs fail to establish the requirement of commonality for the disparate impact claims.

                          b.     Disparate Treatment Claims

                  To demonstrate commonality in a disparate treatment claim, plaintiffs need not identify a

           specific company-wide employment practice, rather they must provide evidence of a “systemwide



           Page 50 - FINDINGS & RECOMMENDATION



                                                                                                         ER-202
(192 of 298), Page 192 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 192 of 298




           pattern or practice” of pervasive discrimination against the class, such that the discrimination is

           “the regular rather than the unusual practice.” Kassman v. KPMG LLP, 416 F. Supp. 3d 252, 281

           (S.D. N.Y. 2018) (quoting Int'l Bhd. of Teamsters v. United States, 431 U.S. 324, 336 (1977)).

           Plaintiffs may satisfy their burden of showing a pattern or practice of discrimination through

           statistics alone. Teamsters, 431 U.S. at 339–40.25 Still, plaintiffs must show discrimination was

           the company's standard operating procedure. Wal-Mart Stores, Inc., 564 U.S. at 352 n.7.

                    As in the Wal-Mart case, Nike’s announced policy forbids discrimination. In addition, as

           in Wal-Mart, plaintiffs presented significant statistical evidence of disparities between men and

           women. Nonetheless, Wal-Mart concluded:

                    Even if they are taken at face value, these studies are insufficient to establish that
                    respondents' theory can be proved on a classwide basis. In Falcon, we held that one
                    named plaintiff's experience of discrimination was insufficient to infer that
                    “discriminatory treatment is typical of [the employer's employment] practices.” 457
                    U.S., at 158, 102 S.Ct. 2364. A similar failure of inference arises here. As Judge
                    Ikuta observed in her dissent, “[i]nformation about disparities at the regional and
                    national level does not establish the existence of disparities at individual stores, let
                    alone raise the inference that a company-wide policy of discrimination is
                    implemented by discretionary decisions at the store and district level.” 603 F.3d, at
                    637. A regional pay disparity, for example, may be attributable to only a small set
                    of Wal–Mart stores, and cannot by itself establish the uniform, store-by-store
                    disparity upon which the plaintiffs' theory of commonality depends.

                    There is another, more fundamental, respect in which respondents' statistical proof
                    fails. Even if it established (as it does not) a pay or promotion pattern that differs
                    from the nationwide figures or the regional figures in all of Wal–Mart's 3,400

           25
              In a case involving discretion among many decisionmakers, use of statistics to demonstrate common answers to
           the question of whether discrimination occurred requires something more to show a pattern and practice of
           discrimination. In Wal-Mart Stores, the Supreme Court found that, despite statistical evidence, plaintiffs could not
           establish commonality for purposes of their disparate treatment claims because the discretion afforded managers
           prevented finding a uniform corporate culture of bias against women. Wal-Mart Stores, Inc., 564 U.S. at 345, 352
           (resolving a Title VII claim focuses on the reason for a particular employment decision that must have a uniform
           answer to permit class action status); see also Stephanie S. Silk, More Decentralization, Less Liability: The Future
           of Systemic Disparate Treatment Claims in the Wake of Wal-Mart v. Dukes, 67 U. Miami L. Rev. 637, 656 (2013)
           (after the Supreme Court's rejection of this evidence in Dukes, it seems increasingly unlikely that plaintiffs asserting
           systemic employment discrimination claims will be able to meet the evidentiary threshold necessary to prove a
           pattern or practice of discrimination especially when dealing with large corporations).

           Page 51 - FINDINGS & RECOMMENDATION



                                                                                                                          ER-203
(193 of 298), Page 193 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 193 of 298




                   stores, that would still not demonstrate that commonality of issue exists. Some
                   managers will claim that the availability of women, or qualified women, or
                   interested women, in their stores' area does not mirror the national or regional
                   statistics. And almost all of them will claim to have been applying some sex-neutral,
                   performance-based criteria—whose nature and effects will differ from store to
                   store. In the landmark case of ours which held that giving discretion to lower-level
                   supervisors can be the basis of Title VII liability under a disparate-impact theory,
                   the plurality opinion conditioned that holding on the corollary that merely proving
                   that the discretionary system has produced a racial or sexual disparity is not enough.
                   “The plaintiff must begin by identifying the specific employment practice that is
                   challenged.” … That is all the more necessary when a class of plaintiffs is sought
                   to be certified. Other than the bare existence of delegated discretion, respondents
                   have identified no “specific employment practice”—much less one that ties all their
                   1.5 million claims together. Merely showing that Wal–Mart's policy of discretion
                   has produced an overall sex-based disparity does not suffice.

           Wal-Mart Stores, Inc., 564 U.S. at 356–57.

                   While this case does not involve 1.5 million putative class members, it does involve over

           5200 women employed in a vast array of positions from apparel designers to pilots and mechanics

           in many separate departments at Nike’s sprawling world headquarters. And as noted above, Nike

           has delegated substantial authority for hiring and promotion within each of those departments.

           Plaintiffs’ statistical analysis, while accounting for certain human capital, does not account for the

           differences from department to department and job to job. Plaintiffs’ experts merely pooled data

           across all 1,200 jobs and reported a single percentage in difference between men and women in all

           jobs combined. See ECF 149-1 at p. 6. The disparities might be attributable to only a small set

           of Nike managers, rather than a standard Nike operating procedure. See Deposition of Deposition

           of David Neumark, Ph.D. at p. 297 (ECF 182 at p. 91) (it is possible that there are a couple or a

           handful of large job subfamily and level groupings that are driving the negative results). As noted

           above, the aggregated data presume commonality, however, it does not present a common mode

           of proving it.



           Page 52 - FINDINGS & RECOMMENDATION



                                                                                                         ER-204
(194 of 298), Page 194 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 194 of 298




                     Plaintiffs also allege a standard operating procedure exists at Nike based on anecdotal

           evidence.     Plaintiffs present approximately 30 complaints from the Starfish Survey and no

           declarations from opt-in plaintiffs. Given the size of the putative class, this is insufficient to

           demonstrate a standard operating procedure of discrimination.           Courts generally require a

           significant amount of anecdotal evidence to demonstrate commonality and even accepting the 30

           complaints, that amount is insignificant. Compare Teamsters, 431 U.S. at 331, 338 (1 complaint

           per 8 class members), Brown. Nucor Corp., 785 F.3d 895, 913 (4th Cir. 2015) (1 for every 6.25

           class members); Rollins v. Traylor Bros., 2016 WL 258523, at *5, 7-8 (W.D. Wash Jan. 21, 2016)

           (about 1 for every 4 class members). Here, by contrast, there is 1 complaint per 173 class

           members. Plaintiffs’ assessment of Nike’s response to the Starfish Survey otherwise fails to show

           Nike had a standard operating procedure of failing to address discrimination. Plaintiffs fail to

           establish commonality sufficient to maintain a class action with respect to their disparate treatment

           claims.

                            c.     Oregon Equal Pay Act Claim

                     To establish a claim under OEPA, plaintiffs must show they were performing work

           comparable to that of men and were paid less than the male comparators. Smith v. Bull Run Sch.

           Dist. No. 45, 80 Or. App. 226, 229, 722 P.2d 27, 29 (1986). “Work of comparable character”

           means work that requires substantially similar knowledge, skill, effort, responsibility and working

           conditions in the performance of work, regardless of job description or title. Or. Rev. Stat. §

           652.210(16).

                     Plaintiffs assert the expert opinions of Drs. Neumark and Lundquist demonstrate that, for

           a given set of job requirements men were paid more than women even with the same level of



           Page 53 - FINDINGS & RECOMMENDATION



                                                                                                       ER-205
(195 of 298), Page 195 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 195 of 298




           knowledge, experience, scope, effort, and responsibility. However, the reports do not adequately

           address job-to-job work and are too generalized to demonstrate work of comparable character. Nor

           do plaintiffs even identify specific job comparators for the named plaintiffs. And, as noted above,

           plaintiffs do not present a common thread as to the reason for the purported discrimination.

           Accordingly, plaintiffs fail to establish the requirement of commonality sufficient to support a

           class action with respect to their OEPA claim.

                  3. and 4.       Typicality and Adequacy of Representation

                  The typicality prerequisite of Rule 23(a) is fulfilled if "the claims or defenses of the

           representative parties are typical of the claims or defenses of the class." Fed. R. Civ. P. 23(a)(3).

           Under the Rule's permissive standards, representative claims are "typical" if they are reasonably

           co-extensive with those of absent class members; they need not be substantially identical.

           Hanlon, 150 F.3d at 1020. In determining typicality, the court asks, “whether other members have

           the same or similar injury, whether the action is based on conduct, which is not unique to the

           named plaintiffs, and whether other class members have been injured by the same course of

           conduct.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984 (9th Cir. 2011) (internal quotation

           marks omitted) (quoting Hanon v. Dataprods. Corp., 976 F.2d 497, 508 (9th Cir. 1992)).

           Individualized defenses applicable to class representatives do not preclude a finding of typicality

           unless there is a danger that absent class members will suffer if their representative is preoccupied

           with defenses unique to it. Hanon, 976 F.2d at 508.

                  To satisfy constitutional due process concerns, absent class members must be
                  afforded adequate representation before entry of a judgment which binds them. See
                  Hansberry v. Lee, 311 U.S. 32, 42-43, 85 L. Ed. 22, 61 S. Ct. 115 (1940). Resolution
                  of two questions determines legal adequacy: (1) do the named plaintiffs and their
                  counsel have any conflicts of interest with other class members and (2) will the
                  named plaintiffs and their counsel prosecute the action vigorously on behalf of the


           Page 54 - FINDINGS & RECOMMENDATION



                                                                                                        ER-206
(196 of 298), Page 196 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 196 of 298




                  class? See Lerwill v. Inflight Motion Pictures, Inc., 582 F.2d 507, 512 (9th Cir.
                  1978).

           Hanlon, 150 F.3d at 1020.

                  Because the evidence establishes discretion on the part of hiring managers in setting pay,

           promoting, and granting pay increases and bonuses, the inquiry will be fact intensive and

           individualized for all putative plaintiffs. Commonality and typicality requirements of Rule 23(a)

           tend to merge. Both serve as guideposts for determining whether, under the particular

           circumstances, maintenance of a class action is economical and whether the named plaintiff's claim

           and the class claims are so interrelated that the interests of the class members will be fairly and

           adequately protected in their absence. Those requirements therefore also tend to merge with the

           adequacy-of-representation requirement, although the latter requirement also raises concerns about

           the competency of class counsel and conflicts of interest. Wal-Mart Stores, Inc.,564 U.S. at 338

           n.5. Accordingly, plaintiffs fail to meet these requirements sufficient to support a class action.

                  5.      Predominance and Superiority

                  A class action may be maintained only if one of three factors noted in Fed. R. Civ. P. 23(b)

           is present. Plaintiffs rely primarily on Rule 23(b)(3) requiring that:

                  questions of law or fact common to class members predominate over any questions
                  affecting only individual members, and that a class action is superior to other
                  available methods for fairly and efficiently adjudicating the controversy. The
                  matters pertinent to these findings include:

                          (A) the class members' interests in individually controlling the
                          prosecution or defense of separate actions;
                          (B) the extent and nature of any litigation concerning the
                          controversy already begun by or against class members;
                          (C) the desirability or undesirability of concentrating the litigation
                          of the claims in the particular forum; and
                          (D) the likely difficulties in managing a class action.



           Page 55 - FINDINGS & RECOMMENDATION



                                                                                                       ER-207
(197 of 298), Page 197 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 197 of 298




           Fed. R. Civ. P. 23(b)(3).26

                     "The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently

           cohesive to warrant adjudication by representation.” Amchem Prods. v. Windsor, 521 U.S. 591,

           623 (1997).

                     Rule 23(b)(3) focuses on the relationship between the common and individual
                     issues. When common questions present a significant aspect of the case and they
                     can be resolved for all members of the class in a single adjudication, there is clear
                     justification for handling the dispute on a representative rather than on an individual
                     basis. …[T]the examination must rest on legal or factual questions that qualify
                     each class member's case as a genuine controversy, questions that preexist any
                     settlement.

           Hanlon, 150 F.3d at 1022.

                     The superiority inquiry under Rule 23(b)(3) requires determination of whether the

           objectives of the particular class action procedure will be achieved in the particular case. Id. at

           1023. This determination necessarily involves a comparative evaluation of alternative mechanisms

           of dispute resolution. Id.

                     The predominance standard is even more stringent than commonality. As noted above,

           common questions do not predominate and thus pursuit of individual claims is the better method

           to litigate claims of discrimination. Accordingly, plaintiffs’ motion to certify the class should be

           denied.



                                                            CONCLUSION




           26
              Plaintiffs also assert Rule 23(b)(2) is satisfied because they seek injunctive relief to halt the purported company-
           wide polices that result in discrimination. However, as noted, the evidence does not support a finding of common
           issues about the purported policies. Thus, plaintiffs would necessarily seek to enjoin individual hiring managers from
           engaging in the allegedly discriminatory conduct. Accordingly, plaintiffs fail to present a class action that may be
           maintained for injunctive relief.

           Page 56 - FINDINGS & RECOMMENDATION



                                                                                                                        ER-208
(198 of 298), Page 198 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 198 of 298




                  Plaintiffs’ motion to certify the class (ECF 146) should be denied. Defendant’s motions

           to exclude the opinions of Kathleen Lundquist and David Neumark (ECF 179, 181) should be

           denied. Plaintiffs’ motions to rule as inadmissible parts of Chester Hanvey’s and Ali Saad’s

           expert reports (ECF 192, 221) should be denied.

                  This recommendation is not an order that is immediately appealable to the Ninth Circuit

           Court of appeals. Any notice of appeal pursuant to Rule 4(a)(1), Federal Rules of Appellate

           Procedure, should not be filed until entry of the district court's judgment or appealable order. The

           parties have fourteen (14) days from the date of service of a copy of this recommendation within

           which to file specific written objections with the court. Thereafter, the parties shall have fourteen

           (14) days within which to file a response to the objections. Failure to timely file objections to any

           factual determination of the Magistrate Judge will be considered a waiver of a party's right to de

           novo consideration of the factual issues and will waive a party's right to appellate review of the

           findings of fact in an order or judgment entered pursuant to this recommendation.

                  DATED this 22nd day of November, 2022.



                                                                  /s/ Jolie A. Russo
                                                                 ________________________________
                                                                 JOLIE A. RUSSO
                                                                 United States Magistrate Judge




           Page 57 - FINDINGS & RECOMMENDATION



                                                                                                       ER-209
(199 of 298), Page 199 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 199 of 298

                             Case 3:18-cv-01477-JR               Document 290-4            Filed 11/16/22         Page 1 of 37



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                                                                              May 7, 2020

                                                                                                                    Via E-Mail Only
                                                                                                      Gary_Magnuson@ord.uscourts.gov
                       Hon. Jolie A. Russo
                       Mark O. Hatfield United States Courthouse
                       Room 1027
                       1000 S.W. Third. Avenue
                       Portland, Oregon 97204

                                      Re:   Kelly Cahill, et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR
                                            Enforcement of the March 23, 2020 Discovery Order (ECF No. 99)

                       Dear Judge Russo:

                                Plaintiffs request assistance enforcing this Court’s March 23, 2020 Order (Ex. A,
                       attached hereto, ECF No. 99, “Order”). Nike is violating the Order because the Order directs
                       Nike to produce all “names and employee ID numbers of employees and witnesses in already
                       produced . . . workplace complaint documents” and Nike refuses to produce all such names and
                       ID numbers. 1 The Order’s ruling also states: “Plaintiff’s motion to compel (as stated in their
                       letter to the Court dated March 4, 2020) is granted.” Id. at 8.

                               A month after the Order, on April 24, 2020, Nike made its revised production of
                       documents concerning workplace complaints. Nike states it removed redactions of the names of
                       complainants and witnesses. 2 Nike admits, though, that it intentionally kept redacted the names
                       and ID numbers of the subjects of workplace complaints (“subjects”). See e.g., Ex. B, attached
                       hereto (examples of already produced documents concerning workplace complaints that still
                       have redactions). 3 Plaintiffs have made several attempts to get Nike to comply with the Order,
                       but Nike has repeatedly confirmed that it will not remove the redactions of subjects’ names.


                       1
                         On April 9, 2020, Nike filed Objections to the part of the Order regarding employment data but
                       not to the part of the Order regarding documents concerning workplace complaints. ECF No.
                       101. Plaintiffs filed their Opposition to Nike’s Objections on April 20, 2020 (ECF Nos. 102-3),
                       and Nike filed a Reply in Support of its Objections on May 4, 2020 (ECF No. 104).
                       2
                         Nike removed redactions of names of at least some non-subject complainants and witnesses,
                       but Plaintiffs cannot confirm whether Nike has removed all such redactions because Nike did not
                       provide a redaction log for these documents.
                       3
                         Exhibit B contains documents Nike marked as “Confidential” and as “Highly Confidential –
                       Attorneys’ Eyes Only,” but, pursuant to paragraphs 7(e) and 8 of the Protective Order (ECF No.

                     300 Lakeside Drive, Suite 1000, Oakland, CA 94612-3534      Tel 510. 763. 9800      Fax 510. 835. 1417   www.gbdhlegal.com
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                                                                                                                                 ER-210
(200 of 298), Page 200 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 200 of 298

                       Case 3:18-cv-01477-JR         Document 290-4        Filed 11/16/22    Page 2 of 37


                                                                    -2-                                   May 7, 2020


                           Nike’s refusal to identify the subjects of the complaints violates the Court’s clear Order.
                    Subjects are both employees and witnesses, and the Order directs Nike to “produce names and
                    employee ID numbers of employees and witnesses in already produced . . . workplace complaint
                    documents.” Order at 8.

                            Indeed, Nike fought against and lost this exact issue already. In its opposition to
                    Plaintiffs’ March 4 letter to this Court, Nike recognized that Plaintiffs sought subjects’ names:
                    “Plaintiffs also assert that they need the names of non-party complainants, subjects, and third-
                    party witnesses.” Nike’s March 13, 2020 Letter to the Court at 7. Nike’s opposition letter
                    argued against disclosing subjects’ names. E.g., id. (arguing that “Plaintiffs can obtain
                    [anecdotal] evidence through the complaint files themselves; knowing … whom the complaints
                    were about has no impact on this.”). After considering the letters and hearing argument, the
                    Court ruled: “Plaintiff’s motion to compel (as stated in their letter to the Court dated March 4,
                    2020) is granted.” Order at 8 (emphasis added).

                             In addition, Nike has not removed any redactions of any employee or witness names in
                    several already produced documents concerning workplace complaints. Plaintiffs provided Nike
                    with examples of these documents, including Bates Numbers, on April 25 and May 1, 2020.
                    Although Plaintiffs repeatedly asked Nike to re-produce these documents without redactions,
                    Nike has not said when or if it will remove redactions and re-produce these documents.
                    Moreover, Nike is more than thirty days past the deadline established by Local Rule 37-2, which
                    states, “[u]nless otherwise directed by the Court, the party against whom an order to compel has
                    been entered must comply within 14 days after the date of entry of the order.”

                           Plaintiffs thus request an order: (a) finding Nike violated the Court’s March 23, 2020
                    Order, and (b) directing Nike to complete its production in compliance with the Court’s March
                    23, 2020 Order (ECF No. 99) within one week of entry of the order requested herein.




                    82), the Court and its staff can review the documents. However, if the Court intends to put this
                    document on the docket, please seal Exhibit B pursuant to paragraph 4 of the Protective Order.


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                                                                            Goldstein Decl. Ex. 9, Page 2 of 37
                                                                                                            ER-211
(201 of 298), Page 201 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 201 of 298

                       Case 3:18-cv-01477-JR     Document 290-4      Filed 11/16/22   Page 3 of 37


                                                               -3-                                May 7, 2020


                                                          Respectfully submitted,

                                                          /s/ Byron Goldstein
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                                                                                                     ER-212
(202 of 298), Page 202 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 202 of 298

                  Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 4 of 37




                              Exhibit A




                                                             Goldstein Decl. Ex. 9, Page 4 of 37
                                                                                            ER-213
(203 of 298), Page 203 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 203 of 298

                       Case 3:18-cv-01477-JR               Document 290-4             Filed 11/16/22       Page 5 of 37

                         Case 3:18-cv-01477-JR               Document 99          Filed 03/23/20        Page 1 of 8




                                                UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF OREGON

               KELLY CAHILL, SARAH JOHNSTON,                                                                3:18-cv-1477-JR
               LINDSAY ELIZABETH, and HEATHER
               HENDER, individually and on behalf of others
               similarly situated,                                                                                    ORDER

                                                            Plaintiffs,

                                          v.

               NIKE, INC., an Oregon Corporation,

                                                           Defendant.

              RUSSO, Magistrate Judge:

                       Named plaintiffs Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and Heather Hender

              bring this putative class and collective action alleging that defendant Nike systematically

              discriminates against them and other similarly situated women at Nike headquarters regarding

              salary and promotions. Several additional plaintiffs have filed consents to join this action. The

              Court has previously denied Nike’s motion to dismiss most of the class and collective claims.1


              1 Nike did not seek dismissal of the class claims regarding the disparate impact claim.

              Page 1 - ORDER
                                                                                       Goldstein Decl. Ex. 9, Page 5 of 37
                                                                                                                        ER-214
(204 of 298), Page 204 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 204 of 298

                      Case 3:18-cv-01477-JR         Document 290-4         Filed 11/16/22       Page 6 of 37

                      Case 3:18-cv-01477-JR          Document 99         Filed 03/23/20    Page 2 of 8




                    On March 4, 2020, plaintiffs submitted a letter to the court seeking an order to compel

             Nike to provide identifying information for employees in already produced employment data and

             workplace complaint documents. On March 19, 2020, the Court heard argument on the request

             and for the reasons stated below, the request is granted.

                    At this stage, the Court has not certified a class action for any claims.

                    The proposed class includes:

                    All female current and former Nike employees at Nike Headquarters in Oregon,
                    who were employed by Nike at any time from three years prior to opting-in
                    through the resolution of this action, in a salaried, corporate position that was or is
                    a lower-level position than Vice-President.

             First Amended Complaint (FAC) (ECF #42) at ¶ 165.

                    Plaintiffs allege defendant has engaged in systemic sex discrimination against the

             collective/class members by paying them less than male employees with substantially equal job

             duties requiring substantially similar skill, effort, and responsibility performed under similar

             working conditions. Id. at ¶ 167. Plaintiffs further allege defendant has contributed to, and

             perpetuated sex-based pay disparities through common policies, patterns, or practices, including

             but not limited to those relating to starting salary and “band level,” annual ratings, promotions,

             performance management policies or practices, centralized decision-making, and a work

             environment hostile to women. Id. at ¶ 168.

                    The case is still in the pre-certification discovery phase.

                    Whether or not discovery will be permitted in a [class action] lies within the
                    sound discretion of the trial court. See Berland v. Mack, 48 F.R.D, 121, 126 (S. D,
                    N.Y. 1969). In determining whether to grant discovery [in connection with
                    determining whether class-treatment is appropriate in a putative class action,] the
                    court must consider its need, the time required, and the probability of discovery


             Page 2 - ORDER
                                                                            Goldstein Decl. Ex. 9, Page 6 of 37
                                                                                                              ER-215
(205 of 298), Page 205 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 205 of 298

                       Case 3:18-cv-01477-JR        Document 290-4        Filed 11/16/22     Page 7 of 37

                         Case 3:18-cv-01477-JR       Document 99       Filed 03/23/20     Page 3 of 8




                      resolving any factual issue necessary for the determination. The propriety of a
                      class action cannot be determined in some cases without discovery, as, for
                      example, where discovery is necessary to determine the existence of a class or set
                      of subclasses. To deny discovery in a case of that nature would be an abuse of
                      discretion. Where the necessary factual issues may be resolved without discovery,
                      it is not required.


             Kamm v. California City Development Co., 509 F.2d 205, 209-210 (9th Cir. 1975) (footnote

             omitted).

                      Where discovery is necessary for the class-treatment determination, it is an abuse of

             discretion to make the determination without permitting such discovery. See id. at 210. However,

             while “in some cases a district court should allow discovery to aid the determination of whether a

             class action is maintainable, the plaintiff bears the burden of advancing a prima facie showing

             that the class action requirements of Fed. R. Civ. P. 23 are satisfied or that discovery is likely to

             produce substantiation of the class allegations. Absent such a showing, a trial court's refusal to

             allow class discovery is not an abuse of discretion.” Mantolete v. Bolger, 767 F.2d 1416, 1424

             (9th Cir. 1985), citing Doninger v. Pacific Northwest Bell, Inc., 564 F.2d 1304, 1313 (9th Cir.

             1977).

                      “At the pre-class certification stage, discovery in a putative class action is generally

             limited to certification issues: e.g., the number of class members, the existence of common

             questions, the typicality of claims, and the representative's ability to represent the class.” Dysthe

             v. Basic Research, L.L.C., 273 F.R.D. 625 (C.D. Cal. 2011), citing Oppenheimer Fund, Inc. v.

             Sanders, 437 U.S. 340, 359 (1978).

                      In October, the Court addressed plaintiffs’ request to compel (1) documents related to



             Page 3 - ORDER
                                                                           Goldstein Decl. Ex. 9, Page 7 of 37
                                                                                                           ER-216
(206 of 298), Page 206 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 206 of 298

                        Case 3:18-cv-01477-JR      Document 290-4        Filed 11/16/22     Page 8 of 37

                        Case 3:18-cv-01477-JR       Document 99       Filed 03/23/20     Page 4 of 8




             Nike’s public statements about sex discrimination allegations raised in this action; (2) complaints

             of sex discrimination made by putative class members to Nike and Nike’s responses, if any; (3)

             three former high-level Nike executives who plaintiffs have specifically alleged contributed to or

             participated in sex discrimination; and (4) applicable insurance policies. The Court ordered as

             follows:

                    After considering the parties' comprehensive briefing and oral argument on
                    October 30, 2019, plaintiffs' September 27, 2019 letter request to the Court to
                    compel precertification discovery is Granted in Part and Denied in Part as follows:
                    1) With respect to Nike's Public Statements on Discrimination (RFPs 39-43 and
                    47), Nike shall produce the statements themselves and the motion is denied with
                    respect to any further documentation regarding the public statements. However, to
                    the extent not already produced, Nike shall produce any uniform policies it
                    maintained during the relevant time periods regarding hiring, firing, pay,
                    promotions, and compensation systems; 2) With respect to documents concerning
                    sex discrimination, harassment, and hostile work environment complaints (RFPs
                    27, 29, and 45-46), the motion is granted regarding any such complaints made by
                    any named plaintiff or those putative plaintiffs who have already consented to join
                    and any other complainants to the extent such complaints involve compensation,
                    promotion, or performance reviews and specific complaints that male colleagues
                    received favorable treatment in those areas for the same work; 3) With respect to
                    the personnel records of former Nike executives Trevor Edwards, Daniel Tawiah,
                    and David Ayre (RFPs 34-38), the motion is granted to the extent the records
                    contain complaints of sexual harassment/discrimination linked to policies of
                    pay/promotions and job duties either by the named executives themselves or
                    regarding actions these executives may have taken to condone pay/promotion and
                    job duty discrimination decisions of lower level managers; and 4) With respect to
                    insurance policies (RFP 51) the motion is denied. All production pursuant to this
                    motion is subject to the Protective Order (82) entered in this case on June 17,
                    2019, as relevant and necessary.

             Order (ECF #89).

                    In producing documents responsive to the Court’s order, Nike removed or redacted

             identifying information from employment data related to workplace complaints, etc. Plaintiffs

             move for an order compelling Nike to produce the Identifying Information.            Nike objects


             Page 4 - ORDER
                                                                          Goldstein Decl. Ex. 9, Page 8 of 37
                                                                                                          ER-217
(207 of 298), Page 207 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 207 of 298

                      Case 3:18-cv-01477-JR         Document 290-4         Filed 11/16/22    Page 9 of 37

                       Case 3:18-cv-01477-JR         Document 99       Filed 03/23/20    Page 5 of 8




             alleging the anonymization of its data is appropriate because (1) the data contains

             highly-sensitive and confidential compensation, performance, and personnel records for

             thousands of individuals who have not consented to join this action, and many more who are

             outside of the putative class and collective altogether; and (2) Nike’s redaction of complainant,

             subject, and third-party witness names (none of whom are named or opt-in plaintiffs or the

             subject of plaintiffs’ FAC allegations) are from sensitive internal complaint files. It appears that

             Nike wants to prevent plaintiffs from accessing a link between employee names/contact

             information and the data already provided rather than objecting to potential class member

             employees identifying information.

                    Nike states it has produced approximately 995,000 personnel records for nearly 13,400

             current and former employees which include highly-sensitive personal and financial information

             detailing those 13,400 employees’ compensation (including merit increases, bonuses, and equity

             awards), as well as dates of birth, performance review ratings, promotions, and dates of leave,

             retirement, and termination, including whether the termination was involuntary. Nike asserts

             that given the Court has yet to conditionally certify a class, it should not be required to provide

             identifying information including names and employee ID numbers regarding the employees

             (who have not opted in) to protect their privacy interests.

                    Nike contends that plaintiffs have the data they need to analyze whether there is statistical

             evidence to support their class and collective claims, and the use of anonymized identifiers has

             no impact on their ability to analyze that data.       Plaintiffs assert they need the identifying

             information to help develop anecdotal evidence not captured in the raw data itself.



             Page 5 - ORDER
                                                                           Goldstein Decl. Ex. 9, Page 9 of 37
                                                                                                           ER-218
(208 of 298), Page 208 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 208 of 298

                       Case 3:18-cv-01477-JR               Document 290-4             Filed 11/16/22         Page 10 of 37

                         Case 3:18-cv-01477-JR               Document 99           Filed 03/23/20         Page 6 of 8




                      Nike argues the relevant case law might allow compelled class member names, contact

             information, dates of employment, and work locations, but does not allow a link between those

             names to the complaints provided. However, it does not appear that issue was discussed in most

             of the cases cited by Nike. 2              Courts may not allow access to employee names/contact

             information solely to "solicit others to participate," but will allow it, for example, to investigate

             whether defendants made a common decision regarding classification.                              Cedano v. Thrifty

             Payless, Inc., 2011 U.S. Dist. LEXIS 155956, at *33, 2011 WL 8609402 (D.Or. May 9, 2011).

                      Some courts have declined to require production of underlying identifying data due to

             privacy concerns pre-certification. For example, in Barret v. Forest Labs, Inc., the court noted:

                      There remains the question of the names of the employees whose employment
                      data is to be produced. As defendants suggest, some of the data to be revealed is
                      potentially quite sensitive. Although plaintiffs will undoubted have need for
                      disclosure of the names of collective members if their forthcoming certification
                      motion is granted, they fail to make a persuasive case for immediate disclosure of
                      all names at this stage. They will be free to seek partial or full disclosure
                      irrespective of whether their certification motion is granted, provided that they can
                      demonstrate a specific need for some or all of those names. But they have not yet
                      made that showing.

             Barrett v. Forest Labs., Inc., 2015 U.S. Dist. LEXIS 51495 at *8 (S.D.N.Y. April 8, 2015).

                      However, Barret, as noted in the quote above, indicates that such a link between the data

             and employee identifying information may nevertheless be discoverable pre-certification. In

             Wellens v. Daiichi Sankyo, Inc., the court identified what types of needs would justify disclosure

             of the names and linking information:



             2 See, e.g., Babbitt v. Albertson's, Inc., 1992 U.S. Dist. LEXIS 19091 at *1617 (N.D.Cal. December 1, 1992) (in
             ordering names, addresses, telephone numbers and social security numbers of current and past employees produced,
             the court noted a protective order was sufficient to protect privacy interests and the information could lead to further
             relevant evidence). The court did not address links to employment data or complaints, but other relevant evidence

             Page 6 - ORDER
                                                                                      Goldstein Decl. Ex. 9, Page 10 of 37
                                                                                                                              ER-219
(209 of 298), Page 209 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 209 of 298

                       Case 3:18-cv-01477-JR              Document 290-4           Filed 11/16/22         Page 11 of 37

                        Case 3:18-cv-01477-JR              Document 99          Filed 03/23/20        Page 7 of 8




                     discovery from putative class members may lead to anecdotal evidence not
                     captured in the pay and benefits data produced by Defendants, that such evidence
                     is important to bring discrimination claims "convincingly to life," and as such may
                     substantiate Plaintiffs' arguments for class certification. The court will therefore
                     exercise its discretion to permit discovery of putative class members' contact
                     information.

             Wellens v. Daiichi Sankyo, Inc., 2014 U.S. Dist. LEXIS 29794 at *7 (N.D.Cal. March 5, 2014).3

                     Here, plaintiffs assert the identifying information will lead to anecdotal evidence relevant

             to certification of their disparate treatment claim. Specially, plaintiffs contend the information

             sought will help develop evidence in support of class certification, including: (1) statistical

             evidence where disparate data files rely on identifying information for connection and analysis;

             (2) evidence of top management’s involvement in discrimination; and (3) anecdotal evidence in

             support of class certification. With respect to the October 31, 2019, Order, the Court already

             limited plaintiffs’ discovery into the complaints to prevent a “fishing expedition.” Implicit in

             the Court’s decision was a limitation on the invasion of privacy interests of employees who have

             yet to consent to join the lawsuit. Further, only those individuals with complaints similar to the

             named plaintiffs are appropriately discoverable. The Court notes the existing Protective Order

             and find it sufficient to protect the privacy interests of the employees who filed the complaints.

             A link between the complaints and identifying information may better allow plaintiffs to bolster

             the issues related to certification especially with respect to the disparate treatment claim.

             Regarding documents demonstrating pay differentials, merit increases, bonuses, equity awards,


             could include complaints made by the other employees of the type complained of by the named plaintiffs as well as
             employee data relevant to certification.
             3 Nike argues the Wellens Court only allowed discovery of contact information and not disclosure of the names
             applied to data. However, the court left the door open to a link between the data and the names because the parties
             had not addressed the privacy concerns in their briefing and noted that the main issue was whether the protective
             order should include additional protections. Id. at *11-12.

             Page 7 - ORDER
                                                                                    Goldstein Decl. Ex. 9, Page 11 of 37
                                                                                                                           ER-220
(210 of 298), Page 210 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 210 of 298

                     Case 3:18-cv-01477-JR           Document 290-4          Filed 11/16/22     Page 12 of 37

                       Case 3:18-cv-01477-JR          Document 99          Filed 03/23/20     Page 8 of 8




             and performance ratings, the identity of the employee regarding that data may help develop

             anecdotal evidence of disparate treatment as well.

                     The Court is mindful of the strong privacy interests of the employees who will be

             identified.   The Protective Order (ECF #82) is sufficient to address that concern with the

             addition of one further restraint on the information provided: Should plaintiffs’ counsel seek to

             contact a named employee in an effort to find anecdotal evidence that may be lacking in the files

             or complaints themselves, counsel shall first inform the employee of their right to refuse to talk.

                                                        CONCLUSION

                     Plaintiffs’ motion to compel (as stated in their letter to the Court dated March 4, 2020) is

             granted. Defendant shall produce names and employee ID numbers of employees and witnesses

             in already produced employment data and workplace complaint documents. All production

             pursuant to this motion is subject to the Protective Order (ECF #82) entered in this case on June

             17, 2019, with the additional requirement that any contacted employee shall first be informed of

             a right to refuse to talk at this stage of the proceedings.

                     DATED this 23rd day of March, 2020.
                                                                                /s/ Jolie A. Russo
                                                                     ________________________________
                                                                               JOLIE A. RUSSO
                                                                         United States Magistrate Judge




             Page 8 - ORDER
                                                                             Goldstein Decl. Ex. 9, Page 12 of 37
                                                                                                            ER-221
(211 of 298), Page 211 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 211 of 298

                  Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 13 of 37




                               Exhibit B




                                                            Goldstein Decl. Ex. 9, Page 13 of 37
                                                                                             ER-222
(212 of 298), Page 212 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 212 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 14 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 14 of 37
                                                                                                                          ER-223
(213 of 298), Page 213 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 213 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 15 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 15 of 37
                                                                                                                          ER-224
(214 of 298), Page 214 of 298             03/26/2024, DktEntry: 24.3, Page 214 of 298
                            Case: 24-165, 03/25/2024,

                    Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 16 of 37




                                                              Goldstein Decl. Ex. 9, Page 16 of 37
                                                                                           ER-225
(215 of 298), Page 215 of 298             03/26/2024, DktEntry: 24.3, Page 215 of 298
                            Case: 24-165, 03/25/2024,

                    Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 17 of 37




                                                              Goldstein Decl. Ex. 9, Page 17 of 37
                                                                                           ER-226
(216 of 298), Page 216 of 298             03/26/2024, DktEntry: 24.3, Page 216 of 298
                            Case: 24-165, 03/25/2024,

                    Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 18 of 37




                                                              Goldstein Decl. Ex. 9, Page 18 of 37
                                                                                           ER-227
(217 of 298), Page 217 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 217 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 19 of 37




                                                                                          Goldstein Decl. Ex. 9, Page 19 of 37
                                                                                                                        ER-228
(218 of 298), Page 218 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 218 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 20 of 37




                                                                                          Goldstein Decl. Ex. 9, Page 20 of 37
                                                                                                                        ER-229
(219 of 298), Page 219 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 219 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 21 of 37




                                                                                          Goldstein Decl. Ex. 9, Page 21 of 37
                                                                                                                        ER-230
(220 of 298), Page 220 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 220 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 22 of 37




                                                                                          Goldstein Decl. Ex. 9, Page 22 of 37
                                                                                                                        ER-231
(221 of 298), Page 221 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 221 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 23 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 23 of 37
                                                                                                                          ER-232
(222 of 298), Page 222 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 222 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 24 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 24 of 37
                                                                                                                          ER-233
(223 of 298), Page 223 of 298             03/26/2024, DktEntry: 24.3, Page 223 of 298
                            Case: 24-165, 03/25/2024,

                    Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 25 of 37




                                                              Goldstein Decl. Ex. 9, Page 25 of 37
                                                                                           ER-234
(224 of 298), Page 224 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 224 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 26 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 26 of 37
                                                                                                                          ER-235
(225 of 298), Page 225 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 225 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 27 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 27 of 37
                                                                                                                          ER-236
(226 of 298), Page 226 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 226 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 28 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 28 of 37
                                                                                                                          ER-237
(227 of 298), Page 227 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 227 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 29 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 29 of 37
                                                                                                                          ER-238
(228 of 298), Page 228 of 298        Case: 24-165, 03/25/2024,
                                                   03/26/2024, DktEntry: 24.3, Page 228 of 298

                                Case 3:18-cv-01477-JR   Document 290-4   Filed 11/16/22   Page 30 of 37




                                                                                           Goldstein Decl. Ex. 9, Page 30 of 37
                                                                                                                          ER-239
(229 of 298), Page 229 of 298             03/26/2024, DktEntry: 24.3, Page 229 of 298
                            Case: 24-165, 03/25/2024,

                    Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 31 of 37




                                                              Goldstein Decl. Ex. 9, Page 31 of 37
                                                                                           ER-240
(230 of 298), Page 230 of 298             03/26/2024, DktEntry: 24.3, Page 230 of 298
                            Case: 24-165, 03/25/2024,

                    Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 32 of 37




                                                              Goldstein Decl. Ex. 9, Page 32 of 37
                                                                                           ER-241
(231 of 298), Page 231 of 298             03/26/2024, DktEntry: 24.3, Page 231 of 298
                            Case: 24-165, 03/25/2024,

                    Case 3:18-cv-01477-JR   Document 290-4    Filed 11/16/22   Page 33 of 37




                                                              Goldstein Decl. Ex. 9, Page 33 of 37
                                                                                           ER-242
(232 of 298), Page 232 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 232 of 298

                             Case 3:18-cv-01477-JR                    Document 290-4               Filed 11/16/22             Page 34 of 37

        Scott Grimes

        From:                      Davis, Felicia A. <feliciadavis@paulhastings.com>
        Sent:                      Thursday, May 7, 2020 3:29 PM
        To:                        Gary_Magnuson@ord.uscourts.gov
        Cc:                        Prince, Daniel; Hutton, Zachary; amy.joseph.pedersen@stoel.com; kennon.scott@stoel.com; Laura Ho;
                                   James Kan; Barry Goldstein; Byron Goldstein; Mengfei Sun; Laura Salerno Owens; David Markowitz;
                                   Harry Wilson; Anna Joyce; Chad A. Naso; cja@ackermanntilajef.com; india Bodien; Scott Grimes
        Subject:                   RE: Cahill, et al. v. Nike, Inc- Case No. 3:18-cv-01477-JR


        Deputy Magnuson,

        We believe the issue can be resolved pursuant to Nike's request for clarification of the March 23, 2020 order submitted
        earlier today, but if the Court prefers additional briefing, please let us know, and we will prepare a formal written
        response to plaintiffs’ letter brief.

        Thank you very much,
        Felicia Davis

        From: Scott Grimes <sgrimes@gbdhlegal.com>
        Sent: Thursday, May 7, 2020 2:24 PM
        To: Gary_Magnuson@ord.uscourts.gov
        Cc: Prince, Daniel <danielprince@paulhastings.com>; Hutton, Zachary <zachhutton@paulhastings.com>; Davis, Felicia A.
        <feliciadavis@paulhastings.com>; amy.joseph.pedersen@stoel.com; kennon.scott@stoel.com; Laura Ho
        <lho@gbdhlegal.com>; James Kan <jkan@gbdhlegal.com>; Barry Goldstein <bgoldstein@gbdhlegal.com>; Byron
        Goldstein <brgoldstein@gbdhlegal.com>; Mengfei Sun <msun@gbdhlegal.com>; Laura Salerno Owens
        <laurasalerno@markowitzherbold.com>; David Markowitz <davidmarkowitz@markowitzherbold.com>; Harry Wilson
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        <chadnaso@markowitzherbold.com>; cja@ackermanntilajef.com; india Bodien <india@indialinbodienlaw.com>
        Subject: [EXT] Cahill, et al. v. Nike, Inc‐ Case No. 3:18‐cv‐01477‐JR

        Hon. Jolie A. Russo:

        Attached please find Plaintiffs’ Letter Regarding Enforcement of the March 23, 2020 Discovery Order
        in the matter Cahill, et al. v. Nike, Inc., No. 3:18-cv-01477-JR.


        Scott G. Grimes ▪ Senior Paralegal ▪ Goldstein, Borgen, Dardarian & Ho ▪ 300 Lakeside Drive, Suite 1000 ▪ Oakland, CA
        94612 ▪ T: (510) 763-9800 ▪ F: (510) 835-1417 ▪ www.gbdhlegal.com




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                                                                                                    Goldstein Decl. Ex. 9, Page 34 of 37
                                                                                                                                                  ER-243
(233 of 298), Page 233 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 233 of 298

                     Case 3:18-cv-01477-JR                 Document 290-4             Filed 11/16/22          Page 35 of 37
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                                                                                        2
                                                                                      Goldstein Decl. Ex. 9, Page 35 of 37
                                                                                                                                 ER-244
(234 of 298), Page 234 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 234 of 298

                        Case 3:18-cv-01477-JR          Document 290-4         Filed 11/16/22       Page 36 of 37

        Scott Grimes

        From:                Gary Magnuson <gary_magnuson@ord.uscourts.gov>
        Sent:                Friday, May 8, 2020 2:00 PM
        To:                  Davis, Felicia A.
        Cc:                  Prince, Daniel; Hutton, Zachary; amy.joseph.pedersen@stoel.com; kennon.scott@stoel.com; Laura Ho;
                             James Kan; Barry Goldstein; Byron Goldstein; Mengfei Sun; Laura Salerno Owens; David Markowitz;
                             Harry Wilson; Anna Joyce; Chad A. Naso; cja@ackermanntilajef.com; india Bodien; Scott Grimes
        Subject:             RE: Cahill, et al. v. Nike, Inc- Case No. 3:18-cv-01477-JR


        Counsel:

        Judge Russo says she will await Judge Hernandez’s ruling regarding her earlier order and will address this as necessary
        afterwards.

        Best,

        Gary Magnuson,
        Courtroom Deputy,
        U.S. District Court,
        District of Oregon.
        (503) 326-8055; fax (503) 326-8010
        gary_magnuson@ord.uscourts.gov


        From: Davis, Felicia A. <feliciadavis@paulhastings.com>
        Sent: Thursday, May 7, 2020 3:29 PM
        To: Gary Magnuson <gary_magnuson@ord.uscourts.gov>
        Cc: Prince, Daniel <danielprince@paulhastings.com>; Hutton, Zachary <zachhutton@paulhastings.com>;
        amy.joseph.pedersen@stoel.com; kennon.scott@stoel.com; Laura Ho <lho@gbdhlegal.com>; James Kan
        <jkan@gbdhlegal.com>; Barry Goldstein <bgoldstein@gbdhlegal.com>; Byron Goldstein <brgoldstein@gbdhlegal.com>;
        Mengfei Sun <msun@gbdhlegal.com>; Laura Salerno Owens <laurasalerno@markowitzherbold.com>; David Markowitz
        <davidmarkowitz@markowitzherbold.com>; Harry Wilson <harrywilson@markowitzherbold.com>; Anna Joyce
        <annajoyce@markowitzherbold.com>; Chad A. Naso <chadnaso@markowitzherbold.com>; cja@ackermanntilajef.com;
        india Bodien <india@indialinbodienlaw.com>; Scott Grimes <sgrimes@gbdhlegal.com>
        Subject: RE: Cahill, et al. v. Nike, Inc‐ Case No. 3:18‐cv‐01477‐JR

        Deputy Magnuson,

        We believe the issue can be resolved pursuant to Nike's request for clarification of the March 23, 2020 order submitted
        earlier today, but if the Court prefers additional briefing, please let us know, and we will prepare a formal written
        response to plaintiffs’ letter brief.

        Thank you very much,
        Felicia Davis

        From: Scott Grimes <sgrimes@gbdhlegal.com>
        Sent: Thursday, May 7, 2020 2:24 PM
        To: Gary_Magnuson@ord.uscourts.gov
        Cc: Prince, Daniel <danielprince@paulhastings.com>; Hutton, Zachary <zachhutton@paulhastings.com>; Davis, Felicia A.
                                                                    1

                                                                               Goldstein Decl. Ex. 9, Page 36 of 37
                                                                                                                  ER-245
(235 of 298), Page 235 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 235 of 298

                            Case 3:18-cv-01477-JR                    Document 290-4                Filed 11/16/22             Page 37 of 37

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         <lho@gbdhlegal.com>; James Kan <jkan@gbdhlegal.com>; Barry Goldstein <bgoldstein@gbdhlegal.com>; Byron
         Goldstein <brgoldstein@gbdhlegal.com>; Mengfei Sun <msun@gbdhlegal.com>; Laura Salerno Owens
         <laurasalerno@markowitzherbold.com>; David Markowitz <davidmarkowitz@markowitzherbold.com>; Harry Wilson
         <harrywilson@markowitzherbold.com>; Anna Joyce <annajoyce@markowitzherbold.com>; Chad A. Naso
         <chadnaso@markowitzherbold.com>; cja@ackermanntilajef.com; india Bodien <india@indialinbodienlaw.com>
         Subject: [EXT] Cahill, et al. v. Nike, Inc‐ Case No. 3:18‐cv‐01477‐JR

         Hon. Jolie A. Russo:

         Attached please find Plaintiffs’ Letter Regarding Enforcement of the March 23, 2020 Discovery Order
         in the matter Cahill, et al. v. Nike, Inc., No. 3:18-cv-01477-JR.


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                                                                                       2
                                                                                                    Goldstein Decl. Ex. 9, Page 37 of 37
                                                                                                                                                  ER-246
(236 of 298), Page 236 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 236 of 298

                               Case 3:18-cv-01477-JR          Document 288       Filed 11/16/22   Page 1 of 11




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                       Attorneys for Plaintiffs, Opt-In Plaintiffs, and Putative Class
                       [Additional Counsel of Record listed on the next page]

                                                IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF OREGON
                                                         PORTLAND DIVISION

                         KELLY CAHILL, et al., individually and            Case No. 3:18-cv-01477-JR
                         on behalf of others similarly situated,
                                                             Plaintiffs,   DECLARATION OF BYRON
                                                                           GOLDSTEIN IN SUPPORT OF
                         vs.                                               PLAINTIFFS’ MOTION FOR CLASS
                                                                           CERTIFICATION
                         NIKE, INC., an Oregon Corporation,
                                                       Defendant.          FILED WITH REDACTIONS




                        DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
           846383.30

                                                                                                        ER-247
(237 of 298), Page 237 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 237 of 298

                                Case 3:18-cv-01477-JR      Document 288   Filed 11/16/22   Page 2 of 11




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                          Fax: (253) 276-0081




                          DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
              846383.30

                                                                                               ER-248
(238 of 298), Page 238 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 238 of 298

                             Case 3:18-cv-01477-JR          Document 288       Filed 11/16/22      Page 3 of 11




                            I, Byron Goldstein, declare as follows:

                            1.      I am a member in good standing of the Bar of the State of California and a partner

                     at the law firm of Goldstein Borgen Dardarian & Ho in Oakland, California. I am counsel for

                     Plaintiffs, Opt-in Plaintiffs, and the putative class members, along with Markowitz Herbold,

                     Ackerman & Tilajef, and India Lin Bodien Law. I am providing this declaration in support of

                     Plaintiffs’ Motion for Class Certification. I have personal knowledge of the facts set forth in this

                     declaration and could and would testify competently to them if called upon to do so.

                            2.      This declaration concerns discovery Plaintiffs sought concerning Plaintiffs’ initial

                     job assignment allegation (see ECF 42, ¶ 10). Section I describes the relevant discovery requests

                     as well as unproduced discovery related to Plaintiffs’ initial job assignment allegation. This

                     declaration also concerns the authentication of the Parties’ submissions to the Court requesting

                     discovery orders, which is provided in Section II.

                     I.      PLAINTIFFS’ DISCOVERY REQUESTS TO NIKE SEEKING DISCOVERY ON
                                 PLAINTIFFS’ INITIAL JOB ASSIGNMENT ALLEGATION.

                            3.      Plaintiffs served Requests for Production (“RFPs”) seeking discovery concerning

                     Nike’s policies and practices related to initial job assignment. See RFPs 1-4, 9, 11, and 32.

                     These RFPs are contained in Plaintiffs’ First Set of RFPs to Nike, which were served on March

                     22, 2019. A true and correct copy of Plaintiffs’ First Set of RFPs is attached hereto as Exhibit 1.

                                    a.      These RFPs sought discovery concerning Nike’s policies, practices, or

                     procedures related to initial job assignment. RFP 4 requested documents concerning policies or

                     practices related to job offers for employees in Covered Positions, including band level or job

                     assignments, related trainings, and documents identifying persons involved with disseminating,

                     implementing, monitoring, and enforcing these policies and practices. RFP 9 requested

                     documents concerning policies, practices, or procedures related to the assignment of a new hire


                     DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                     PAGE 1
         846383.30

                                                                                                               ER-249
(239 of 298), Page 239 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 239 of 298

                            Case 3:18-cv-01477-JR         Document 288        Filed 11/16/22     Page 4 of 11




                    to a Covered Position. RFP 11 requested documents and communications related to any

                    executive’s involvement in the setting or review of any policies, practices, or procedures

                    concerning the Covered Positions and job assignment, job applications, or decisions on job

                    applications for new hires.

                                   b.      These RFPs also sought discovery concerning data related to initial job

                    assignment and the availability of such data. RFP 1 requested job application data for new hires.

                    RFP 2 requested documents showing the systems Nike used to track, store, or access information

                    or generate reports related to employees in the Covered Position for job applications and

                    decisions on job applications for new hires. RFP 3 requested documents that would help

                    Plaintiffs understand those Nike systems related to RFPs 1-2. RFP 32 requested discovery

                    concerning Nike’s policies or practices about retaining or deleting the requested discovery.

                           4.      Nike did not produce documents in effect prior to November 2018 that show the

                    steps, policies, procedures, or guidelines concerning how employees in Covered Positions were

                    hired, including their initial job assignment. This belief is based on: (1) the documents listed in

                    the following subparagraphs, which are documents that other Nike documents and Nike

                    testimony indicate existed and were not produced, and (2) Plaintiffs’ counsel’s thorough review

                    and searches through all the documents Nike produced in all of Nike’s productions.

                                   a.      Based on Plaintiffs’ counsel’s thorough review and searches through all

                    the documents Nike produced in all of Nike’s productions and the following, Nike did not

                    produce any pre-December 13, 2018 version of its “Hiring Process” document. Nike produced a

                    version of this document that was in effect beginning December 13, 2018. See Sun Decl. Ex. 11.

                    Nike’s “Hiring Process” document states it “is a quick guide to educate key players on their roles

                    and responsibilities when looking to hire great talent at NIKE, inc.,” and “[u]se this resource to



                    DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                    PAGE 2
        846383.30

                                                                                                             ER-250
(240 of 298), Page 240 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 240 of 298

                             Case 3:18-cv-01477-JR         Document 288       Filed 11/16/22    Page 5 of 11




                     learn about your role – as well as when to rely on other stakeholders – throughout the hiring

                     process.” Id. at NIKE_00003185. Nike changed its “Hiring Process” document on December

                     13, 2018 and there was at least one prior version in effect before December 2018 based on the

                     following two Nike documents: (1) the “Hiring Process” document Nike produced states it was

                     “Updated” on December 13, 2018 (id. at NIKE_00003186), and (2) Nike produced a document

                     from October 2017 that was sent to all Nike Talent Acquisition employees that lists a “Hiring

                     Process” document (See Exhibit 2, attached hereto, which is a true and correct copy of an email

                     from Daniel Laboe, regarding “Commitment to Pay Equity,” sent October 12, 2017

                     (NIKE_00024727), produced by Nike in this litigation, and entered as deposition exhibit 673 at

                     the deposition of Shine Thomas, March 26, 2021).

                                    b.     Based on Plaintiffs’ counsel’s thorough review and searches through all

                     the documents Nike produced in all of Nike’s productions and the following, Nike did not

                     produce any pre-December 10, 2018 version of its “Manager Playbook Hiring” document. Nike

                     produced a version of this document that was in effect beginning December 10, 2018. Sun Decl.

                     Ex. 14. Nike’s “Manager Playbook Hiring” lists the “role of manager” and “manager activities”

                     in hiring. Id. Nike changed its “Manager Playbook Hiring” document on December 10, 2018

                     and there was at least one prior version in effect before December 2018 based on the following

                     two Nike documents: (1) the “Manager Playbook Hiring” document Nike produced states it was

                     “Updated” on December 10, 2018 (id.), and (2) Nike produced a document from October 2017

                     that was sent to all Nike Talent Acquisition employees that lists a “Manager Playbook Hiring”

                     document that Nike had then (Ex 2).

                                    c.     Based on Plaintiffs’ counsel’s thorough review and searches through all

                     the documents Nike produced in all of Nike’s productions and the following, Nike did not



                     DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                     PAGE 3
         846383.30

                                                                                                            ER-251
(241 of 298), Page 241 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 241 of 298

                            Case 3:18-cv-01477-JR         Document 288        Filed 11/16/22     Page 6 of 11




                    produce complete versions of its “Talent Acquisition Playbook,” which is also referred to as “TA

                    Playbook.” Nike documents and testimony from its Rule 30(b)(6) witness state that Talent

                    Acquisition manages the hiring process from the time a job is posted until a candidate is selected.

                    See Plaintiffs’ Motion In Support of Class Certification at 27. The “Talent Acquisition

                    Playbook,” according to a Nike witness’ testimony, is the main source of policies and guidelines

                    for members of the Talent Acquisition organization. Id. Another Nike witness testified that the

                    “TA playbook was created, I think, sometime in 2016,” and that Nike puts “new material” and

                    “new policy changes” into the TA Playbook. See Exhibit 3, attached hereto, which is a true and

                    correct copy of excerpts from the deposition of Julian Miller, taken June 3, 2021, (“Miller Dep.”)

                    101:18-102:12. Nike produced a document from October 2017 that was sent to all Nike Talent

                    Acquisition employees directing them to “Review the resources on the “TA Playbook,” which

                    indicates that Nike has had a “TA Playbook” since at least October 2017. Ex. 2 at

                    NIKE_00024727.

                           5.      Nike did not produce any data from its Avature system, including data related to

                    Nike’s sourcing of external candidates who were hired into Covered Positions and had not

                    applied to the open job being sourced. A Nike witness testified Avature is “a tool …. primarily

                    used for proactive sourcing of prospects.” See Exhibit 4, attached hereto, which is a true and

                    correct copy of excerpts from the deposition of Shine Thomas, taken on March 26, 2021,

                    (“Thomas Dep.”) 42:20-43:7. According to this Nike witness, proactive sourcing of prospects

                    involved Nike identifying potential candidates for positions that had not yet been officially

                    posted and contacting them to gather their interest in potential positions at Nike. Id. at 44:17-

                    45:21. Another Nike witness testified, “Avature is a tool by which recruiters can log

                    information, as this says, for passive candidates… These are candidates that have not applied to



                    DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                    PAGE 4
        846383.30

                                                                                                             ER-252
(242 of 298), Page 242 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 242 of 298

                            Case 3:18-cv-01477-JR           Document 288       Filed 11/16/22      Page 7 of 11




                    an open job….” Ex. 3, Miller Dep. 74:13-75:7. This Nike witness also testified that Avature

                    contains information “regarding … qualifications … [and] experiences” of candidates that is not

                    in Taleo, and “[t]here’d be no information in Taleo that [candidates] were sourced from

                    Avature;” Taleo would just say “that a candidate has applied.” Id. 76:4-77:7.

                           6.         Nike did not produce complete data from its Taleo system, including data related

                    to Nike’s matching of candidates to job requisitions. Taleo “has all the history of all the

                    candidates who’ve applied to our open roles.” Ex. 4, Thomas Dep. 237:7-14. Another Nike

                    witness testified that there are hundreds of different Taleo fields related to posting and filling

                    jobs that were not produced. Ex. 3, Miller Dep. 127:3-128:19. This witness testified that these

                    missing data fields include entries related to Nike’s “matched to job” practice, which is where

                    Nike applied on behalf of existing candidates to other job postings, and records related to

                    communications made by Nike recruiters that encouraged applicants to apply for open positions.

                    Id. at 113:6-21

                           7.         Plaintiffs served a Notice of a Rule 30(b)(6) Deposition on Nike that sought

                    testimony concerning initial job assignment. A true and correct copy of this deposition notice,

                    introduced as deposition exhibit 501 at the deposition of Shane Walker, December 17, 2021, is

                    attached here as Exhibit 5. Topic 7 sought testimony on, inter alia, hiring for covered positions.

                    Topic 11 sought testimony on, inter alia, systems Nike used regarding job assignments. Topic 33

                    sought testimony on, inter alia, data Nike had not produced concerning job assignment of

                    covered employees, job postings, and job applications.

                           8.         Nike failed to designate a Rule 30(b)(6) witness on Topics 7, 11, and 33 with

                    respect to the parts of those topics related to initial job assignment. See Exhibit 6, attached

                    hereto (true and correct copies of deposition exhibits 502 (introduced at the deposition of Shane



                    DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                    PAGE 5
        846383.30

                                                                                                               ER-253
(243 of 298), Page 243 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 243 of 298

                             Case 3:18-cv-01477-JR         Document 288        Filed 11/16/22     Page 8 of 11




                     Walker, December 17, 2021), 566 (introduced at the deposition of Alison Daugherty, January 8,

                     2021), 597 (introduced at the deposition of Shelli White, January 29, 2021), 629 (introduced at

                     the deposition of Kendra Pryce, February 11, 2021), 635 (introduced at the deposition of

                     Treasure Heinle, March 16, 2021), 652 (introduced at the deposition of Cory Gillespie, March

                     25, 2021), 665 (introduced at the deposition of Shine Thomas, March 26, 2021), 698 (introduced

                     at the deposition of Elizabeth Vales, May 27, 2021), 728 (introduced at the deposition of Julian

                     Miller, June 3, 2021)) (Nike’s statements about the limits of Rule 30(b)(6) testimony that it said

                     it would provide).

                                      II.     THE PARTIES’ SUBMISSIONS TO THE COURT
                                               REQUESTING DISCOVERY ORDERS.

                            9.      Attached hereto as Exhibit 7 is a true and correct copy of the briefing for

                     Plaintiffs’ First Letter Brief to the Court, submitted September 27, 2019, Nike’s opposition

                     submitted October 4, 2019, and Plaintiffs’ reply submitted October 9, 2019. In response to the

                     Parties’ briefing on this request, the Court issued an Order on October 31, 2019. ECF No. 89.

                            10.     Attached hereto as Exhibit 8 is a true and correct copy of the briefing for

                     Plaintiffs’ Second Letter Brief to the Court, submitted March 4, 2020, Nike’s opposition

                     submitted March 13, 2020, and Plaintiffs’ reply submitted March 18, 2020. In response to the

                     Parties’ briefing on this request, the Court issued an Order on March 23, 2020 (ECF No. 99),

                     which was affirmed by Judge Hernandez on November 17, 2020 (ECF No. 128).

                            11.     Attached hereto as Exhibit 9 is a true and correct copy of Plaintiffs’ Letter to the

                     Court requesting enforcement of the Court’s March 23, 2020 Order, submitted May 7, 2020,

                     Nike’s Email Response submitted May 7, 2020, and the Court’s response sent on May 8, 2020.

                            12.     Attached hereto as Exhibit 10 is a true and correct copy of the briefing for

                     Plaintiffs’ Third Letter Brief to the Court and the Declaration of James Kan in support, submitted


                     DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                     PAGE 6
         846383.30

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(244 of 298), Page 244 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 244 of 298

                             Case 3:18-cv-01477-JR         Document 288       Filed 11/16/22     Page 9 of 11




                     June 5, 2020, Nike’s opposition submitted June 22, 2020, and Plaintiffs’ Reply submitted June

                     29, 2020. In response to the Parties’ briefing on this request, the Court issued an Order on July

                     2, 2020. ECF No. 108.

                            13.     Attached hereto as Exhibit 11 is a true and correct copy of the briefing for

                     Plaintiffs’ Fourth Letter Brief to the Court and the Declaration of Byron Goldstein in support,

                     submitted June 30, 2020, Nike’s opposition submitted July 17, 2020, and Plaintiffs’ reply

                     submitted July 22, 2020. In response to the Parties’ briefing on this request, the Court issued an

                     Order on August 10, 2020. ECF No. 111.

                            14.     Attached hereto as Exhibit 12 is a true and correct copy of the briefing for

                     Plaintiffs’ Fifth Letter Brief to the Court, submitted August 7, 2020, Nike’s opposition and

                     declarations submitted September 8, 2020, Plaintiffs’ reply and the Declaration of Byron

                     Goldstein in support submitted September 15, 2020, and Nike’s Sur-Reply and declaration

                     submitted September 22, 2020. In response to the Parties’ briefing on this request, the Court

                     issued an Order on October 9, 2020. ECF No. 117.

                            15.     Attached hereto as Exhibit 13 is a true and correct copy of the briefing for

                     Plaintiffs’ Letter to the Court requesting unredacted names in the Starfish Survey, submitted

                     October 15, 2020, and Nike’s opposition submitted October 16, 2020. In response to the Parties’

                     briefing on this request, the Court issued an Order on November 23, 2020. ECF No. 130.

                            16.     After the Court compelled Nike to produce an unredacted copy of the “Starfish

                     Survey” or the packet of complaints provided to Nike’s CEO in March 2018, ECF No. 130, the

                     documents included the names of at least 22 Nike executives listed in the Survey who Nike had

                     previously redacted and who were alleged to have discriminated or condoned discrimination.

                     The people identified in the Survey who have been Nike executives are



                     DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                     PAGE 7
         846383.30

                                                                                                             ER-255
(245 of 298), Page 245 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 245 of 298

                           Case 3:18-cv-01477-JR          Document 288        Filed 11/16/22    Page 10 of 11




                           17.     Attached hereto as Exhibit 14 is a true and correct copy of the briefing on Nike’s

                    Request for a Protective Order, submitted November 11, 2020, Plaintiffs’ opposition submitted

                    November 25, 2020, and Nike’s reply submitted December 14, 2020. In response to the Parties’

                    submissions, the Court issued an Order on December 17, 2020. ECF No. 131. The declarations

                    in support of the briefing are omitted from this exhibit for brevity.

                           18.     Attached hereto as Exhibit 15 is a true and correct copy of Plaintiffs’ Sixth Letter

                    Brief to the Court, submitted March 1, 2021, Nike’s opposition and declaration submitted March

                    15, 2021, Plaintiffs’ reply submitted March 17, 2021, and Nike’s Sur-Reply submitted March 19,

                    2021. Plaintiffs’ March 1, 2021 submission requested an order to compel discovery concerning,

                    inter alia, Nike’s organizational structure based on “[r]ecent deposition testimony of Nike’s Rule

                    30(b)(6) designees have confirmed the existence of several documents whose production is either

                    already ordered by this Court (for some subject to two separate orders) or is required by long ago

                    served document requests.”

                                   a.      In response to the Parties’ briefing on this request, the Court issued an

                    Order on March 30, 2021, compelling Nike to produce, inter alia, “Organizational Charts granted

                    to the extent they already exist.” ECF No. 135. After this March 30, 2021 Order, Nike’s

                    productions made clear that Nike possessed many thousands of organizational charts because, as

                    Nike stated in its June 2, 2021 letter to Plaintiffs, “we have produced more than 5,000

                    organizational charts ….” The organizational charts Nike produced included, at least, many



                    DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                    PAGE 8
        846383.30

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(246 of 298), Page 246 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 246 of 298

                             Case 3:18-cv-01477-JR        Document 288        Filed 11/16/22     Page 11 of 11




                     hundreds created prior to March 30, 2021, including numerous organizational charts created each

                     year between 2014 through 2020.

                             19.    Attached hereto as Exhibit 16 is a true and correct copy of Plaintiffs’ Request for

                     a Discovery Conference, submitted March 12, 2021, and Nike’s response submitted March 12,

                     2021.

                             20.    Attached hereto as Exhibit 17 is a true and correct copy of Plaintiffs’ Seventh

                     Letter Brief to the Court, submitted March 23, 2021, and Nike’s opposition submitted March 30,

                     2021. In response to the Parties’ briefing on this request, the Court issued an Order on April 1,

                     2021. ECF No. 136.

                             I declare under penalty of perjury under the laws of the State of California and of the

                     United States that the foregoing is true and correct, and that this Declaration was executed this

                     10th day of January, 2022 in Oakland, California.


                                                                   /s/ Byron Goldstein
                                                                   Byron Goldstein




                     DECL. OF BYRON GOLDSTEIN ISO PLS’ MOT. FOR CLASS CERTIFICATION
                     PAGE 9
         846383.30

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(247 of 298), Page 247 of 298                               Case: 24-165, 03/25/2024,
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                                                    Case 3:18-cv-01477-JR                    Document 285-2                Filed 11/16/22             Page 1 of 2




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                                                        Case 3:18-cv-01477-JR                      Document 285-1                    Filed 11/16/22           Page 1 of 2



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(250 of 298), Page 250 of 298                                         Case: 24-165, 03/25/2024,
                                                                                    03/26/2024, DktEntry: 24.3, Page 250 of 298

                                                             Case 3:18-cv-01477-JR                           Document 285-1           Filed 11/16/22         Page 2 of 2




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(251 of 298), Page 251 of 298                                  Case: 24-165, 03/25/2024,
                                                                             03/26/2024, DktEntry: 24.3, Page 251 of 298

                                                       Case 3:18-cv-01477-JR                     Document 284-8                Filed 11/16/22            Page 1 of 6




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(252 of 298), Page 252 of 298                                         Case: 24-165, 03/25/2024,
                                                                                    03/26/2024, DktEntry: 24.3, Page 252 of 298

                                                            Case 3:18-cv-01477-JR                          Document 284-8   Filed 11/16/22   Page 2 of 6




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                   lf notexpel'ienced firsthand, then how was itbrought to your attention?


                   D!d you report this experience?

                     ~ ,,:

                   If you reported it, was it resolved?


                    If' you did not report it, why did you make thc1tdeclslon?


                   What impact has this experience had on you?
                    (For example; career progression,~physical health, psychological health, other)


                    Please indicate If youwouid like to discuss and potentially elevate your experience:




                                                                                                                                                                  NIKE_00033339
                  Highly Confidential - Attorneys' Eyes Only
                                                                                                                                                  Sun Decl. Ex. 48, Page 2 of 6
                                                                                                                                                                          ER-263
(253 of 298), Page 253 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 253 of 298

                        Case 3:18-cv-01477-JR            Document 284-8           Filed 11/16/22       Page 3 of 6




                     I am speaking out as I believe that I have normalized negative, ma,nipulative and sexist behavior
                     over the course of my career at Nike.
                     I am speaking out for the younger generation of female leaders.
                     I am speaking out because I have two daughters and want them to have equality no matter
                     what or where they decide to invest their time and energy.
                     I am speaking out because I wonder if faecutive or Senior level Management would want their
                     daughter-or wife - to work at Nike.

                     Our culture is broken and I am becoming more sensitive to the plight of women at Nike.

                     When people ask me if I have ever felt discriminated against as a female at Nike, I have always
                     responded no.

                     My dad brought me up to believe that I could do ANYTHING that I set my heart and mind to
                     achieving. Growing up with two older brothers and in sports, I have always been competitive
                     and philosophically have always believed that if I do the right thing, act with integrity, honesty
                     and kindness, put the team above myself, good things will happen.

                     And good things have happened; I have a husband of 24 years who I love dearly, I have three
                     stable and confident kids and work that I am passionate about. We have lived around the world
                     and have experienced many amazing things as a result of our affiliation with Nike. It's only
                     when I take a deeper look, really dig into "normal" Nike behavior, that I start to question what
                     is really normal versus what is Nike Normal.

                     For a company that prides itself on innovation, inclusion and equality, I fear that we are missing
                     the mark. Nike can change and lead in this space.

                     Here are some situations.

                     Discrimination

                     Pay Inequities
                         • E6 vs E7: I am "tied" for 4th paid salary on my direct team
                         • David Ayre email on pay was real setback, it was tone deaf

                     Function: Sales
                        •   Sales is consistently diminished, talent {esp female) moved to other pipelines (GM,
                            Marchand ising)
                        •   Sales perceived as "old school", aging, lacking modern + innovative approach
                        •   Nike Direct priority vs wholesale dynamic
                     Global Category Marketplace Team




           Highly Confidential - Attorneys' Eyes Only                                                              NI KE_ 00033340
                                                                                         Sun Decl. Ex. 48, Page 3 of 6
                                                                                                                      ER-264
(254 of 298), Page 254 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 254 of 298

                        Case 3:18-cv-01477-JR                 Document 284-8          Filed 11/16/22        Page 4 of 6




                             •    41 (13 women/28 men} direct reports+ 16 (10 women/5 men/1 open HC) dotted line
                             •    All E7 and S band direct reports (9} are male, 2 POC
                             •    'male team makeup but you're the boss'
                             •    Career panels= troubling optics for innovative and diverse approach



                         •        Disparaging, dishonest behavior, discredit my reputation
                         •        Senior leaders told me that        would completely discredit me, question my ability and
                                  integrity in HR sessions
                         •            said to me: 'it's Iike neither your boyfriend nor your husba ncl are happy with you',
                                  referring to                as I was the WE GM Jordan and Nike Basketball and
                                 questioned (and said that           questioned it on the Jordan side but       never
                                  mentioned it/ appeared to support me) whether I was spending the appropriate time
                                 on Nike Basketball. I told him that I over-indexed my time on Nike Basketball relative to
                                 the size of business and that I was offended by the accusation, asked for proof. Never
                                 received anything.
                         •       He had completely unrealistic expectations of level of work. I would push back to
                                 protect the team but would eventually have to deliver (example, Quarterly business
                                 reviews in~between QBR's, Basketball LT WE trip: 5 key city tour at the same time for
                                 marketplace, experiences, inspiration which almost killed my small team but we
                                 delivered beyond expectations}
                         •       He was manipulative and I was concerned for my career
                         •       I felt completely e><posed and unprotected after building my Nike career for 18 years
                                      o If you were on         s good list, you were protected by him
                                      o He once told his Staff Meeting attendees: 'it's really important to know who's at
                                          the table and know who has your back and who doesn't'
                        •        I confided in              about my concerns: 'don't fight that battle, you won't win'
                        •                       escalated discrimination and behavior to HR & ER, eventually left the
                                 company
                                      o I was interviewed as a result of           's escalation and cited above specific
                                          examples but nothing happened for many months (maybe a year or more?)

                     Question self, value
                        •        'everybody wears the green jacket' and then you lose it
                        •        NLT evenings where you are tapped to go out. Or not.
                        •        Secret areas for VIP, expectations on entertainment
                        •        Boys club, biased selection process, protection
                        •        'Don't nag, guys don't want to feel like they're with their wives'
                        •        'You're cool, you're one of the boys'
                        •        My introvert, quiet leadership style vs. extrovert culture (I have overcome this but it
                                 took time)
                                    o 'People don1 t know you because you don't put yourself out there'




           Highly Confidential - Attorneys' Eyes Only                                                                  NI KE_ 00033341
                                                                                              Sun Decl. Ex. 48, Page 4 of 6
                                                                                                                           ER-265
(255 of 298), Page 255 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 255 of 298

                        Case 3:18-cv-01477-JR           Document 284-8        Filed 11/16/22      Page 5 of 6




                                 o   'do you have ambition? Do you want to grow because you don't show it" - BUT I
                                     DELIVER EVERY DAY AND AM VERY COMPETITIVE

                      Women tend to be placed in Women's, Young Athletes, Analysts, Merchandising roles




           Highly Confidential - Attorneys' Eyes Only                                                       NI KE_ 00033342
                                                                                     Sun Decl. Ex. 48, Page 5 of 6
                                                                                                                ER-266
(256 of 298), Page 256 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 256 of 298

                           Case 3:18-cv-01477-JR              Document 284-8             Filed 11/16/22          Page 6 of 6



                                                                         Monday, March Sp 2018 at 1:38:20 1PM Padfit Standard Time

                   Subject: Equal Pay Day: Nike has Pay Equity
                   Date:     Tuesday, April 4, 2017 at 12:20:00 PM Pacific Daylight Time
                   From:     DAyre
                   To:       Lst-Nike.Global




                               Team,

                               Today, on Equal Pay Day, we are pleased to share that NIKE, Inc. has pay equity globally
                               across all team members in all brands, inclusive of our wholesale and retail employees.
                               This means that women, men and all races/ethnicities who undertake the same work at
                               the same level, experience and performance are equitably compensated.

                               You may recall that several months ago Mark Parker commun icated our commitment to
                               pay equity as part of the White House Equal Pay Pledge. At that time, we shared that we
                               would review pay practices across the company. In keeping with Industry best practices,
                               we worked in partnership with outside experts to complete a comprehensive study of all
                               aspects of our pay across all jobs and all levels globafly.

                              At Nike, for every $1 earned by men, women employees globally earn 99.6 cents. Racial
                              and ethnic minorities (combined) in the U.S., where we track this information, earn 99.7
                              cents for every $1 earned by white employees. This confirms that there are essentially no
                              dlfferences in pay and that we have pay equity, highlighting the strengths of our Total
                              Rewards programs and our continued focus on market competitiveness and pay for
                              performance.

                              As Mark stated, "we are proud of our leadership and efforts to create a level
                              where all team members can perform at their best." We'll continue to
                              and reporting on pay equity across Nike. However, to truly unleash our full potential, we
                              recognize that we must increase our efforts to create an inclusive culture where all of our
                              diverse employees thrive, with supporting policies and practices, and - most
                              importantly - where diverse individuals are represented at every level of leadership.

                              Regards,




                              David Ayre
                              EVP, Human Resources

                                                                                                                               Pagel of2

           Highly Confidential - Attorneys' Eyes Only                                                                       NI KE_ 00033343
                                                                                                 Sun Decl. Ex. 48, Page 6 of 6
                                                                                                                               ER-267
(257 of 298), Page 257 of 298                                Case: 24-165, 03/25/2024,
                                                                           03/26/2024, DktEntry: 24.3, Page 257 of 298

                                                    Case 3:18-cv-01477-JR                      Document 284-7                    Filed 11/16/22          Page 1 of 4




                                                                                                                                                         "·   ._._,




                     IF IT'S HAP.PEN ED TO YOU WE WANT TO l<NOW.
                     Please select one or more choices below.



                      ~iscrimination or other harassment
                          (Generally,Discritnination or Harassment can include threats, insults, jokes; unwelcome verbal comments or email, derogatory pictures or gestures or unwelcome physical
                          conduct, bullying, retallatio n, discrimination or disrespect based on race, age, sexua l orientation, disability, ethnic group or any protected class status, Intimid ation, micro-
                          aggress1 ons, exdusionary behavior and actions includ ing 'cliques' or 'cl ubs', preferential treatment, the feeling of having to ' prove' yo Urse If versus colleagues, pay or
                          performance recoghltion .. CoUld include purposely ambiguous CFE feedback whether verbal or written, foci< of a clear and supported growth plan from manager, gender
                          or diversity bias relating to hiring, promoting, pay or performance rewards. Discrimination or harassment at work can happen inside or outsi de of th e wotk-pl ar.;e.)




                      D Sexual harassment
                          (G enerally, Sexual Harassment canincfude unwe lcome sexual advances 1 requests for sexua l favors, other'verbal or physical conduct of a sexual nature. Sexual harassment '
                          at wot)< can happen inside or outside of t he work-place and can incl.Ude co~workers includ ing athletes, managers, vend ors and visitors.)




                      IF YOU WOUlD Ll:KE TO SHARE MORE DETAlLS, PLEASE DO SO. OVER THE PAGE.                                 .   .                  ,,

                     (lfyou are a Nike employee,Nike's harassment and anti-discrimination policy can be found here, https:l/riikebr.nike.com[ node/ 15978)




                                                                                                                                                                                                ,.. EXHIBIT ~
                                                                                                                                                                                                            570
                                                                                                                                                                                                       Alison Daugherty
                                                                                                                                                                                                           1/8/2021
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                                                                                                                                                                                                                     ER-268
(258 of 298), Page 258 of 298                                         Case: 24-165, 03/25/2024,
                                                                                    03/26/2024, DktEntry: 24.3, Page 258 of 298

                                                           Case 3:18-cv-01477-JR                             Document 284-7   Filed 11/16/22   Page 2 of 4




                     'MY EXPERIENCE
                     {lf you need more space, please photocopythis page or include additional attachments.as needed)
                     Name (optional):


                     Please share brief outline of your experience:


                     Date/ locationifyou can remember:


                     Oid you experience thiSsituation first hand?


                     Were there anywitnesses?


                     Do you have any hard evidence such as emails, photp's etc?.


                     If not experienced first hand, then how was it,broughtto your attention?


                     DidVOU report this experience.?
                       •·
                     If you reported it, wasit resolved?


                      If you did not reportit; why did you make that decision?


                     What impact has this experience had on you?
                     (For example; career progression, physical health, psycho!oglcal health, other]


                      Please in.clicate if you would lil<e to discuss and potentially elevate your expede.nce:




                 Highly Confidential - Attorneys' Eyes Only                                                                                                         NI KE 00033335
                                                                                                                                                    Sun Decl. Ex. 47, Page 2 of 4
                                                                                                                                                                            ER-269
(259 of 298), Page 259 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 259 of 298

                        Case 3:18-cv-01477-JR                   Document 284-7               Filed 11/16/22           Page 3 of 4




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           i

                      I wish to remain anonymous and will share examples of discrimination and harassment at Nike I have witnessed
                      and/ or been onthe receiving end of:

                           •    AGGRESSIVE BEHAVIOR: l witnessed a VP pound fist$ and $Cream to the point spit was coming outof hfs
                                mouth in 2016 in front of a group of 10 employees.
                          ••    BULLYING: Everyone is scared to death of            .. Don't say anything contraryto what he says is the
                                unspoken rule. Unles,s you are one of his uboys". And if you are not In the lnner Circle, you are out.
                                iS most certalnfy dose if not already in this camp. She puts people down and make comments that
                                absolutely di.tninish infrcmtofothers t hen $tands up on stage and pretends $he is an advocate for
                                women.             is one ofthe worst .l eaders and a bully. She will yell and threaten others because
                                somebody on their team does not agree with her. It's been witnessed by HR time and time again and
                                nothing is done. Speaks under her breath, lies; and makes inappropriate comments. lfyou dare try to
                                s hare. a different POVto hers itwiil escalate so eve-ryone knows to shut their mouth for fearof the
                                consequence.
                          •     INE.QU:ITYJNPAY: il have..asked twice. to have my salary reviewed in the. pastyear and a half, my boss says
                                that will happen but never follows through. 'I know fo r a fact! am underpaid.
                          •     INAPPROPRIATE LANGUAGE~Male.S band and VP in apparel who call peopleyou,work wfth RETARDED,
                                calling a woman BlJCH to her face, calling women HONEY and GI.RLS.
                          •     GENDER :BJASJN .HIRING: Bring!ngonfv men into consideration or apanel •because "the leader(male)
                                knows these guys" or "he goeswayback with so and so" or "they need more men on that team}'.
                          •     RETALIATION :                       took down                       yea r end rating from HS to Sto send a
                                message that his decision to side with apparel on a topic was " not ok" Everyohe in merch knows he
                               ,earned an HS, hiS bos.s evenputit down but             wouldn't have it.         q uU a month or twolater.
                                       bullied him and retaliated against anamazing merchant and now he is g0ne.
           (
                      I have twice reported hullying by a senior VP and HR said they would."take care of it".1 "we are coaching them".
                      saved copies of my emails to HRand made notations through my personal computer athornein case I ever need
                      to go back to these . It's the.first to do. I have friendswho have reported bullying. No .action was ever taken except
                      a "we will talk to them".
                      A few examples of sexuaFharassment at Nike :
                          •    Men sloppy drunk putting their arms around a waitress and/ orfemaJe co-workers while on work travel.
                          •    Meri trying to sleep with women In their function at lower levels byluring them in through the promise of
                               a "work dinner" to discuss their career or some project they were working on thatthese women might
                               want to be a partof.
                          •    VP men Sleeping with/getting BJ's from women 1n t he. organization at much lowerband
                          •    A good friend of mihe lsan aestheticjan ata medical spajn Portland and recently told me one of her
                               clients (she wouldnottell me hisname because of patient confidentiality} isa VP at Nike .and braggedto
                                                                              a
                               her about sleepingwith<afomaleemployeein clo$etatNike. AT WORK! DORING WORK HOURS!

                     I have never reported any of this because it bas not happened to me personaHy but l. have seen and heard enough
                     about it and honestly would.not ·e ven know where to turn he cause. it' sJust so common it's a ccepted as normaL
                     Thatinitselfis the problem.

                     ER and HR atthis company are a Joke, These groups have proven over and over thalthey are unreliable . There is
                     terotransparencYwhich goesperfectlywith zero accountabllity.lt'& a disgrace ..                        fwas a well
                     known sexual harasser.
                                ;:ind otherswere and are still well known philanderers With lower level employees Whomthev exert
                     influence and power over. Who is.going to go up against these guys? Why would we report something when our
                     company has a systemic andrepeated practice of not addressing appropriately? Only reason            is gone is
                     because his wife emailed do,i:ens, ofnike employees his texts to         . His wife basically got hfm fired.




           Highly Confidential - Attorneys' Eyes Only                                                                               NI KE 00033336
                                                                                                      Sun Decl. Ex. 47, Page 3 of 4
                                                                                                                                        ER-270
(260 of 298), Page 260 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 260 of 298

                        Case 3:18-cv-01477-JR                  Document 284-7              Filed 11/16/22           Page 4 of 4




                       Matt Lauerwas removed from his positionin less than 72 hours afterthe reports came throl!gh of his harassment.
                       Lulu Lemontookouttheir own CEO who had a multitude of !apsesinJudgment <:lnd wc1s perpetuat ing the "boys
                       club culture" inc luding cocaine use and dating an employee while she received "financial benefit" because .of the
                       relationship. MarketWateh published an article Feb 19, 2018about what theB0 companies that makeup the Dow
                       industrials are doing to address Sexuahharassment claims. Commitments have been issued around transparency,
                       re-issuing code ofethics, annuat trii!inings, andzern-tolerance p0Hcie5from many of the companies, Sadly Nike
                       has yettorespond. I bet our board doesn'thave a clue about how had itis inside and outside the berm. I have to
                       imaginenobody is being transparent with them. It's time for a change and for people to be held accountable at
                       t he highest levels. We need to visibly see action is being taken or the culture will carry on as it has. No amount
                       of train'lngs or video's or emails.from our CEO about culture and leadership will change this.

                       Nike isa boys club .. Some.body recently posted onglassdoor.com regarding Nike "cons: boys dub, with frat,boy
                       tVpe behavior that ls Ignored by mgmt." That is the truth. The network of men hold unwritten rules that define
                       insider vs outsiders, They get to decide Who is succe.ssful and who iS not. Females atthis company have felt very
                       little power to change a culture and environment that has been and co ntinues to he disrespectful towomen. Even
                       women are disre;spectful to women without consequence. This company must lay a new foundation and it must
                       start at the highest level of the organization. We need Nike to stand up for what is preaches ''EQUALITY"and start
                       treating men and women the same. The METOO movement has given women an opportunity to step out of the
                       shadows .a nd it has given them a massive dose of courage. SomebodyJs going to go public. It's Just a matter of
                       time,. Get your act together Nike, We have had enough.




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           Highly Confidential - Attorneys' Eyes Only                                                                            NIKE 00033337
                                                                                                    Sun Decl. Ex. 47, Page 4 of 4
                                                                                                                                     ER-271
(261 of 298), Page 261 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 261 of 298

                        Case 3:18-cv-01477-JR           Document 284-6      Filed 11/16/22   Page 1 of 3




                           Subject
                             **MORHL OC: MOR -



                           Question Reference# 180614-001904
                             Assigned: Carla Lowe
                             Date Created: 06/14/2018 02:52 PM
                             Date Last Updated: 08/30/2019 03:24 PM
                             Status: Resolved
                           Note By (Brenna Cordoba) (10/11/2018 02:03 PM)
                           Sr. HRBP: Hoogers
                           HRBP: Brouwer
                           ER:
                           Follow Up: Coaching document
                           Follow Up Date: 8-14-2018
                           Action Delivered By: Iris Yen, Michael Spillane, Rolien Hoogers


                           Customer                    4/2018 02:52
                           From MOR Hotline & Transitioned From Outside Counsel
                           HRLT: Hoogers
                           HRBP: Brouwer
                           Person of Interest:
                           Complainant:
                           Reference




                                                                                                    ,. EXHIBIT
                                                                                                            581
                                                                                                      Alison Daugherty
                                                                                                            1/8/2021
                                                                                                       Aleshia Macom - CSR, CCR




           Highly Confidential - Attorneys' Eyes Only                                                NIKE_00032843
                                                                                 Sun Decl. Ex. 46, Page 1 of 3
                                                                                                           ER-272
(262 of 298), Page 262 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 262 of 298

                           Case 3:18-cv-01477-JR             Document 284-6       Filed 11/16/22        Page 2 of 3




                                                            NIKE PROJECT STARFISH
                                                             EXECUTIVE SUMMARY
              Name:                                     I Reoorts to:
                                                        I
              Describe Investigation To Date
              Reviewed documentation; interviewed Starfish complainant, two current female direct reports, and current
              HRBP who handled Complainant's initial HR complaint.
              Spoke to Subject?
              No. Campi               did not want   to be interviewed due to strong fear of retaliation.
              Summarv of Select Alleaations:
              Gender Bias

              • Was completely disrespected by             in                 group. No problems until he came on
                board. Almost left NIKE because of him. Terrorized her. He wouldn't stop. Boys club attitude. Knows
                he can get away with it. Sad to say,             turned a blind eye.

              • Gender bias. On team with other men. They had no issues. They didn't get demeaned. She was top
                performer but was not set up for career advancement. Her male colleague moved up, doesn't
                understand how. Biggest concern is that she already reported this situation to HR and nothing was done
                except she was moved to a another role deeper in the organization, with no track for development.

              Ineffective Leadership

              • Fails or refuses to communicate with his team regarding key facts (e.g., new hires, project details and
                assignments, promotion of new boss); displays lack of interest in developing careers of his reports; in his
                current role, has never called a group meeting of his direct reports on any issues, including recent MOR­
                related events and                  termination; indignantly refused team member request for huddle to
                discuss Montagne's promotion and impact on team.




                 SEYFARTH--
                       �H AW�
           Highly Confidential - Attorneys' Eyes Only                                                            NIKE 00032844
                                                                                          Sun Decl. Ex. 46, Page 2 of 3
                                                                                                                      ER-273
(263 of 298), Page 263 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 263 of 298

                           Case 3:18-cv-01477-JR              Document 284-6              Filed 11/16/22          Page 3 of 3




                     Re:      Coaching - Matter of Respect                                         Beaverton, July 20 2018



                     This e-mail confirms our discussion on July 11 2018. At that time, we shared with you that we received
                     concerns that you engaged in behavior inconsistent with Nike's Matter of Respect policy.

                     In general, we received concerns that you engaged in behavior that was perceived as perpetuating the "in
                     crowd vs. the out crowd", prioritizing work content over team dynamics and employee development and not
                     delegating appropriately.

                     As you know, we take all concerns seriously and our Matter of Respect team investigated. That investigation
                     concluded that you engaged in some conduct inconsistent with our policy and that the conduct and
                     employees' perceptions about your conduct were serious enough to warrant follow-up and coaching. As we
                     discussed, going forward, you will focus on the following;

                     • Promote Inclusion. Remain focused on creating an environment where all employees feel valued and
                     included, whether in meetings, lunch outings or social events.
                     • Value Diverse Viewpoints. Actively value the contributions of other employees, invest in the development
                     of team members
                     • Model Teamwork. Collaborate openly and often with team members, and avoid forming cliques or
                     subgroups.

                     In addition, our commitments and investments to support you with the above are ;
                         • Ongoing and regular feedback
                         • A formal 360 degree feedback in August 2018
                         • Partnership with a leadership coach
                         • Another formal 360 degree feedback early 2019.

                           we are confident you understand the seriousness of this situation and the importance of creating a
                     culture of inclusion and respect. We expect that you will work to address the concerns above and to model
                     Nike values and leadership expectations.

                     Also, please remember that the Matter of Respect policy prohibits retaliating against an individual because
                     they raised concerns or complaints and/ or participated in an investigation. Behavior that can be considered
                     retaliation can be direct (taking a negative employment action against someone) or subtle (ignoring, isolating
                     or freezing out persons suspected of participating in a complaint or investigation). Anyone found to have
                     engaged in retaliatory behavior will be subject to corrective action, up to and including termination.

                     We understand that this process is difficult for all involved, and we thank you for your professionalism and
                     commitment to move forward. As part of that commitment, we ask that you refrain from communicating
                     about the investigation or its findings with others. If you have concerns or you wish to discuss this further, I
                     urge you to contact me or Rolien Hoogers,

                     This summary of our conversation will be retained by Employee Relations as confirmation of our discussion
                     and your commitment to make improvements.

                     Regards,




                                                                       Page 1 of 1




           Highly Confidential - Attorneys' Eyes Only                                                                          NI KE_00032845
                                                                                                  Sun Decl. Ex. 46, Page 3 of 3
                                                                                                                                   ER-274
(264 of 298), Page 264 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 264 of 298

                       Case 3:18-cv-01477-JR         Document 275        Filed 11/13/22     Page 1 of 2




                                       IN THE UNITED STATES DISTRICT COURT

                                             FOR THE DISTRICT OF OREGON




              KELLY CAHILL, SARA JOHNSTON,                                  No. 3:18-cv-01477-JR
              LINDSAY ELIZABETH, and HEATHER
              HENDER, individually and on behalf of                         ORDER
              others similarly situated,

                                     Plaintiffs,

                     v.

              NIKE, INC., an Oregon Corporation,

                                     Defendant.


              HERNÁNDEZ, District Judge:

                     Magistrate Judge Jolie A. Russo issued a Findings and Recommendation on September

              30, 2022, in which she recommends that the Court grant in part and deny in part Defendant’s

              Motion to Seal [171] as set out in the Findings and Recommendation and grant the non-party

              media organizations’ Motion to Intervene [205] to the extent they request intervention for the

              limited purpose of challenging the parties’ stipulated redactions in regard to the briefing




              1 – ORDER
                                                                                                            ER-275
(265 of 298), Page 265 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 265 of 298

                      Case 3:18-cv-01477-JR         Document 275        Filed 11/13/22      Page 2 of 2




             surrounding plaintiffs’ Motion for Class Certification and denied in all other respects with leave

             to renew. F&R, ECF 273. The matter is now before the Court pursuant to 28 U.S.C. §

             636(b)(1)(B) and Federal Rule of Civil Procedure 72(b).

                    Because no objections to the Magistrate Judge’s Findings and Recommendation were

             timely filed, the Court is relieved of its obligation to review the record de novo. United States v.

             Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003) (en banc); see also United States v.

             Bernhardt, 840 F.2d 1441, 1444 (9th Cir. 1988) (de novo review required only for portions of

             Magistrate Judge’s report to which objections have been made). Having reviewed the legal

             principles de novo, the Court finds no error.

                                                      CONCLUSION

                    The Court adopts Magistrate Judge Russo’s Findings and Recommendation [273].

             Accordingly, Defendant’s Motion to Seal [171] is granted in part and denied in part and the

             non-party media organizations’ Motion to Intervene [205] are granted to the extent that they

             requested intervention for the limited purpose of challenging the parties’ stipulated redactions

             in regard to the briefing surrounding plaintiffs’ Motion for Class Certification and denied in all

             other respects with leave to renew.

                    IT IS SO ORDERED.



                                 November 13, 2022
                    DATED: __________________________.




                                                                   MARCO A. HERNÁNDEZ
                                                                   United States District Judge




             2 – ORDER
                                                                                                           ER-276
(266 of 298), Page 266 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 266 of 298

                     Case 3:18-cv-01477-JR         Document 273       Filed 09/30/22     Page 1 of 15




                                      IN THE UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON



             KELLY CAHILL, SARA JOHNSTON,                                          Case No. 3:18-cv-01477-JR
             LINDSAY ELIZABETH, and HEATHER
             HENDER, individually and on behalf of                                         FINDINGS AND
             others similarly situated,                                                RECOMMENDATION

                            Plaintiffs,
                    v.

             NIKE, INC., an Oregon Corporation,

                         Defendant.
             ___________________________________

             RUSSO, Magistrate Judge:

                    Named plaintiffs Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and Heather Hender bring

             this putative class and collective action alleging that defendant Nike systematically discriminates

             against them and other similarly situated women regarding salary and promotions. Several

             additional plaintiffs filed consents to join this action. Defendant now moves to redact certain

             portions of the documents surrounding plaintiffs’ Motion for Class Certification. Certain non-party

             media organizations subsequently moved to intervene. For the reasons stated below, defendant’s

             motion should be granted in part and denied in part, and the non-party media organizations’ motion

             should be granted in part and denied in part.



             Page 1 – FINDINGS AND RECOMMENDATION
                                                                                                         ER-277
(267 of 298), Page 267 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 267 of 298

                     Case 3:18-cv-01477-JR         Document 273       Filed 09/30/22     Page 2 of 15




                                                       DISCUSSION

                    On June 17, 2019, this Court entered a stipulated Protective Order to govern the parties’

             exchange of discovery materials. The Protective Order details procedures allowing the parties to

             provisionally file documents containing privileged or confidential information under seal, as well

             as procedures for those designations to be challenged. In particular,

                    [i]f a non-designating party is filing a document that another party has designated
                    as “Confidential” or “Attorneys’ Eyes Only,” then the non-designating party shall
                    file the document under seal. If the non-designating party makes a request in writing
                    to have the document unsealed and designating party does not file, within twenty
                    (20) calendar days, a motion that shows good cause to maintain the document under
                    seal, then the Court shall unseal the document.

             Protective Order 4 (doc. 82).

                    On March 15, 2022, defendant filed the present motion to redact certain portions of

             plaintiffs’ Motion for Class Certification, and supporting documents, in lieu of sealing those

             documents in their entirety. Briefing was completed in regard to that motion on April 6, 2022. On

             April 8, 2022, the non-party media organizations moved to intervene for the limited purpose of

             further opposing defendant’s motion and challenging the parties’ stipulated redactions.

             I.     Motion to Seal

                    The press and the public have a “general right to inspect and copy public records and

             documents, including judicial records.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597

             (1978). As a result, a strong presumption in favor of access to court records exists that “can be

             overridden given sufficiently compelling reasons for doing so.” Foltz v. State Farm Mut. Auto. Ins.

             Co., 331 F.3d 1122, 1135 (9th Cir. 2003). However, an exception exists in regard to judicial

             records filed in relation to non-dispositive motions, which warrant a more lenient standard. In re

             Midland Nat’l Life Ins. Co. Annuity Sales Prac. Litig., 686 F.3d 1115, 1119 (9th Cir. 2012) (per




             Page 2 – FINDINGS AND RECOMMENDATION
                                                                                                            ER-278
(268 of 298), Page 268 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 268 of 298

                     Case 3:18-cv-01477-JR         Document 273        Filed 09/30/22      Page 3 of 15




             curiam). In such situations, the party seeking to seal need only demonstrate “good cause” under

             Fed. R. Civ. P. 26(c). Id.

                    Thus, the applicable standard depends on the document’s relationship to the merits of the

             plaintiff’s claims. See Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-99 (9th

             Cir. 2016) (the focus is on whether the material “at issue is more than tangentially related to the

             underlying cause of action”). Under the “compelling reasons” standard, the party seeking to seal

             or redact a judicial record bears the burden of showing that compelling reasons supported by

             specific factual findings outweigh the general history of access and the public policies favoring

             disclosure. Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006). The

             “good cause” standard, in contrast, requires only a showing that “specific prejudice or harm will

             result.” Phillips ex rel. Est. of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002).

                    Defendant seeks to redact the following categories of information:

                    (1) the names of any individuals (complainants, subjects and witnesses) named in
                    the context of allegations regarding sexual harassment or gender discrimination at
                    Nike; 1 (2) briefing and declarations filed in relation to Plaintiffs’ motion to compel
                    Nike’s privileged pay equity, promotion and compensation analyses that reflect
                    confidential legal strategy; and (3) Nike’s confidential and proprietary
                    compensation information, including Nike’s compensation structure as well as pay
                    shortfall conclusions derived from Attorneys’ Eyes Only (“AEO”) compensation
                    data of current and former Nike employees who are not parties to the litigation.

             Def.’s Mot. Seal 1 (doc. 171).

                    Defendant, however, does not delineate which particular objection relates to each

             document (or, for that matter, page) and, at times, the parties’ designations are seemingly

             inconsistent. Moreover, defendant erroneously designated certain redactions in its initial filing,



             1
               As defendant denotes, “[t]he parties have reached an agreement on this topic except with regard
             to three former employees who were the subjects of complaints and allegations regarding sexual
             harassment and gender discrimination,” and who are expressly named in the First Amended
             Complaint. Def.’s Mot. Seal 5 (doc. 171).

             Page 3 – FINDINGS AND RECOMMENDATION
                                                                                                              ER-279
(269 of 298), Page 269 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 269 of 298

                     Case 3:18-cv-01477-JR         Document 273        Filed 09/30/22     Page 4 of 15




             resulting in the scope of disputed documents being submitted three times by defendant, with its

             final submission encompassing approximately 500 additional, or 1635 total, pages. These practices

             resulted in a tremendous expenditure of time by the Court requiring it to review and track hundreds

             of documents, tactics which defendant has been specifically cautioned against in the past. See, e.g.,

             Order 2 (Apr. 1, 2021) (doc. 136); see also Foltz, 331 F.3d at 1130 (the moving party bears the

             burden of proof “for each particular” nondisclosure).

                    In any event, in addition to the ones previously agreed upon, plaintiffs concede that at least

             some of the proposed redactions are appropriate – specifically, portions of “page 19 and the chart

             of Panel A and Panels B-C on the bottom of page [55] of Dr. Neumark’s report,” as well as certain

             inadvertent inclusions and references to third parties in Exhibit 11 and legal advice in Exhibit 12,

             respectively, to Byron Goldstein’s declaration. Pls.’ Resp. to Mot. Seal 11 (doc. 175); Kan Decl.

             Ex. A, at 89, 125, 536, 594-99, 601-02, 611-12, 616-24, 627-28, 631-33, 643-46, 649-50, 653-55,

             657-62, 666, 678, 680, 784-87, 794-96 (doc. 176-1); see generally Kan Decl. Ex. B (doc. 176-2).

             Defendant, in turn, appears to withdraw some of the redactions articulated in its initial motion,

             especially relating to third parties and purportedly confidential business information. 2 See

             generally Prince Decl. Ex. A (doc. 201-1); compare Def.’s Mot. Seal 2 (doc. 171), with Prince

             Decl. ¶ 4 (doc. 201). The Court’s analysis is therefore limited to the proposed redactions that

             remain in dispute following the completion of briefing, as detailed below.




             2
               Defendant’s revised submissions, however, fail to incorporate many of plaintiffs’ newly
             recognized redactions, creating the appearance of dispute in certain circumstances where none
             exists. Compare generally Kan Decl. Exs. A-B (doc. 176), with Prince Decl. A (doc. 201-1).
             Similarly, defendant includes Exhibit 14 of the Goldstein Declaration in its list of documents
             needing a ruling, yet the only proposed redactions therein appear to be stipulated. Prince Decl. ¶ 4
             (doc. 201); but see Prince Decl. A, at 1096-1171 (doc. 201-1).

             Page 4 – FINDINGS AND RECOMMENDATION
                                                                                                           ER-280
(270 of 298), Page 270 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 270 of 298

                     Case 3:18-cv-01477-JR          Document 273        Filed 09/30/22      Page 5 of 15




                    A.      Exhibits A-B to the Neumark Declaration

                    Defendant seeks to redact portions of Dr. Neumark’s expert and rebuttal reports that

             include pay shortfall conclusions (both the dollar amount and percentage representations, but not

             the standard deviations), which were undisputedly culled from defendant’s AEO designations. In

             particular, defendant argues that, because Dr. Neumark’s conclusions were “derived from various

             analyses of Nike’s confidential and proprietary compensation information of current and former

             employees,” they impermissibly disclose “sensitive personal financial information of a non-party.”

             Def.’s Mot. Seal 8 (doc. 171). Defendant further contends that the “aggregate of confidential and

             proprietary information . . . also warrant[s] protection” because the revelation of such information

             would “help Nike’s competitors and hurt Nike’s competitive standing.” Id. at 8-11.

                    Initially, the Court finds that defendant has proffered little more than broad assertions of

             harm. Significantly, defendant does not meaningfully address how the information set forth in Dr.

             Neumark’s expert report implicates any personal or proprietary information. See generally id.;

             Def.’s Reply to Mot. Seal (doc. 200). This shortcoming is especially problematic given that the

             “compelling reasons” standard 3 applies to the disputed information in Exhibits A and B to the

             Neumark Declaration, as these statistics are integral to plaintiffs’ disparate impact and treatment

             claims. See J.N. v. Or. Dep’t of Educ., 2020 WL 589534, *2 (D. Or. Feb. 5, 2020) (applying the

             “compelling reasons” standard to an expert report filed in relation to the plaintiffs’ motion for class




             3
               Defendant acknowledges the “compelling reasons” standard but nonetheless argues that the
             “good case” standard applies to certain categories of information. See, e.g., Def.’s Reply to Mot.
             Seal 10 (doc. 200). In contrast, the non-party media organizations advocate for the wholesale
             application of the “compelling reasons” standard. Neither the parties nor the non-party media
             organizations furnish any briefing concerning whether the motion itself determines the applicable
             standard, or a document-by-document analysis is required. The Court need not resolve this issue
             because defendant’s motion largely fails to present even “good cause” for the proposed non-
             disclosures.

             Page 5 – FINDINGS AND RECOMMENDATION
                                                                                                             ER-281
(271 of 298), Page 271 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 271 of 298

                     Case 3:18-cv-01477-JR          Document 273        Filed 09/30/22     Page 6 of 15




             certification because it was “more than tangentially related to the underlying cause of action”);

             Vesta Corp. v. Amdocs Mgmt. Ltd., 312 F.Supp.3d 966, 972 (D. Or. 2018) (generalized assertions

             that “information is proprietary and confidential” fail to meet the “compelling reasons” standard);

             see also Buchanan v. Tata Consulting Servs. Ltd., 2017 WL 6611653, *12 (N.D. Cal. Dec. 27,

             2017) (“gross statistical disparities in the treatment of members of a protected class alone may in

             a proper case constitute prima facie proof of a pattern or practice of discrimination”) (citations and

             internal quotations omitted; emphasis in original).

                    Stated differently, the Court finds that Nike’s proffered reasons to seal are neither

             compelling nor, on balance, outweigh the public interest in disclosure. Notably, the personal

             financial information of non-parties is not implicated by the aggregated shortfall dollars and

             percentages at issue here. Except in one isolated instance, Dr. Neumark’s aggregated results –

             while derived from protected compensation data – do not reveal the financial information of any

             individual, specific subfamily, or job level, or overarching pay practice. 4 Prince Decl. A, at 71-

             272 (doc. 201-1). Rather, these statistics merely provide representative data or comparator

             information between male and female employees.

                    As a result, defendant does not (and presumably cannot) explain how these shortfall

             calculations divulge proprietary information about Nike’s business practices or compensation

             structure that would be valuable to competitors. Defendant’s alleged refusal to pay female

             employees fairly is a matter of public import and the subject matter of this litigation. Accordingly,




             4
               The one exception being on page 75 of Dr. Neumark’s report, which includes information about
             defendant’s starting salaries. Prince Decl. A, at 146 (doc. 201-1); cf. Kenny v. Pac. Inv. Mgmt. Co.
             LLC, 2018 WL 3328224, *2 (W.D. Wash. July 6, 2018) (granting a motion to seal compensation
             information, noting the aptness of the defendant’s argument that the disclosure compensation
             amounts “would be a boon to competitors who could use such information to recruit [the
             defendant’s] personnel or otherwise compete with [the defendant] for talent”).

             Page 6 – FINDINGS AND RECOMMENDATION
                                                                                                            ER-282
(272 of 298), Page 272 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 272 of 298

                     Case 3:18-cv-01477-JR          Document 273        Filed 09/30/22     Page 7 of 15




             there is no apparent public scandal or confidential information associated with the proposed

             redactions, and “the mere fact that the production of records may lead to a litigant’s

             embarrassment, incrimination, or exposure to further litigation will not, without more, compel the

             court to seal its records.” Kamakana, 447 F.3d at 1179; see also Moussouris v. Microsoft Corp.,

             2018 WL 1159251, *12 (W.D. Wash. Feb. 16), adopted by 2018 WL 1157997 (W.D. Wash. Mar.

             1, 2018) (denying a motion to seal in a putative class action surrounding gender-based employment

             discrimination where the defendant’s true concern surrounding the disclosure of “raw diversity

             data” was not “competitive harm [but rather that it] would have a negative effect on its

             reputation”). Defendant’s motion should be granted as to the salary information displayed on page

             75 of Dr. Neumark’s expert report and denied in all other respects.

                    B.      Exhibits 11-12 to the Goldstein Declaration; Exhibit 74 to the Sun Declaration

                    Defendant asserts references to the names of three former Nike employees whose actions

             are challenged via the First Amended Complaint should be redacted because they concern

             “sensitive personal information” and surround “inflammatory allegations” that have not yet been

             proven. Def.’s Mot. Seal 5-6 (doc. 171). Defendant also contends references to “confidential legal

             strategy, legal advice provided to Nike Legal, and requests for legal advice regarding these

             analyses” are privileged and should not be disclosed. Id. at 7.

                    Exhibit 11 of the Goldstein Declaration contains three disputed redactions to the former

             Nike employees at issue – i.e., on pages 28, 61, and 86. 5 Prince Decl. A, at 732, 765, 790 (doc.

             201-1). The Court has thoroughly reviewed these portions of the record and finds that, with the




             5
               This exhibit also includes an allegedly disputed redaction on page 81. Prince Decl. A, at 785
             (doc. 201-1). Plaintiff clarifies that this “[w]as not intended as a redaction” and instead was
             originally highlighted “to call to the Court’s attention [certain] text.” Kan Decl. Ex. B, at 17 (doc.
             176-2).

             Page 7 – FINDINGS AND RECOMMENDATION
                                                                                                            ER-283
(273 of 298), Page 273 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 273 of 298

                     Case 3:18-cv-01477-JR         Document 273        Filed 09/30/22     Page 8 of 15




             exception of the latter two references in ¶ 30 on page 28, 6 they directly track the information that

             has already been made public (and mainly concern the fact that plaintiffs have sought discovery

             regarding the allegations surrounding these individuals). Compare id., with First Am. Compl. ¶¶

             12, 66-71, 81-84, 128, 182 (doc. 42) and Order (Oct. 31, 2019) (doc. 89); see also Williams v.

             Apple, Inc., 2021 WL 2476916, *3 (N.D. Cal. June 17, 2021) (declining to seal an email that

             largely discussed information already made public via the docket and the press).

                    Turning to the second category of challenged information, as addressed above, plaintiff

             concedes that references to the content of legal advice sought or obtained by defendant should be

             redacted. Defendant appears to have removed certain redactions in these exhibits as well. As such,

             the only remaining dispute surrounds foundational facts regarding defendant’s 2018 pay equity

             promotional analysis that occur on page 88 of Exhibit 12 of the Goldstein Declaration, and on

             pages 23-25 of Exhibit 74 of the Sun Declaration. Prince Decl. A, at 886, 1534-36 (doc. 201-1).

                    Defendant acknowledges that the public announcement of this promotional study should

             not be sealed. Additionally, defendant does not seek to redact a reference on page 24 of plaintiff’s

             Motion for Class Certification to the “halt[ing] [of] the promotion analysis before it could be

             completed.” Id. at 34. In any event, while the reasons behind defendant’s cessation of this study

             may be privileged, the mere fact that the study was stopped is not. Nor does this fact, in and of

             itself, touch upon any confidential business strategy or information. Defendant’s mere desire to

             keep this information confidential is inadequate in this context, nor does it outweigh the public’s

             interest in disclosure, especially in light of defendant’s initial and widely-disseminated statements




             6
               These facts are not clearly alleged in the First Amended Complaint and are consistent with the
             range of redactions plaintiffs have stipulated to. See, e.g., Prince Decl. A, at 730 (doc. 201-1).

             Page 8 – FINDINGS AND RECOMMENDATION
                                                                                                           ER-284
(274 of 298), Page 274 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 274 of 298

                     Case 3:18-cv-01477-JR         Document 273        Filed 09/30/22     Page 9 of 15




             concerning the study. Defendant’s motion should be granted as to the latter two references in ¶ 30

             on page 28 of Exhibit 11 of the Goldstein Declaration and denied in all other respects.

                    C.      Plaintiffs’ Motion for Class Certification

                    Finally, defendant seeks to redact portions of plaintiffs’ Motion for Class Certification that

             reference Dr. Neumark’s pay shortfall conclusions or the fact that Nike stopped its promotion

             impact study in 2018. Prince Decl. Ex. A, at 2-70 (doc. 201-1). As addressed above, defendant has

             not shown a sufficient reason to prevent public disclosure of this information. Defendant’s motion

             should be denied in this regard.

             II.    Motion to Intervene

                    As noted above, there is a strong presumption in favor of public access to court records,

             but “access . . . is not absolute.” Kamakana, 447 F.3d at 1178. Likewise, Rule 26 allows a court

             to issue a protective order – for “good cause” – that specifies the terms of discovery or limits its

             public disclosure. Fed. R. Civ. P. 26(c)(1); but see San Jose Mercury News, Inc. v. U.S. Dist. Ct.,

             187 F.3d 1096, 1103 (9th Cir. 1999) (blanket protective orders are “inherently subject to challenge

             and modification”).

                    “Nonparties seeking access to a judicial record in a civil case may do so by seeking

             permissive intervention under Rule 24(b)(2).” San Jose Mercury News, 187 F.3d at 1100. “A

             motion for permissive intervention pursuant to Rule 24(b) is directed to the sound discretion of the

             district court.” Id. Where, as here, intervention is sought for the limited purpose of seeking access

             to documents, the moving party must show “a timely motion” and “a common question of law and

             fact between the movant’s claim or defense and the main action.” Beckman Indus., Inc. v. Int’l Ins.

             Co., 966 F.2d 470, 473 (9th Cir. 1992). “Even if an applicant satisfies those threshold requirements,

             the district court has discretion to deny permissive intervention,” taking into account, among other




             Page 9 – FINDINGS AND RECOMMENDATION
                                                                                                           ER-285
(275 of 298), Page 275 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 275 of 298

                     Case 3:18-cv-01477-JR         Document 273        Filed 09/30/22      Page 10 of 15




             factors, “whether the intervention will unduly delay or prejudice the adjudication of the original

             parties’ rights,” “whether the intervenors’ interests are adequately represented by other parties,”

             and “whether parties seeking intervention will significantly contribute to full development of the

             underlying factual issues in the suit and to the just and equitable adjudication of the legal questions

             presented.” Donnelly v. Glickman, 159 F.3d 405, 412 (9th Cir. 1998); Perry v. Schwarzenegger,

             630 F.3d 898, 905 (9th Cir. 2011) (citing Spangler v. Pasadena Bd. of Educ., 552 F.2d 1326, 1329

             (9th Cir. 1977)).

                    The non-party media organizations seek to intervene “to provide further briefing to the

             Court regarding the insufficiency of the parties’ justification for agreed-upon redactions as well as

             [their] objections to the categories of information Defendant alleges should be subject to redaction

             or sealing.” Non-Party’s Mot. Intervene 8 (doc. 205). Concerning the former, the non-party media

             organizations request “unredacted copies of all documents filed in this case since January 10,

             2022,” including information designated under the Protective Order as “Confidential” or “AEO,”

             to independently assess the propriety of parties’ stipulations. Non-Party’s Reply to Mot. Intervene

             2 (doc. 229). Alternatively, “if the Court allows intervention but denies further briefing, [the non-

             party media organizations] ask that the parties be directed to re-file unsealed or redacted documents

             relating them to their previously sealed ECF. Nos. and with any requested sealings or redactions

             permitted only upon a finding by the Court that compelling reasons exist to seal such information

             from the public.” Non-Party’s Mot. Intervene 3 (doc. 205).

                    Here, there is no meaningful dispute surrounding the threshold requirements for

             intervention. While defendant asserts the Motion to Intervene is “procedurally untimely,” there is

             simply no basis for the Court to conclude the non-party media organizations have sat on their

             rights. Def.’s Resp. to Mot. Intervene 14-15 (doc. 219). Indeed, it is undisputed that the parties




             Page 10 – FINDINGS AND RECOMMENDATION
                                                                                                             ER-286
(276 of 298), Page 276 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 276 of 298

                     Case 3:18-cv-01477-JR         Document 273         Filed 09/30/22     Page 11 of 15




             have been conferring with the non-party media organizations about this issue since March 2022,

             and the Motion to Intervene was filed two days after defendant’s Reply to its Motion to Seal. See

             San Jose Mercury News, 187 F.3d at 1101 (“delays measured in years have been tolerated where

             an intervenor is pressing the public’s right of access to judicial records”) (collecting cases). Courts

             have also recognized a common question of law and fact where the sole issue is the confidentiality

             of sealed documents. See, e.g., Jessup v. Luther, 227 F.3d 993, 998-99 (7th Cir. 2000).

                    Although defendant opposes intervention on additional grounds (namely, that the parties

             adequately represent their interests and intervention would “make an end-run on the Protective

             Order”), the Court disagrees. Def.’s Resp. to Mot. Intervene 1 (doc. 219). Courts routinely permit

             the press to intervene for the purpose of unsealing judicial records and, in regard to the stipulated

             redactions, the non-party media organizations’ point of view is not necessarily represented in the

             litigation. Accordingly, the Court finds that the non-party media organizations satisfy the

             requirements set forth in Fed. R. Civ. P. Rule 24(b)(2).

                    Regardless, allowing additional briefing or unfettered access to documents underlying

             plaintiff’s Motion for Class Certification is not warranted, at least at this stage in the proceedings.

             As to the disputed redactions, intervention will not advance or contribute to the development of

             the underlying issues. The non-party media organizations have adequately stated their position on

             the record, which the Court has thoroughly reviewed in resolving defendant’s motion. To the

             extent the non-party media organizations may wish to devote additional time and effort opposing

             the Motion to Seal, the Court finds that their interests are adequately represented by plaintiffs. See

             Nw. Forest Res. Council v. Glickman, 82 F.3d 825, 838 (9th Cir. 1996) (“[w]here an applicant for

             intervention and an existing party have the same ultimate objective, a presumption of adequacy of

             representation arises”) (citation and internal quotations omitted). Moreover, defendant’s motion




             Page 11 – FINDINGS AND RECOMMENDATION
                                                                                                             ER-287
(277 of 298), Page 277 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 277 of 298

                     Case 3:18-cv-01477-JR          Document 273        Filed 09/30/22      Page 12 of 15




             has been fully briefed for nearly six months; allowing additional, and likely duplicative, briefing

             would unnecessarily prolong this litigation.

                    As to the redactions that have been stipulated-to pursuant to the Protective Order, the Court

             may revisit this issue at a later point in the litigation. 7 There have been nearly 300 court filings in

             this case, the vast majority of which have been filed publicly and are available for consumption by

             the press or other members of the public. While the parties have not sought to individually address

             each of the stipulated non-disclosures underlying plaintiffs’ Motion for Class Certification, they

             concern, at least in part: (1) the names of any individuals named in allegations of sexual harassment

             or gender discrimination at Nike that have not already been made public; (2) proprietary

             information that either qualifies as a trade secret or presents competitors with an unfair business

             advantage; (3) information that is outside the scope of this case; or (4) privileged information.8

             The Protective Order provides a process for downgrading confidential designations or for the Court




             7
               As both case law and the non-party media organizations acknowledge, it is not uncommon for
             the press to seek to unseal documents subject to a protective order after the merits have been
             adjudicated. See, e.g., Non-Party’s Mot. Intervene 11 (doc. 205); Confederated Tribes of Siletz
             Indians of Or. v. Weyerhaeuser Co., 340 F.Supp.2d 1118, 1121 (D. Or. 2003). Furthermore,
             defendant represents that the non-party media organizations “requested to postpone a decision on
             their motion until the Court resolves the Parties’ sealing issues,” suggesting that there is no
             imminent need for accessing sealed portions of the docket. Prince Decl. ¶ 4 (doc. 220); see also
             Def.’s Resp to Mot. Intervene 5 (doc. 219) (if the non-party media organizations “have access to
             confidential information on a real-time basis like the Parties, then it would be impossible to later
             ‘unring the bell’. . . the Court’s ruling(s) on redaction matters in the cure here”).
             8
               In light of the Protective Order, and with the exception of the disputed redactions discussed
             herein, the Court has never been asked to formally analyze whether a particular document should
             be sealed. As the non-party media organizations accurately observe, defendant “fail[ed] to present
             this Court with any briefing addressing the parties’ agreed-to categories of information for
             sealing.” Non-Party’ Reply to Mot. Intervene (doc. 229); see also Pls.’ Resp. to Mot. Intervene 2
             (doc. 218) (while “plaintiffs have spent the months since filing its motion for class certification
             negotiating in good faith with Nike about what documents should remain sealed,” they, in fact, are
             “not advocating that any documents should remain sealed . . . sunlight is the best disinfectant”).
             As such, the aforementioned categories of redactions are simply those that are readily inferred.

             Page 12 – FINDINGS AND RECOMMENDATION
                                                                                                              ER-288
(278 of 298), Page 278 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 278 of 298

                    Case 3:18-cv-01477-JR          Document 273       Filed 09/30/22      Page 13 of 15




             to resolve disputes concerning the same, which the parties have been successfully utilizing. That

             is, the parties have been actively working to review previously sealed documents and re-lodge

             unsealed or redacted versions where appropriate. See, e.g., Order (Apr. 5, 2022) (doc. 195); Order

             (Apr. 12, 2022) (doc. 208); Order (June 27, 2022) (doc. 264); Order (July 28, 2022) (doc. 272).

                    Under these circumstances, allowing the non-party media organization to access filings

             under seal so that they may evaluate and, if necessary, move to unseal them eviscerates the

             safeguards built into the Protective Order for “Confidential” and/or “AEO” information, and has

             the potential to erode the privacy rights of third-parties and/or disturb the existing compromise

             between the parties. 9 See In re Nat’l Sec. Agency Telecomm’ns Records Litig., 2007 WL 549854,

             *4 (N.D. Cal. Feb. 20, 2007) (granting the media’s motions to intervene for the purpose of

             unsealing judicial records but denying “their motions to unseal documents at the present time”

             where “the parties already released redacted versions of the documents at issue”); see also Velasco

             v. Chrysler Grp. LLC, 2017 WL 445241, *5 (C.D. Cal. Jan. 30, 2017), aff’d, 747 Fed.Appx 463

             (9th Cir. 2018) (“courts routinely decide motions to unseal brought by intervenors without first

             unsealing the documents at issue”).

                    The Court finds that the aforementioned considerations counsel against allowing unbridled

             access to filings emanating on or after January 10, 2022, at this juncture. The Court nevertheless

             recognizes the distinct perspective the non-party media organizations offer to this litigation, along

             with their well-established common law and First Amendment rights to challenge the sealing of

             judicial records. Therefore, the Court finds the most prudent and efficient course of action is to

             grant the non-party media organizations’ motion to intervene but deny their request for further



             9
               As the docket in this case reflects, the parties have engaged in protracted litigation surrounding
             the scope of plaintiffs’ allegations and pre-certification discovery, which has resulted in the
             utilization of a significant amount of judicial time and resources.

             Page 13 – FINDINGS AND RECOMMENDATION
                                                                                                           ER-289
(279 of 298), Page 279 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 279 of 298

                     Case 3:18-cv-01477-JR         Document 273        Filed 09/30/22      Page 14 of 15




             briefing and to unseal or access documents produced under the Protective Order. However,

             following the final resolution of plaintiffs’ Motion for Class Certification, the non-party media

             organizations may file a renewed motion for the purposes of opposing any remaining stipulated

             redactions. At that point the parties shall identify all exhibits admitted into evidence they contend

             should remain sealed and include explanations supporting their contentions.

                                                   RECOMMENDATION

                   Defendant’s Motion to Seal (doc. 171) should be granted in part and denied in part as stated

             herein. The non-party media organizations’ Motion to Intervene (doc. 205) should be granted to

             the extent they request intervention for the limited purpose of challenging the parties’ stipulated

             redactions in regard to the briefing surrounding plaintiffs’ Motion for Class Certification and

             denied in all other respects with leave to renew.

                   This recommendation is not an order that is immediately appealable to the Ninth Circuit

             Court of Appeals. Any notice of appeal pursuant to Rule 4(a)(1), Federal rules of Appellate

             Procedure, should not be filed until entry of the district court’s judgment or appealable order. The

             parties shall have fourteen (14) days from the date of service of a copy of this recommendation

             within which to file specific written objections with the court. Thereafter, the parties shall have

             fourteen (14) days within which to file a response to the objections. Failure to timely file objections

             to any factual determination of the Magistrate Judge will be considered as a waiver of a party’s

             right to de novo consideration of the factual issues and will constitute a waiver of a party’s right




             Page 14 – FINDINGS AND RECOMMENDATION
                                                                                                             ER-290
(280 of 298), Page 280 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 280 of 298

                        Case 3:18-cv-01477-JR         Document 273        Filed 09/30/22     Page 15 of 15




                 to appellate review of the findings of fact in an order or judgment entered pursuant to this

                 recommendation.

                       DATED this 30th day of September, 2022.


                                                        /s/ Jolie A. Russo
                                                _____________________________
                                                          Jolie A. Russo
                                                  United States Magistrate Judge




                 Page 15 – FINDINGS AND RECOMMENDATION
                                                                                                         ER-291
(281 of 298), Page 281 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 281 of 298

                      Case 3:18-cv-01477-JR       Document 205    Filed 04/08/22   Page 1 of 18




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                                            UNITED STATES DISTRICT COURT
                                                 DISTRICT OF OREGON
                                                 PORTLAND DIVISION


                                                                 Case No. 3:18-cv-01477-JR
                KELLY CAHILL, et al., individually and
                on behalf of others similarly situated,

                              Plaintiffs,                        MOTION OF NON-PARTY MEDIA
                                                                 ORGANIZATIONS INSIDER, INC.
                       v.                                        d/b/a BUSINESS INSIDER, ADVANCE
                                                                 LOCAL MEDIA LLC d/b/a
                NIKE, INC., an Oregon Corporation,               OREGONIAN MEDIA GROUP, AND
                                                                 AMERICAN CITY BUSINESS
                              Defendant.                         JOURNALS, INC. d/b/a PORTLAND
                                                                 BUSINESS JOURNAL TO INTERVENE
                                                                 FOR THE LIMITED PURPOSE OF
                                                                 MOVING TO UNSEAL JUDICIAL
                                                                 RECORDS AND TO OPPOSE
                                                                 DEFENDANT’S MOTION TO SEAL




               MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
               Page 1
                                                                                              ER-292
(282 of 298), Page 282 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 282 of 298

                     Case 3:18-cv-01477-JR          Document 205        Filed 04/08/22     Page 2 of 18




                                               LR 7-1(a) CERTIFICATION

                    Pursuant to Local Rule 7-1(a), counsel for Media Intervenors conferred in good faith with

             counsel for Plaintiffs Cahill, et al., and Defendant Nike, Inc. regarding this motion, and the matters

             contained herein. Plaintiffs and Defendant take no position with respect to the instant motion. As

             such, the parties were unable to resolve the dispute.

                                                          MOTION

                    Pursuant to Fed. R. Civ. P. 24(a) and (b) and Local Rule 7, non-party media organizations

             Insider Inc., d/b/a Business Insider, Advance Local Media LLC d/b/a Oregonian Media Group,

             and American City Business Journals, Inc. d/b/a Portland Business Journal (collectively, the

             “Media Intervenors”) hereby move for leave to intervene in the above-captioned proceeding for

             the limited purpose of vindicating the right of the press and the public to access judicial records in

             this matter. In particular, Media Intervenors seek to unseal judicial records filed entirely under

             seal by the parties pursuant to a protective order1 and to oppose Defendant’s pending motion to

             seal (ECF No. 171 )2.

                                        MEMORANDUM OF LAW IN SUPPORT

             I.     INTRODUCTION

                    The parties have arrived at a pivotal moment in this high-profile litigation: class

             certification. The Court’s decision about whether to certify a class will “determine not only the

             stakes involved, but also . . . the structure of trial and methods of proof, and the length and cost

             of the litigation.” Manual for Complex Litigation (Fourth) § 21.11 (2004). Thousands of current


             1
                     See Appendix A.
             2
                     If the Court grants Media Intervenors’ motion to intervene and allows them further
             briefing on the pending motion to seal, Media Intervenors’ opposition to sealing will take
             differing positions than Plaintiffs’ in their motion opposing sealing (ECF No. 177). For that
             reason, Media Intervenors take no position on Plaintiffs’ motion opposing sealing.

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 2
                                                                                                            ER-293
(283 of 298), Page 283 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 283 of 298

                     Case 3:18-cv-01477-JR         Document 205        Filed 04/08/22     Page 3 of 18




             and former Nike employees and their families will be impacted by the Court’s decision. As one

             of the most well-known multinational corporations in the world, Nike’s employment practices—

             which are directly at issue in this matter—are closely watched by the public.

                    Despite the significant public interest in this case3, the parties have filed numerous

             documents relating to class certification entirely under seal or with significant redaction, leaving

             the press and the public with scant access to the underlying facts or arguments and limited

             vantage to understand the details of this important judicial proceeding. Media Intervenors seek

             to enforce the public’s common law and First Amendment access rights to these sealed

             documents, which can only be vindicated through intervention, and to brief the Court on why

             public access to unsealed and unredacted documents is required. In the alternative, if the Court

             allows intervention but denies further briefing, Media Intervenors ask that the parties be directed

             to re-file unsealed or redacted documents relating them to their previously sealed ECF Nos. and

             with any requested sealings or redactions permitted only upon a finding by the Court that

             compelling reasons exist to seal such information from the public.


             3
                     See, e.g., Mike Rogoway, Nike Sheds Second Top Executive Amid Inquiry into Workplace
             ‘Behavior’, The Oregonian (Mar. 16, 2018), https://perma.cc/2FTE-M3W2; Julie Creswell, At
             Nike, Revolt Led by Women Leads to Exodus of Male Executives, N.Y. Times (Apr. 28, 2018),
             https://perma.cc/2PTE-23LZ; Kevin Draper & Julie Creswell, Nike’s C.E.O. Vows Changes After
             Claims of Workplace Harassment and Bias, N.Y. Times (May 5, 2018), https://perma.cc/V9YM-
             GEAC; Jeff Manning, Inside Nike’s Purge: More than a #MeToo Moment, The Oregonian (July
             7, 2018), https://perma.cc/9AJK-2BE4; Matthew Kish, Exclusive: Departing Nike Executive
             Trevor Edwards Was Company’s Highest Paid, Portland Bus. J. (July 25, 2018),
             https://perma.cc/R3M4-63EE; Peter Blumberg, Nike Women Clear First Hurdle in Lawsuit Over
             Gender Pay Gap, Bloomberg (Feb. 27, 2019), https://perma.cc/V7M3-Q9EV; Jeff Manning,
             Courts Reject Nike’s Effort to Keep Executives’ Info Secret in Discrimination Suit, The
             Oregonian (Nov. 18, 2020), https://perma.cc/WGC3-78W7; Patrick Dorrian, Nike Pay Equity
             Studies Privileged, Off Limits in Sex Bias Suit, Bloomberg Law (Oct. 13, 2020),
             https://perma.cc/9EP6-SYML; Matthew Kish, Nike Files Motion to Keep Sensitive Records in
             Sweeping Gender Discrimination Lawsuit Sealed, Insider (Mar. 16, 2022),
             https://perma.cc/N7V4-GJ7D.


             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 3
                                                                                                             ER-294
(284 of 298), Page 284 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 284 of 298

                     Case 3:18-cv-01477-JR          Document 205       Filed 04/08/22      Page 4 of 18




             II.    BACKGROUND AND SEALED DOCUMENTS AT ISSUE

                    a. The Parties’ Protective Order

                    On June 17, 2019, this Court entered a stipulated umbrella protective order, ECF No. 82,

             (“Protective Order”) modeled on the Court’s Tier II template to govern the parties’ exchange of

             discovery materials. Such umbrella orders avoid burdening the court with “document-by-

             document adjudication” of information or documents subject to discovery that a party considers

             sensitive by providing that “all assertedly confidential material disclosed . . . is presumptively

             protected unless challenged.” Manual for Complex Litigation (Fourth) § 11.432 (2004).

                    The Protective Order details procedures for the parties to provisionally file documents

             containing privileged or confidential information under seal, as well as procedures for those

             designations to be challenged via motion practice applying a “good cause” standard. Id. See

             Protective Order ¶¶ 4, 11.

                    b. The Parties’ Sealed Class Certification Filings

                    As the parties entered the class certification phase of litigation, they invoked the

             Protective Order to file thousands of pages of documents under seal. Attached to this motion as

             Appendix A is a chart listing the relevant docket numbers and their current status.

                    On January 10, 2022, Plaintiffs filed under seal a Motion for Class Certification (“Class

             Motion”). ECF No. 146. Plaintiffs also filed under seal most of the documents supporting the

             Class Motion.4 Thereafter, on March 23, 2022, Plaintiffs and Defendant agreed to Plaintiffs re-

             filing a redacted version of its Class Motion, ECF No. 178, Ex. A. But the parties did not agree

             to unseal the three attachments to the attached to the Class Motion (ECF No.146, Ex. 1-3), nor




             4
                    See ECF Nos. 148–149, 154–167.

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 4
                                                                                                           ER-295
(285 of 298), Page 285 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 285 of 298

                     Case 3:18-cv-01477-JR        Document 205        Filed 04/08/22     Page 5 of 18




             any of the declarations or further exhibits supporting Plaintiffs’ motion. ECF Nos. 148–149,

             154–1675.

                            On March 25, 2022, Defendant Nike filed under seal the entirety of its Response

             in Opposition to Plaintiffs’ Class Motion (“Response to Class Motion”), including all supporting

             documents. ECF Nos. 183–187. Then, on April 1, 2022, Defendant publicly re-filed three

             previously sealed declarations along with their exhibits in support of its Response to Class

             Motion,6 but did not publicly re-file the Response nor the declaration and supporting exhibits of

             Felicia Davis. ECF No. 187 (“Davis Declaration”). And on April 4, 2022 Defendant filed an

             unopposed motion to unseal three docket entries—Response to Class Motion, ECF No. 183,

             Motion to Exclude the Opinions of Plaintiff’s Expert, ECF No. 181, and Objections to Evidence

             Filed In Support of Plaintiff’s Class Motion, ECF No. 184—which the court granted on April 5,

             2022. ECF No. 195. The Davis Declaration, however, remains entirely under seal.

                    Also on April 1, 2022, Plaintiffs filed entirely under seal a motion and supporting

             documents seeking to declare the opinion of Defendant’s expert inadmissible. ECF Nos. 192–

             193.

                    c. Media Intervenors’ Outreach to the Parties and Motion to Seal

                    On March 11, 2022, counsel for Media Intervenors notified the parties of their intent to

             file an appropriate motion, predicated on the public’s common law and First Amendment rights

             to inspect judicial records, to unseal the Class Motion, Response to Class Motion, and supporting

             documents.




             5
                    See also Appendix A.
             6
                    See ECF Nos. 189, 190, 191 corresponding to prior sealed ECF Nos. 182, 185, 186.

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 5
                                                                                                            ER-296
(286 of 298), Page 286 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 286 of 298

                     Case 3:18-cv-01477-JR         Document 205        Filed 04/08/22     Page 6 of 18




                    On March 14, 2022, counsel for Plaintiffs and Defendant jointly responded that if their

             meet and confer efforts failed to resolve the parties’ disputes regarding the extent to which their

             sealed filings should be made publicly available, Nike would file an application to “seal limited

             portions of the documents by March 15.”

                    On March 15, 2022, Defendant publicly filed a Motion to Seal the Class Motion and its

             supporting documents ECF No. 171 (“Sealing Motion”). In support, Defendant also filed under

             seal a declaration, ECF No. 172 (“Sealing Declaration”), wherein Defendant purportedly

             identified proposed redactions to previously sealed documents to which both parties agreed and

             identified proposed redactions to previously sealed documents opposed by Plaintiffs. Sealing

             Mot. at 2, fn 1. Notably, the Sealing Motion only addressed the proposed redactions which

             Plaintiffs opposed. Ibid. On March 16, 2022, this Court set the Sealing Motion on the under-

             advisement calendar of April 18, 2022. ECF No. 173.

                    On March 23, 2022, Plaintiffs publicly filed a Response in Opposition to the Sealing

             Motion asserting that Plaintiffs “agreed to the majority of redactions proposed by [Defendant]

             Nike.” ECF No. 177 (“Public Opposition to Sealing”). Plaintiffs also filed under seal a second

             Response in Opposition to the Sealing Motion and supporting affidavit in which Plaintiffs

             identified proposed redactions to which the parties did not agree. ECF Nos. 175–176 (“Sealed

             Opposition to Sealing”).

                    After reviewing the parties’ public briefing regarding sealing, as well as the redacted

             Class Motion—and seeing that Defendant filed its Response to Class Motion and supporting

             documents entirely under seal—counsel for Media Intervenors notified the parties on March 30,

             2022, of their renewed intent to file a limited motion to intervene to unseal judicial records.

             Thereafter, on April 1, 2022 the parties and Media Intervenors jointly conferred regarding Media



             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 6
                                                                                                           ER-297
(287 of 298), Page 287 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 287 of 298

                     Case 3:18-cv-01477-JR         Document 205       Filed 04/08/22     Page 7 of 18




             Intervenors’ proposed intervention. On the same day, and as discussed during the meet and

             confer, Defendant publicly re-filed three of the four docket entries supporting its Response to

             Class Motion7 but did not unseal the Response itself nor the Davis Declaration.

                    On April 6, 2022 Defendant filed entirely under seal a Reply to Motion to Seal and a

             supporting declaration. ECF Nos. 200-201 (“Sealing Reply”).

             III.   ARGUMENT

                    As news organizations that write and disseminate information to the public about the

             judiciary’s work, Media Intervenors have standing to vindicate the public interest in access to

             this proceeding. The parties must demonstrate compelling reasons to prevent the public from

             accessing sealed and redacted judicial records.8 According to its Sealing Motion, Defendant

             seeks to seal “(1) the names of any individuals (complainants, subjects and witnesses) named in

             the context of allegations regarding sexual harassment or gender discrimination at Nike; (2)

             briefing and declarations filed in relation to Plaintiffs’ motion to compel Nike’s privileged pay

             equity, promotion and compensation analyses that reflect confidential legal strategy; and (3)

             Nike’s confidential and proprietary compensation information, including Nike’s compensation

             structure as well as pay shortfall conclusions derived from Attorneys’ Eyes Only (“AEO”)


             7
                     See ECF Nos. 189-191.
             8
                     Because Media Intervenors agree with the parties that they and the Court should apply a
             compelling reasons standard to justify the sealing or redaction of these judicial records, this
             motion does not address whether class certification motions are “dispositive” or “non-
             dispositive” for the purpose of determining the applicable standard for sealing judicial records.
             We note, however, that the Sixth Circuit as well as many district courts in the Fourth and Ninth
             Circuits apply a compelling reasons standard to the sealing of materials related to class
             certification. See, e.g., Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d 299, 305
             (6th Cir. 2016); Moussouris v. Microsoft Corp., No. 15-CV-1483 (JLR), 2018 WL 1159251, at
             *4 (W.D. Wash. Feb. 16, 2018); Circle Click Media LLC v. Regus Mgmt. Grp. LLC, No. 12-CV-
             04000 (EMC), 2016 WL 8253802, at *1 (N.D. Cal. Mar. 14, 2016); In re Google Inc. Gmail
             Litig., No. 13-MD-02430 (LHK), 2014 WL 10537440, at *3 (N.D. Cal. Aug. 6, 2014); Soutter v.
             Equifax Info. Servs. LLC, 299 F.R.D. 126, 130 (E.D. Va. 2014).

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 7
                                                                                                         ER-298
(288 of 298), Page 288 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 288 of 298

                     Case 3:18-cv-01477-JR         Document 205        Filed 04/08/22     Page 8 of 18




             compensation data of current and former Nike employees who are not parties to the litigation”).

             Sealing Motion at 1, ECF No.171. To aid in the Court’s analysis of the application of the

             “compelling reasons” standard to the records at issue in this proceeding, Media Intervenors seek

             the opportunity to provide further briefing to the Court regarding the insufficiency of the parties’

             justification for agreed-upon redactions as well as Intervenors’ objections to the categories of

             information Defendant alleges should be subject to redaction or sealing.

                    a. Media Intervenors Should Be Permitted to Intervene for the Limited Purpose of
                       Vindicating the Public’s Right of Access.

                            i. Media Intervenors have a presumptive right of access and intervention is
                               the appropriate procedural mechanism to assert that right.

                    The Media Intervenors have a presumptive First Amendment and common law right of

             access to court proceedings and judicial records in this matter. See Press-Enter. Co. v. Superior

             Court, 478 U.S. 1, 8 (1986) (holding that the First Amendment right of access attaches to judicial

             proceedings and documents where “the place and process have historically been open to the

             press and general public,” and where “public access plays a significant positive role in the

             functioning of the particular process in question”); Oregonian Publ’g Co. v. U.S. District Court,

             920 F.2d 1462, 1465 (9th Cir. 1990) (“Under the first amendment, the press and the public have

             a presumed right of access to court proceedings and documents.”); Foltz v. State Farm Mut.

             Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003) (common law guarantees as similar right of

             access). As the Ninth Circuit recognized in Foltz, “we start with a strong presumption in favor

             of access to court records” in civil cases, which may be overcome only where the proponent of

             secrecy meets its burden of establishing “compelling reasons” that justify sealing records, Foltz,

             331 F.3d at 1135 (emphasis added), and the court articulates in specific, on-the-record findings




             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 8
                                                                                                            ER-299
(289 of 298), Page 289 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 289 of 298

                     Case 3:18-cv-01477-JR          Document 205        Filed 04/08/22      Page 9 of 18




             why the sealing order “is essential to preserve higher values and is narrowly tailored to serve that

             interest,” Press-Enter. Co., 478 U.S. at 2 (citation omitted) (emphasis added).

                    The press has standing to challenge the sealing of judicial records and to assert the

             public’s—and its own—right of access to those records. See, e.g., Globe Newspaper Co. v.

             Superior Court, 457 U.S. 596, 609 n.25 (1982). Time and again, courts have held that non-

             parties, like Media Intervenors here, may intervene to challenge limitations on the right of

             access. See, e.g., Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 473 (9th Cir. 1992). Not

             surprisingly, most of the Ninth Circuit’s leading access decisions involve news organizations’

             efforts to open court proceedings and to unseal court records. See, e.g., Oregonian Publ’g Co.,

             920 F.2d at 1466; Associated Press v. U.S. District Court, 705 F.2d 1143, 1147 (9th Cir. 1983);

             Phoenix Newspapers, Inc. v. U.S. District Court, 156 F.3d 940, 949 (9th Cir. 1998); CBS, Inc. v.

             U.S. District Court, 765 F.2d 823, 825 (9th Cir. 1985); see also California ex rel. Lockyer v.

             Safeway, Inc., 355 F. Supp. 2d 1111, 1112 n.1 (C.D. Cal. 2005) (granting newspaper leave to

             intervene to move to unseal court records in civil action).

                    Intervention under Federal Rule of Civil Procedure 24(b) (“Rule 24(b)”) is the

             appropriate procedural mechanism in a civil case for a third party, including members of the

             press or public, to assert rights of access to judicial records, to challenge protective orders, and to

             contest the closure of judicial proceedings. See San Jose Mercury News, Inc. v. U.S. District

             Court, 187 F.3d 1096, 1100 (9th Cir. 1999) (holding that “[n]onparties seeking access to a

             judicial record in a civil case may do so by seeking permissive intervention under Rule

             24(b)(2)”); EEOC v. Nat’l Children’s Ctr., Inc., 146 F.3d 1042, 1045 (D.C. Cir. 1998)

             (collecting cases).




             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 9
                                                                                                             ER-300
(290 of 298), Page 290 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 290 of 298

                    Case 3:18-cv-01477-JR         Document 205        Filed 04/08/22     Page 10 of 18




                    The Ninth Circuit has instructed that Rule 24 should be construed liberally “in favor of

             applicants for intervention.” Wash. State Bldg. & Constr. Trades Council v. Spellman, 684 F.2d

             627, 630 (9th Cir. 1982). The Court should permit Media Intervenors to intervene in this case

             for the limited purpose of moving to unseal these judicial records.

                            ii. Pursuant to Rule 24(b), Media Intervenors’ motion is timely and shares a
                                question of law in common with the main action.

                    Ordinarily, a party seeking permissive intervention must demonstrate: “(1) independent

             grounds for jurisdiction; (2) the motion is timely; and (3) the applicant’s claim or defense, and

             the main action, have a question of law or a question of fact in common.” San Jose Mercury

             News, 187 F.3d at 1100 (citation omitted). Where, as here, intervenors “do not seek to litigate a

             claim on the merits” but rather intervene for the limited purpose of seeking access to documents,

             “an independent jurisdictional basis is not required.” Beckman Indus., 966 F.2d at 473; see also

             San Jose Mercury News, 187 F.3d at 1100. Thus, Media Intervenors need only show that their

             motion is timely and that they share a common question of law or fact with the main action.

                    Media Intervenors’ motion is timely because there has been no delay in seeking

             intervention. Defendant’s Sealing Motion and Sealing Declaration were filed on March 15,

             2022; Plaintiffs’ Public and Sealed Opposition to Sealing were filed on March 23, 2022; and

             Defendant’s Sealing Reply was filed on April 6, 2022. Unfortunately, the parties did not move

             to unseal or otherwise re-file the Sealed Declaration, Sealed Opposition to Sealing, or Sealing

             Reply which means the parties’ agreed-upon redactions remain under seal. Media Intervenors

             have made good faith efforts to address their concerns regarding the parties’ broad sealing

             efforts, and the parties have re-filed some documents publicly.9 But as of the date of the instant


             9
                    See ECF Nos. 178, Ex. A; 189, 190, 191 (corresponding to prior sealed ECF Nos. 182,
             185, 186); and 195 (unsealing ECF Nos. 181, 183, and 184).

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 10
                                                                                                           ER-301
(291 of 298), Page 291 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 291 of 298

                     Case 3:18-cv-01477-JR          Document 205        Filed 04/08/22      Page 11 of 18




             motion, many documents still remain entirely under seal and since conferral the parties have

             filed several additional documents under the Protective Order giving rise to a need for further

             unsealing10 Furthermore, it has been less than a week since Defendant publicly re-filed three

             previously sealed declarations and supporting exhibits in support of its Response to Class

             Motion11, and Plaintiffs have not yet filed their reply in support of the Class Motion. Regarding

             the Sealing Motion, it been less than three days since Defendant filed its Sealing Reply.

             “[D]elays measured in years have been tolerated where an intervenor is pressing the public’s

             right of access to judicial records.” San Jose Mercury News, 187 F.3d at 1101; see also S.E.C. v.

             AOB Commerce, Inc., No. 07-CV-4507 (CAS), 2013 WL 5405697, at *1 (C.D. Cal. Sept. 23,

             2013) (permitting intervention for the purpose of unsealing documents “five years after th[e]

             case was settled”). Here, Media Intervenors have moved to intervene within a few weeks of the

             parties’ initial efforts to seal the judicial records, entering the proceeding at precisely the stage in

             which the Court is determining the extent to which the parties’ proposed redactions and sealings

             are warranted. Accordingly, Media Intervenors’ motion is timely and will provide the Court

             with a complete assessment of the parties’ efforts to seal from the public categories of

             information, motion briefing, and supporting documents.

                     Several courts have held that the question of whether documents should be sealed is itself

             a question of law in common with the main action sufficient to support intervention. See, e.g.,

             Jessup v. Luther, 227 F.3d 993, 998–99 (7th Cir. 2000) (“Although the Parties take a very

             different view [than the intervenor] of the matter of confidentiality, nevertheless, that



             10
                    See Appendix A.
             11
                    See ECF Nos. 189, 190, 191 corresponding to prior sealed ECF Nos. 182, 185, 186.
             Notably, Defendant did not publicly re-file the Response itself nor the other supporting
             documents in ECF Nos. 183, 184, or 187.

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 11
                                                                                                              ER-302
(292 of 298), Page 292 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 292 of 298

                    Case 3:18-cv-01477-JR          Document 205        Filed 04/08/22      Page 12 of 18




             confidentiality is—in the language of Rule 24(b)(2)—a ‘question of law . . . in common’

             between the Parties and the [intervenor].” The Ninth Circuit and Oregon District Courts have

             repeatedly upheld the intervention of nonparties for the purposes of unsealing in cases where

             there was no common question except the propriety of the sealing. See Kamakana v. City & Cty.

             of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006); San Jose Mercury News, 187 F.3d at 1100;

             Confederated Tribes of Siletz Indians of Oregon v Weyerhaeuser Co., 340 F. Supp. 2d 1118,

             1121 (D. Or. 2003) (noting that a party’s filing of an exhibit under seal pursuant to a protective

             order is of little weight in the court’s sealing analysis, because blanket protective orders are

             ‘inherently subject to challenge and modification’.) The Ninth Circuit has characterized its own

             caselaw as “holding that . . . [a] strong nexus of fact or law [is] not required where [an]

             intervenor merely seeks to challenge a protective order.” San Jose Mercury News, 187 F.3d at

             1100 (citing Beckman, 966 F.2d at 473–74). Accordingly, Media Intervenors’ interest in

             challenging the parties’ efforts to seal judicial records from the public is sufficient to support

             their motion for intervention.

                    b. The Extensive Sealing in this Case Violates the Public’s Common Law and
                       First Amendment Right of Access to Judicial Records.

                    Courts in the Ninth Circuit have made it clear that the mere fact that a document was

             subject to a blanket protective order does not relieve the parties or a court of the obligation to

             comply with the Ninth Circuit’s otherwise applicable sealing regimen. See, e.g., Kamakana,

             447 F.3d at 1179 (“The ‘compelling reasons’ standard is invoked even if the dispositive motion,

             or its attachments, were previously filed under seal or protective order.”); Edwards Vacuum, LLC

             v. Hoffman Instrumentation Supply, Inc., No. 20-CV-1681 (MHS), 2021 WL 186932, at *2 (D.

             Or. Jan. 19, 2021) (“[T]he fact that the parties may have stipulated to a protective order is not

             itself a basis for sealing or otherwise restricting access to any specific discovery material.”);

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 12
                                                                                                            ER-303
(293 of 298), Page 293 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 293 of 298

                    Case 3:18-cv-01477-JR          Document 205        Filed 04/08/22      Page 13 of 18




             Muhaymin v. City of Phoenix, No. 17-CV-04565 (DLR), 2021 WL 5173767, at *4 (D. Ariz. Nov.

             3, 2021) (“Once a party decides to use a document to support a filing with the Court, the party

             asserting confidentiality must show either good cause or compelling reasons (depending on the

             nature of the filing) for sealing the record and cannot merely rely on the fact that the party

             subjectively believes the document is confidential and has chosen to designate it as such.”).

             Indeed, “‘once the [sealed discovery] documents are made part of a dispositive motion . . . they

             lose their status of being raw fruits of discovery,’ and no longer enjoy protected status” unless

             the court or the party seeking sealing identifies “some overriding interests in favor of keeping the

             discovery documents under seal.” Foltz, 331 F.3d at 1136 (citation omitted). Therefore, the

             Protective Order in this proceeding provides no sanctuary for the parties’ efforts to seal or

             redact information related to briefing on the Class Motion, briefing on the Sealing Motion, or

             future filings which may rely on materials or information shared in discovery pursuant to the

             Protective Order.

                    To be clear, Media Intervenors seek to intervene in this matter for the purpose of

             providing the Court with additional briefing regarding the specific sealings and redactions

             proposed in Defendant’s Sealing Motion, Sealing Declaration, Plaintiffs’ responses (both public

             and non-public) thereto, and Defendant’s Sealing Reply. While the parties’ purported

             justifications for concealing judicial records are, for the most part apparently set forth in sealed

             documents, based on the parties’ public filings, it is Media Intervenors’ position that neither

             party has met, or can meet, the “compelling reasons” standard necessary to maintain secrecy of

             their filings. See ECF Nos. 171, 177, 200, 201. At present, the docket contains approximately

             one-hundred individual documents which no party has publicly moved to unseal,12 and twelve


             12
                    See Appendix A.

             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 13
                                                                                                              ER-304
(294 of 298), Page 294 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 294 of 298

                    Case 3:18-cv-01477-JR          Document 205        Filed 04/08/22      Page 14 of 18




             documents to which the parties propose both agreed-upon and disputed redactions.13 In the

             absence of a publicly filed written request to unseal as contemplated by paragraph four of the

             Protective Order, it is impossible for Media Intervenors to identify which, if any, of the one-

             hundred sealed entries the Plaintiffs wish to unseal. Similarly, since Plaintiffs and Defendant

             both filed their agreed-upon redactions under seal, Media Intervenors cannot determine if any of

             the one-hundred sealed entries fall within the parties’ apparent agreement to redact and unseal.14

             See ECF. No 171 (“proposed redactions highlighted in green are those which both parties have

             agreed upon”); ECF No. 177 (“redactions that are included in Nike’s Motion to Seal and that

             Plaintiffs agree to [are] in Exhibit A to the Kan Declaration . . . [and] redactions that are omitted

             from Nike’s filing that Plaintiffs do not oppose . . . are listed in Exhibit C to the Kan

             Declaration”).

                    The extensive sealing and redaction of court records in this case withholds valuable

             information from the press and public about pending litigation and functions as a form of closure

             of court proceedings and records. The public interest in class certification motions is particularly

             strong because class certifications can determine the legal rights of persons not currently before




             13
                     Id.
             14
                     The practice of filing entirely under seal documents that contain any information
             arguably falling under the Protective Order and then filing redacted copies of those previously
             sealed documents without reference to the original sealed entry has led to considerable confusion
             in the public docket. For example, though Plaintiffs and Defendant agreed to publicly file a
             redacted copy of Plaintiffs’ Class Motion, Plaintiffs filed it as an exhibit to their Sealing
             Opposition (see ECF No. 178, Ex. A) rather than re-filing it as a redacted copy of the Class
             Motion and referencing ECF No. 146. For this reason, Media Intervenors request that the parties
             be directed to publicly re-file documents with agreed-upon redactions and relate them to the
             previously sealed ECF Nos. as Defendant did with its re-filing-on April 1, 2022, and as the Court
             did when it granted Defendant’s unsealing on April 6, 2022.


             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 14
                                                                                                            ER-305
(295 of 298), Page 295 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 295 of 298

                    Case 3:18-cv-01477-JR          Document 205       Filed 04/08/22     Page 15 of 18




             the Court. Thus, the public has an interest in knowing the legal basis of the Class Motion and

             Response to Class Motion, as well as the facts and arguments applicable to each.

             IV.    CONCLUSION

                    As newspaper publishers, Media Intervenors have a compelling interest in public access

             to information on pending judicial proceedings regarding the application of Oregon’s Equality

             Act and the Federal and Oregon Equal Pay Act to one of the most well-known multinational

             corporations in the world. The Media Intervenors therefore respectfully request that this Court

             permit them to intervene for the limited purpose of vindicating the press and the public’s right to

             access court records in this matter. The Media Intervenors further request that this Court

             convene a scheduling conference to establish a briefing schedule for their motion to unseal, an

             opportunity for Media Intervenors to brief a response to Defendant’s Sealing Motion, Sealing

             Declaration, and Plaintiffs’ responses (both public and non-public) thereto, and that the Court

             otherwise permit Media Intervenors’ counsel to participate in any upcoming scheduling

             conferences or hearings in this matter related to sealing.

                    In the alternative, if the Court allows intervention but denies further briefing, Media

             Intervenors ask that the parties be directed to re-file unsealed or redacted documents by relating

             them to their previously sealed ECF Nos. and with any requested sealings or redactions

             permitted only upon a finding by the Court that compelling reasons exist to seal such information

             from the public.


                     Dated: April 8, 2022
                                                               Respectfully submitted,

                                                               /s/ Ellen Osoinach
                                                               Ellen Osoinach
                                                               THE REPORTERS COMMITTEE FOR FREEDOM OF
                                                               THE PRESS


             MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
             Page 15
                                                                                                          ER-306
(296 of 298), Page 296 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 296 of 298

                        Case 3:18-cv-01477-JR    Document 205    Filed 04/08/22   Page 16 of 18




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                  MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
                  Page 16
                                                                                           ER-307
(297 of 298), Page 297 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 297 of 298

                      Case 3:18-cv-01477-JR      Document 205        Filed 04/08/22    Page 17 of 18




                                                      APPENDIX A

                  ECF                          Description                               Status
                                                                                   Memorandum redacted;
                   146            Plaintiffs’ Motion to Certify the Class
                                                                                     Exs. 1–3 sealed
                              Declaration of Kathleen Lunquist in Support of
                   148                                                                Sealed in its entirety
                                Plaintiffs’ Motion for Class Certification
                                                                                   Declaration sealed; Exs.
                          Declaration of David Neumark in Support of Plaintiffs’
                   149                                                               A and B proposed
                                      Motion for Class Certification
                                                                                          redacted
                           Declaration of Mengfei Sun in Support of Plaintiffs’
                   154                                                                Sealed in its entirety
                                      Motion for Class Certification
                   155        Exhibits 1–10 to Declaration of Mengfei Sun           Sealed in their entirety
                   156       Exhibits 11–20 to Declaration of Mengfei Sun           Sealed in their entirety
                   157       Exhibits 21–30 to Declaration of Mengfei Sun           Sealed in their entirety
                   158       Exhibits 31–40 to Declaration of Mengfei Sun           Sealed in their entirety
                   159       Exhibits 41–50 to Declaration of Mengfei Sun           Sealed in their entirety
                   160       Exhibits 51–60 to Declaration of Mengfei Sun           Sealed in their entirety
                   161       Exhibits 61–70 to Declaration of Mengfei Sun           Sealed in their entirety
                                                                                   Redaction suggested for
                   162        Exhibits 71–83 to Declaration of Mengfei Sun         Exs. 74 & 81; remainder
                                                                                            sealed
                               Declaration of Byron Goldstein in Support of
                   163                                                                Sealed in its entirety
                                Plaintiffs’ Motion for Class Certification
                   164        Exhibits 1–5 to Declaration of Byron Goldstein       Sealed in their entirety
                                                                                   Redaction suggested for
                   165       Exhibits 6–10 to Declaration of Byron Goldstein            Exs. 6, 7, 9;
                                                                                      Exs. 8, 10 sealed
                                                                                   Redaction suggested for
                   166      Exhibits 11–15 to Declaration of Byron Goldstein         Exs. 11–12, 14–15;
                                                                                       Ex. 13 sealed
                                                                                   Redaction suggested for
                   167      Exhibits 16–17 to Declaration of Byron Goldstein               Ex. 17;
                                                                                       Ex. 16 sealed
                          Declaration of Daniel Prince in Support of Defendant’s
                   172                                                                Redaction suggested
                                              Motion to Seal
                   175     Plaintiffs’ Response in Opposition to Motion to Seal       Sealed in its entirety
                   176    Affidavit of James Kan in Opposition to Motion to Seal      Sealed in its entirety




               MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
               Page 17
                                                                                                      ER-308
(298 of 298), Page 298 of 298
                            Case: 24-165, 03/25/2024,
                                          03/26/2024, DktEntry: 24.3, Page 298 of 298

                      Case 3:18-cv-01477-JR      Document 205       Filed 04/08/22    Page 18 of 18




                  ECF                          Description                                  Status
                             Declaration of Felicia Davis Filed in Support of
                   187    Defendant’s Opposition to Plaintiffs’ Motion for Class     Sealed in its entirety
                                               Certification
                   200             Defendant’s Reply to Motion to Seal               Sealed in its entirety
                          Declaration of Daniel Prince Filed in Support of Nike’s
                   201                                                               Sealed in its entirety
                                         Reply to Motion to Seal




               MOTION OF NON-PARTY MEDIA ORGANIZATIONS TO INTERVENE
               Page 18
                                                                                                     ER-309
